                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTIONIO DIVISION



LA UNIÓN DEL PUEBLO ENTERO, et al.,

                          Plaintiffs,          5:21-cv-844-XR

                 v.

GREGORY W. ABBOTT, et al.,

                        Defendants.



           LULAC TEXAS, et al.,

                          Plaintiffs,          1:21-cv-0786-XR

                 v.

           JOHN SCOTT, et al.,

                        Defendants.



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               RESPONSES FROM TEXAS LAWMAKERS
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Dated: May 3, 2022                                            Respectfully submitted,

                                                              /s/ Uzoma N. Nkwonta
                                                              Uzoma N. Nkwonta*
                                                              Christopher D. Dodge*
                                                              Haley K. Costello Essig*
                                                              Noah B. Baron*
                                                              Graham W. White*
                                                              Marcos Mocine-McQueen*
                                                              Michael B. Jones*
                                                              ELIAS LAW GROUP LLP
                                                  10 G Street NE, Suite 600
                                                  Washington, D.C. 20002
                                                  Telephone: (202) 968-4490
                                                  unkwonta@elias.law
                                                  cdodge@eliaw.law
                                                  hessig@elias.law
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                                                  gwhite@elias.law
                                                  mmcqueen@elias.law
                                                  mjones@elias.law

                                                  Counsel for Plaintiffs

                                                  *Admitted Pro Hac Vice


                                CERTIFICATE OF SERVICE

       On May 3, 2022, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Western District of Texas, using the electronic case filing system of

the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                    /s/ Christopher D. Dodge
                                                    Christopher D. Dodge
EXHIBIT A




            App001
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District
                                                       __________ District of
                                                                           of __________
                                                                              Texas

             La Union Del Pueblo Entero, et al.,                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         5:21-cv-844-XR
                          State of Texas                                      )
                                                                              )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Senator Paul Bettencourt,Texas Capitol Extension, 1100 Congress Ave., Room 3E.16, Austin, TX 78701

    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: Perkins Coie                                                                    Date and Time:
           500 West Second Street, Suite 1900                                                                 01/14/2022 5:00 pm
           Austin, Texas 78701

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         12/15/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Graham W. White
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party) LULAC Texas, Voto Latino,
Texas Alliance for Retired Americans, Texas AFT                         , who issues or requests this subpoena, are:
Graham W. White, 10 G Street NE, Suite 600, Washington DC 20002
Email: GWhite@elias.law Phone: 202-968-4507


                                                                                                                                      App002
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-844-XR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                       App003
         Print                         Save As...                  Add Attachment                                                             Reset
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
                                                                                                                                       App004
                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                   5:21-cv-844-XR

THE STATE OF TEXAS,

                   Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                   1:21-cv-0780-XR

JOHN SCOTT,

                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,
       v.                                  5:21-cv-0848-XR

GREG ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                  1:21-cv-0786-XR

JOHN SCOTT, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                  5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.




                                                              App005
                                            EXHIBIT A

         For a statement of your obligations in producing documents under this subpoena, see Rules

45(d), (e) and (f) of the Federal Rules of Civil Procedure, which appear on the final page of the

subpoena. Documents should be produced within thirty (30) days of receiving this subpoena.

Responses to these Requests are to be produced to Graham White within 30 days of receipt. To

arrange for electronic production, please contact Mr. White at gwhite@elias.law. Anything that

cannot be produced electronically should be produced to Mr. White at Elias Law Group LLP, 10

G Street NE, Suite 600, Washington, D.C. 20002.

         Each Request is subject to the Definitions and Instructions listed below.

                                          DEFINITIONS

         Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

         1.     “Any” or “all” mean “any and all.”

         2.     “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email,

report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         3.     “Date” means the exact day, month, and year, if ascertainably, or, if not, the best

available approximation (including relationship to other events).

         4.     “Demographics” means statistical data relating to the population or groups within

it and, as used herein, expressly includes but is not limited to race, ethnicity, age, and gender.
                                                  2

                                                                                            App006
       5.      “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

       6.      “HB 3” means the legislation designated as House Bill 3, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th First

Called Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       7.      “HB 6” means the legislation designated as House Bill 6, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       8.      “Including” means including, but not limited to.

       9.      “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,

bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.



                                                  3

                                                                                            App007
       10.     “SB 1” means the legislation designated as Senate Bill 1 that was enacted during

the 2021 Second Called Session of the Texas Legislature and signed by the Governor of Texas on

September 7, 2021.

       11.     “SB 7” means the legislation designated as Senate Bill 7, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       12.     “Voter” means any registered voter in Texas and all persons who may properly

register to vote in Texas by the close of discovery in this case.

       13.     “You” and “your” means State Senator Paul Bettencourt, and his office, including

its employees, staff, agents, and representatives.

                                         INSTRUCTIONS

       14.     You shall produce materials and serve responses and any objections within 30 days

after service of these Requests for Production.

       15.     If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.

       16.     If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the

construction used in responding.

       17.     Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a
                                                     4

                                                                                          App008
description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       18.      Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       19.      Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated.

       20.      All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically

“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to

documents should be assigned numbers that directly follow in sequential order the Bates numbers

on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.



                                                  5

                                                                                            App009
       21.     Each request and subparagraph thereof is to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       22.     Each document produced should be categorized by the number of the document

request in response to which it is produced.

       23.     If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       24.     If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in

response to the appropriate document request: (a) produce all such documents as are available to

you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       25.     The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       26.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.



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                                                                                        App010
       27.     A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       28.     The document production topics apply to the period from 2016 through the present,

unless otherwise limited or expanded by a particular topic description.

                                REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 1. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the following methods

of voting during the period from 2020 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting.

       REQUEST FOR PRODUCTION NO. 2. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with voter assistance,

including transportation assistance, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 3. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the ability (or lack

thereof) of poll watchers to move and observe the election process in a voting or vote-counting

location during the period from 2020 to present.




                                                   7

                                                                                         App011
       REQUEST FOR PRODUCTION NO. 4. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with “vote harvesting

services,” as defined in SB 1, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 5. All documents and communications discussing

illegal voting, election fraud, or other criminal conduct in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 6. All documents and communications related to

voting practices, election administration, or voter turnout in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County



                                                 8

                                                                                         App012
       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 7. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following

counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 8. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter

turnout and wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled

persons, and persons with limited English proficiency.

       REQUEST FOR PRODUCTION NO. 9. All documents and communications relied on

to draft SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 10. All documents and communications with the

following third-party organizations, including any of their affiliates or subsidiaries, regarding SB

1, SB 7, HB 3, or HB 6, including communications regarding the impacts or potential impacts of



                                                   9

                                                                                             App013
SB 1, SB 7, HB 3, or HB 6 on racial or ethnic minorities and disabled voters, and on voters by

party affiliation:

        (a) The Heritage Foundation

        (b) The Texas Public Policy Foundation

        (c) The American Legislative Exchange Council

        (d) The State Policy Network

        (e) Honest Elections Project

        (f) Public Interest Legal Foundation

        (g) American Civil Rights Union

        (h) True the Vote

        (i) Judicial Watch

        (j) Project Veritas

        (k) The Republican National Committee

        (l) The Republican Party of Texas




 Dated: December 14, 2021.                       Respectfully submitted,

 /s/ Sean Morales-Doyle                          /s/ Uzoma N. Nkwonta___
 Sean Morales-Doyle (NY Bar No. 5646641)         Uzoma N. Nkwonta*
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                                                                                    App014
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                                             and Texas AFT
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Matthew Berde* (Tex. Bar No. 24094379)
Megan Cloud** (Tex. Bar No. 24116207)        /s/ Nina Perales
WEIL, GOTSHAL & MANGES LLP                   Nina Perales (Tex. Bar No. 24005046)
200 Crescent Court, Suite 300                Julia R. Longoria (Tex. Bar No. 24070166)
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                                                                                  App015
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                                    App018
EXHIBIT B




            App019
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District
                                                       __________ District of
                                                                           of __________
                                                                              Texas

             La Union Del Pueblo Entero, et al.,                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         5:21-cv-844-XR
                          State of Texas                                      )
                                                                              )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Senator Paul Bettencourt,Texas Capitol Extension, 1100 Congress Ave., Room 3E.16, Austin, TX 78701

    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: Perkins Coie                                                                    Date and Time:
           500 West Second Street, Suite 1900                                                                 01/14/2022 5:00 pm
           Austin, Texas 78701

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         12/15/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Graham W. White
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party) LULAC Texas, Voto Latino,
Texas Alliance for Retired Americans, Texas AFT                         , who issues or requests this subpoena, are:
Graham W. White, 10 G Street NE, Suite 600, Washington DC 20002
Email: GWhite@elias.law Phone: 202-968-4507


                                                                                                                                      App020
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-844-XR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                       App021
         Print                         Save As...                  Add Attachment                                                             Reset
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
                                                                                                                                       App022
                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                   5:21-cv-844-XR

THE STATE OF TEXAS,

                   Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                   1:21-cv-0780-XR

JOHN SCOTT,

                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,
       v.                                  5:21-cv-0848-XR

GREG ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                  1:21-cv-0786-XR

JOHN SCOTT, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                  5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.




                                                              App023
                                            EXHIBIT A

         For a statement of your obligations in producing documents under this subpoena, see Rules

45(d), (e) and (f) of the Federal Rules of Civil Procedure, which appear on the final page of the

subpoena. Documents should be produced within thirty (30) days of receiving this subpoena.

Responses to these Requests are to be produced to Graham White within 30 days of receipt. To

arrange for electronic production, please contact Mr. White at gwhite@elias.law. Anything that

cannot be produced electronically should be produced to Mr. White at Elias Law Group LLP, 10

G Street NE, Suite 600, Washington, D.C. 20002.

         Each Request is subject to the Definitions and Instructions listed below.

                                          DEFINITIONS

         Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

         1.     “Any” or “all” mean “any and all.”

         2.     “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email,

report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         3.     “Date” means the exact day, month, and year, if ascertainably, or, if not, the best

available approximation (including relationship to other events).

         4.     “Demographics” means statistical data relating to the population or groups within

it and, as used herein, expressly includes but is not limited to race, ethnicity, age, and gender.
                                                  2

                                                                                            App024
       5.      “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

       6.      “HB 3” means the legislation designated as House Bill 3, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th First

Called Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       7.      “HB 6” means the legislation designated as House Bill 6, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       8.      “Including” means including, but not limited to.

       9.      “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,

bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.



                                                  3

                                                                                            App025
       10.     “SB 1” means the legislation designated as Senate Bill 1 that was enacted during

the 2021 Second Called Session of the Texas Legislature and signed by the Governor of Texas on

September 7, 2021.

       11.     “SB 7” means the legislation designated as Senate Bill 7, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       12.     “Voter” means any registered voter in Texas and all persons who may properly

register to vote in Texas by the close of discovery in this case.

       13.     “You” and “your” means State Representative Briscoe Cain, and his office,

including its employees, staff, agents, and representatives.

                                         INSTRUCTIONS

       14.     You shall produce materials and serve responses and any objections within 30 days

after service of these Requests for Production.

       15.     If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.

       16.     If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the

construction used in responding.

       17.     Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a
                                                  4

                                                                                          App026
description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       18.      Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       19.      Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated.

       20.      All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically

“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to

documents should be assigned numbers that directly follow in sequential order the Bates numbers

on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.



                                                  5

                                                                                            App027
       21.     Each request and subparagraph thereof is to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       22.     Each document produced should be categorized by the number of the document

request in response to which it is produced.

       23.     If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       24.     If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in

response to the appropriate document request: (a) produce all such documents as are available to

you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       25.     The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       26.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.



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                                                                                        App028
       27.     A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       28.     The document production topics apply to the period from 2016 through the present,

unless otherwise limited or expanded by a particular topic description.

                                REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 1. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the following methods

of voting during the period from 2020 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting.

       REQUEST FOR PRODUCTION NO. 2. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with voter assistance,

including transportation assistance, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 3. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the ability (or lack

thereof) of poll watchers to move and observe the election process in a voting or vote-counting

location during the period from 2020 to present.




                                                   7

                                                                                         App029
       REQUEST FOR PRODUCTION NO. 4. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with “vote harvesting

services,” as defined in SB 1, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 5. All documents and communications discussing

illegal voting, election fraud, or other criminal conduct in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 6. All documents and communications related to

voting practices, election administration, or voter turnout in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County



                                                 8

                                                                                         App030
       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 7. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following

counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 8. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter

turnout and wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled

persons, and persons with limited English proficiency.

       REQUEST FOR PRODUCTION NO. 9. All documents and communications relied on

to draft SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 10. All documents and communications with the

following third-party organizations, including any of their affiliates or subsidiaries, regarding SB

1, SB 7, HB 3, or HB 6, including communications regarding the impacts or potential impacts of



                                                   9

                                                                                             App031
SB 1, SB 7, HB 3, or HB 6 on racial or ethnic minorities and disabled voters, and on voters by

party affiliation:

        (a) The Heritage Foundation

        (b) The Texas Public Policy Foundation

        (c) The American Legislative Exchange Council

        (d) The State Policy Network

        (e) Honest Elections Project

        (f) Public Interest Legal Foundation

        (g) American Civil Rights Union

        (h) True the Vote

        (i) Judicial Watch

        (j) Project Veritas

        (k) The Republican National Committee

        (l) The Republican Party of Texas




 Dated: December 14, 2021.                       Respectfully submitted,

 /s/ Sean Morales-Doyle                          /s/ Uzoma N. Nkwonta___
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                                                                                    App032
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                                    App036
EXHIBIT C




            App037
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District
                                                       __________ District of
                                                                           of __________
                                                                              Texas

             La Union Del Pueblo Entero, et al.,                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         5:21-cv-844-XR
                          State of Texas                                      )
                                                                              )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Senator Paul Bettencourt,Texas Capitol Extension, 1100 Congress Ave., Room 3E.16, Austin, TX 78701

    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: Perkins Coie                                                                    Date and Time:
           500 West Second Street, Suite 1900                                                                 01/14/2022 5:00 pm
           Austin, Texas 78701

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         12/15/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Graham W. White
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party) LULAC Texas, Voto Latino,
Texas Alliance for Retired Americans, Texas AFT                         , who issues or requests this subpoena, are:
Graham W. White, 10 G Street NE, Suite 600, Washington DC 20002
Email: GWhite@elias.law Phone: 202-968-4507


                                                                                                                                      App038
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-844-XR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                       App039
         Print                         Save As...                  Add Attachment                                                             Reset
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
                                                                                                                                       App040
                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                   5:21-cv-844-XR

THE STATE OF TEXAS,

                   Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                   1:21-cv-0780-XR

JOHN SCOTT,

                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,
       v.                                  5:21-cv-0848-XR

GREG ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                  1:21-cv-0786-XR

JOHN SCOTT, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                  5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.




                                                              App041
                                            EXHIBIT A

         For a statement of your obligations in producing documents under this subpoena, see Rules

45(d), (e) and (f) of the Federal Rules of Civil Procedure, which appear on the final page of the

subpoena. Documents should be produced within thirty (30) days of receiving this subpoena.

Responses to these Requests are to be produced to Graham White within 30 days of receipt. To

arrange for electronic production, please contact Mr. White at gwhite@elias.law. Anything that

cannot be produced electronically should be produced to Mr. White at Elias Law Group LLP, 10

G Street NE, Suite 600, Washington, D.C. 20002.

         Each Request is subject to the Definitions and Instructions listed below.

                                          DEFINITIONS

         Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

         1.     “Any” or “all” mean “any and all.”

         2.     “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email,

report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         3.     “Date” means the exact day, month, and year, if ascertainably, or, if not, the best

available approximation (including relationship to other events).

         4.     “Demographics” means statistical data relating to the population or groups within

it and, as used herein, expressly includes but is not limited to race, ethnicity, age, and gender.
                                                  2

                                                                                            App042
       5.      “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

       6.      “HB 3” means the legislation designated as House Bill 3, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th First

Called Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       7.      “HB 6” means the legislation designated as House Bill 6, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       8.      “Including” means including, but not limited to.

       9.      “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,

bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.



                                                  3

                                                                                            App043
       10.     “SB 1” means the legislation designated as Senate Bill 1 that was enacted during

the 2021 Second Called Session of the Texas Legislature and signed by the Governor of Texas on

September 7, 2021.

       11.     “SB 7” means the legislation designated as Senate Bill 7, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       12.     “Voter” means any registered voter in Texas and all persons who may properly

register to vote in Texas by the close of discovery in this case.

       13.     “You” and “your” means State Senator Bryan Hughes, and his office, including its

employees, staff, agents, and representatives.

                                         INSTRUCTIONS

       14.     You shall produce materials and serve responses and any objections within 30 days

after service of these Requests for Production.

       15.     If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.

       16.     If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the

construction used in responding.

       17.     Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a
                                                  4

                                                                                          App044
description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       18.      Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       19.      Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated.

       20.      All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically

“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to

documents should be assigned numbers that directly follow in sequential order the Bates numbers

on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.



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                                                                                            App045
       21.     Each request and subparagraph thereof is to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       22.     Each document produced should be categorized by the number of the document

request in response to which it is produced.

       23.     If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       24.     If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in

response to the appropriate document request: (a) produce all such documents as are available to

you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       25.     The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       26.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.



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                                                                                        App046
       27.     A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       28.     The document production topics apply to the period from 2016 through the present,

unless otherwise limited or expanded by a particular topic description.

                                REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 1. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the following methods

of voting during the period from 2020 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting.

       REQUEST FOR PRODUCTION NO. 2. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with voter assistance,

including transportation assistance, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 3. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the ability (or lack

thereof) of poll watchers to move and observe the election process in a voting or vote-counting

location during the period from 2020 to present.




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       REQUEST FOR PRODUCTION NO. 4. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with “vote harvesting

services,” as defined in SB 1, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 5. All documents and communications discussing

illegal voting, election fraud, or other criminal conduct in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 6. All documents and communications related to

voting practices, election administration, or voter turnout in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County



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       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 7. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following

counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 8. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter

turnout and wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled

persons, and persons with limited English proficiency.

       REQUEST FOR PRODUCTION NO. 9. All documents and communications relied on

to draft SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 10. All documents and communications with the

following third-party organizations, including any of their affiliates or subsidiaries, regarding SB

1, SB 7, HB 3, or HB 6, including communications regarding the impacts or potential impacts of



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SB 1, SB 7, HB 3, or HB 6 on racial or ethnic minorities and disabled voters, and on voters by

party affiliation:

        (a) The Heritage Foundation

        (b) The Texas Public Policy Foundation

        (c) The American Legislative Exchange Council

        (d) The State Policy Network

        (e) Honest Elections Project

        (f) Public Interest Legal Foundation

        (g) American Civil Rights Union

        (h) True the Vote

        (i) Judicial Watch

        (j) Project Veritas

        (k) The Republican National Committee

        (l) The Republican Party of Texas




 Dated: December 14, 2021.                       Respectfully submitted,

 /s/ Sean Morales-Doyle                          /s/ Uzoma N. Nkwonta___
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                                                                                    App050
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                                                                                  App051
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                                    App054
EXHIBIT D




            App055
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District
                                                       __________ District of
                                                                           of __________
                                                                              Texas

             La Union Del Pueblo Entero, et al.,                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         5:21-cv-844-XR
                          State of Texas                                      )
                                                                              )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Senator Paul Bettencourt,Texas Capitol Extension, 1100 Congress Ave., Room 3E.16, Austin, TX 78701

    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: Perkins Coie                                                                    Date and Time:
           500 West Second Street, Suite 1900                                                                 01/14/2022 5:00 pm
           Austin, Texas 78701

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         12/15/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Graham W. White
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party) LULAC Texas, Voto Latino,
Texas Alliance for Retired Americans, Texas AFT                         , who issues or requests this subpoena, are:
Graham W. White, 10 G Street NE, Suite 600, Washington DC 20002
Email: GWhite@elias.law Phone: 202-968-4507


                                                                                                                                      App056
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-844-XR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                       App057
         Print                         Save As...                  Add Attachment                                                             Reset
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
                                                                                                                                       App058
                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                   5:21-cv-844-XR

THE STATE OF TEXAS,

                   Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                   1:21-cv-0780-XR

JOHN SCOTT,

                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,
       v.                                  5:21-cv-0848-XR

GREG ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                  1:21-cv-0786-XR

JOHN SCOTT, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                  5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.




                                                              App059
                                            EXHIBIT A

         For a statement of your obligations in producing documents under this subpoena, see Rules

45(d), (e) and (f) of the Federal Rules of Civil Procedure, which appear on the final page of the

subpoena. Documents should be produced within thirty (30) days of receiving this subpoena.

Responses to these Requests are to be produced to Graham White within 30 days of receipt. To

arrange for electronic production, please contact Mr. White at gwhite@elias.law. Anything that

cannot be produced electronically should be produced to Mr. White at Elias Law Group LLP, 10

G Street NE, Suite 600, Washington, D.C. 20002.

         Each Request is subject to the Definitions and Instructions listed below.

                                          DEFINITIONS

         Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

         1.     “Any” or “all” mean “any and all.”

         2.     “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email,

report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         3.     “Date” means the exact day, month, and year, if ascertainably, or, if not, the best

available approximation (including relationship to other events).

         4.     “Demographics” means statistical data relating to the population or groups within

it and, as used herein, expressly includes but is not limited to race, ethnicity, age, and gender.
                                                  2

                                                                                            App060
       5.      “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

       6.      “HB 3” means the legislation designated as House Bill 3, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th First

Called Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       7.      “HB 6” means the legislation designated as House Bill 6, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       8.      “Including” means including, but not limited to.

       9.      “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,

bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.



                                                  3

                                                                                            App061
       10.     “SB 1” means the legislation designated as Senate Bill 1 that was enacted during

the 2021 Second Called Session of the Texas Legislature and signed by the Governor of Texas on

September 7, 2021.

       11.     “SB 7” means the legislation designated as Senate Bill 7, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       12.     “Voter” means any registered voter in Texas and all persons who may properly

register to vote in Texas by the close of discovery in this case.

       13.     “You” and “your” means State Representative Andrew Murr, and his office,

including its employees, staff, agents, and representatives.

                                         INSTRUCTIONS

       14.     You shall produce materials and serve responses and any objections within 30 days

after service of these Requests for Production.

       15.     If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.

       16.     If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the

construction used in responding.

       17.     Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a
                                                  4

                                                                                          App062
description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       18.      Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       19.      Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated.

       20.      All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically

“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to

documents should be assigned numbers that directly follow in sequential order the Bates numbers

on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.



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       21.     Each request and subparagraph thereof is to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       22.     Each document produced should be categorized by the number of the document

request in response to which it is produced.

       23.     If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       24.     If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in

response to the appropriate document request: (a) produce all such documents as are available to

you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       25.     The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       26.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.



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                                                                                        App064
       27.     A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       28.     The document production topics apply to the period from 2016 through the present,

unless otherwise limited or expanded by a particular topic description.

                                REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 1. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the following methods

of voting during the period from 2020 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting.

       REQUEST FOR PRODUCTION NO. 2. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with voter assistance,

including transportation assistance, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 3. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with the ability (or lack

thereof) of poll watchers to move and observe the election process in a voting or vote-counting

location during the period from 2020 to present.




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                                                                                         App065
       REQUEST FOR PRODUCTION NO. 4. All documents and communications regarding

illegal voting, election fraud, or other criminal conduct in connection with “vote harvesting

services,” as defined in SB 1, during the period from 2020 to present.

       REQUEST FOR PRODUCTION NO. 5. All documents and communications discussing

illegal voting, election fraud, or other criminal conduct in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 6. All documents and communications related to

voting practices, election administration, or voter turnout in the following counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County



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                                                                                         App066
       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 7. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following

counties:

       (a) Harris County

       (b) Bee County

       (c) Dallas County

       (d) Tarrant County

       (e) Bexar County

       (f) Travis County

       (g) Collin County

       (h) El Paso County

       (i) Tom Green County

       REQUEST FOR PRODUCTION NO. 8. All documents and communications related to

the anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter

turnout and wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled

persons, and persons with limited English proficiency.

       REQUEST FOR PRODUCTION NO. 9. All documents and communications relied on

to draft SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 10. All documents and communications with the

following third-party organizations, including any of their affiliates or subsidiaries, regarding SB

1, SB 7, HB 3, or HB 6, including communications regarding the impacts or potential impacts of



                                                   9

                                                                                             App067
SB 1, SB 7, HB 3, or HB 6 on racial or ethnic minorities and disabled voters, and on voters by

party affiliation:

        (a) The Heritage Foundation

        (b) The Texas Public Policy Foundation

        (c) The American Legislative Exchange Council

        (d) The State Policy Network

        (e) Honest Elections Project

        (f) Public Interest Legal Foundation

        (g) American Civil Rights Union

        (h) True the Vote

        (i) Judicial Watch

        (j) Project Veritas

        (k) The Republican National Committee

        (l) The Republican Party of Texas




 Dated: December 14, 2021.                       Respectfully submitted,

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                                    App072
EXHIBIT E




            App073
                                                            January 1, 2022

VIA EMAIL ONLY
Graham White
Elias Law Group LLP
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        RE:       Federal Rules of Civil Procedure 45 Subpoenas to Texas House of
                  Representatives Members Briscoe Cain and Andrew Murr and Texas Senate Member
                  Paul Bettencourt and Bryan Hughes (Legislators).

Dear Counsel—

       As you are aware on December 20, 2021, we received, and agreed to accept service of,
subpoenas directed to Representative Murr, Representative Cain, Senator Bettencourt, and Senator
Hughes. We write to address deficiencies in those subpoenas and to inform you of our objections to
them. In the interest of avoiding a motion to quash or a motion for protective order. we request a
meet and confer with you about the scope of the subpoenas and the basis of our objections, in the
hope that we can amicably resolve these issues without the need to seek court intervention.

        So you are aware, each Legislator is already conducting a good-faith search based on a fair
reading of your requests to determine whether responsive, non-privileged documents responsive to
your requests exist. These objections do not concede the existence of any documents. As outlined
below, each of your subpoenas appears identical, except for the Legislators named, so each of the
objections below apply with equal force to each subpoena.

   I.             The instructions attempt to impose burdens that exceed the requirements of
                  the federal rules and the fair bounds of discovery.

        The subpoena duces tecum subpoenas that you issued each include Instruction No. 23. That
instruction directs the Legislators to provide descriptions and information about documents that may
have existed and that either no longer exist or are no longer in the care, custody, or control of the
Legislators. That instruction is improper. The subpoenas that you issued authorize a request for
documents, not interrogatories. As such, it exceeds the requirements of the federal rules and the fair
bounds of discovery.

        Additionally, Instruction No. 28 requests a search of documents dating back to January 1,
2016, but it is unclear what relevance documents dating back to 2016 would have in this case. Here,
there is no demonstration of relevance for five-year old records, or even records that pre-date the


         P os t Of fic e Box 12548 , Aust in, Texa s 7 8 7 1 1 - 2 5 4 8 • ( 5 1 2 ) 4 6 3 - 2 1 0 0 • www. texa satto r neyg eneral .gov
                                                                                                                                    App074
most recent legislative session. Considering the scope of the challenges you have filed, the subpoena
date should be limited to June 1, 2020, for all of your requests. See Zukoski v. Philadelphia Elec. Co., No.
CIV. A. 93-4780, at *3 (E.D. Pa. Nov. 14, 1994) (“It is a generally accepted rule that standards for
non-party discovery require a stronger showing of relevance than for party discovery.”); see also
Cusumano v. Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998).

    II.          The subpoenas are overbroad on their face and reach non-relevant and
                 privileged documents.

         As we have said in our meet and confer and as addressed in the stipulated 502 agreement, we
believe some of the materials implicated by your requests may implicate the legislative privilege. The
Supreme Court has long recognized a legislative privilege that protects anyone acting in a legislative
capacity, including staff, from incurring civil liability for, or testifying about, legislative acts. See, e.g.,
Gravel v. United States, 408 U.S. 606, 615–16 (1972). The State of Texas has similar statutes applicable
to your requests that codify the same privilege. See Tex. Gov’t Code § 323.017; Tex Gov’t Code §
306.008 (Legislative Privilege); Tex. Gov’t Code § 323.018 (Legislative Privilege for Records). That
privilege prevents compelled disclosure of a legislator’s “thought processes or the communications he
had with other legislators” regarding legislation. Perez v. Abbott, 2014 WL 3495414 (W.D. Tex. July 11,
2014). Each of the requests in your subpoenas appears to be broad enough to reach documents subject
to legislative privilege. In fact, Requests 1-9 of each subpoena seek “all documents and
communications” regarding a range of voting issues, including voting assistance, transportation, an
illegal voting. The requests make no mention of legislative privilege, despite the requests directly going
to the “thought processes” of the Legislators.

       Similarly, each of the Legislators object to each of your requests to the extent that it calls for
the production of documents subject to legislative privilege, investigative privilege, deliberative
process privilege, attorney-client privilege, attorney opinion work-product privilege, ordinary attorney
work-product privilege, or it is protected from disclosure by Texas Government Code § 323.017,
which is privileged under Fed. R. Evid. 501.

        Crafting the requests without regard to the applicability of various privileges that are well
recognized and have been discussed on multiple occasions—including during the parties’ successful
exchanges that resulted in the Stipulated Rule 502 agreement applicable to this case—makes the
requests overbroad on their face.


    III.         The subpoenas are unduly burdensome, lack specificity, and exceed the fair
                 bounds of discovery.

         You’ve also requests information related to bills or portions of bills that are not law or are not
subject to any challenge in this case. Request Nos. 7-10, for instance, seek “all documents and
communications” related to SB1, SB7, HB6 or other legislation during the 87th Legislature and special
sessions held in 2021. As noted above, the standard for relevance applicable to non-party subpoenas
is higher than discovery directed at parties, and that showing has not been made about legislative
activities concerning SB7, HB6, or other legislation considering during the 87th Legislature or
subsequent special sessions.

                                                     ***



                                                                                                    App075
        The Legislators are conducting a good-faith search for responsive materials, and if non-
privileged, responsive, and relevant materials are identified, they will be produced. The Legislators
anticipate producing privilege logs in compliance with the Federal Rules of Civil Procedure, if
privileged, responsive, and relevant materials are identified. To avoid court intervention, we again
invite you to meet and confer so we can limit the scope of the requests to cover only those materials
that are non-privileged, responsive, and relevant. Please let us know when you are available to have
such a discussion during the first week of January 2022.



                                                      _/s/Eric A. Hudson_____________
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                                                      Texas State Bar. No. 24059977

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                                                                                          App076
EXHIBIT F




            App077
VIA EMAIL

                                         January 7, 2022

Eric A. Hudson
Senior Special Counsel
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           RE:   Party and Third-Party Discovery Objections, LULAC Texas et al. v. John Scott
                 et al., Case No. 5:21-cv-844-XR (W.D. Tex.)

Dear Counsel:

        We write to respond to two recent letters from you asserting your clients’ objections to
certain discovery requests and subpoenas. First, this letter addresses your December 30, 2021,
Objections and Supplemental Responses to Plaintiffs’ First Requests for Production (the
“Requests”) submitted on behalf of the Texas Attorney General and Secretary of State
(collectively, “Defendants”). Second, this letter addresses your January 1, 2022, letter in which
you raised various objections on behalf of Texas House of Representatives Members Briscoe Cain
and Andrew Murr, and Texas Senators Paul Bettencourt and Bryan Hughes (collectively the
“Legislators”) to the subpoena served on them by Plaintiffs. We send this letter in advance of our
meet and confer scheduled for Monday, January 10, in the hope that we might be able to narrow
some of the areas of disagreement between the parties.


      I.     Defendants’ and the Legislators relevance objections are unfounded.

        Both Defendants and the Legislators assert improper relevance objections to Plaintiffs’
requests. Defendants object to every Request on relevance grounds, and the Legislators claim that
all documents that pre-date June 1, 2020, are irrelevant. The Legislators also generally object that
the Subpoenas seek “non-relevant” documents separate and apart from their time-period objection,
without offering any explanation as to why or how the Subpoenas’ requests are otherwise
irrelevant.




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Letter to Eric A. Hudson
Page 2 of 4

        “In the discovery context, relevancy is broadly construed, and a request
for discovery should be considered relevant if there is any possibility that the information sought
may be relevant to the claim or defense of any party.” United States ex rel. Univ. Loft Co. v. AGS
Enterprises, Inc., No. SA-14-CA-528-OLG, 2016 WL 9462335, at *9 (W.D. Tex. June 29, 2016).
Relevant information encompasses “any matter that bears on, or that reasonably could lead to other
matter[s] that could bear on, any issue that is or may be in the case.” Oppenheimer Fund, Inc. v.
Sanders, 437 U.S. 340, 351 (1978). Additionally, “[t]he scope of discovery is the same under both
Federal Rules of Civil Procedure 45 and 26.” Garcia v. Pro. Cont. Servs., Inc., No. A-15-CV-585-
LY, 2017 WL 187577, at *2 (W.D. Tex. Jan. 17, 2017).

        Measured against this expansive concept of relevance, Defendants’ and the Legislators’
objections are without merit. Plaintiffs have asserted claims for which legislative intent is highly
relevant, and documents concerning SB 1, including portions of the bill that were not directly
challenged, are plainly relevant to intent. The same is true for documents that relate to similar bills
or address similar issues—including the Legislature’s prior attempts to pass similar legislation in
the preceding legislative sessions. These documents may provide evidence of the Legislature’s
intent in enacting SB 1. As such, the Requests and Subpoenas as issued seek information that
“reasonably could lead” to information that bears issues in the case and are, therefore, relevant.
See Oppenheimer Fund, Inc. 437 U.S. at 351. Defendants and the Legislators must withdraw their
relevance objections.

     II.   Defendants’ and the Legislators’ privilege objections are without merit.

        Both Defendants and the Legislators assert objections based on various and incorrect
claims of privilege to nearly every request. Defendants claim that certain requested documents are
“subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-
client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is
privileged under Fed. R. Evid. 501.” Similarly, the Legislators claim the Subpoenas are overbroad
because they seek documents protected by various privileges, including legislative privilege,
investigative privilege, deliberative process privilege, attorney-client privilege, attorney opinion
work-product privilege, or Texas Government Code § 323.017, which, the Legislators also claim
is “privileged” under Federal Rule of Evidence 501. This argument is incorrect as a matter of law.

        First, legislative privilege claims are unavailable under Federal Rule of Evidence 501.
While Defendants and the Legislators assert a broad legislative privilege that is codified in the
Texas Government Code, this case is pending in federal court and arises under a federal cause of
action. As such, “legislative privilege is governed by federal common law, as applied through Rule
501 of the Federal Rules of Evidence” and not Texas state law as the Legislators contend. Favors
v. Cuomo, 285 F.R.D. 187, 209 (E.D.N.Y. 2012) (emphasis added). Under federal common law,
any state legislative privilege is, at best, qualified. See Gilby v. Hughs, 471 F. Supp. 3d 763, 766
(W.D. Tex. 2020). And in cases involving claims under the Voting Rights Act, courts have
previously found that no state legislative privilege applied. See, e.g., Baldus v. Brennan, No. 11-
CV-1011 JPS-DPW, 2011 WL 6122542, at *2 (E.D. Wis. Dec. 8, 2011) (“[G]iven the serious
nature of the issues in this case and the government’s role in crafting the challenged redistricting
plans, the Court finds that legislative privilege simply does not apply to the documents and other



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Letter to Eric A. Hudson
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items the plaintiffs seek in the subpoenas they have issued.”), order clarified, No. 11-CV-1011
JPS-DPW, 2011 WL 6385645 (E.D. Wis. Dec. 20, 2011). Cf. Veasey v. Perry, No. 2:13-CV-193,
2014 WL 1340077, at *3 (S.D. Tex. Apr. 3, 2014). Consequently, the Legislators must withdraw
their assertions of legislative privilege. Plaintiffs are willing to confer about any remaining
privilege concerns that the Legislators maintain, should any exist, as well as how such claims can
be fairly evaluated.

    III.   Defendants’ objections that Requests are overly broad, vague, ambiguous, or
           lacking specificity are without merit and improperly asserted.

        Defendants object to every Request on various assertions of overbreadth, vagueness,
ambiguousness, and lack of specificity, but provide no indication as to how they have proceeded
to interpret the Requests in light of these objections, as required. See Johnson v. Kraft Foods N.
Am., Inc., 238 F.R.D. 648, 655 (D. Kan. 2006) (“The party objecting to discovery as vague or
ambiguous has the burden to show such vagueness or ambiguity. A party responding to discovery
requests should exercise reason and common sense to attribute ordinary definitions to terms and
phrases utilized in interrogatories.” (footnote omitted) (internal quotation marks omitted)). Nor do
they indicate whether they are withholding documents pursuant to these objections, which is also
required by the Federal Rules. Eubank v. Lockhart Indep. Sch. Dist., No. A-15-CV-1019-RP-ML,
2016 WL 11214437, at *2 (W.D. Tex. Nov. 8, 2016) (“None of these Responses state whether any
documents were withheld on the basis of the objections, and the objections are therefore
improper.” (citing Fed. R. Civ. P. 34(b)(2)(C))). As such, these objections are boilerplate and
improper. See Fed. R. Civ. P. 34(b)(2)(B). Plaintiffs are, nonetheless, willing to address any
specific and good faith overbreadth or vagueness concerns that Defendants have with the Requests
during the parties meet and confer.

    IV.    The Requests and Subpoenas are neither unduly burdensome, generalized, or
           beyond the bounds of discovery.

        Defendants and the Legislators also assert invalid objections on the grounds that the
Requests and Subpoenas are unduly burdensome, generalized, or beyond the bounds of discovery,
but have made no attempt to substantiate these claims. Despite Plaintiffs’ request, Defendants
made no attempt to meet and confer on potential search terms, instead ignoring Plaintiffs’ request
to discuss search terms until after Defendants’ discovery was due to Plaintiffs. Nor have
Defendants identified any of the searches that they have conducted thus far. At Defendants’ belated
request, Plaintiffs promptly provided proposed search terms for all of their requests, but
Defendants have yet to provide any hit counts for those searches or even confirm whether they
intend to use the proposed search terms.

        The Legislators, on the other hand, offer no explanation to support their boilerplate
objections or claims of burden. See Am. Fed’n of Musicians of the United States & Canada v.
Skodam Films, LLC, 313 F.R.D. 39, 46 (N.D. Tex. 2015) (“[J]ust as Rule 34(b)(1)’s reasonable
particularity requirement should apply with no less force to a subpoena's document requests to a
non-party, a non-party's Rule 45(d)(2)(B) objections to those requests should be subject to the
same requirements facing a party objecting to discovery under Rule 34.”).




                                                                                          App080
Letter to Eric A. Hudson
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        Nonetheless, Plaintiffs are willing to address these concerns in the parties’ scheduled meet
and confer and ask that Defendants and Legislators provide additional information on the status of
their searches so the parties can determine how they might address any undue burdens to facilitate
the timely production of documents.

     V.      Instruction No. 23 to the Subpoenas is Withdrawn.

          Plaintiffs agree to withdraw Instruction No. 23 to the Subpoenas.

                                                ***

        In addition to the above, Plaintiffs reserve the right to raise additional issues with
Defendants’ and the Legislators’ objections either in the parties’ January 10 meet and confer or a
later meeting, as necessary. We look forward to speaking with you about these matters on Monday
and hope that the parties will be able to narrow the scope of disagreement or reach an amicable
resolution without seeking Court intervention.


                                           Sincerely,




                                           Haley Costello Essig
                                           hessig@elias.law
                                           Counsel for Plaintiffs LULAC Texas, Voto Latino,
                                           Texas Alliance for Retired Americans, and Texas AFT

                                           Co-signatories:

                                           Ryan V. Cox
                                           TEXAS CIVIL RIGHTS PROJECT
                                           1405 Montopolis Drive
                                           Austin, TX 78741
                                           ryan@texascivilrightsproject.org
                                           Counsel For Plaintiffs Oca-Greater Houston, et al.

                                           Jennifer A. Holmes
                                           NAACP Legal Defense and Educational Fund, Inc.
                                           700 14th Street NW, Suite 600
                                           Washington, DC 20005
                                           jholmes@naacpldf.org
                                           Counsel for Plaintiffs Houston Justice; Houston Area
                                           Urban League; Delta Sigma Theta Sorority, Inc.; The
                                           Arc of Texas; and Jeffrey Lamar Clemmons



                                                                                          App081
Letter to Eric A. Hudson
Page 5 of 4



                           Wendy J. Olson
                           STOEL RIVES LLP
                           760 SW Ninth Avenue, Suite 3000
                           Portland, OR 97205
                           wendy.olson@stoel.com
                           Attorney for Plaintiffs Mi Familia
                           Vota, Marla Lopez, Marlon Lopez,
                           Paul Rutledge

                           Sean Morales-Doyle
                           BRENNAN CENTER FOR JUSTICE AT NYU
                           SCHOOL OF LAW
                           120 Broadway, Suite 1750
                           New York, NY 10271
                           sean.morales-doyle@nyu.edu
                           Attorney for Plaintiffs Friendship-West Baptist Church;
                           Anti-Defamation League Austin, Southwest, And
                           Texoma Regions; Texas Impact; James Lewin




                                                                        App082
EXHIBIT G




            App083
Chris Dodge

From:                     Haley Costello Essig
Sent:                     Tuesday, February 22, 2022 3:39 PM
To:                       Eric Hudson; Leif Olson; Aaron Barnes; Jeff White; Kathleen Hunker; Jack DiSorbo
Cc:                       Olson, Wendy J.; Nina Perales; ryan@texascivilrightsproject.org; lromano@disabilityrightstx.org;
                          liz.ryan@weil.com; Michael.Keats@friedfrank.com; chostetler@freespeechforpeople.org; Rasich, Marc;
                          jholmes@naacpldf.org; scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org;
                          asavitzky@aclu.org; morales-doyles@brennan.law.nyu.edu; tbuser-clancy@aclutx.org; Watkins, Elijah
                          M.; Daniel Freeman; Jasleen Singh; Patrick Berry; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta;
                          Kassi Yukevich; Graham White; Marcos Mocine-McQueen; Noah Baron; Mike Jones
Subject:                  LUPE v. Abbott - Deficient Legislator Production
Attachments:              2022-02-22 _TXSB1_LULAC Plaintiffs' deficiency letter to E. Hudson re Legislators' production.pdf


Counsel:

Please see the attached letter regarding the deficient document production from Texas House of Representatives
Members Briscoe Cain and Andrew Murr, and Texas Senators Paul Bettencourt and Bryan Hughes.

Thank you.

Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
(she/her)

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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Eric Hudson <Eric.Hudson@oag.texas.gov>
Sent: Thursday, February 3, 2022 3:10 PM
To: Haley Costello Essig <hessig@elias.law>; Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes
<Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Thanks for reaching out, Haley.

As you’re aware, the responses were delivered to you on January 20, and a large portion of the team handling those
responses traveled to El Paso during the week of January 24, 2022, for preliminary injunction hearing that last four


                                                                           1
                                                                                                                                 App084
days. Yesterday afternoon, today, and tomorrow have been impacted by a major snow storm that has hit the Austin
area.

We have identified responsive documents (roughly 1,700, as I understand it), and we are currently conducting a
review of those documents. We anticipate having those out early next week. We’ll also supplement our responses to
include any documents we’re withholding based upon privilege or other objection next week.

In addition to that matter, we have forwarded notices of 30(b)(6) topics to you and other plaintiffs’ counsel. Have
you all had a chance to review and do you have any objections to the topics that we can address today? If so, let’s
handle that as well so we can get those depositions on the books.

As always, please reach out with any immediate questions or concerns.

s/Eric Hudson

From: Haley Costello Essig <hessig@elias.law>
Sent: Thursday, February 3, 2022 1:59 PM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Counsel:

It has been one week since we sent you a request to meet and confer regarding the overdue production responsive to
the third‐party subpoenas issued to Senator Hughes, Senator Bettencourt, Representative Cain, and Representative
Murr, and we still have not received a statement of available or proposed times from you. To reiterate, we seek (1) a
date certain by which you will produce documents and (2) a statement of whether documents will be withheld pursuant
to the stated objections or reservations of purported privilege, specifically claims of legislative and deliberative process
privilege.

As the parties are convening this afternoon to discuss other matters related to a protective order and ESI agreement, we
propose that we address these matters immediately following such discussion in the same conference. We welcome
your response to these matters via email in advance of that conference in hopes that may narrow the points of
disagreement or obviate the need for discussion altogether. If we are unable to timely resolve these issues, we will have
no choice but to file a motion to compel production to avoid further delay.

Kind regards,

Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
(she/her)


                                                             2
                                                                                                         App085
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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Haley Costello Essig
Sent: Friday, January 28, 2022 9:43 AM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Thank you for your response, Leif. We do not believe that this matter requires all hands on deck, so we are glad to hear
that at least some of your team is not involved in the trial or PI hearing preparation. We hope and expect those
members can attend a meet and confer early next week. Our intent is to discuss the timing of the production and the
basis for any withholdings.

Your clients have not refused to produce documents. Instead, the responses state that production will be made on an
unspecified “rolling basis within a reasonable time.” We believe that this is insufficient and problematic, as your team
has not made any attempt to discuss the confines of that rolling basis, or what you deem to be reasonable, with us
either before or after unilaterally adopting such a basis. As you are aware, the production deadline for documents
pursuant to the subpoenas has come and gone, and while you have sent responses indicating that you intend to produce
documents, that was over a week ago, and we have yet to receive a single document. Time is of the essence. To the
extent we cannot agree on the timing, we will need to move to compel production with the Court.

Furthermore, the responses reserve privilege and other objections that have no legal basis, as previously explained in
our January 7, 2022, letter. The responses state that searches have already been run to collect documents. We would,
therefore, like to understand what objections, if any, you intend to rely upon to withhold documents. We previously
discussed this with Mr. Hudson at our meet and confer on January 10 following receipt of your January 1, 2022, letter
objections. Mr. Hudson informed us that, as of January 10, he was unable to state whether documents would be
withheld pursuant to these baseless objections. We expect that since December 15, when we sent you notice of the
subpoenas, or since December 20, when you formally agreed to accept service, you will have had sufficient opportunity
to determine whether you will rely upon objections to withhold production. If your objections do serve as a basis for
withholding documents, we will need to move to compel production.

We look forward to discussing these pressing matters with you or another member of your team early next week. Thank
you.

Kind regards,

Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
(she/her)

                                                                           3
                                                                                                                                 App086
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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Leif Olson <Leif.Olson@oag.texas.gov>
Sent: Thursday, January 27, 2022 6:16 PM
To: Haley Costello Essig <hessig@elias.law>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Haley,

Most of our team is in trial in El Paso right now and most of the team will be preparing for another PI hearing
next week. This includes most of the lawyers who were working on this production, so we may not be able to
find time for this until late, rather than early, next week. We will keep you posted.

Are there any particular concerns you can point to help us determine how much time we might need to set
aside?

From: Haley Costello Essig <hessig@elias.law>
Sent: Thursday, January 27, 2022 4:51 PM
To: Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson <Eric.Hudson@oag.texas.gov>; Jeff White
<Jeff.White@oag.texas.gov>; Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo
<Jack.DiSorbo@oag.texas.gov>; Leif Olson <Leif.Olson@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Counsel:

We would like to schedule a meet and confer for early next week to discuss the objections and responses from Senator
Hughes, Senator Bettencourt, Representative Cain, and Representative Mir that you sent below. Please let us know your
availability at your earliest convenience.

Kind regards,
                                                                           4
                                                                                                                                 App087
Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
(she/her)

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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Aaron Barnes <Aaron.Barnes@oag.texas.gov>
Sent: Thursday, January 20, 2022 5:27 PM
To: Graham White <gwhite@elias.law>; nperales@maldef.org; christopher.bell@friedfrank.com;
jason.kanterman@friedfrank.com; jlongoria@maldef.org; michael.keats@friedfrank.com;
rebecca.martin@friedfrank.com; liz.ryan@weil.com; paul.genender@weil.com; morales‐doyles@brennan.law.nyu.edu;
alexander.cohen@weil.com; andrew.garber@nyu.edu; sweren‐beckere@brennan.law.nyu.edu; jasleen.singh@nyu.edu;
matt.berde@weil.com; patrick.berry@nyu.edu; bclements@freespeechforpeople.org; laura.rosenbaum@stoel.com;
wendy.olson@stoel.com; chostetler@freespeechforpeople.org; elijah.watkins@stoel.com;
jbonifaz@freespeechforpeople.org; marc.rasich@stoel.com; rfein@freespeechforpeople.org; sean@lyonsandlyons.com;
gyeomans@naacpldf.org; kdulaney@reedsmith.com; jholmes@naacpldf.org; ksadasivan@naacpldf.org;
kbroughton@reedsmith.com; lspencer@reedsmith.com; abadat@naacpldf.org; scummings@reedsmith.com;
wakschlag@thearc.org; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich <kyukevich@elias.law>; Jonathan
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<mmixon@elias.law>; acepedaderieux@aclu.org; asegura@aclutx.org; hani@texascivilrightsproject.org;
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ryan@texascivilrightsproject.org; sosaki@aclu.org; skumar@aclutx.org; slakin@aclu.org; slorenzo‐giguere@aaldef.org;
tbuser‐clancy@aclutx.org; umittal@jenner.com; asavitzky@aclu.org; aharris@aclutx.org; daniel.freeman@usdoj.gov;
Michael.Stewart3@usdoj.gov; Yun, <Jennifer.Yun@usdoj.gov>; Dana.Paikowsky@usdoj.gov
Cc: Eric Hudson <Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>; Leif Olson <Leif.Olson@oag.texas.gov>
Subject: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Counsel,

Attached please find the objections and responses to the subpoenas for production that were
issued to Senator Hughes, Senator Bettencourt, Representative Cain, and Representative Mir in
LUPE v. Abbott, 5:21-cv-00844-XR (W.D. Tex.).

Thank you.

Best regards,

J. Aaron Barnes
Special Counsel
Special Litigation Unit
OFFICE OF THE ATTORNEY GENERAL
(512) 936-2021
aaron.barnes@oag.texas.gov

This message may be confidential and/or privileged under Government Code sections 552.101,
552.103, 552.107, and 552.111 and should not be disclosed without the express authorization of
the Attorney General.
                                                                           5
                                                                                                                                 App088
EXHIBIT H




            App089
VIA EMAIL                                                                            Haley Costello Essig
                                                                                       Hessig@elias.law
                                                                                        D. 202-968-4675




                                        February 22, 2022

Eric A. Hudson
Senior Special Counsel
Office of the Texas Attorney General
Special Litigation Unit
P.O. Box 12548
Austin, Texas 78711-2548

       RE:      Deficient Third-Party Production, LULAC Texas et al. v. John Scott et al., Case
                No. 5:21-cv-844-XR (W.D. Tex.)

Dear Counsel:

        We write to address deficiencies in the document production you made on February 18,
2022, on behalf of Texas House of Representatives Members Briscoe Cain and Andrew Murr, and
Texas Senators Paul Bettencourt and Bryan Hughes (collectively the “Legislators”) pursuant to
the subpoenas served on them on December 20, 2021, by Plaintiffs. Based on prior representations
regarding the volume of responsive documents collected and reviewed, it is clear that you are
withholding a large quantity of documents pursuant to the Legislators’ purported objections and
privileges, which, as we discussed, are without merit.

        We provided you with notice of our intent to serve subpoenas on the Legislators on
December 15, 2022, asking whether you would represent the Legislators and accept service. You
agreed to accept service of the subpoenas to the Legislators on December 20, 2021, and requested
that service be effective as of that date. Objections to those subpoenas were due within 14 days,
by January 3, 2022, and production was due within 30 days, by January 19, 2022.

         On January 1, 2022, you sent a letter asserting objections and claiming certain privileges
to Plaintiffs’ requests. Specifically, the Legislators objected that each of the requests in the
subpoenas was overbroad, and irrelevant, and that certain of the requests were unduly burdensome,
lacked specificity, and exceeded the fair bounds of discovery. The Legislators also purported to
assert “legislative privilege, investigative privilege, ordinary attorney work-product privilege, or
. . . Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.” On January



                                                                                          App090
Letter to Eric A. Hudson
Page 2 of 4

7, 2022, we responded to your letter to inform you that your objections were without merit and
that the asserted privileges were improper as a matter of law. We met and conferred with you on
January 10, 2022, at which meeting you informed us you had not read our letter. You represented,
however, that the objections asserted in your January 1 letter were reservations, and you had
collected, were reviewing, and intended to produce documents but could not state whether any
documents were being withheld at that time.

       On January 20, 2022, one day after the deadline for production, rather than produce a single
document, you purported to make new objections along with formal responses to the subpoenas.
The responses to the subpoenas stated that production would be made on an unspecified “rolling
basis within a reasonable time.” On January 27, 2022, after still not receiving a document
production, we asked for a conference to discuss the production date and whether any documents
were being withheld. On February 3, 2022, we reiterated our request.

        You replied on February 3, 2022, informing us that you had identified “roughly 1,700”
“responsive documents,” which you “anticipate[d]” producing “early” the week of February 7. By
the afternoon of February 8, 2022, no documents had been produced. We again inquired about the
documents and whether you were withholding documents during our February 8 meet and confer.
You informed us that you were nearly finished with your review, having only a couple hundred
remaining, and responsive documents would be produced by the end of the week with a privilege
log to follow shortly thereafter. Despite having nearly completed your review, you refused to
commit to a position on your intent to withhold documents pursuant to your meritless objections
and assertions of privilege or protection.

        On February 11, 2022, more than three weeks after the Legislators’ full production was
due, you produced only 232 documents. This paltry production out of the 1,700 responsive
documents you identified, is, on its face, incomplete. Documents reference attachments that are
not included. Pages are missing. All of the documents are external facing. It is, thus, severely
deficient.

        While we have not received a privilege log from you to date, as we have already expressed
in our January 7 letter and discussed with you during our January 10 conference, there is no legal
basis to withhold documents pursuant to claims of legislative, investigative, or deliberative process
privilege in this federal proceeding. Yet, your production rate is a mere 14% of the identified
responsive documents. We do not believe there is a legitimate basis upon which valid claims of
attorney-client privilege or the work product doctrine could be asserted to account for 86% of the
responsive documents, or roughly 1,500 documents, that are currently being withheld. As such, in
addition to being facially deficient, it is apparent even without the aid of a privilege log that the
Legislators have impermissibly and overbroadly withheld the majority of the documents Plaintiffs
are entitled to receive.

       We ask that you immediately supplement your production by no later than Friday, February
25, 2022, to provide the missing attachments and pages to the documents already produced, and
to produce the documents that are being withheld under late-blooming or baseless objections, and
improper claims of privilege or protection. Should you have any questions, we remain available to
discuss. Plaintiffs have made every attempt to be reasonable and accommodating, but, as we told



                                                                                          App091
Letter to Eric A. Hudson
Page 3 of 4

you during our February 8, 2022, conference, we cannot accept any further delays by the
Legislators. We will move to compel a fulsome production if the Legislators insist on continuing
with their refusal to comply with their obligations.


                                        Sincerely,




                                        Haley Costello Essig
                                        hessig@elias.law

                                        Counsel for Plaintiffs LULAC Texas, Voto Latino,
                                        Texas Alliance for Retired Americans, and Texas AFT




                                                                                      App092
EXHIBIT I




            App093
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
       Plaintiffs,                               §
                                                 §     Case No. 5:21-cv-844-XR
 v.                                              §     (Consolidated Cases)
                                                 §
 THE STATE OF TEXAS, et al.,                     §
       Defendants.                               §


              SENATOR PAUL BETTENCOURT’S OBJECTIONS AND RESPONSES TO
                   PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

TO:    The LULAC Plaintiffs, by and through their attorney of record, Graham W. White, Elias Law
       Group, 10 G Street NE, Suite 600, Washington DC 20002; The LUPE Plaintiffs, by and
       through their attorney of record, Nina Perales, Mexican American Legal Defense and
       Education Fund, 110 Broadway, Suite 300, San Antonio, TX 78205; The OCA-Greater
       Houston Plaintiffs, by and through their attorney of record, Ryan V. Cox, Texas Civil Rights
       Project, 1405 Montopolis Drive, Austin, TX 78741; The Houston Justice Plaintiffs, by and
       through their attorney of record, Sarah M. Cummings, Reed Smith LLP, 2850 N. Harwood
       Street, Suite 1500, Dallas, TX 75201; and The Mi Familia Vota Plaintiffs, by and through their
       counsel of record, Sean Lyons, Lyons & Lyons, P.C., 237 W. Travis Street, Suite 100, San
       Antonio, Texas 78205; the United States, by and through its attorney of record, Daniel J.
       Freeman, Civil Rights Division, U.S. Department of Justice, 950 Pennsylvania Ave, NW,
       Washington, DC 20530.

       Senator Paul Bettencourt serves his Objections and Responses to Private Plaintiffs’ Subpoena
for Documents.

Date: January 20, 2022                         Respectfully submitted,

KEN PAXTON                                     /s/ Patrick K. Sweeten
Attorney General of Texas                      PATRICK K. SWEETEN
                                               Deputy Attorney General for Special Litigation
BRENT WEBSTER                                  Tex. State Bar No. 00798537
First Assistant Attorney General
                                               WILLIAM T. THOMPSON
                                               Deputy Chief, Special Litigation Unit
                                               Tex. State Bar No. 24088531

                                               ERIC A. HUDSON
                                               Senior Special Counsel


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                                                                                          App094
                                               Tex. Bar No. 24059977

                                               KATHLEEN T. HUNKER
                                               Special Counsel
                                               Tex. State Bar No. 24118415
                                               *Application for Admission Pending

                                               LEIF A. OLSON
                                               Special Counsel
                                               Tex. State Bar No. 24032801

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                                               Special Counsel
                                               Tex. State Bar No. 24064380

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                                               Counsel for Senator Paul Bettencourt

                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 20, 2022, these objections and responses were served on all

parties’ lead counsel by electronic mail.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN




                                                 2
                                                                                          App095
                            OBJECTIONS RELEVANT TO EACH REQUEST

        These objections apply specifically to each request. They are offered here in the interest of

brevity to avoid unnecessary repetition of objections to definitions, scope, and similar issues that afflict

each request.

A. Lack of protective order.

        There is currently no protective order in place between Private Plaintiffs and Senator

Bettencourt. To the extent that documents may be discoverable but require additional protections to

prevent public disclosure, those documents will be withheld and described in the responses pending

entry of an appropriate protective order.

B. Undue burden and expense.

C. The “attorney responsible for issuing and serving a subpoena must take reasonable steps
   to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed.
   R. Civ. P. 45(d)(1). Nonparty subpoenas are subject to the parameters established by Rule
   26. Camoco, LLC v. Leyva , 333 F.R.D. 603, 607 (W.D. Tex. 2019). Therefore, the discovery
   sought here is still limited to “nonprivileged matter that is relevant to any party’s claim or
   defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Irrelevance
   and disproportionality.

        The twin requirements of relevancy and proportionality “are related but distinct[.]” Samsung

Electronics Am., Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). If the information sought is

irrelevant to a party’s claims or defenses, “it is not necessary to determine whether it would be

proportional if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. 15-cv-0645, 2016 WL 1244510,

at *3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019).

        Much of the requested production is irrelevant to Private Plaintiffs’ claims. in this case. Private

Plaintiffs challenge specific portions of Senate Bill 1. Many of the production requests, however, treat

SB1 as an undifferentiated whole. Some requests seek documents and communications related to SB7,

HB3, and HB6, which were not enacted into law. Such requests are overly broad and exceedingly likely

to sweep in vast amounts irrelevant information.


                                                     3
                                                                                                 App096
        The request also is disproportionate to the needs of the case. Rule 26(b) was amended in 2015

“to emphasize the need for proportionality,” Prasad v. George Washington Univ., 323 F.R.D. 88, 91

(D.D.C. 2017), and “highlight[] its significance,” Mannina v. D.C., 334 F.R.D. 336, 339 n.4 (D.D.C.

2020); see also Chief Justice John Roberts, 2015 Year-End Report on the Federal Judiciary, at 6 (“Rule

26(b)(1) crystalizes the concept of reasonable limits on discovery through increased reliance on the

common-sense concept of proportionality[.]”). This addition of overt “proportional” language was

meant to better reflect the intent of the 1983 amendments, which were designed “to deal with the

problem of over-discovery.” Fed. R. Civ. P. 26(b) advisory committee’s note (2015) (quoting the 1983
advisory notes). However, this “clear focus of the 1983 provisions may have been softened, although

inadvertently, by the amendments made in 1993.” Id. The 2015 amendment sought to “restore[] the

proportionality factors to their original place in defining the scope of discovery” and reinforce the

parties’ obligation “to consider these factors in making discovery requests, responses, or objections.”

Id. As fully restored, the proportionality requirement “relieves parties from the burden of taking

unreasonable steps to ferret out every relevant document.” Va. Dep’t of Corr. v. Jordan, 921 F.3d 180,

189 (4th Cir. 2019), cert. denied, 140 S. Ct. 672 (2019). Accordingly, Senator Bettencourt objects to

the subpoena to the extent that it falls short of this more stringent proportionality standard.

        In particular, Senator Bettencourt objects to requests for “all documents” and “all

communications” to the extent that responding would require him to search and examine every email

directed to or from his office. Because Senator Bettencourt is an elected official whose contact

information is publicly available, his office receives thousands of emails from various sources each

session. Conducting such a search and review is disproportionate to the needs of the case and unduly

burdensome in terms of both the time and expense it would require.

        Senator Bettencourt further objects to each request as unduly burdensome because they ask

him to gather documents that are publicly available or otherwise equally accessible to the Private

Plaintiffs or that are within the possession, custody, or control of third parties. To the extent that

topics were debated in connection with SB1, potentially responsive materials are publicly accessible in

SB1’s bill history, see Texas Legislature Online, https://capitol.texas.gov/BillLookup/History.aspx?


                                                   4
                                                                                              App097
LegSess=872&Bill=SB1, and in the Legislative Reference Library of Texas, which contains activity

concerning specific legislation, including statements about legislation by individual legislators, see

https://lrl.texas.gov/collections/journals/journals.cfm.

D. Legislative privilege.

        Given that Senator Bettencourt is a legislator, and the requested production directly relates to

legislative activities, much of the requested production is subject to legislative privilege. The privilege

protects not only legislators, but their staff and aides as well. See Gravel v. United States, 408 U.S. 606,

615-16 (1972). The privilege also extends to “officials outside the legislative branch” when such

officials “perform legislative functions.” Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998) (citing Supreme

Court of Va. v. Consumers Union of U.S., Inc., 446 U.S. 719, 731–34 (1980)). In particular, requests for

“all communications” necessarily include within their scope communications between Senator

Bettencourt and his staff, Senator Bettencourt and other legislators, and Senator Bettencourt and other

individuals or agencies that are acting within the sphere of legitimate legislative activity. Such

communications and deliberations are protected by legislative privilege. See Bogan, 523 U.S. at 55;

Gravel, 408 U.S. at 624–25; and Tenney v. Brandhove, 341 U.S. 367, 376 (1951).

E. Retention of right to object.

        The inadvertent production or disclosure of any privileged documents or information is not a

waiver of any privilege that may apply to that document or information, the contents or subject matter

thereof, or other such documents or discovery requested or produced either now or in the future.

Senator Bettencourt reserves the right withhold documents that are in part protected by privilege,

except on a redacted basis, and to require the return of any document (and all copies thereof)

inadvertently produced. Senator Bettencourt likewise does not waive the right to object to (1) the

evidentiary use of documents produced in response to these requests and (2) discovery requests

relating to those documents.

        Similarly, these responses and objections are not an agreement with any party’s

characterization of any facts, circumstances, or legal obligations. Senator Bettencourt reserves the right



                                                     5
                                                                                                 App098
to contest any such characterization as inaccurate and object to the Requests insofar as they contain

any express or implied assumptions of fact or law concerning matters at issue in this litigation.

F. Scope of these requests under the applicable rules.

       Senator Bettencourt’s responses and objections are based on terms as they are commonly

understood or, as appropriate, defined by the Federal Rules of Civil Procedure and the Local Rules.

Senator Bettencourt objects to Private Plaintiffs’ definitions and instructions to the extent that they

purport to expand or modify those rules, the definitions contained in them, or the obligations required

by them.




                                                   6
                                                                                             App099
                           SPECIFIC OBJECTIONS AND RESPONSES TO
                       PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the following methods of voting
during the period from 2020 to present:
    a. Drop-box voting;
    b. Drive-thru voting;
    c. 24-hour voting;
    d. Straight-ticket voting;
    e. Vote-by-mail;
    f. Early voting.

       RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth; it seeks materials regardless of whether they are
related to the portions of SB1 that Private Plaintiffs challenge in this case. Senator Bettencourt is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

         Further, as a member of the legislative branch, Senator Bettencourt is not responsible for
enforcing the law. Thus, to the extent that the requested materials are held by others, including state
and local law enforcement agencies, those materials are not within his possession, custody, or control
and should be requested from them rather than an individual legislator. Whether publicly available or
held by third parties, the burden of requiring Senator Bettencourt to collect these documents
disproportionately exceeds any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v.
Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider what information is available to the
requesting party from other sources” when analyzing “the benefit side of the ledger”). Therefore, the
request is not proportional to the needs of the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



                                                  7
                                                                                            App100
REQUEST FOR PRODUCTION NO. 2: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with voter assistance, including
transportation assistance, during the period from 2020 to present.

        RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials regardless of whether they are
related to the portions of SB1 that Private Plaintiffs challenge in this case. Further, Private Plaintiffs
neither define the term “voter assistance” nor limit its application to the portions of SB1 that are at
issue in this case. The request is therefore unduly burdensome and disproportionate to the needs of
the case because it encompasses all manner of activities that are irrelevant to this litigation. For
example, Texas Election Code §§ 64.032,.0321,.033, and.035 all concern some form of voting
assistance, but none are at issue in this suit—and indeed were not even amended by SB1. Nonetheless,
any documents or communications involving criminal conduct in relation to those provisions would
plainly fall within the scope of this request. Senator Bettencourt is prepared to meet and confer
concerning reasonable search terms that would reduce the burdensome nature of this request.

         Senator Bettencourt further objects that this request is unduly burdensome because of its
overlap with Request No. 1, which also seeks information on “illegal voting, election fraud, or other
criminal conduct[.]” To the extent it duplicates Request No. 1, this request adds unnecessary burden
and expense and produces no discernible benefit. Further, as a member of the legislative branch,
Senator Bettencourt is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Senator Bettencourt to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



                                                     8
                                                                                                 App101
REQUEST FOR PRODUCTION NO. 3: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the ability (or lack thereof) of poll
watchers to move and observe the election process in a voting or vote-counting location during the
period from 2020 to present.

        RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Bettencourt further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials regarding poll watchers
regardless of whether those materials or the poll watchers’ activities are related to the portions of SB1
that Private Plaintiffs challenge in this case. Senator Bettencourt is prepared to meet and confer
concerning reasonable search terms that would reduce the burdensome nature of this request.

         Senator Bettencourt objects that this request is unduly burdensome because of its overlap with
Request Nos. 1 and 2. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Bettencourt is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Senator Bettencourt to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 4: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with “vote harvesting services,” as
defined in SB 1, during the period from 2020 to present.



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                                                                                                  App102
        RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501. Senator Bettencourt
further objects to this request as unduly burdensome and not proportionate to the needs of the case.
See Objections § C.

         Senator Bettencourt objects that this request is unduly burdensome because of its overlap with
Request Nos. 1–3. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Bettencourt is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Senator Bettencourt to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 5: All documents and communications discussing illegal
voting, election fraud, or other criminal conduct in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County
    h. El Paso County
    i. Tom Green County

        RESPONSE:



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                                                                                                  App103
        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Senator
Bettencourt is prepared to meet and confer concerning reasonable search terms that would reduce the
burdensome nature of this request.

         Senator Bettencourt objects that this request is unduly burdensome because of its overlap with
Request Nos. 1–4. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Bettencourt is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Senator Bettencourt to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 6: All documents and communications related to voting
practices, election administration, or voter turnout in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County



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                                                                                                  App104
    h. El Paso County
    i. Tom Green County

        RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. More,
Private Plaintiffs do not define the term “voting practices,” which is vague therefore overbroad and
unduly burdensome. Senator Bettencourt is prepared to meet and confer concerning reasonable search
terms that would reduce the burdensome nature of this request.

         Further, Senator Bettencourt objects that this request is unduly burdensome because of its
overlap with Request No. 5. Both this request and that request seek information on the same set of
counties. To the extent that it duplicates those requests, this request adds unnecessary burden and
expense and produces no discernible benefit. Further, as a member of the legislative branch, Senator
Bettencourt is not responsible for enforcing the law. Thus, to the extent that the requested materials
are held by others, including state and local law enforcement agencies, those materials are not within
his possession, custody, or control and should be requested from them rather than an individual
legislator. Whether publicly available or held by third parties, the burden of requiring Senator
Bettencourt to collect these documents disproportionately exceeds any benefit that Private Plaintiffs
might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider
what information is available to the requesting party from other sources” when analyzing “the benefit
side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 7: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County


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                                                                                                  App105
    d.   Tarrant County
    e.   Bexar County
    f.   Travis County
    g.   Collin County
    h.   El Paso County
    i.   Tom Green County

         RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. Senator Bettencourt is prepared to meet and confer concerning
reasonable search terms that would reduce the burdensome nature of this request.

         Further, Senator Bettencourt objects that this request is unduly burdensome because of its
overlap with Request Nos. 5 and 6. Both this request and those requests seek information on the same
set of counties. To the extent that it duplicates those requests, this request adds unnecessary burden
and expense and produces no discernible benefit. Further, as a member of the legislative branch,
Senator Bettencourt is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Senator Bettencourt to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



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REQUEST FOR PRODUCTION NO. 8: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter turnout and
wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled persons, and
persons with limited English proficiency.

        RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Senator Bettencourt is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

        Further, Senator Bettencourt objects that this request is unduly burdensome because of its
overlap with Request No. 7. By its very terms—“all documents and communications related to the
anticipated or potential effect of” several bills proposed in the Texas Legislature—this request seeks
the same information as sought by Request No. 7. To the extent that it duplicates that request, this
request adds unnecessary burden and expense and produces no discernible benefit. Further, as a
member of the legislative branch, Senator Bettencourt is not responsible for enforcing the law. Thus,
to the extent that the requested materials are held by others, including state and local law enforcement
agencies, those materials are not within his possession, custody, or control and should be requested
from them rather than an individual legislator. Whether publicly available or held by third parties, the
burden of requiring Senator Bettencourt to collect these documents disproportionately exceeds any
benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir.
2019) (courts should “consider what information is available to the requesting party from other
sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not proportional
to the needs of the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this



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response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 9: All documents and communications relied on to draft
SB 1, SB 7, HB 3, or HB 6.

        RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Senator Bettencourt is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 10: All documents and communications with the following
third-party organizations, including any of their affiliates or subsidiaries, regarding SB 1, SB 7, HB 3,
or HB 6, including communications regarding the impacts or potential impacts of SB 1, SB 7, HB 3,
or HB 6 on racial or ethnic minorities and disabled voters, and on voters by party affiliation:
    a. The Heritage Foundation
    b. The Texas Public Policy Foundation
    c. The American Legislative Exchange Council
    d. The State Policy Network
    e. Honest Elections Project
    f. Public Interest Legal Foundation
    g. American Civil Rights Union
    h. True the Vote


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    i.   Judicial Watch
    j.   Project Veritas
    k.   The Republican National Committee
    l.   The Republican Party of Texas

         RESPONSE:

        Senator Bettencourt objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Bettencourt further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. More,
Private Plaintiffs do not define the term “disabled voters,” which is vague therefore overbroad and
unduly burdensome. Senator Bettencourt is prepared to meet and confer concerning reasonable search
terms that would reduce the burdensome nature of this request.

         Further, Senator Bettencourt objects that this request is unduly burdensome because of its
overlap with Request Nos. 8 and 9. To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Bettencourt is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Further, many of the documents that would be responsive to this
request are already available online on the websites of these third-party organizations. And to the
extent that this covers private communications, such responsive materials are more likely to be housed
with these groups than with Senator Bettencourt, given the relatively short 30-day email-retention
policy under which Senator Bettencourt operates. Whether publicly available or held by third parties,
the burden of requiring Senator Bettencourt to collect these documents disproportionately exceeds
any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th
Cir. 2019) (courts should “consider what information is available to the requesting party from other
sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not proportional
to the needs of the case.

       Subject to these objections, Senator Bettencourt has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.


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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
       Plaintiffs,                               §
                                                 §     Case No. 5:21-cv-844-XR
 v.                                              §     (Consolidated Cases)
                                                 §
 THE STATE OF TEXAS, et al.,                     §
       Defendants.                               §


             REPRESENTATIVE BRISCOE CAIN’S OBJECTIONS AND RESPONSES TO
                   PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

TO:    The LULAC Plaintiffs, by and through their attorney of record, Graham W. White, Elias Law
       Group, 10 G Street NE, Suite 600, Washington DC 20002; The LUPE Plaintiffs, by and
       through their attorney of record, Nina Perales, Mexican American Legal Defense and
       Education Fund, 110 Broadway, Suite 300, San Antonio, TX 78205; The OCA-Greater
       Houston Plaintiffs, by and through their attorney of record, Ryan V. Cox, Texas Civil Rights
       Project, 1405 Montopolis Drive, Austin, TX 78741; The Houston Justice Plaintiffs, by and
       through their attorney of record, Sarah M. Cummings, Reed Smith LLP, 2850 N. Harwood
       Street, Suite 1500, Dallas, TX 75201; and The Mi Familia Vota Plaintiffs, by and through their
       counsel of record, Sean Lyons, Lyons & Lyons, P.C., 237 W. Travis Street, Suite 100, San
       Antonio, Texas 78205; the United States, by and through its attorney of record, Daniel J.
       Freeman, Civil Rights Division, U.S. Department of Justice, 950 Pennsylvania Ave, NW,
       Washington, DC 20530.

       Representative Briscoe Cain serves his Objections and Responses to Private Plaintiffs’
Subpoena for Documents.

Date: January 20, 2022                         Respectfully submitted,

KEN PAXTON                                     /s/ Patrick K. Sweeten
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                                               Deputy Chief, Special Litigation Unit
                                               Tex. State Bar No. 24088531

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                                               Tex. Bar No. 24059977

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                                               Tex. State Bar No. 24118415
                                               *Application for Admission Pending

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                                               Counsel for Representative Briscoe Cain

                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 20, 2022, these objections and responses were served on all

parties’ lead counsel by electronic mail.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN




                                                 2
                                                                                          App111
                            OBJECTIONS RELEVANT TO EACH REQUEST

        These objections apply specifically to each request. They are offered here in the interest of

brevity to avoid unnecessary repetition of objections to definitions, scope, and similar issues that afflict

each request.

A. Lack of protective order.

        There is currently no protective order in place between Private Plaintiffs and Representative

Cain. To the extent that documents may be discoverable but require additional protections to prevent

public disclosure, those documents will be withheld and described in the responses pending entry of

an appropriate protective order.

B. Undue burden and expense.

C. The “attorney responsible for issuing and serving a subpoena must take reasonable steps
   to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed.
   R. Civ. P. 45(d)(1). Nonparty subpoenas are subject to the parameters established by Rule
   26. Camoco, LLC v. Leyva , 333 F.R.D. 603, 607 (W.D. Tex. 2019). Therefore, the discovery
   sought here is still limited to “nonprivileged matter that is relevant to any party’s claim or
   defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Irrelevance
   and disproportionality.

        The twin requirements of relevancy and proportionality “are related but distinct[.]” Samsung

Electronics Am., Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). If the information sought is

irrelevant to a party’s claims or defenses, “it is not necessary to determine whether it would be

proportional if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. 15-cv-0645, 2016 WL 1244510,

at *3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019).

        Much of the requested production is irrelevant to Private Plaintiffs’ claims. in this case. Private

Plaintiffs challenge specific portions of Senate Bill 1. Many of the production requests, however, treat

SB1 as an undifferentiated whole. Some requests seek documents and communications related to SB7,

HB3, and HB6, which were not enacted into law. Such requests are overly broad and exceedingly likely

to sweep in vast amounts irrelevant information.


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        The request also is disproportionate to the needs of the case. Rule 26(b) was amended in 2015

“to emphasize the need for proportionality,” Prasad v. George Washington Univ., 323 F.R.D. 88, 91

(D.D.C. 2017), and “highlight[] its significance,” Mannina v. D.C., 334 F.R.D. 336, 339 n.4 (D.D.C.

2020); see also Chief Justice John Roberts, 2015 Year-End Report on the Federal Judiciary, at 6 (“Rule

26(b)(1) crystalizes the concept of reasonable limits on discovery through increased reliance on the

common-sense concept of proportionality[.]”). This addition of overt “proportional” language was

meant to better reflect the intent of the 1983 amendments, which were designed “to deal with the

problem of over-discovery.” Fed. R. Civ. P. 26(b) advisory committee’s note (2015) (quoting the 1983
advisory notes). However, this “clear focus of the 1983 provisions may have been softened, although

inadvertently, by the amendments made in 1993.” Id. The 2015 amendment sought to “restore[] the

proportionality factors to their original place in defining the scope of discovery” and reinforce the

parties’ obligation “to consider these factors in making discovery requests, responses, or objections.”

Id. As fully restored, the proportionality requirement “relieves parties from the burden of taking

unreasonable steps to ferret out every relevant document.” Va. Dep’t of Corr. v. Jordan, 921 F.3d 180,

189 (4th Cir. 2019), cert. denied, 140 S. Ct. 672 (2019). Accordingly, Representative Cain objects to

the subpoena to the extent that it falls short of this more stringent proportionality standard.

        In particular, Representative Cain objects to requests for “all documents” and “all

communications” to the extent that responding would require him to search and examine every email

directed to or from his office. Because Representative Cain is an elected official whose contact

information is publicly available, his office receives thousands of emails from various sources each

session. Conducting such a search and review is disproportionate to the needs of the case and unduly

burdensome in terms of both the time and expense it would require.

        Representative Cain further objects to each request as unduly burdensome because they ask

him to gather documents that are publicly available or otherwise equally accessible to the Private

Plaintiffs or that are within the possession, custody, or control of third parties. To the extent that

topics were debated in connection with SB1, potentially responsive materials are publicly accessible in

SB1’s bill history, see Texas Legislature Online, https://capitol.texas.gov/BillLookup/History.aspx?


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LegSess=872&Bill=SB1, and in the Legislative Reference Library of Texas, which contains activity

concerning specific legislation, including statements about legislation by individual legislators, see

https://lrl.texas.gov/collections/journals/journals.cfm.

D. Legislative privilege.

        Given that Representative Cain is a legislator, and the requested production directly relates to

legislative activities, much of the requested production is subject to legislative privilege. The privilege

protects not only legislators, but their staff and aides as well. See Gravel v. United States, 408 U.S. 606,

615-16 (1972). The privilege also extends to “officials outside the legislative branch” when such

officials “perform legislative functions.” Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998) (citing Supreme

Court of Va. v. Consumers Union of U.S., Inc., 446 U.S. 719, 731–34 (1980)). In particular, requests for

“all communications” necessarily include within their scope communications between Representative

Cain and his staff, Representative Cain and other legislators, and Representative Cain and other

individuals or agencies that are acting within the sphere of legitimate legislative activity. Such

communications and deliberations are protected by legislative privilege. See Bogan, 523 U.S. at 55;

Gravel, 408 U.S. at 624–25; and Tenney v. Brandhove, 341 U.S. 367, 376 (1951).

E. Retention of right to object.

        The inadvertent production or disclosure of any privileged documents or information is not a

waiver of any privilege that may apply to that document or information, the contents or subject matter

thereof, or other such documents or discovery requested or produced either now or in the future.

Representative Cain reserves the right withhold documents that are in part protected by privilege,

except on a redacted basis, and to require the return of any document (and all copies thereof)

inadvertently produced. Representative Cain likewise does not waive the right to object to (1) the

evidentiary use of documents produced in response to these requests and (2) discovery requests

relating to those documents.

        Similarly, these responses and objections are not an agreement with any party’s

characterization of any facts, circumstances, or legal obligations. Representative Cain reserves the right



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to contest any such characterization as inaccurate and object to the Requests insofar as they contain

any express or implied assumptions of fact or law concerning matters at issue in this litigation.

F. Scope of these requests under the applicable rules.

       Representative Cain’s responses and objections are based on terms as they are commonly

understood or, as appropriate, defined by the Federal Rules of Civil Procedure and the Local Rules.

Representative Cain objects to Private Plaintiffs’ definitions and instructions to the extent that they

purport to expand or modify those rules, the definitions contained in them, or the obligations required

by them.




                                                   6
                                                                                             App115
                           SPECIFIC OBJECTIONS AND RESPONSES TO
                       PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the following methods of voting
during the period from 2020 to present:
    a. Drop-box voting;
    b. Drive-thru voting;
    c. 24-hour voting;
    d. Straight-ticket voting;
    e. Vote-by-mail;
    f. Early voting.

       RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth; it seeks materials regardless of whether they are
related to the portions of SB1 that Private Plaintiffs challenge in this case. Representative Cain is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

         Further, as a member of the legislative branch, Representative Cain is not responsible for
enforcing the law. Thus, to the extent that the requested materials are held by others, including state
and local law enforcement agencies, those materials are not within his possession, custody, or control
and should be requested from them rather than an individual legislator. Whether publicly available or
held by third parties, the burden of requiring Representative Cain to collect these documents
disproportionately exceeds any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v.
Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider what information is available to the
requesting party from other sources” when analyzing “the benefit side of the ledger”). Therefore, the
request is not proportional to the needs of the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



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REQUEST FOR PRODUCTION NO. 2: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with voter assistance, including
transportation assistance, during the period from 2020 to present.

        RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials regardless of whether they are
related to the portions of SB1 that Private Plaintiffs challenge in this case. Further, Private Plaintiffs
neither define the term “voter assistance” nor limit its application to the portions of SB1 that are at
issue in this case. The request is therefore unduly burdensome and disproportionate to the needs of
the case because it encompasses all manner of activities that are irrelevant to this litigation. For
example, Texas Election Code §§ 64.032,.0321,.033, and.035 all concern some form of voting
assistance, but none are at issue in this suit—and indeed were not even amended by SB1. Nonetheless,
any documents or communications involving criminal conduct in relation to those provisions would
plainly fall within the scope of this request. Representative Cain is prepared to meet and confer
concerning reasonable search terms that would reduce the burdensome nature of this request.

         Representative Cain further objects that this request is unduly burdensome because of its
overlap with Request No. 1, which also seeks information on “illegal voting, election fraud, or other
criminal conduct[.]” To the extent it duplicates Request No. 1, this request adds unnecessary burden
and expense and produces no discernible benefit. Further, as a member of the legislative branch,
Representative Cain is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Representative Cain to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



                                                     8
                                                                                                 App117
REQUEST FOR PRODUCTION NO. 3: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the ability (or lack thereof) of poll
watchers to move and observe the election process in a voting or vote-counting location during the
period from 2020 to present.

        RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Representative Cain further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials regarding poll watchers
regardless of whether those materials or the poll watchers’ activities are related to the portions of SB1
that Private Plaintiffs challenge in this case. Representative Cain is prepared to meet and confer
concerning reasonable search terms that would reduce the burdensome nature of this request.

         Representative Cain objects that this request is unduly burdensome because of its overlap with
Request Nos. 1 and 2. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Representative Cain is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Representative Cain to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 4: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with “vote harvesting services,” as
defined in SB 1, during the period from 2020 to present.



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                                                                                                  App118
        RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501. Representative Cain
further objects to this request as unduly burdensome and not proportionate to the needs of the case.
See Objections § C.

         Representative Cain objects that this request is unduly burdensome because of its overlap with
Request Nos. 1–3. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Representative Cain is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Representative Cain to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 5: All documents and communications discussing illegal
voting, election fraud, or other criminal conduct in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County
    h. El Paso County
    i. Tom Green County

        RESPONSE:



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                                                                                                  App119
        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials.
Representative Cain is prepared to meet and confer concerning reasonable search terms that would
reduce the burdensome nature of this request.

         Representative Cain objects that this request is unduly burdensome because of its overlap with
Request Nos. 1–4. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Representative Cain is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Representative Cain to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 6: All documents and communications related to voting
practices, election administration, or voter turnout in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County



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                                                                                                  App120
    h. El Paso County
    i. Tom Green County

        RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. More,
Private Plaintiffs do not define the term “voting practices,” which is vague therefore overbroad and
unduly burdensome. Representative Cain is prepared to meet and confer concerning reasonable search
terms that would reduce the burdensome nature of this request.

         Further, Representative Cain objects that this request is unduly burdensome because of its
overlap with Request No. 5. Both this request and that request seek information on the same set of
counties. To the extent that it duplicates those requests, this request adds unnecessary burden and
expense and produces no discernible benefit. Further, as a member of the legislative branch,
Representative Cain is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Representative Cain to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 7: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County


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    d.   Tarrant County
    e.   Bexar County
    f.   Travis County
    g.   Collin County
    h.   El Paso County
    i.   Tom Green County

         RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. Representative Cain is prepared to meet and confer concerning
reasonable search terms that would reduce the burdensome nature of this request.

         Further, Representative Cain objects that this request is unduly burdensome because of its
overlap with Request Nos. 5 and 6. Both this request and those requests seek information on the same
set of counties. To the extent that it duplicates those requests, this request adds unnecessary burden
and expense and produces no discernible benefit. Further, as a member of the legislative branch,
Representative Cain is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Representative Cain to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



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REQUEST FOR PRODUCTION NO. 8: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter turnout and
wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled persons, and
persons with limited English proficiency.

        RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Representative Cain is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

        Further, Representative Cain objects that this request is unduly burdensome because of its
overlap with Request No. 7. By its very terms—“all documents and communications related to the
anticipated or potential effect of” several bills proposed in the Texas Legislature—this request seeks
the same information as sought by Request No. 7. To the extent that it duplicates that request, this
request adds unnecessary burden and expense and produces no discernible benefit. Further, as a
member of the legislative branch, Representative Cain is not responsible for enforcing the law. Thus,
to the extent that the requested materials are held by others, including state and local law enforcement
agencies, those materials are not within his possession, custody, or control and should be requested
from them rather than an individual legislator. Whether publicly available or held by third parties, the
burden of requiring Representative Cain to collect these documents disproportionately exceeds any
benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir.
2019) (courts should “consider what information is available to the requesting party from other
sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not proportional
to the needs of the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this



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response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 9: All documents and communications relied on to draft
SB 1, SB 7, HB 3, or HB 6.

        RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Representative Cain is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 10: All documents and communications with the following
third-party organizations, including any of their affiliates or subsidiaries, regarding SB 1, SB 7, HB 3,
or HB 6, including communications regarding the impacts or potential impacts of SB 1, SB 7, HB 3,
or HB 6 on racial or ethnic minorities and disabled voters, and on voters by party affiliation:
    a. The Heritage Foundation
    b. The Texas Public Policy Foundation
    c. The American Legislative Exchange Council
    d. The State Policy Network
    e. Honest Elections Project
    f. Public Interest Legal Foundation
    g. American Civil Rights Union
    h. True the Vote


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                                                                                                  App124
    i.   Judicial Watch
    j.   Project Veritas
    k.   The Republican National Committee
    l.   The Republican Party of Texas

         RESPONSE:

        Representative Cain objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Cain further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. More,
Private Plaintiffs do not define the term “disabled voters,” which is vague therefore overbroad and
unduly burdensome. Representative Cain is prepared to meet and confer concerning reasonable search
terms that would reduce the burdensome nature of this request.

         Further, Representative Cain objects that this request is unduly burdensome because of its
overlap with Request Nos. 8 and 9. To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Representative Cain is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Further, many of the documents that would be responsive to this
request are already available online on the websites of these third-party organizations. And to the
extent that this covers private communications, such responsive materials are more likely to be housed
with these groups than with Representative Cain, given the relatively short 30-day email-retention
policy under which Representative Cain operates. Whether publicly available or held by third parties,
the burden of requiring Representative Cain to collect these documents disproportionately exceeds
any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th
Cir. 2019) (courts should “consider what information is available to the requesting party from other
sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not proportional
to the needs of the case.

       Subject to these objections, Representative Cain has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.


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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
       Plaintiffs,                               §
                                                 §     Case No. 5:21-cv-844-XR
 v.                                              §     (Consolidated Cases)
                                                 §
 THE STATE OF TEXAS, et al.,                     §
       Defendants.                               §


                 SENATOR BRYAN HUGHES’ OBJECTIONS AND RESPONSES TO
                    PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

TO:    The LULAC Plaintiffs, by and through their attorney of record, Graham W. White, Elias Law
       Group, 10 G Street NE, Suite 600, Washington DC 20002; The LUPE Plaintiffs, by and
       through their attorney of record, Nina Perales, Mexican American Legal Defense and
       Education Fund, 110 Broadway, Suite 300, San Antonio, TX 78205; The OCA-Greater
       Houston Plaintiffs, by and through their attorney of record, Ryan V. Cox, Texas Civil Rights
       Project, 1405 Montopolis Drive, Austin, TX 78741; The Houston Justice Plaintiffs, by and
       through their attorney of record, Sarah M. Cummings, Reed Smith LLP, 2850 N. Harwood
       Street, Suite 1500, Dallas, TX 75201; and The Mi Familia Vota Plaintiffs, by and through their
       counsel of record, Sean Lyons, Lyons & Lyons, P.C., 237 W. Travis Street, Suite 100, San
       Antonio, Texas 78205; the United States, by and through its attorney of record, Daniel J.
       Freeman, Civil Rights Division, U.S. Department of Justice, 950 Pennsylvania Ave, NW,
       Washington, DC 20530.

       Senator Bryan Hughes serves his Objections and Responses to Private Plaintiffs’ Subpoena
for Documents.

Date: January 20, 2022                         Respectfully submitted,

KEN PAXTON                                     /s/ Patrick K. Sweeten
Attorney General of Texas                      PATRICK K. SWEETEN
                                               Deputy Attorney General for Special Litigation
BRENT WEBSTER                                  Tex. State Bar No. 00798537
First Assistant Attorney General
                                               WILLIAM T. THOMPSON
                                               Deputy Chief, Special Litigation Unit
                                               Tex. State Bar No. 24088531

                                               ERIC A. HUDSON
                                               Senior Special Counsel


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                                                                                          App126
                                               Tex. Bar No. 24059977

                                               KATHLEEN T. HUNKER
                                               Special Counsel
                                               Tex. State Bar No. 24118415
                                               *Application for Admission Pending

                                               LEIF A. OLSON
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                                               Tex. State Bar No. 24032801

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                                               Counsel for Senator Bryan Hughes

                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 20, 2022, these objections and responses were served on all

parties’ lead counsel by electronic mail.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN




                                                 2
                                                                                          App127
                            OBJECTIONS RELEVANT TO EACH REQUEST

        These objections apply specifically to each request. They are offered here in the interest of

brevity to avoid unnecessary repetition of objections to definitions, scope, and similar issues that afflict

each request.

A. Lack of protective order.

        There is currently no protective order in place between Private Plaintiffs and Senator Hughes.

To the extent that documents may be discoverable but require additional protections to prevent public

disclosure, those documents will be withheld and described in the responses pending entry of an

appropriate protective order.

B. Undue burden and expense.

C. The “attorney responsible for issuing and serving a subpoena must take reasonable steps
   to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed.
   R. Civ. P. 45(d)(1). Nonparty subpoenas are subject to the parameters established by Rule
   26. Camoco, LLC v. Leyva , 333 F.R.D. 603, 607 (W.D. Tex. 2019). Therefore, the discovery
   sought here is still limited to “nonprivileged matter that is relevant to any party’s claim or
   defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Irrelevance
   and disproportionality.

        The twin requirements of relevancy and proportionality “are related but distinct[.]” Samsung

Electronics Am., Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). If the information sought is

irrelevant to a party’s claims or defenses, “it is not necessary to determine whether it would be

proportional if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. 15-cv-0645, 2016 WL 1244510,

at *3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019).

        Much of the requested production is irrelevant to Private Plaintiffs’ claims. in this case. Private

Plaintiffs challenge specific portions of Senate Bill 1. Many of the production requests, however, treat

SB1 as an undifferentiated whole. Some requests seek documents and communications related to SB7,

HB3, and HB6, which were not enacted into law. Such requests are overly broad and exceedingly likely

to sweep in vast amounts irrelevant information.


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                                                                                                 App128
           The request also is disproportionate to the needs of the case. Rule 26(b) was amended in 2015

“to emphasize the need for proportionality,” Prasad v. George Washington Univ., 323 F.R.D. 88, 91

(D.D.C. 2017), and “highlight[] its significance,” Mannina v. D.C., 334 F.R.D. 336, 339 n.4 (D.D.C.

2020); see also Chief Justice John Roberts, 2015 Year-End Report on the Federal Judiciary, at 6 (“Rule

26(b)(1) crystalizes the concept of reasonable limits on discovery through increased reliance on the

common-sense concept of proportionality[.]”). This addition of overt “proportional” language was

meant to better reflect the intent of the 1983 amendments, which were designed “to deal with the

problem of over-discovery.” Fed. R. Civ. P. 26(b) advisory committee’s note (2015) (quoting the 1983
advisory notes). However, this “clear focus of the 1983 provisions may have been softened, although

inadvertently, by the amendments made in 1993.” Id. The 2015 amendment sought to “restore[] the

proportionality factors to their original place in defining the scope of discovery” and reinforce the

parties’ obligation “to consider these factors in making discovery requests, responses, or objections.”

Id. As fully restored, the proportionality requirement “relieves parties from the burden of taking

unreasonable steps to ferret out every relevant document.” Va. Dep’t of Corr. v. Jordan, 921 F.3d 180,

189 (4th Cir. 2019), cert. denied, 140 S. Ct. 672 (2019). Accordingly, Senator Hughes objects to the

subpoena to the extent that it falls short of this more stringent proportionality standard.

           In particular, Senator Hughes objects to requests for “all documents” and “all

communications” to the extent that responding would require him to search and examine every email

directed to or from his office. Because Senator Hughes is an elected official whose contact information

is publicly available, his office receives thousands of emails from various sources each session.

Conducting such a search and review is disproportionate to the needs of the case and unduly

burdensome in terms of both the time and expense it would require.

           Senator Hughes further objects to each request as unduly burdensome because they ask him

to gather documents that are publicly available or otherwise equally accessible to the Private Plaintiffs

or that are within the possession, custody, or control of third parties. To the extent that topics were

debated in connection with SB1, potentially responsive materials are publicly accessible in SB1’s bill

history,     see   Texas   Legislature   Online,   https://capitol.texas.gov/BillLookup/History.aspx?


                                                    4
                                                                                              App129
LegSess=872&Bill=SB1, and in the Legislative Reference Library of Texas, which contains activity

concerning specific legislation, including statements about legislation by individual legislators, see

https://lrl.texas.gov/collections/journals/journals.cfm.

D. Legislative privilege.

        Given that Senator Hughes is a legislator, and the requested production directly relates to

legislative activities, much of the requested production is subject to legislative privilege. The privilege

protects not only legislators, but their staff and aides as well. See Gravel v. United States, 408 U.S. 606,

615-16 (1972). The privilege also extends to “officials outside the legislative branch” when such

officials “perform legislative functions.” Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998) (citing Supreme

Court of Va. v. Consumers Union of U.S., Inc., 446 U.S. 719, 731–34 (1980)). In particular, requests for

“all communications” necessarily include within their scope communications between Senator Hughes

and his staff, Senator Hughes and other legislators, and Senator Hughes and other individuals or

agencies that are acting within the sphere of legitimate legislative activity. Such communications and

deliberations are protected by legislative privilege. See Bogan, 523 U.S. at 55; Gravel, 408 U.S. at 624–

25; and Tenney v. Brandhove, 341 U.S. 367, 376 (1951).

E. Retention of right to object.

        The inadvertent production or disclosure of any privileged documents or information is not a

waiver of any privilege that may apply to that document or information, the contents or subject matter

thereof, or other such documents or discovery requested or produced either now or in the future.

Senator Hughes reserves the right withhold documents that are in part protected by privilege, except

on a redacted basis, and to require the return of any document (and all copies thereof) inadvertently

produced. Senator Hughes likewise does not waive the right to object to (1) the evidentiary use of

documents produced in response to these requests and (2) discovery requests relating to those

documents.

        Similarly, these responses and objections are not an agreement with any party’s

characterization of any facts, circumstances, or legal obligations. Senator Hughes reserves the right to



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                                                                                                 App130
contest any such characterization as inaccurate and object to the Requests insofar as they contain any

express or implied assumptions of fact or law concerning matters at issue in this litigation.

F. Scope of these requests under the applicable rules.

        Senator Hughes’ responses and objections are based on terms as they are commonly

understood or, as appropriate, defined by the Federal Rules of Civil Procedure and the Local Rules.

Senator Hughes objects to Private Plaintiffs’ definitions and instructions to the extent that they

purport to expand or modify those rules, the definitions contained in them, or the obligations required

by them.




                                                   6
                                                                                                App131
                           SPECIFIC OBJECTIONS AND RESPONSES TO
                       PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the following methods of voting
during the period from 2020 to present:
    a. Drop-box voting;
    b. Drive-thru voting;
    c. 24-hour voting;
    d. Straight-ticket voting;
    e. Vote-by-mail;
    f. Early voting.

        RESPONSE:

        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome and not proportionate
to the needs of the case. See Objections § C. The undue burden and disproportionality of this request
are compounded by its overbreadth; it seeks materials regardless of whether they are related to the
portions of SB1 that Private Plaintiffs challenge in this case. Senator Hughes is prepared to meet and
confer concerning reasonable search terms that would reduce the burdensome nature of this request.

        Further, as a member of the legislative branch, Senator Hughes is not responsible for enforcing
the law. Thus, to the extent that the requested materials are held by others, including state and local
law enforcement agencies, those materials are not within his possession, custody, or control and
should be requested from them rather than an individual legislator. Whether publicly available or held
by third parties, the burden of requiring Senator Hughes to collect these documents disproportionately
exceeds any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180,
189 (4th Cir. 2019) (courts should “consider what information is available to the requesting party from
other sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not
proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.




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REQUEST FOR PRODUCTION NO. 2: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with voter assistance, including
transportation assistance, during the period from 2020 to present.

        RESPONSE:

        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome and not proportionate
to the needs of the case. See Objections § C. The undue burden and disproportionality of this request
are compounded by its overbreadth. It seeks materials regardless of whether they are related to the
portions of SB1 that Private Plaintiffs challenge in this case. Further, Private Plaintiffs neither define
the term “voter assistance” nor limit its application to the portions of SB1 that are at issue in this case.
The request is therefore unduly burdensome and disproportionate to the needs of the case because it
encompasses all manner of activities that are irrelevant to this litigation. For example, Texas Election
Code §§ 64.032,.0321,.033, and.035 all concern some form of voting assistance, but none are at issue
in this suit—and indeed were not even amended by SB1. Nonetheless, any documents or
communications involving criminal conduct in relation to those provisions would plainly fall within
the scope of this request. Senator Hughes is prepared to meet and confer concerning reasonable search
terms that would reduce the burdensome nature of this request.

         Senator Hughes further objects that this request is unduly burdensome because of its overlap
with Request No. 1, which also seeks information on “illegal voting, election fraud, or other criminal
conduct[.]” To the extent it duplicates Request No. 1, this request adds unnecessary burden and
expense and produces no discernible benefit. Further, as a member of the legislative branch, Senator
Hughes is not responsible for enforcing the law. Thus, to the extent that the requested materials are
held by others, including state and local law enforcement agencies, those materials are not within his
possession, custody, or control and should be requested from them rather than an individual legislator.
Whether publicly available or held by third parties, the burden of requiring Senator Hughes to collect
these documents disproportionately exceeds any benefit that Private Plaintiffs might realize. See Va.
Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider what information is
available to the requesting party from other sources” when analyzing “the benefit side of the ledger”).
Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.



                                                     8
                                                                                                 App133
REQUEST FOR PRODUCTION NO. 3: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the ability (or lack thereof) of poll
watchers to move and observe the election process in a voting or vote-counting location during the
period from 2020 to present.

        RESPONSE:

        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome and not proportionate
to the needs of the case. See Objections § C. The undue burden and disproportionality of this request
are compounded by its overbreadth. It seeks materials regarding poll watchers regardless of whether
those materials or the poll watchers’ activities are related to the portions of SB1 that Private Plaintiffs
challenge in this case. Senator Hughes is prepared to meet and confer concerning reasonable search
terms that would reduce the burdensome nature of this request.

         Senator Hughes objects that this request is unduly burdensome because of its overlap with
Request Nos. 1 and 2. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Hughes is not responsible for enforcing the law. Thus, to the extent that
the requested materials are held by others, including state and local law enforcement agencies, those
materials are not within his possession, custody, or control and should be requested from them rather
than an individual legislator. Whether publicly available or held by third parties, the burden of requiring
Senator Hughes to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 4: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with “vote harvesting services,” as
defined in SB 1, during the period from 2020 to present.

        RESPONSE:


                                                     9
                                                                                                 App134
        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501. Senator Hughes further
objects to this request as unduly burdensome and not proportionate to the needs of the case. See
Objections § C.

         Senator Hughes objects that this request is unduly burdensome because of its overlap with
Request Nos. 1–3. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Hughes is not responsible for enforcing the law. Thus, to the extent that
the requested materials are held by others, including state and local law enforcement agencies, those
materials are not within his possession, custody, or control and should be requested from them rather
than an individual legislator. Whether publicly available or held by third parties, the burden of requiring
Senator Hughes to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 5: All documents and communications discussing illegal
voting, election fraud, or other criminal conduct in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County
    h. El Paso County
    i. Tom Green County

        RESPONSE:

        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and


                                                    10
                                                                                                 App135
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome and not proportionate
to the needs of the case. See Objections § C. The undue burden and disproportionality of this request
are compounded by its overbreadth. It seeks materials whether or not they are related to the portions
of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching back six years
and seeks not just those materials, but all documents related to those materials. Senator Hughes is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

         Senator Hughes objects that this request is unduly burdensome because of its overlap with
Request Nos. 1–4. Both this request and those requests seek information on “illegal voting, election
fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Hughes is not responsible for enforcing the law. Thus, to the extent that
the requested materials are held by others, including state and local law enforcement agencies, those
materials are not within his possession, custody, or control and should be requested from them rather
than an individual legislator. Whether publicly available or held by third parties, the burden of requiring
Senator Hughes to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 6: All documents and communications related to voting
practices, election administration, or voter turnout in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County
    h. El Paso County
    i. Tom Green County

        RESPONSE:



                                                    11
                                                                                                 App136
        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome and not proportionate
to the needs of the case. See Objections § C. The undue burden and disproportionality of this request
are compounded by its overbreadth. It seeks materials whether or not they are related to the portions
of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching back six years
and seeks not just those materials, but all documents related to those materials. More, Private Plaintiffs
do not define the term “voting practices,” which is vague therefore overbroad and unduly
burdensome. Senator Hughes is prepared to meet and confer concerning reasonable search terms that
would reduce the burdensome nature of this request.

          Further, Senator Hughes objects that this request is unduly burdensome because of its overlap
with Request No. 5. Both this request and that request seek information on the same set of counties.
To the extent that it duplicates those requests, this request adds unnecessary burden and expense and
produces no discernible benefit. Further, as a member of the legislative branch, Senator Hughes is not
responsible for enforcing the law. Thus, to the extent that the requested materials are held by others,
including state and local law enforcement agencies, those materials are not within his possession,
custody, or control and should be requested from them rather than an individual legislator. Whether
publicly available or held by third parties, the burden of requiring Senator Hughes to collect these
documents disproportionately exceeds any benefit that Private Plaintiffs might realize. See Va. Dep’t of
Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider what information is available
to the requesting party from other sources” when analyzing “the benefit side of the ledger”).
Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 7: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County



                                                    12
                                                                                                 App137
    h. El Paso County
    i. Tom Green County

        RESPONSE:

        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome, not proportionate to
the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality of
this request are compounded by its overbreadth. It seeks materials whether or not they are related to
the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. Senator Hughes is prepared to meet and confer concerning reasonable
search terms that would reduce the burdensome nature of this request.

         Further, Senator Hughes objects that this request is unduly burdensome because of its overlap
with Request Nos. 5 and 6. Both this request and those requests seek information on the same set of
counties. To the extent that it duplicates those requests, this request adds unnecessary burden and
expense and produces no discernible benefit. Further, as a member of the legislative branch, Senator
Hughes is not responsible for enforcing the law. Thus, to the extent that the requested materials are
held by others, including state and local law enforcement agencies, those materials are not within his
possession, custody, or control and should be requested from them rather than an individual legislator.
Whether publicly available or held by third parties, the burden of requiring Senator Hughes to collect
these documents disproportionately exceeds any benefit that Private Plaintiffs might realize. See Va.
Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider what information is
available to the requesting party from other sources” when analyzing “the benefit side of the ledger”).
Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 8: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter turnout and
wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled persons, and
persons with limited English proficiency.


                                                   13
                                                                                               App138
        RESPONSE:

        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Hughes further objects to this request as unduly burdensome, not proportionate to
the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality of
this request are compounded by its overbreadth. It seeks materials whether or not they are related to
the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Senator Hughes is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

         Further, Senator Hughes objects that this request is unduly burdensome because of its overlap
with Request No. 7. By its very terms—“all documents and communications related to the anticipated
or potential effect of” several bills proposed in the Texas Legislature—this request seeks the same
information as sought by Request No. 7. To the extent that it duplicates that request, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Hughes is not responsible for enforcing the law. Thus, to the extent that
the requested materials are held by others, including state and local law enforcement agencies, those
materials are not within his possession, custody, or control and should be requested from them rather
than an individual legislator. Whether publicly available or held by third parties, the burden of requiring
Senator Hughes to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 9: All documents and communications relied on to draft
SB 1, SB 7, HB 3, or HB 6.

        RESPONSE:


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                                                                                                 App139
        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Senator Hughes further objects to this request as unduly burdensome, not proportionate to
the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality of
this request are compounded by its overbreadth. It seeks materials whether or not they are related to
the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Senator Hughes is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 10: All documents and communications with the following
third-party organizations, including any of their affiliates or subsidiaries, regarding SB 1, SB 7, HB 3,
or HB 6, including communications regarding the impacts or potential impacts of SB 1, SB 7, HB 3,
or HB 6 on racial or ethnic minorities and disabled voters, and on voters by party affiliation:
    a. The Heritage Foundation
    b. The Texas Public Policy Foundation
    c. The American Legislative Exchange Council
    d. The State Policy Network
    e. Honest Elections Project
    f. Public Interest Legal Foundation
    g. American Civil Rights Union
    h. True the Vote
    i. Judicial Watch
    j. Project Veritas
    k. The Republican National Committee
    l. The Republican Party of Texas

        RESPONSE:




                                                   15
                                                                                               App140
        Senator Hughes objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Senator Hughes further objects to this request as unduly burdensome and not proportionate
to the needs of the case. See Objections § C. The undue burden and disproportionality of this request
are compounded by its overbreadth. It seeks materials whether or not they are related to the portions
of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching back six years
and seeks not just those materials, but all documents related to those materials. More, Private Plaintiffs
do not define the term “disabled voters,” which is vague therefore overbroad and unduly burdensome.
Senator Hughes is prepared to meet and confer concerning reasonable search terms that would reduce
the burdensome nature of this request.

         Further, Senator Hughes objects that this request is unduly burdensome because of its overlap
with Request Nos. 8 and 9. To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Senator Hughes is not responsible for enforcing the law. Thus, to the extent that
the requested materials are held by others, including state and local law enforcement agencies, those
materials are not within his possession, custody, or control and should be requested from them rather
than an individual legislator. Further, many of the documents that would be responsive to this request
are already available online on the websites of these third-party organizations. And to the extent that
this covers private communications, such responsive materials are more likely to be housed with these
groups than with Senator Hughes, given the relatively short 30-day email-retention policy under which
Senator Hughes operates. Whether publicly available or held by third parties, the burden of requiring
Senator Hughes to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Senator Hughes has conducted a diligent search and will produce
responsive, non-privileged documents on a rolling basis within a reasonable time of this response.
Should responsive documents be subject to privilege, objection, or both, this response will be
supplemented to reflect that such documents are being withheld.




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                                                                                                 App141
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
       Plaintiffs,                               §
                                                 §     Case No. 5:21-cv-844-XR
 v.                                              §     (Consolidated Cases)
                                                 §
 THE STATE OF TEXAS, et al.,                     §
       Defendants.                               §


            REPRESENTATIVE ANDREW MURR’S OBJECTIONS AND RESPONSES TO
                   PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

TO:    The LULAC Plaintiffs, by and through their attorney of record, Graham W. White, Elias Law
       Group, 10 G Street NE, Suite 600, Washington DC 20002; The LUPE Plaintiffs, by and
       through their attorney of record, Nina Perales, Mexican American Legal Defense and
       Education Fund, 110 Broadway, Suite 300, San Antonio, TX 78205; The OCA-Greater
       Houston Plaintiffs, by and through their attorney of record, Ryan V. Cox, Texas Civil Rights
       Project, 1405 Montopolis Drive, Austin, TX 78741; The Houston Justice Plaintiffs, by and
       through their attorney of record, Sarah M. Cummings, Reed Smith LLP, 2850 N. Harwood
       Street, Suite 1500, Dallas, TX 75201; and The Mi Familia Vota Plaintiffs, by and through their
       counsel of record, Sean Lyons, Lyons & Lyons, P.C., 237 W. Travis Street, Suite 100, San
       Antonio, Texas 78205; the United States, by and through its attorney of record, Daniel J.
       Freeman, Civil Rights Division, U.S. Department of Justice, 950 Pennsylvania Ave, NW,
       Washington, DC 20530.

       Representative Andrew Murr serves his Objections and Responses to Private Plaintiffs’
Subpoena for Documents.

Date: January 20, 2022                         Respectfully submitted,

KEN PAXTON                                     /s/ Patrick K. Sweeten
Attorney General of Texas                      PATRICK K. SWEETEN
                                               Deputy Attorney General for Special Litigation
BRENT WEBSTER                                  Tex. State Bar No. 00798537
First Assistant Attorney General
                                               WILLIAM T. THOMPSON
                                               Deputy Chief, Special Litigation Unit
                                               Tex. State Bar No. 24088531

                                               ERIC A. HUDSON
                                               Senior Special Counsel


                                                 1
                                                                                          App142
                                               Tex. Bar No. 24059977

                                               KATHLEEN T. HUNKER
                                               Special Counsel
                                               Tex. State Bar No. 24118415
                                               *Application for Admission Pending

                                               LEIF A. OLSON
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                                               Tex. State Bar No. 24032801

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                                               Counsel for Representative Andrew Murr

                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 20, 2022, these objections and responses were served on all

parties’ lead counsel by electronic mail.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN




                                                 2
                                                                                          App143
                            OBJECTIONS RELEVANT TO EACH REQUEST

        These objections apply specifically to each request. They are offered here in the interest of

brevity to avoid unnecessary repetition of objections to definitions, scope, and similar issues that afflict

each request.

A. Lack of protective order.

        There is currently no protective order in place between Private Plaintiffs and Representative

Murr. To the extent that documents may be discoverable but require additional protections to prevent

public disclosure, those documents will be withheld and described in the responses pending entry of

an appropriate protective order.

B. Undue burden and expense.

C. The “attorney responsible for issuing and serving a subpoena must take reasonable steps
   to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed.
   R. Civ. P. 45(d)(1). Nonparty subpoenas are subject to the parameters established by Rule
   26. Camoco, LLC v. Leyva , 333 F.R.D. 603, 607 (W.D. Tex. 2019). Therefore, the discovery
   sought here is still limited to “nonprivileged matter that is relevant to any party’s claim or
   defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Irrelevance
   and disproportionality.

        The twin requirements of relevancy and proportionality “are related but distinct[.]” Samsung

Electronics Am., Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). If the information sought is

irrelevant to a party’s claims or defenses, “it is not necessary to determine whether it would be

proportional if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. 15-cv-0645, 2016 WL 1244510,

at *3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019).

        Much of the requested production is irrelevant to Private Plaintiffs’ claims. in this case. Private

Plaintiffs challenge specific portions of Senate Bill 1. Many of the production requests, however, treat

SB1 as an undifferentiated whole. Some requests seek documents and communications related to SB7,

HB3, and HB6, which were not enacted into law. Such requests are overly broad and exceedingly likely

to sweep in vast amounts irrelevant information.


                                                     3
                                                                                                 App144
        The request also is disproportionate to the needs of the case. Rule 26(b) was amended in 2015

“to emphasize the need for proportionality,” Prasad v. George Washington Univ., 323 F.R.D. 88, 91

(D.D.C. 2017), and “highlight[] its significance,” Mannina v. D.C., 334 F.R.D. 336, 339 n.4 (D.D.C.

2020); see also Chief Justice John Roberts, 2015 Year-End Report on the Federal Judiciary, at 6 (“Rule

26(b)(1) crystalizes the concept of reasonable limits on discovery through increased reliance on the

common-sense concept of proportionality[.]”). This addition of overt “proportional” language was

meant to better reflect the intent of the 1983 amendments, which were designed “to deal with the

problem of over-discovery.” Fed. R. Civ. P. 26(b) advisory committee’s note (2015) (quoting the 1983
advisory notes). However, this “clear focus of the 1983 provisions may have been softened, although

inadvertently, by the amendments made in 1993.” Id. The 2015 amendment sought to “restore[] the

proportionality factors to their original place in defining the scope of discovery” and reinforce the

parties’ obligation “to consider these factors in making discovery requests, responses, or objections.”

Id. As fully restored, the proportionality requirement “relieves parties from the burden of taking

unreasonable steps to ferret out every relevant document.” Va. Dep’t of Corr. v. Jordan, 921 F.3d 180,

189 (4th Cir. 2019), cert. denied, 140 S. Ct. 672 (2019). Accordingly, Representative Murr objects to

the subpoena to the extent that it falls short of this more stringent proportionality standard.

        In particular, Representative Murr objects to requests for “all documents” and “all

communications” to the extent that responding would require him to search and examine every email

directed to or from his office. Because Representative Murr is an elected official whose contact

information is publicly available, his office receives thousands of emails from various sources each

session. Conducting such a search and review is disproportionate to the needs of the case and unduly

burdensome in terms of both the time and expense it would require.

        Representative Murr further objects to each request as unduly burdensome because they ask

him to gather documents that are publicly available or otherwise equally accessible to the Private

Plaintiffs or that are within the possession, custody, or control of third parties. To the extent that

topics were debated in connection with SB1, potentially responsive materials are publicly accessible in

SB1’s bill history, see Texas Legislature Online, https://capitol.texas.gov/BillLookup/History.aspx?


                                                   4
                                                                                              App145
LegSess=872&Bill=SB1, and in the Legislative Reference Library of Texas, which contains activity

concerning specific legislation, including statements about legislation by individual legislators, see

https://lrl.texas.gov/collections/journals/journals.cfm.

D. Legislative privilege.

        Given that Representative Murr is a legislator, and the requested production directly relates to

legislative activities, much of the requested production is subject to legislative privilege. The privilege

protects not only legislators, but their staff and aides as well. See Gravel v. United States, 408 U.S. 606,

615-16 (1972). The privilege also extends to “officials outside the legislative branch” when such

officials “perform legislative functions.” Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998) (citing Supreme

Court of Va. v. Consumers Union of U.S., Inc., 446 U.S. 719, 731–34 (1980)). In particular, requests for

“all communications” necessarily include within their scope communications between Representative

Murr and his staff, Representative Murr and other legislators, and Representative Murr and other

individuals or agencies that are acting within the sphere of legitimate legislative activity. Such

communications and deliberations are protected by legislative privilege. See Bogan, 523 U.S. at 55;

Gravel, 408 U.S. at 624–25; and Tenney v. Brandhove, 341 U.S. 367, 376 (1951).

E. Retention of right to object.

        The inadvertent production or disclosure of any privileged documents or information is not a

waiver of any privilege that may apply to that document or information, the contents or subject matter

thereof, or other such documents or discovery requested or produced either now or in the future.

Representative Murr reserves the right withhold documents that are in part protected by privilege,

except on a redacted basis, and to require the return of any document (and all copies thereof)

inadvertently produced. Representative Murr likewise does not waive the right to object to (1) the

evidentiary use of documents produced in response to these requests and (2) discovery requests

relating to those documents.

        Similarly, these responses and objections are not an agreement with any party’s

characterization of any facts, circumstances, or legal obligations. Representative Murr reserves the



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                                                                                                 App146
right to contest any such characterization as inaccurate and object to the Requests insofar as they

contain any express or implied assumptions of fact or law concerning matters at issue in this litigation.

F. Scope of these requests under the applicable rules.

        Representative Murr’s responses and objections are based on terms as they are commonly

understood or, as appropriate, defined by the Federal Rules of Civil Procedure and the Local Rules.

Representative Murr objects to Private Plaintiffs’ definitions and instructions to the extent that they

purport to expand or modify those rules, the definitions contained in them, or the obligations required

by them.




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                           SPECIFIC OBJECTIONS AND RESPONSES TO
                       PRIVATE PLAINTIFFS’ SUBPOENA FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the following methods of voting
during the period from 2020 to present:
    a. Drop-box voting;
    b. Drive-thru voting;
    c. 24-hour voting;
    d. Straight-ticket voting;
    e. Vote-by-mail;
    f. Early voting.

       RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth; it seeks materials regardless of whether they are
related to the portions of SB1 that Private Plaintiffs challenge in this case. Representative Murr is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

         Further, as a member of the legislative branch, Representative Murr is not responsible for
enforcing the law. Thus, to the extent that the requested materials are held by others, including state
and local law enforcement agencies, those materials are not within his possession, custody, or control
and should be requested from them rather than an individual legislator. Whether publicly available or
held by third parties, the burden of requiring Representative Murr to collect these documents
disproportionately exceeds any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v.
Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should “consider what information is available to the
requesting party from other sources” when analyzing “the benefit side of the ledger”). Therefore, the
request is not proportional to the needs of the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



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REQUEST FOR PRODUCTION NO. 2: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with voter assistance, including
transportation assistance, during the period from 2020 to present.

        RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials regardless of whether they are
related to the portions of SB1 that Private Plaintiffs challenge in this case. Further, Private Plaintiffs
neither define the term “voter assistance” nor limit its application to the portions of SB1 that are at
issue in this case. The request is therefore unduly burdensome and disproportionate to the needs of
the case because it encompasses all manner of activities that are irrelevant to this litigation. For
example, Texas Election Code §§ 64.032,.0321,.033, and.035 all concern some form of voting
assistance, but none are at issue in this suit—and indeed were not even amended by SB1. Nonetheless,
any documents or communications involving criminal conduct in relation to those provisions would
plainly fall within the scope of this request. Representative Murr is prepared to meet and confer
concerning reasonable search terms that would reduce the burdensome nature of this request.

         Representative Murr further objects that this request is unduly burdensome because of its
overlap with Request No. 1, which also seeks information on “illegal voting, election fraud, or other
criminal conduct[.]” To the extent it duplicates Request No. 1, this request adds unnecessary burden
and expense and produces no discernible benefit. Further, as a member of the legislative branch,
Representative Murr is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Representative Murr to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



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REQUEST FOR PRODUCTION NO. 3: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with the ability (or lack thereof) of poll
watchers to move and observe the election process in a voting or vote-counting location during the
period from 2020 to present.

        RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

        Representative Murr further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials regarding poll watchers
regardless of whether those materials or the poll watchers’ activities are related to the portions of SB1
that Private Plaintiffs challenge in this case. Representative Murr is prepared to meet and confer
concerning reasonable search terms that would reduce the burdensome nature of this request.

         Representative Murr objects that this request is unduly burdensome because of its overlap
with Request Nos. 1 and 2. Both this request and those requests seek information on “illegal voting,
election fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request
adds unnecessary burden and expense and produces no discernible benefit. Further, as a member of
the legislative branch, Representative Murr is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Representative Murr to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 4: All documents and communications regarding illegal
voting, election fraud, or other criminal conduct in connection with “vote harvesting services,” as
defined in SB 1, during the period from 2020 to present.



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        RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501. Representative Murr
further objects to this request as unduly burdensome and not proportionate to the needs of the case.
See Objections § C.

         Representative Murr objects that this request is unduly burdensome because of its overlap
with Request Nos. 1–3. Both this request and those requests seek information on “illegal voting,
election fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request
adds unnecessary burden and expense and produces no discernible benefit. Further, as a member of
the legislative branch, Representative Murr is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Representative Murr to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 5: All documents and communications discussing illegal
voting, election fraud, or other criminal conduct in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County
    h. El Paso County
    i. Tom Green County

        RESPONSE:



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        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials.
Representative Murr is prepared to meet and confer concerning reasonable search terms that would
reduce the burdensome nature of this request.

         Representative Murr objects that this request is unduly burdensome because of its overlap
with Request Nos. 1–4. Both this request and those requests seek information on “illegal voting,
election fraud, or other criminal conduct[.]” To the extent that it duplicates those requests, this request
adds unnecessary burden and expense and produces no discernible benefit. Further, as a member of
the legislative branch, Representative Murr is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Whether publicly available or held by third parties, the burden of
requiring Representative Murr to collect these documents disproportionately exceeds any benefit that
Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts
should “consider what information is available to the requesting party from other sources” when
analyzing “the benefit side of the ledger”). Therefore, the request is not proportional to the needs of
the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 6: All documents and communications related to voting
practices, election administration, or voter turnout in the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County
    d. Tarrant County
    e. Bexar County
    f. Travis County
    g. Collin County



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    h. El Paso County
    i. Tom Green County

        RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. More,
Private Plaintiffs do not define the term “voting practices,” which is vague therefore overbroad and
unduly burdensome. Representative Murr is prepared to meet and confer concerning reasonable
search terms that would reduce the burdensome nature of this request.

         Further, Representative Murr objects that this request is unduly burdensome because of its
overlap with Request No. 5. Both this request and that request seek information on the same set of
counties. To the extent that it duplicates those requests, this request adds unnecessary burden and
expense and produces no discernible benefit. Further, as a member of the legislative branch,
Representative Murr is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Representative Murr to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 7: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, on the residents of the following counties:
    a. Harris County
    b. Bee County
    c. Dallas County


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    d.   Tarrant County
    e.   Bexar County
    f.   Travis County
    g.   Collin County
    h.   El Paso County
    i.   Tom Green County

         RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. Representative Murr is prepared to meet and confer concerning
reasonable search terms that would reduce the burdensome nature of this request.

         Further, Representative Murr objects that this request is unduly burdensome because of its
overlap with Request Nos. 5 and 6. Both this request and those requests seek information on the same
set of counties. To the extent that it duplicates those requests, this request adds unnecessary burden
and expense and produces no discernible benefit. Further, as a member of the legislative branch,
Representative Murr is not responsible for enforcing the law. Thus, to the extent that the requested
materials are held by others, including state and local law enforcement agencies, those materials are
not within his possession, custody, or control and should be requested from them rather than an
individual legislator. Whether publicly available or held by third parties, the burden of requiring
Representative Murr to collect these documents disproportionately exceeds any benefit that Private
Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (courts should
“consider what information is available to the requesting party from other sources” when analyzing
“the benefit side of the ledger”). Therefore, the request is not proportional to the needs of the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.



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REQUEST FOR PRODUCTION NO. 8: All documents and communications related to the
anticipated or potential effect of SB 1, SB 7, HB 3, or HB 6, including the effect on voter turnout and
wait times at polling places, by racial or ethnic minorities, partisan affiliation, disabled persons, and
persons with limited English proficiency.

        RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Representative Murr is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

        Further, Representative Murr objects that this request is unduly burdensome because of its
overlap with Request No. 7. By its very terms—“all documents and communications related to the
anticipated or potential effect of” several bills proposed in the Texas Legislature—this request seeks
the same information as sought by Request No. 7. To the extent that it duplicates that request, this
request adds unnecessary burden and expense and produces no discernible benefit. Further, as a
member of the legislative branch, Representative Murr is not responsible for enforcing the law. Thus,
to the extent that the requested materials are held by others, including state and local law enforcement
agencies, those materials are not within his possession, custody, or control and should be requested
from them rather than an individual legislator. Whether publicly available or held by third parties, the
burden of requiring Representative Murr to collect these documents disproportionately exceeds any
benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir.
2019) (courts should “consider what information is available to the requesting party from other
sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not proportional
to the needs of the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this



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response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 9: All documents and communications relied on to draft
SB 1, SB 7, HB 3, or HB 6.

        RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome, not proportionate
to the needs of the case, and irrelevant. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. Further,
it seeks materials related to bills that were not enacted into law and that therefore can neither be a
cause of Private Plaintiffs’ alleged harms nor make any fact material to a party’s claims or defenses
more or less likely to be true. And it seeks materials related to “disabled persons,” a term that Private
Plaintiffs do not define and that is vague, overbroad, and unduly burdensome. Representative Murr is
prepared to meet and confer concerning reasonable search terms that would reduce the burdensome
nature of this request.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.

REQUEST FOR PRODUCTION NO. 10: All documents and communications with the following
third-party organizations, including any of their affiliates or subsidiaries, regarding SB 1, SB 7, HB 3,
or HB 6, including communications regarding the impacts or potential impacts of SB 1, SB 7, HB 3,
or HB 6 on racial or ethnic minorities and disabled voters, and on voters by party affiliation:
    a. The Heritage Foundation
    b. The Texas Public Policy Foundation
    c. The American Legislative Exchange Council
    d. The State Policy Network
    e. Honest Elections Project
    f. Public Interest Legal Foundation
    g. American Civil Rights Union
    h. True the Vote


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    i.   Judicial Watch
    j.   Project Veritas
    k.   The Republican National Committee
    l.   The Republican Party of Texas

         RESPONSE:

        Representative Murr objects to this request because it calls for producing documents that are
subject to legislative privilege. See Objections § D. He further objects that this requests calls for
documents that are subject to the attorney-client, attorney work-product, investigative, and
deliberative-process privileges and that it calls for documents protected from disclosure by Texas
Government Code § 323.017, which are privileged under Fed. R. Evid. 501.

         Representative Murr further objects to this request as unduly burdensome and not
proportionate to the needs of the case. See Objections § C. The undue burden and disproportionality
of this request are compounded by its overbreadth. It seeks materials whether or not they are related
to the portions of SB1 that Private Plaintiffs challenge in this case. Further, it seeks materials stretching
back six years and seeks not just those materials, but all documents related to those materials. More,
Private Plaintiffs do not define the term “disabled voters,” which is vague therefore overbroad and
unduly burdensome. Representative Murr is prepared to meet and confer concerning reasonable
search terms that would reduce the burdensome nature of this request.

         Further, Representative Murr objects that this request is unduly burdensome because of its
overlap with Request Nos. 8 and 9. To the extent that it duplicates those requests, this request adds
unnecessary burden and expense and produces no discernible benefit. Further, as a member of the
legislative branch, Representative Murr is not responsible for enforcing the law. Thus, to the extent
that the requested materials are held by others, including state and local law enforcement agencies,
those materials are not within his possession, custody, or control and should be requested from them
rather than an individual legislator. Further, many of the documents that would be responsive to this
request are already available online on the websites of these third-party organizations. And to the
extent that this covers private communications, such responsive materials are more likely to be housed
with these groups than with Representative Murr, given the relatively short 30-day email-retention
policy under which Representative Murr operates. Whether publicly available or held by third parties,
the burden of requiring Representative Murr to collect these documents disproportionately exceeds
any benefit that Private Plaintiffs might realize. See Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th
Cir. 2019) (courts should “consider what information is available to the requesting party from other
sources” when analyzing “the benefit side of the ledger”). Therefore, the request is not proportional
to the needs of the case.

       Subject to these objections, Representative Murr has conducted a diligent search and will
produce responsive, non-privileged documents on a rolling basis within a reasonable time of this
response. Should responsive documents be subject to privilege, objection, or both, this response will
be supplemented to reflect that such documents are being withheld.


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EXHIBIT J




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 ID Number         Custodian            Date       Application        Subject   Author   To                  CC          Filename                           Claim                     Privilege Statement


                                                                                                                                                                          Chairman Ashby, the Chairman of the Select
                                                                                                                                                                          Committee on Constitutional Rights and
                                                  MS Office (2016)
DOC_0000094    Representative Ashby   7/9/2021                                                                    Chairmans Script.docx           Legislative             Remedies, written comments/script for July 10,
                                                  Word
                                                                                                                                                                          2021 public hearing of the Select Committee on
                                                                                                                                                                          Constitutional Rights and Remedies.




                                                                                                                                                                          Bill summary spreadsheet for use by
                                                  Adobe Acrobat
DOC_0000101    Representative Ashby   7/20/2021                                                                   Bill spreadsheet 7.20.21.PDF    Legislative             representative, containing notes about proposed
                                                  (PDF)
                                                                                                                                                                          bills.




                                                                                                                                                                          A draft of an agenda for July 10, 2021 hearing of
                                                  MS Office (2016)
DOC_0000104    Representative Ashby   7/9/2021                                                                    Draft Agenda.docx               Legislative             the Select Committee on Constitutional Rights
                                                  Word
                                                                                                                                                                          and Remedies.




                                                                                                                                                                          Draft of HB3 that contains notes, annotations,
                                                  Microsoft Word                                                  SPECIALSESSION-HB3-
DOC_0000149    Representative Ashby   7/14/2021                                                                                                   Legislative             and track changes, revealing legislator's mental
                                                  97/98                                                           MURR-Annotated.doc
                                                                                                                                                                          impressions.




                                                  MS Office (2016)                                                                                                        Notes and draft script for the use of a legislator
DOC_0000157    Representative Ashby   8/20/2021                                                                   SB 3 by Murr.docx               Legislative
                                                  Word                                                                                                                    during committee hearing.




                                                                                                                                                                          Draft script for legislator's use during August 23,
                                                  MS Office (2016)
DOC_0000162    Representative Ashby   8/23/2021                                                                   Chairmans Script.docx           Legislative             2021 hearing with annotations and other
                                                  Word
                                                                                                                                                                          markings that reveal mental impressions.




                                                                                                                                                                          Draft script for legislator's use during August 23,
                                                  MS Office (2016)
DOC_0000164    Representative Ashby   8/22/2021                                                                   RECESS FOR FLOOR.docx           Legislative             2021 hearing with annotations that reveal
                                                  Word
                                                                                                                                                                          mental impressions.




                                                                                                                                                                          Draft script for legislator's use during August 23,
                                                  MS Office (2016)                                                Script Language to vote on SB
DOC_0000165    Representative Ashby   8/22/2021                                                                                                   Legislative             2021 hearing with annotations and comments
                                                  Word                                                            1 if amended.docx
                                                                                                                                                                          that reveal mental impressions.




                                                  Adobe Acrobat                                                   SB 1 - Committee Report         Attorney Client; Work   Draft bill analysis of CSSB1 prepared by Texas
DOC_0000187    Representative Ashby   8/24/2021
                                                  (PDF)                                                           BA.pdf                          Product; Legislative    Legislative Council for legislator's use.




                                                  Adobe Acrobat                                                                                   Attorney Client; Work   Draft bill analysis of SB1 prepared by Texas
DOC_0000191    Representative Ashby   8/22/2021                                                                   SB 1 - Layout BA.pdf
                                                  (PDF)                                                                                           Product; Legislative    Legislative Council for legislator's use.




                                                  Scanned Document                                                                                                        Legislator's typed notes and mental impressions
PDOC_0000579   Representative Cain                from Legislator's                                                                               Legislative             summarizing legislative testimony on voter
                                                  Files                                                                                                                   fraud, along with transcript of testimony.




                                                                                              Page 1 of 66                                                                                                       App159
 ID Number         Custodian           Date       Application        Subject         Author                     To                  CC   Filename             Claim                    Privilege Statement




                                                 Scanned Document                                                                                                           Report on international voting practices,
PDOC_0000629   Representative Cain               from Legislator's                                                                                  Legislative             containing hand-written notes that reveal
                                                 Files                                                                                                                      legislator's mental impressions.




                                                 Scanned Document                                                                                                           Legislator's typed notes and mental impressions
PDOC_0000751   Representative Cain               from Legislator's                                                                                  Legislative             summarizing legislative testimony on voter
                                                 Files                                                                                                                      fraud, along with a transcript of that testimony.




                                                                                                                                                                            Bill analysis of CSSB1509 M34 on election
                                                 Scanned Document
                                                                                                                                                                            integrity for mail-in ballots, with legislator's
PDOC_0000798   Representative Cain               from Legislator's                                                                                  Legislative
                                                                                                                                                                            handwritten notes revealing legislator's mental
                                                 Files
                                                                                                                                                                            impressions.




                                                 Scanned Document                                                                                                           Proposed edits to unspecified election legislation
                                                                                                                                                    Attorney Client; Work
PDOC_0000801   Representative Cain               from Legislator's                                                                                                          prepared by Texas Legislative Council for
                                                                                                                                                    Product; Legislative
                                                 Files                                                                                                                      legislator's use.




                                                                                                                                                                            Draft of CSHB2478 prepared by the Texas
                                                 Scanned Document
                                                                                                                                                    Attorney Client; Work   Legislative Council, which contains with
PDOC_0000807   Representative Cain               from Legislator's
                                                                                                                                                    Product; Legislative    handwritten markings that reveal legislator's
                                                 Files
                                                                                                                                                                            mental impressions.




                                                 Scanned Document                                                                                                           Draft of SB1509 that contains handwritten notes
PDOC_0000813   Representative Cain               from Legislator's                                                                                  Legislative             and markings, revealing legislator's mental
                                                 Files                                                                                                                      impressions.




                                                 Scanned Document                                                                                                           Legislator's typed notes and mental impressions
PDOC_0000819   Representative Cain               from Legislator's                                                                                  Legislative             summarizing legislative testimony on voter
                                                 Files                                                                                                                      fraud, along with transcript of testimony.




                                                 Scanned Document
                                                                                 Representative                                                                             Correspondence between Texas House members
PDOC_0000895   Representative Cain   3/2/2021    from Legislator's                                  Representative Briscoe Cain                     Legislative
                                                                                 Justin Holland                                                                             on ideas for election integrity legislation.
                                                 Files




                                                 Scanned Document
                                                                               Representative Jared                                                                         Correspondence between Texas House members
PDOC_0000898   Representative Cain   3/11/2021   from Legislator's                                  Representative Briscoe Cain                     Legislative
                                                                                    Patterson                                                                               on ideas for election integrity legislation.
                                                 Files




                                                                                                                                                                            Legislator's typed notes summarizing Secure
                                                 Scanned Document
                                                                                                                                                                            Democracy's opinion on proposed election
PDOC_0000899   Representative Cain               from Legislator's                                                                                  Legislative
                                                                                                                                                                            integrity legislation, revealing mental
                                                 Files
                                                                                                                                                                            impressions.




                                                 Scanned Document
                                                                                                                                                                            Legislator's typed section-by-section summary of
PDOC_0000965   Representative Cain               from Legislator's                                                                                  Legislative
                                                                                                                                                                            CSSB7, revealing mental impressions.
                                                 Files




                                                                                                                     Page 2 of 66                                                                                 App160
 ID Number         Custodian         Date    Application        Subject   Author   To                  CC   Filename             Claim                     Privilege Statement




                                            Scanned Document                                                                                   Draft of unspecified election bill that contains
PDOC_0000973   Representative Cain          from Legislator's                                                          Legislative             handwritten notes, revealing legislator's mental
                                            Files                                                                                              impressions.




                                                                                                                                               Draft fiscal notes and criminal justice impact
                                            Scanned Document
                                                                                                                                               statements prepared by the Legislative Budget
PDOC_0001039   Representative Cain          from Legislator's                                                          Legislative
                                                                                                                                               Board for the representative's use concerning
                                            Files
                                                                                                                                               HB6.




                                            Scanned Document                                                                                   Drafts of proposed committee amendments to
PDOC_0001053   Representative Cain          from Legislator's                                                          Legislative             CSSB7 with handwritten notations, revealing
                                            Files                                                                                              legislator's mental impressions.




                                            Scanned Document                                                                                   Drafts of proposed floor amendments to SB7
PDOC_0001065   Representative Cain          from Legislator's                                                          Legislative             with hand-written notations, revealing mental
                                            Files                                                                                              impressions.




                                            Scanned Document
                                                                                                                       Attorney Client; Work   Draft of unspecified elections bill prepared by
PDOC_0001114   Representative Cain          from Legislator's
                                                                                                                       Product; Legislative    Texas Legislative Council for legislator's use.
                                            Files




                                            Scanned Document
                                                                                                                       Attorney Client; Work   Draft of unspecified elections bill prepared by
PDOC_0001141   Representative Cain          from Legislator's
                                                                                                                       Product; Legislative    Texas Legislative Council for legislator's use.
                                            Files




                                                                                                                                               Draft bill analysis of CSSB7, prepared by Texas
                                            Scanned Document                                                                                   Legislative Council for legislator's use, that
                                                                                                                       Attorney Client; Work
PDOC_0001164   Representative Cain          from Legislator's                                                                                  contains handwritten comments, notes, and
                                                                                                                       Product; Legislative
                                            Files                                                                                              markings, revealing mental legislator's
                                                                                                                                               impressions.




                                                                                                                                               Draft of unspecified election legislation that
                                            Scanned Document
                                                                                                                                               contains handwritten comments, notes, and
PDOC_0001217   Representative Cain          from Legislator's                                                          Legislative
                                                                                                                                               markings, revealing legislator's mental
                                            Files
                                                                                                                                               impressions.




                                                                                                                                               Draft of unspecified elections legislation that
                                            Scanned Document
                                                                                                                                               contains handwritten comments, notes, and
PDOC_0001218   Representative Cain          from Legislator's                                                          Legislative
                                                                                                                                               markings, revealing legislator's mental
                                            Files
                                                                                                                                               impressions.




                                            Scanned Document                                                                                   A draft of HB6 that contains handwritten
PDOC_0001251   Representative Cain          from Legislator's                                                          Legislative             comments, notes, and markings, revealing
                                            Files                                                                                              legislator's mental impressions.




                                            Scanned Document
                                                                                                                                               A draft of unspecified elections bil, implicating
PDOC_0001282   Representative Cain          from Legislator's                                                          Legislative
                                                                                                                                               legislator's mental impressions.
                                            Files




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 ID Number         Custodian         Date    Application        Subject       Author                      To                  CC   Filename             Claim                     Privilege Statement




                                            Scanned Document                                                                                                          Inter-office communique between legislative
                                                                          Office of Senator
PDOC_0001344   Representative Cain          from Legislator's                                 Representative Briscoe Cain                     Legislative             offices, summarizing CSSB7 and revealing
                                                                           Bryan Hughes
                                            Files                                                                                                                     legislators' mental impressions.




                                            Scanned Document
                                                                                                                                              Attorney Client; Work   Draft of unspecified elections bill prepared by
PDOC_0001346   Representative Cain          from Legislator's
                                                                                                                                              Product; Legislative    Texas Legislative Council for legislator's use.
                                            Files




                                            Scanned Document
                                                                                                                                                                      A draft of SB7, kept in legislator's bill layout
PDOC_0001390   Representative Cain          from Legislator's                                                                                 Legislative
                                                                                                                                                                      folder for HB6, revealing mental impressions.
                                            Files




                                            Scanned Document
                                                                                                                                                                      Draft script written in preparation of legislator's
PDOC_0001459   Representative Cain          from Legislator's                                                                                 Legislative
                                                                                                                                                                      layout of HB6 that reveals mental impressions.
                                            Files




                                            Scanned Document                                                                                                          Draft script written in preparation of legislator's
PDOC_0001461   Representative Cain          from Legislator's                                                                                 Legislative             layout of SB7that reveals mental impressions.
                                            Files                                                                                                                     (Page 1/2)




                                            Scanned Document                                                                                                          Draft script written in preparation of legislator's
PDOC_0001463   Representative Cain          from Legislator's                                                                                 Legislative             layout of SB7, with handwritten annotations and
                                            Files                                                                                                                     notes, revealing mental impressions. (page 2/2)




                                                                                                                                                                      Notes and bulleted talking points for legislator's
                                            Scanned Document
                                                                                                                                                                      use regarding unspecified elections bill that
PDOC_0001464   Representative Cain          from Legislator's                                                                                 Legislative
                                                                                                                                                                      contains handwritten notes and markings,
                                            Files
                                                                                                                                                                      revealing mental impressions.




                                            Scanned Document
                                                                                                                                                                      Notes and bulleted talking points for legislator's
PDOC_0001468   Representative Cain          from Legislator's                                                                                 Legislative
                                                                                                                                                                      use regarding HB6.
                                            Files




                                            Scanned Document
                                                                                                                                              Attorney Client; Work   Draft of amendment to CSSB7 prepared by
PDOC_0001481   Representative Cain          from Legislator's
                                                                                                                                              Product; Legislative    Texas Legislative Council for legislator's use.
                                            Files




                                                                                                                                                                      Notes and comments prepared for legislator
                                            Scanned Document
                                                                                                                                                                      summarizing sections of the Texas Election
PDOC_0001484   Representative Cain          from Legislator's                                                                                 Legislative
                                                                                                                                                                      Code, implicating legislator's mental
                                            Files
                                                                                                                                                                      impressions.




                                            Scanned Document                                                                                                          Draft of unspecified election bill that contains
PDOC_0001487   Representative Cain          from Legislator's                                                                                 Legislative             handwritten notes and reveals legislator's
                                            Files                                                                                                                     mental impressions.




                                                                                                               Page 4 of 66                                                                                 App162
 ID Number         Custodian         Date    Application        Subject   Author   To                  CC           Filename                          Claim                     Privilege Statement



                                                                                                                                                                    Draft of unspecified election bill prepared by the
                                            Scanned Document
                                                                                                                                            Attorney Client; Work   Texas Legislative Council for legislator's use
PDOC_0001511   Representative Cain          from Legislator's
                                                                                                                                            Product; Legislative    that contains handwritten notes and reveals
                                            Files
                                                                                                                                                                    legislator's mental impressions.




                                            Scanned Document
                                                                                                                                            Attorney Client; Work   Draft of unspecified election bill prepared by
PDOC_0001542   Representative Cain          from Legislator's
                                                                                                                                            Product; Legislative    Texas Legislative Council for legislator's use.
                                            Files




                                            Scanned Document                                                                                                        Legislator's typed section-by-section summary of
PDOC_0001584   Representative Cain          from Legislator's                                                                               Legislative             unspecified elections bill, revealing legislaive
                                            Files                                                                                                                   mental impressions.




                                            Scanned Document                                                                                                        Legislator's typed notes and mental impressions
                                                                                                                                            Attorney Client; Work
PDOC_0001590   Representative Cain          from Legislator's                                                                                                       regarding draft legislation he submitted to the
                                                                                                                                            Product; Legislative
                                            Files                                                                                                                   Texas Legislative Council.




                                            Scanned Document                                                                                                        Legislator's typed notes and mental impressions
                                                                                                                                            Attorney Client; Work
PDOC_0001591   Representative Cain          from Legislator's                                                                                                       regarding draft legislation he submitted to the
                                                                                                                                            Product; Legislative
                                            Files                                                                                                                   Texas Legislative Council.




                                            Scanned Document                                                                                                        Legislator's typed notes regarding draft
                                                                                                                                            Attorney Client; Work
PDOC_0001593   Representative Cain          from Legislator's                                                                                                       legislation he submitted to the Texas Legislative
                                                                                                                                            Product; Legislative
                                            Files                                                                                                                   Council.




                                            Scanned Document                                                                                                        Legislator's typed section-by-section summary of
PDOC_0001597   Representative Cain          from Legislator's                                                                               Legislative             unspecified elections bill, revealing mental
                                            Files                                                                                                                   impressions.




                                                                                                                                                                    Draft script written in preparation of legislator's
                                            Adobe Acrobat
DOC_0000207    Representative Cain                                                                          __SCRIPT for 5-30-2021.pdf      Legislative             layout of SB7 that includes notes and
                                            (PDF)
                                                                                                                                                                    annotations, revealing mental impressions.




                                                                                                                                                                    Draft script written in preparation of legislator's
                                            Adobe Acrobat                                                   _House Bill 6 - Layout
DOC_0000208    Representative Cain                                                                                                          Legislative             committee layout of HB6 that reveals mental
                                            (PDF)                                                           Script..pdf
                                                                                                                                                                    impressions.




                                                                                                                                                                    Notes and bulleted talking points for legislator's
                                            Adobe Acrobat
DOC_0000209    Representative Cain                                                                          _Q&A for HB 6..pdf              Legislative             use regarding HB6 that contain highlights and
                                            (PDF)
                                                                                                                                                                    other markings, revealing mental impressions.




                                            Adobe Acrobat                                                   Explanation_ Cain's clarifyng                           Notes for legislator's use regarding amendments
DOC_0000210    Representative Cain                                                                                                          Legislative
                                            (PDF)                                                           Amendment.pdf                                           to unspecified elections bill.




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ID Number         Custodian         Date    Application    Subject   Author   To                  CC           Filename                          Claim                     Privilege Statement




                                                                                                                                                               Draft bill analysis prepared by legislator's office
                                           Adobe Acrobat                                               HB 6 - FINAL ONE
DOC_0000211   Representative Cain                                                                                                      Legislative             regarding CSHB6 that reveals mental
                                           (PDF)                                                       PAGER.pdf
                                                                                                                                                               impressions.




                                                                                                                                                               Draft bill analysis prepared by legislator's office
                                           Adobe Acrobat                                               House Bill 6 - One
DOC_0000212   Representative Cain                                                                                                      Legislative             regarding CSHB6 that reveals mental
                                           (PDF)                                                       Pager.docx..pdf
                                                                                                                                                               impressions.




                                                                                                                                                               Notes prepared for legislator's use at the March
                                           Adobe Acrobat                                               Elections Committee
DOC_0000213   Representative Cain                                                                                                      Legislative             4, 2021 Election Committee Meeting that reveal
                                           (PDF)                                                       Questions 3.4.21..pdf
                                                                                                                                                               mental impressions.




                                                                                                                                                               Draft of unspecified elections bill that contains
                                           Adobe Acrobat                                               __CSHB 6 with FLOOR
DOC_0000218   Representative Cain                                                                                                      Legislative             notes, markings, and redlines, revealing
                                           (PDF)                                                       AMENDMENTS.docx..pdf
                                                                                                                                                               legislator's mental impressions.




                                                                                                                                                               Draft of unspecified elections bill that contains
                                           Adobe Acrobat
DOC_0000219   Representative Cain                                                                      __Redlined CSHB 6.docx..pdf     Legislative             notes, markings, and redlines, revealing
                                           (PDF)
                                                                                                                                                               legislator's mental impressions.




                                                                                                                                                               Draft of unspecified elections bill that contains
                                           Adobe Acrobat
DOC_0000220   Representative Cain                                                                      _HB6 CS_v3.1.docx.pdf           Legislative             notes, markings, and redlines, revealing
                                           (PDF)
                                                                                                                                                               legislator's mental impressions.




                                                                                                       Representative Cain Office -
                                           Adobe Acrobat                                                                                                       Draft of unspecified elections bill that reveals
DOC_0000221   Representative Cain                                                                      Internal Draft - Election       Legislative
                                           (PDF)                                                                                                               legislator's mental impressions.
                                                                                                       Omnibus.docx.pdf




                                                                                                                                                               Draft bill analysis of CSHB6 prepared by Texas
                                                                                                       CSHB6-BA-COMMENTS
                                           Adobe Acrobat                                                                               Attorney Client; Work   Legislative Council for legislator's use,
DOC_0000222   Representative Cain                                                                      CSHB 6_Lege Council
                                           (PDF)                                                                                       Product; Legislative    containing comments and annotations, that
                                                                                                       Comments.pdf
                                                                                                                                                               reveals legislator's mental impressions.




                                                                                                                                                               Draft committee substitute of HB6 that contains
                                           Adobe Acrobat                                               HB6 Unofficial Committee
DOC_0000224   Representative Cain                                                                                                      Legislative             notes and highlights, revealing legislator's
                                           (PDF)                                                       Substitute.docx.pdf
                                                                                                                                                               mental impressions.




                                                                                                                                                               Draft of unspecified elections bill that contains
                                           Adobe Acrobat
DOC_0000225   Representative Cain                                                                      Penalties and Crimes.docx.pdf   Legislative             notes, comments, and markings, revealing
                                           (PDF)
                                                                                                                                                               legislator's mental impressions.




                                                                                                                                                               A draft of CSHB2478, prepared by the Texas
                                           Adobe Acrobat                                                                               Attorney Client; Work   Legislative Council, that contains highlights and
DOC_0000226   Representative Cain                                                                      CSHB2478 by Harris.docx.pdf
                                           (PDF)                                                                                       Product; Legislative    markings, revealing legislator's mental
                                                                                                                                                               impressions.




                                                                                   Page 6 of 66                                                                                                       App164
ID Number         Custodian           Date        Application          Subject             Author                     To                    CC                  Filename                           Claim               Privilege Statement



                                                                                                                                                                                                           Draft of unspecified elections bill, kept in
                                                 Adobe Acrobat                                                                                         File name omitted because it                        Representative Cain's personal file for
DOC_0000227   Representative Cain                                                                                                                                                        Legislative
                                                 (PDF)                                                                                                contains privileged information                      consideration of election legislation, revealing
                                                                                                                                                                                                           legislator's mental impressions.




                                                                     Secretary of
                                                                                                         Representative Briscoe Cain;                                                                      Correspondence between Texas House members
                                                 Microsoft Outlook   State Invited     Representative                                                   Secretary of State Invited
DOC_0000233   Representative Cain   1/14/2022                                                              Justin Williamson (Cain        Zanir Ali                                      Legislative       and staff regarding potential Elections
                                                 Message Mail        Testimony        Jessica Gonzalez                                                  Testimony Request.msg
                                                                                                                    COS)                                                                                   Committee hearing.
                                                                     Request




                                                                                                                                                                                                           Correspondence between Texas House members
                                                 Adobe Acrobat                       Reprentative Jessica                                               Secretary of State Invited
DOC_0000234   Representative Cain   1/14/2022                                                             Representative Briscoe Cain                                                    Legislative       and staff regarding potential Elections
                                                 (PDF)                                    Gonzalez                                                      Testimony Request.pdf
                                                                                                                                                                                                           Committee hearing.




                                                 Adobe Acrobat                                                                                          Interim Hearing - Elections                        Legislator's typed notes and mental impressions
DOC_0000235   Representative Cain   12/22/2021                                                                                                                                           Legislative
                                                 (PDF)                                                                                                  Committee.pdf                                      regarding proposed interim charges.




                                                                                                                                                                                                           Notes and bulleted talking points for legislator's
                                                 Adobe Acrobat
DOC_0000238   Representative Cain                                                                                                                       _Q&A for HB 6.pdf                Legislative       use regarding HB6 that contains highlights and
                                                 (PDF)
                                                                                                                                                                                                           other markings, revealing mental impressions.




                                                                                                                                                                                                           Draft script written in preparation of legislator's
                                                 Adobe Acrobat                                                                                          Copy of _House Bill 6 - Layout
DOC_0000241   Representative Cain                                                                                                                                                        Legislative       layout of HB6 with markings that reveal mental
                                                 (PDF)                                                                                                  Script.pdf
                                                                                                                                                                                                           impressions.




                                                                                                                                                                                                           Draft bill analysis prepared by legislator's office
                                                 Adobe Acrobat                                                                                          HB 6 - FINAL ONE
DOC_0000242   Representative Cain                                                                                                                                                        Legislative       regarding CSHB6 that reveals mental
                                                 (PDF)                                                                                                  PAGER.docx.pdf
                                                                                                                                                                                                           impressions.




                                                                                                                                                                                                           Notes and draft script written in preparation of
                                                 Adobe Acrobat
DOC_0000243   Representative Cain                                                                                                                       HB 6 - Layout   Q&A.pdf          Legislative       legislator's layout of HB6 with markings that
                                                 (PDF)
                                                                                                                                                                                                           reveal mental impressions.




                                                 Adobe Acrobat                                                                                          House Bill 6 - Layout                              Draft script written in preparation of legislator's
DOC_0000244   Representative Cain                                                                                                                                                        Legislative
                                                 (PDF)                                                                                                  Script.pdf                                         layout of HB6 that reveals mental impressions.




                                                                                                                                                                                                           Draft bill analysis prepared by legislator's office
                                                 Adobe Acrobat                                                                                          House Bill 6 - One
DOC_0000245   Representative Cain                                                                                                                                                        Legislative       regarding CSHB6 that reveals mental
                                                 (PDF)                                                                                                  Pager.docx.pdf
                                                                                                                                                                                                           impressions.




                                                                                                                                                                                                           Legislator's typed notes and mental impressions
                                                 Adobe Acrobat
DOC_0000247   Representative Cain                                                                                                                       Questions _ Retorts.pdf          Legislative       regarding the layout of multiple billis, including
                                                 (PDF)
                                                                                                                                                                                                           HB6.




                                                                                                                           Page 7 of 66                                                                                                           App165
ID Number         Custodian           Date        Application          Subject        Author                    To                  CC             Filename                          Claim                     Privilege Statement




                                                                                                                                                                                                   Correspondence between legislator and staff
                                                 Adobe Acrobat                    Representative      Justin Williamson (Cain             File name omitted because it
DOC_0000248   Representative Cain   3/11/2021                                                                                                                              Legislative             related to SB7 that reveals legislator's mental
                                                 (PDF)                             Briscoe Cain                COS)                      contains privileged information
                                                                                                                                                                                                   impressions.




                                                                                                                                                                                                   Attachment to correspondence between
                                                 Adobe Acrobat                    Representative      Justin Williamson (Cain             File name omitted because it                             legislator and staff, related to proposed language
DOC_0000249   Representative Cain   1/17/2022                                                                                                                              Legislative
                                                 (PDF)                             Briscoe Cain                COS)                      contains privileged information                           in SB7, revealing legislator's mental
                                                                                                                                                                                                   impressions.



                                                                                                                                                                                                   Analysis of unspecified elections bill, received by
                                                                                                                                                                                                   legislative staff in a February 9, 2021 email from
                                                                                                                                                                                                   a third party not employed by the Legislature.
                                                 Adobe Acrobat                                                                            File name omitted because it
DOC_0000250   Representative Cain   2/9/2022                                                                                                                               Legislative             This document was kept in Representative
                                                 (PDF)                                                                                   contains privileged information
                                                                                                                                                                                                   Cain's personal file for consideration of election
                                                                                                                                                                                                   legislation, and it reflects thought processes and
                                                                                                                                                                                                   mental impressions about pending legislation.

                                                                                                                                                                                                   Analysis of unspecified elections bill, received by
                                                                                                                                                                                                   legislative staff in a February 9, 2021 email from
                                                                                                                                                                                                   a third party not employed by the Legislature.
                                                 Adobe Acrobat                                                                            File name omitted because it
DOC_0000251   Representative Cain   2/9/2022                                                                                                                               Legislative             This document was kept in Representative
                                                 (PDF)                                                                                   contains privileged information
                                                                                                                                                                                                   Cain's personal file for consideration of election
                                                                                                                                                                                                   legislation, and it reflects thought processes and
                                                                                                                                                                                                   mental impressions about pending legislation.

                                                                                                                                                                                                   Analysis of unspecified elections bill, received by
                                                                                                                                                                                                   legislative staff in a February 9, 2021 email from
                                                                                                                                                                                                   a third party not employed by the Legislature.
                                                 Adobe Acrobat                                                                            File name omitted because it
DOC_0000252   Representative Cain   2/9/2021                                                                                                                               Legislative             This document was kept in Representative
                                                 (PDF)                                                                                   contains privileged information
                                                                                                                                                                                                   Cain's personal file for consideration of election
                                                                                                                                                                                                   legislation, and it reflects thought processes and
                                                                                                                                                                                                   mental impressions about pending legislation.



                                                                                  Representative                                           _NOTES for
                                                                                                                                                                                                   Notes written by legislator and attorney
                                                 MS Office 12 (2007)                Briscoe Cain;                                          DRAFTING_contains               Attorney Client; Work
DOC_0000256   Representative Cain   1/17/2022                                                                                                                                                      concerning unspecified elections bill that reveals
                                                 Word XML format                 Attorney Elizabeth                                        commenst regarding Attorney     Product; Legislative
                                                                                                                                                                                                   legislator's mental impressions.
                                                                                      Bingham                                              Elizabeth Bingham.docx




                                                                                  Representative                                           6 Base 7 v4.0_contains                                  Draft of unspecified election bill prepared by
                                                 MS Office 12 (2007)                Briscoe Cain;                                          commenst in margins by          Attorney Client; Work   legislator and attorney that contains
DOC_0000257   Representative Cain   1/17/2022
                                                 Word XML format                 Attorney Elizabeth                                        Attorney Elizabeth              Product; Legislative    annotations, comments, and markings, revealing
                                                                                      Bingham                                              Bingham.docx                                            legislator's mental impressions.




                                                                                  Representative                                                                                                   Notes written by legislator and attorney
                                                                                                                                           ccr - Description _ Contains
                                                 MS Office 12 (2007)                Briscoe Cain;                                                                          Attorney Client; Work   concerning unspecified elections bill that
DOC_0000258   Representative Cain   1/17/2022                                                                                              Comments by Attorney
                                                 Word XML format                 Attorney Elizabeth                                                                        Product; Legislative    contains annotations, comments, and markings,
                                                                                                                                           Elizabeth Bingham.docx
                                                                                      Bingham                                                                                                      revealing legislator's mental impressions.




                                                                                                                                                                                                   Draft of unspecified elections bill that containing
                                                 Adobe Acrobat                                                                                                                                     notes and comments, revealing legislator's
DOC_0000259   Representative Cain   1/17/2022                                                                                              Curbside Language.docx.pdf      Legislative
                                                 (PDF)                                                                                                                                             mental impressions addressing an aspect of
                                                                                                                                                                                                   pending legislation.




                                                                                  Representative                                                                                                   Notes written by legislator and attorney
                                                 Adobe Acrobat                      Briscoe Cain;                                                                          Attorney Client; Work   concerning unspecified elections bill that
DOC_0000261   Representative Cain   12/22/2021                                                                                             Elections Bill Working.pdf
                                                 (PDF)                           Attorney Elizabeth                                                                        Product; Legislative    contains annotations, comments, and markings,
                                                                                      Bingham                                                                                                      revealing legislator's mental impression




                                                                                                                                                                                                   Draft amendments to SB7, prepared by the
                                                                                                                                           SB7-
                                                 MS Office 12 (2007)                                                                                                       Attorney Client; Work   Texas Legislative Council, that contain notes,
DOC_0000263   Representative Cain   1/17/2022                                                                                              AMENDMENTS_Contains
                                                 Word XML format                                                                                                           Product; Legislative    markings, and redlines, revealing legislator's
                                                                                                                                           Comments in margins.docx
                                                                                                                                                                                                   mental impressions.




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                                                                                    Representative                               Special SB7.2_contains
                                                                                                                                                                                    Draft of SB7 that contains annotations,
                                                   MS Office 12 (2007)                Briscoe Cain;                              commenst in margins by     Attorney Client; Work
 DOC_0000265    Representative Cain    1/17/2022                                                                                                                                    markings, and redlines from legislator and
                                                   Word XML format                 Attorney Elizabeth                            Attorney Elizabeth         Product; Legislative;
                                                                                                                                                                                    attorney, revealing mental impressions.
                                                                                        Bingham                                  Bingham.docx




                                                                                    Representative                               Special SB7_contains
                                                                                                                                                                                    Draft of SB7 that contains annotations,
                                                   MS Office 12 (2007)                Briscoe Cain;                              commenst in margins by     Attorney Client; Work
 DOC_0000266    Representative Cain    1/17/2022                                                                                                                                    markings, and redlines from legislator and
                                                   Word XML format                 Attorney Elizabeth                            Attorney Elizabeth         Product; Legislative
                                                                                                                                                                                    attorney, revealing mental impressions.
                                                                                        Bingham                                  Bingham.docx




                                                                                                                                                                                    Draft substitute language for HB6, containing
                                                   Adobe Acrobat                                                                 HB6 sub language for
 DOC_0000269    Representative Cain    1/5/2022                                                                                                             Legislative             notes, markings, and redlines that reveal
                                                   (PDF)                                                                         Parliamentarian.docx.pdf
                                                                                                                                                                                    legislator's mental impressions.




                                                   Scanned Document
                                                                                                                                                            Attorney Client; Work   Draft of amendment to CSSB1 prepared by
PDOC_00004899   Representative Klick               from Legislator's
                                                                                                                                                            Product; Legislative    Texas Legislative Council for legislator's use.
                                                   Files




                                                   Scanned Document
                                                                                                                                                            Attorney Client; Work   Draft bill analysis of SB1 prepared by Texas
PDOC_00004947   Representative Klick               from Legislator's
                                                                                                                                                            Product; Legislative    Legislative Council for legislator's use.
                                                   Files




                                                   Scanned Document                                                                                                                 Draft of SB1, kept in election legislation folder,
PDOC_00004968   Representative Klick               from Legislator's                                                                                        Legislative             that reveals legislator's mental impressions
                                                   Files                                                                                                                            regarding legislation.




                                                   Scanned Document                                                                                                                 Legislator's floor books from days SB1, SB7, or
PDOC_00005036   Representative Klick               from Legislator's                                                                                        Legislative             HB6 were considered, which reveal mental
                                                   Files                                                                                                                            impressions regarding legislation.




                                                   Scanned Document                                                                                                                 Legislator's floor books from days SB1, SB7, or
PDOC_00005120   Representative Klick               from Legislator's                                                                                        Legislative             HB6 were considered, which reveal mental
                                                   Files                                                                                                                            impressions.




                                                   Scanned Document                                                                                                                 Legislator's floor books from days SB1, SB7, or
PDOC_00005199   Representative Klick               from Legislator's                                                                                        Legislative             HB6 were considered, which reveal mental
                                                   Files                                                                                                                            impressions.




                                                   Scanned Document                                                                                                                 Legislator's floor books from days SB1, SB7, or
PDOC_00005213   Representative Klick               from Legislator's                                                                                        Legislative             HB6 were considered, which reveal mental
                                                   Files                                                                                                                            impressions.




                                                                                                                                                                                    Report provided to Representative Murr's office
                                                   Scanned Document                                                                                                                 by organization, and contained in the
PDOC_00003286   Representative Murr                from Legislator's                                                                                        Legislative             Representative Murr's personal file for
                                                   Files                                                                                                                            consideration of election legislation that reveals
                                                                                                                                                                                    mental impressions.




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                                                                                                                                             Report provided to Representative Murr's office
                                             Scanned Document                                                                                by organization, and contained in the
PDOC_00003326   Representative Murr          from Legislator's                                                       Legislative             Representative's personal file for consideration
                                             Files                                                                                           of election legislation that reveals mental
                                                                                                                                             impressions.




                                                                                                                                             Report provided to Representative Murr's office
                                             Scanned Document                                                                                by organization, and contained in the
PDOC_00003366   Representative Murr          from Legislator's                                                       Legislative             Representative's personal file for consideration
                                             Files                                                                                           of election legislation that reveals mental
                                                                                                                                             impressions.




                                                                                                                                             Report provided to Representative Murr's office
                                             Scanned Document                                                                                by organization, and contained in the
PDOC_00003406   Representative Murr          from Legislator's                                                       Legislative             Representative's personal file for consideration
                                             Files                                                                                           of election legislation that reveals mental
                                                                                                                                             impressions.




                                                                                                                                             Report provided to Representative Murr's office
                                             Scanned Document                                                                                by organization, and contained in the
PDOC_00003446   Representative Murr          from Legislator's                                                       Legislative             Representative's personal file for consideration
                                             Files                                                                                           of election legislation that reveals mental
                                                                                                                                             impressions.




                                             Scanned Document
                                                                                                                     Attorney Client; Work   Draft of SB1 prepared by Texas Legislative
PDOC_00003657   Representative Murr          from Legislator's
                                                                                                                     Product; Legislative    Council for legislator's use .
                                             Files




                                             Scanned Document
                                                                                                                                             Legislator's typed notes concerning SB1 that
PDOC_00003746   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             reveal mental impressions about legislation.
                                             Files




                                                                                                                                             Analysis provided to Representative Murr's
                                             Scanned Document
                                                                                                                                             office, and contained in the Representative's
PDOC_00003887   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             personal file for consideration of SB1 that reveal
                                             Files
                                                                                                                                             mental impressions.




                                                                                                                                             Analysis provided to Representative Murr's
                                             Scanned Document
                                                                                                                                             office, and contained in the Representative's
PDOC_00003889   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             personal file for consideration of SB1 that reveal
                                             Files
                                                                                                                                             mental impressions.




                                             Scanned Document                                                                                Legislator's handwritten notes concerning HB3
PDOC_00003940   Representative Murr          from Legislator's                                                       Legislative             that reveal mental impressions related to
                                             Files                                                                                           legislation.




                                             Scanned Document
                                                                                                                     Attorney Client; Work   Draft amendments to House Bill 3 from the
PDOC_00003943   Representative Murr          from Legislator's
                                                                                                                     Product; Legislative    Texas Legislative Council.
                                             Files




                                             Scanned Document                                                                                Legislator's handwritten notes concerning SB1
PDOC_00003951   Representative Murr          from Legislator's                                                       Legislative             that reveal mental impressions concerning
                                             Files                                                                                           legislation.




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                                                  Scanned Document                                                                                                                Legislator's handwritten notes concerning
PDOC_00003958   Representative Murr               from Legislator's                                                                                       Legislative             elections legislation that reveals mental
                                                  Files                                                                                                                           impressions.




                                                  Scanned Document
                                                                                                                                                                                  Representative Murr handwritten notes and
PDOC_00003961   Representative Murr               from Legislator's                                                                                       Legislative
                                                                                                                                                                                  annotations concerning House Bill 3.
                                                  Files




                                                  Scanned Document
                                                                                                                                                          Attorney Client; Work   Draft amendments to House Bill 3 from the
PDOC_00003963   Representative Murr               from Legislator's
                                                                                                                                                          Product; Legislative    Texas Legislative Council.
                                                  Files




                                                                                                                                                                                  Correspondence between Logan Harrison (Murr
                                                  Scanned Document                                          Logan Harrison (Murr COS);                                            chief of staff), Drew Tedford (Hughes chief of
                                                                      Fwd: On Crystal     Representative
PDOC_00004385   Representative Murr   8/28/2021   from Legislator's                                         Kristen Mills (Murr Deputy                    Legislative             staff), and Kristen Mills (Murr deputy chief of
                                                                      Mason               Andrew S. Murr
                                                  Files                                                               COS)                                                        staff)) concerning unspecified elections
                                                                                                                                                                                  legislation.




                                                                                                                                                                                  Correspondence between representative's office
                                                  Scanned Document    Re: Perfecting
                                                                                                                                                          Attorney Client; Work   and Texas Legislative Council staff that
PDOC_00004387   Representative Murr   8/25/2021   from Legislator's    Amendment        Mike Marshall (TLC) Logan Harrison (Murr COS)
                                                                                                                                                          Product; Legislative    communicates drafting instructions for pending
                                                  Files                Adjustment
                                                                                                                                                                                  legislation.




                                                                                                                                                                                  Correspondence between legislative staff related
                                                  Scanned Document
                                                                       Notes on the     Drew Tedford (State                                                                       to negotiations taking place at the Conference
PDOC_00004391   Representative Murr   8/21/2021   from Legislator's                                         Logan Harrison (Murr COS)                     Legislative
                                                                      elections bills   Affairs Comm. Dir)                                                                        Committee revealing legislators' mental
                                                  Files
                                                                                                                                                                                  impressions.




                                                                                                                                                                                  Correspondence between legislative staff related
                                                  Scanned Document
                                                                                         Jay Dyer (Phelan                                                                         to pending legislation containing typed notes
PDOC_00004393   Representative Murr   8/6/2021    from Legislator's   Watchers                              Logan Harrison (Murr COS)                     Legislative
                                                                                             Staffer)                                                                             regarding poll watchers, and revealing
                                                  Files
                                                                                                                                                                                  legislator's mental impressions.




                                                                                                                                                                                  Legislator's typed section-by-section summary of
                                                  Scanned Document
                                                                                                                                                          Attorney Client; Work   unspecified elections bill, prepared by counsel to
PDOC_00004423   Representative Murr               from Legislator's
                                                                                                                                                          Product; Legislative    Representative Murr, revealing mental
                                                  Files
                                                                                                                                                                                  impressions.




                                                                                                                                                                                  Typed notes, prepared for legislator's use, that
                                                  Scanned Document                                                                                                                provides a section-by-section summary of
PDOC_00004427   Representative Murr               from Legislator's                                                                                       Legislative             unspecified elections bill during 87S1 and
                                                  Files                                                                                                                           contains proposed language, revealing mental
                                                                                                                                                                                  impressions.




                                                                                                                                                                                  Correspondence between legislator and
                                                  Scanned Document
                                                                                         Jay Dyer (Phelan    Representative Andrew S.                                             Speaker's office, concerning recommendations for
PDOC_00004436   Representative Murr   7/2/2021    from Legislator's   Deletions                                                                           Legislative
                                                                                             Staffer)                 Marr                                                        pending legislation, that reveals mental
                                                  Files
                                                                                                                                                                                  impressions.




                                                  Scanned Document
                                                                                                                                                          Attorney Client; Work   Draft of HB280 prepared by Texas Legislative
PDOC_00004439   Representative Murr               from Legislator's
                                                                                                                                                          Product; Legislative    Council for legislator's use.
                                                  Files




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                                             Scanned Document                                                                                Typed notes, prepared for legislator's use,
PDOC_00004443   Representative Murr          from Legislator's                                                       Legislative             assessing proposed amendment to SB1 that
                                             Files                                                                                           reveals mental impressions.




                                             Scanned Document                                                                                Notes and bulleted talking points for HB3's
PDOC_00004444   Representative Murr          from Legislator's                                                       Legislative             layout that reveal legislator's mental
                                             Files                                                                                           impressions.




                                                                                                                                             Typed notes and section-by-section summary
                                             Scanned Document
                                                                                                                     Attorney Client; Work   concerning HB3, prepared by counsel at the
PDOC_00004446   Representative Murr          from Legislator's
                                                                                                                     Product; Legislative    direction of the Representative. Revealing
                                             Files
                                                                                                                                             mental impressons.




                                                                                                                                             Legislator's notes and handwritten annotations
                                             Scanned Document
                                                                                                                                             from bill book regarding the development of HB
PDOC_00004624   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             3, along with proposed bill language that reveals
                                             Files
                                                                                                                                             legislator's mental impressions.




                                                                                                                                             Typed notes from brieifing book, prepared by
                                             Scanned Document                                                                                counsel for legislator's use at CRR hearing,
                                                                                                                     Attorney Client; Work
PDOC_00004648   Representative Murr          from Legislator's                                                                               regarding unspecified elections bill that contain
                                                                                                                     Product; Legislative
                                             Files                                                                                           handwritten annotations and reveal legislator's
                                                                                                                                             tmental impressions.




                                                                                                                                             Legislator's typed notes and handwritten
                                             Scanned Document
                                                                                                                                             annotations from briefingl book that assesses
PDOC_00004651   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             recommended technical amendments to HB3,
                                             Files
                                                                                                                                             revealing mental impressions.




                                                                                                                                             Legislator's typed notes and handwritten
                                             Scanned Document
                                                                                                                                             annotations from briefing book that assesses
PDOC_00004658   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             recommended floor amendments to HB3,
                                             Files
                                                                                                                                             revealing mental impressions




                                                                                                                                             Typed notes from briefing book, prepared for
                                             Scanned Document
                                                                                                                                             legislator's use, that identifies and summarizes
PDOC_00004666   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             relevant statutes to unspecified elecions bill,
                                             Files
                                                                                                                                             revealing mental impressions.




                                                                                                                                             Report provided to Representative Murr's office
                                             Scanned Document                                                                                by organization from third-party organization,
PDOC_00004669   Representative Murr          from Legislator's                                                       Legislative             contained in legislator's briefing book for
                                             Files                                                                                           consideration, with handwritten annotations
                                                                                                                                             and markings, revealing mental impressions.




                                                                                                                                             Representative Murr's unofficial workup on HB3
                                             Scanned Document
                                                                                                                                             that summarizes and analyzes various
PDOC_00004690   Representative Murr          from Legislator's                                                       Legislative
                                                                                                                                             provisions and reveals legsilator's mental
                                             Files
                                                                                                                                             impressions.




                                             Scanned Document                                                                                Draft of SB1 from Legislator's briefing book,
PDOC_00005253   Representative Murr          from Legislator's                                                       Legislative             containing handwritten notes, that reveals
                                             Files                                                                                           mental impressions.




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                                                                                                                                                                       Typed notes and draft script from briefing book,
                                                  Scanned Document                                                                                                     prepared for legislator's use, containing
PDOC_00005316   Representative Murr               from Legislator's                                                                     Legislative                    handwritten annotations, as well as possible
                                                  Files                                                                                                                amendments to SB1, revealing mental
                                                                                                                                                                       impressions.




                                                                                                                                                                       Draft script from legislator's briefing book
                                                  Scanned Document
                                                                                                                                                                       prepared for SB1's layout that contains
PDOC_00005385   Representative Murr               from Legislator's                                                                     Legislative
                                                                                                                                                                       handwritten notes on various provisions,
                                                  Files
                                                                                                                                                                       revealing mental impressions.




                                                                                                                                                                       Notes and comparison table from legislator's
                                                  Scanned Document                                                                                                     briefing book that analyzes, section-by-section,
PDOC_00005402   Representative Murr               from Legislator's                                                                     Legislative                    SB1 as introduced and committee substitute,
                                                  Files                                                                                                                with highlights and markings, revealing mental
                                                                                                                                                                       impressions.




                                                                                                                                                                       Draft of proposed committee substitute to SB1
                                                  Scanned Document
                                                                                                                                        Attorney Client; Work          from legislator's briefing book, prepared by
PDOC_00005435   Representative Murr               from Legislator's
                                                                                                                                        Product; Legislative           Texas Legislative Council, that reveals mental
                                                  Files
                                                                                                                                                                       impressions.




                                                                                                                                                                       Typed notes from legislator's briefing book on
                                                  Scanned Document
                                                                                                                                                                       potential amendments to SB1, along with draft
PDOC_00005482   Representative Murr               from Legislator's                                                                     Legislative
                                                                                                                                                                       bill language, revealing legislator's mental
                                                  Files
                                                                                                                                                                       impressions.




                                                  Scanned Document                                                                                                     Legislator's handwriten notes from briefing book
PDOC_00005488   Representative Murr   8/27/2021   from Legislator's                                                                     Legislative                    that recaps committee hearing and possible floor
                                                  Files                                                                                                                remarks, revealing mental impressions.




                                                  Scanned Document                                                                                                     Analysis and draft language from legislator's
PDOC_00005489   Representative Murr               from Legislator's                                                                     Legislative                    briefing book regarding CSSB1 that reveals
                                                  Files                                                                                                                mental impressions.




                                                  Scanned Document                                                                                                     Analysis and draft language from legislator's
PDOC_00005512   Representative Murr               from Legislator's                                                                     Legislative                    briefing book regarding HB3 that reveals mental
                                                  Files                                                                                                                impressions.




                                                  Scanned Document                                                                                                     Document from Representative Murr's briefing
PDOC_00005525   Representative Murr               from Legislator's                                                                     Legislative                    book on election legislation, including notes and
                                                  Files                                                                                                                annotations, revealing mental impressions.




                                                                                                                                                                       Data assembled by Senator Bettencourt's
                                                  Microsoft Excel                                              24 hour and Late Night
 DOC_0000776    Senator Bettencourt   8/8/2021                                                                                          Attorney Client; Legislative   attorney for purposes of legislative
                                                  2016 XML File                                                chart.xlsx
                                                                                                                                                                       recommendations.




                                                                                                                                                                       Data assembled by Senator Bettencourt's
                                                  Microsoft Excel                                              24 hour voting turnout
 DOC_0000777    Senator Bettencourt   8/8/2021                                                                                          Attorney Client; Legislative   attorney for purposes of legislative
                                                  2016 XML File                                                chart.xlsx
                                                                                                                                                                       recommendations.




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                                                                                                                                                                            Draft of election legislation, prepared by Senator
                                                MS Office (2016)
DOC_0000780   Senator Bettencourt   8/10/2021                                                               87S2 0680 TDL and SSN.docx       Attorney Client; Legislative   Bettencourt's attorney, for his review, revealing
                                                Word
                                                                                                                                                                            mental impressions on the election legislation.




                                                                                                            87S2 1607 Informal                                              Draft of election legislation, prepared by Senator
                                                MS Office (2016)
DOC_0000781   Senator Bettencourt   9/1/2021                                                                Committee Sub recommended        Attorney Client; Legislative   Bettencourt's attorney, for his review, revealing
                                                Word
                                                                                                            changes.docx                                                    mental impressions on the election legislation.




                                                MS Office (2016)                                            Accessibility to Voting In                                      Memorandum to Senator Bettencourt from
DOC_0000783   Senator Bettencourt   7/13/2021                                                                                                Attorney Client; Legislative
                                                Word                                                        Texas.docx                                                      counsel regading election legislation.




                                                Microsoft Excel                                             Comments on Consolidated                                        Review of election legislation by Senator
DOC_0000785   Senator Bettencourt   5/25/2021                                                                                                Attorney Client; Legislative
                                                2016 XML File                                               SB 7.xlsx                                                       Bettencourt's attorney, including comments.




                                                                                                                                                                            Data assembled by Senator Bettencourt's
                                                Microsoft Excel                                             Copy of Late night voters 10
DOC_0000786   Senator Bettencourt   8/8/2021                                                                                                 Attorney Client; Legislative   attorney, and provided to him for purposes of
                                                2016 XML File                                               27 and 10 28 (003).xlsx
                                                                                                                                                                            legislative recommendations.




                                                                                                                                                                            Data assembled by Senator Bettencourt's
                                                MS Office (2016)
DOC_0000787   Senator Bettencourt   7/29/2021                                                               CVR Comparisons.docx             Attorney Client; Legislative   attorney, and provided to him for purposes of
                                                Word
                                                                                                                                                                            legislative recommendations.




                                                Microsoft Excel                                             Deadline to register to                                         Summary of attorney research regarding
DOC_0000788   Senator Bettencourt   7/13/2021                                                                                                Attorney Client; Legislative
                                                2016 XML File                                               vote.xlsx                                                       proposed election legislation.




                                                                                                                                                                            Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Drive Through Voting and 24
DOC_0000789   Senator Bettencourt   7/13/2021                                                                                                Attorney Client; Legislative   for legislative recommendations, with
                                                2016 XML File                                               hour polls.xlsx
                                                                                                                                                                            highlighting.




                                                MS Office (2016)                                                                                                            Draft election legislation prepared by Senator
DOC_0000790   Senator Bettencourt   7/31/2021                                                               Election Audit Draft Bill.docx   Attorney Client; Legislative
                                                Word                                                                                                                        Bettencourt's attorney.




                                                MS Office (2016)                                                                             Attorney Client; Work          Draft memorandum from Senator Bettencourt's
DOC_0000791   Senator Bettencourt   5/28/2021                                                               Elizabeth Bingham.docx
                                                Word                                                                                         Product; Legislative           attorney concerning pending election legislation.




                                                MS Office (2016)                                            Enforcement chap 31                                             Draft election legislation prepared by Senator
DOC_0000792   Senator Bettencourt   7/1/2021                                                                                                 Attorney Client; Legislative
                                                Word                                                        language.docx                                                   Bettencourt's attorney.




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                                                MS Office (2016)                                              EVBB and SVC alternate                                           Draft election legislation, with comments by
DOC_0000793   Senator Bettencourt   7/1/2021                                                                                                    Attorney Client; Legislative
                                                Word                                                          judge.docx                                                       Senator Bettencourt's attorney.




                                                                                                              Floor Amendment Allow SVC                                        Draft floor amendment concerning election
                                                MS Office (2016)
DOC_0000794   Senator Bettencourt   8/10/2021                                                                 and EVBB to attempt to            Attorney Client; Legislative   legislation, with highlighting by Senator
                                                Word
                                                                                                              correct missing TDL SSN.docx                                     Bettencourt's attorney.




                                                                                                              Floor Amendment for Ballot
                                                                                                                                                                               Draft floor amendment concerning election
                                                MS Office (2016)                                              by Mail Voter to Allow voter to
DOC_0000795   Senator Bettencourt   8/10/2021                                                                                                   Attorney Client; Legislative   legislation, prepared by Senator Bettencourt's
                                                Word                                                          add missing TDL or SSN
                                                                                                                                                                               attorney.
                                                                                                              (002).docx




                                                MS Office (2016)                                                                                                               Background reearch on election legislation
DOC_0000796   Senator Bettencourt   7/29/2021                                                                 Fraud v compare.docx              Attorney Client; Legislative
                                                Word                                                                                                                           preared for Senator Bettencourt by counsel.




                                                MS Office (2016)                                                                                                               Background reearch on election legislation
DOC_0000797   Senator Bettencourt   7/28/2021                                                                 Fraud.docx                        Attorney Client; Legislative
                                                Word                                                                                                                           preared for Senator Bettencourt by counsel.




                                                                                                                                                                               Memorandum and commentary on proposed SB1
                                                MS Office (2016)                                              Hall Amendment to SB 1 -
DOC_0000798   Senator Bettencourt   7/12/2021                                                                                                   Attorney Client; Legislative   amendment prepared for Senator Bettencourt by
                                                Word                                                          Issues to Consider.docx
                                                                                                                                                                               counsel.




                                                                                                              Harris County November
                                                MS Office (2016)                                                                                                               Data gathered by Senator Bettencourt's counsel
DOC_0000799   Senator Bettencourt   8/2/2021                                                                  2020 results chart based on       Attorney Client; Legislative
                                                Word                                                                                                                           for legislative recommendations.
                                                                                                              party and county races.docx




                                                MS Office (2016)                                             File name omitted because it                                      Data gathered by Senator Bettencourt's counsel
DOC_0000800   Senator Bettencourt   7/13/2021                                                                                                   Attorney Client; Legislative
                                                Word                                                        contains privileged information                                    for legislative recommendations.




                                                Microsoft Excel                                               Late night voters 10-27 and 10                                   Data gathered by Senator Bettencourt's counsel
DOC_0000801   Senator Bettencourt   8/8/2021                                                                                                    Attorney Client; Legislative
                                                2016 XML File                                                 28 (003).xlsx                                                    for legislative recommendations.




                                                MS Office (2016)                                              Open Records Request -                                           Draft of external correspondence, reviewed
DOC_0000802   Senator Bettencourt   6/10/2021                                                                                                   Attorney Client; Legislative
                                                Word                                                          Polling Locations.docx                                           Senator Bettencourt's attorney.




                                                MS Office (2016)                                              Open Records Request -                                           Draft of external correspondence, reviewed
DOC_0000803   Senator Bettencourt   6/10/2021                                                                                                   Attorney Client; Legislative
                                                Word                                                          Voting Data.docx                                                 Senator Bettencourt's attorney.




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                                                                                                                             Poll Allocation in Harris
                                                MS Office (2016)                                                                                                                          Data gathered by Senator Bettencourt's counsel
DOC_0000804   Senator Bettencourt   5/25/2021                                                                                County in November            Attorney Client; Legislative
                                                Word                                                                                                                                      for legislative recommendations.
                                                                                                                             2020.docx




                                                MS Office (2016)                                                             Polling Place allocation                                     Draft of election-legislation provision, prepared
DOC_0000805   Senator Bettencourt   7/7/2021                                                                                                               Attorney Client; Legislative
                                                Word                                                                         language.docx                                                by Senator Bettencourt's attorney.




                                                                                                                             SB 1 Amendment re TDL and                                    Commentary and analysis on proposed SB1
                                                MS Office (2016)
DOC_0000806   Senator Bettencourt   8/9/2021                                                                                 SSN on BBM app and            Attorney Client; Legislative   amendments prepared for Senator Bettencourt
                                                Word
                                                                                                                             Ballot.docx                                                  by his attorney.




                                                                                                                                                                                          Inter-office communique between legislative
                                                Adobe Acrobat                Senator Bryan                                   SB 1 One-Pager - 7 - 8 -
DOC_0000807   Senator Bettencourt   7/27/2021                                                Texas Senate Offices                                          Legislative                    offices, that provides a one-page summary of SB1
                                                (PDF)                           Hughes                                       2021.pdf
                                                                                                                                                                                          and reveals legislators' mental impressions.




                                                MS Office (2016)                                                             SB 1 Poll Watcher Training                                   Draft of election-legislation provision, prepared
DOC_0000808   Senator Bettencourt   7/12/2021                                                                                                              Attorney Client; Legislative
                                                Word                                                                         One Pager.docx                                               by Senator Bettencourt's attorney.




                                                MS Office (2016)                                                             SB 1 Poll Watcher Training                                   Draft talking points and notes on draft
DOC_0000809   Senator Bettencourt   7/12/2021                                                                                                              Attorney Client; Legislative
                                                Word                                                                         Talking Points.docx                                          legislation that reveal mental impressions.




                                                                                                                             SB 7 Conference Committee -                                  Summary and commentary on pending
                                                Microsoft Excel
DOC_0000810   Senator Bettencourt   5/23/2021                                                                                Comments from Senator         Attorney Client; Legislative   legislation prepared for Senator Bettencourt by
                                                2016 XML File
                                                                                                                             Bettencourt Office.xlsx                                      counsel.




                                                                                                                                                                                          Draft bill analysis prepared by legislator's office
                                                MS Office (2016)                                                             SB 1765 re-file One
DOC_0000811   Senator Bettencourt   7/7/2021                                                                                                               Attorney Client; Legislative   regarding SB1765 that reveals mental
                                                Word                                                                         Pager.docx
                                                                                                                                                                                          impressions.




                                                Microsoft Excel                                                                                                                           Data gathered by Senator Bettencourt's counsel
DOC_0000812   Senator Bettencourt   7/13/2021                                                                                States with EV.xlsx           Attorney Client; Legislative
                                                2016 XML File                                                                                                                             for legislative recommendations.




                                                MS Office (2016)                                                             Where Poll Watchers are                                      Draft legislation and commentary prepared for
DOC_0000813   Senator Bettencourt   8/2/2021                                                                                                               Attorney Client; Legislative
                                                Word                                                                         Accepted.docx                                                Senator Bettencourt by counsel.




                                                Adobe Acrobat                                                                Committe Report SB 7                                         Draft legislation prepared for Senator
DOC_0000815   Senator Bettencourt   1/19/2022                                                                                                              Attorney Client; Legislative
                                                (PDF)                                                                        legislative privilege.pdf                                    Bettencourt by counsel concerning SB7.




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                                                Adobe Acrobat                                                                        SB 7 draft legislative                                         Draft legislation prepared for Senator
DOC_0000816   Senator Bettencourt   1/19/2022                                                                                                                        Attorney Client; Legislative
                                                (PDF)                                                                                privilege.pdf                                                  Bettencourt by counsel concerning SB7.




                                                                                                                                                                                                    Analysis of proposed SB7 prepared for Senator
                                                Adobe Acrobat                                                                        SB 7 Comparison Chart
DOC_0000817   Senator Bettencourt   1/19/2022                                                                                                                        Attorney Client; Legislative   Bettencourt by counsel that reveals mental
                                                (PDF)                                                                                Legislative privilege.pdf
                                                                                                                                                                                                    impressions.




                                                                                                                                                                                                    Draft legislation prepared for Senator
                                                Adobe Acrobat                                                                        SB 7 Draft legilative
DOC_0000818   Senator Bettencourt   1/19/2022                                                                                                                        Attorney Client; Legislative   Bettencourt by counsel concerning SB7 rthat
                                                (PDF)                                                                                privilege.pdf
                                                                                                                                                                                                    reveals mental impressions.




                                                MS Office (2016)                                                                     8-9-2021 Testimony                                             Commentary and analysis on committee
DOC_0000819   Senator Bettencourt   1/19/2022                                                                                                                        Attorney Client; Legislative
                                                Word                                                                                 Issues.docx                                                    proceedings regarding election legislation.




                                                                   FW: Bucy                                                                                                                         Confidential corresponence between legislator's
                                                Adobe Acrobat      Amendment to                  Sonya Aston (Bettencourt           File name omitted because it                                    attorney and non-legislative third-party, part of
DOC_0000822   Senator Bettencourt   8/27/2022                                     Alan Vera                                                                          Legislative
                                                (PDF)              SB1 in the                              GC)                     contains privileged information                                  a pre-existing relationship, for the purpose of
                                                                   House                                                                                                                            considering pending legislation.




                                                                                                                                                                                                    Attachment to confidential corresponence
                                                                                                                                                                                                    between legislator's attorney and non-legislative
                                                Adobe Acrobat                                                                       File name omitted because it
DOC_0000824   Senator Bettencourt   1/19/2022                                                                                                                        Legislative; Investigative     third-party, part of a pre-existing relationship,
                                                (PDF)                                                                              contains privileged information
                                                                                                                                                                                                    for the purpose of considering pending
                                                                                                                                                                                                    legislation.




                                                                                                                                                                                                    Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                      Allocation spreadsheet          Attorney Client; Work
DOC_0000831   Senator Bettencourt   1/19/2022                                                                                                                                                       for legislative recommendations, revealing
                                                2016 XML File                                                                        attorney workproduct.xlsx       Product; Legislative
                                                                                                                                                                                                    mental impressions.




                                                                                                                                                                                                    Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                      Allocation Support attorney     Attorney Client; Work
DOC_0000832   Senator Bettencourt   1/19/2022                                                                                                                                                       for legislative recommendations, revealing
                                                2016 XML File                                                                        work product.xlsx               Product; Legislative
                                                                                                                                                                                                    mental impressions.




                                                                                                                                                                                                    Confidential corresponence between legislator's
                                                Adobe Acrobat                                    Sonya Aston (Bettencourt                                            Attorney Client; Work          attorney and non-legislative third-party, part of
DOC_0000834   Senator Bettencourt   2/10/2021                                     Bill Sargent                                       Bill Sargent email.pdf
                                                (PDF)                                                      GC)                                                       Product; Legislative           a pre-existing relationship, for the purpose of
                                                                                                                                                                                                    considering pending legislation.




                                                                                                                                                                                                    Attachment to confidential corresponence
                                                                                                                                                                                                    between legislator's attorney and non-legislative
                                                Adobe Acrobat                                                                        Changes to SB 7 legislative     Attorney Client; Work
DOC_0000835   Senator Bettencourt   1/19/2022                                                                                                                                                       third-party, part of a pre-existing relationship,
                                                (PDF)                                                                                privilege.pdf                   Product; Legislative
                                                                                                                                                                                                    for the purpose of considering pending
                                                                                                                                                                                                    legislation.




                                                                                                                                                                                                    Data gathered by Senator Bettencourt's counsel
                                                Adobe Acrobat                                                                        Comparison of election bills    Attorney Client; Work
DOC_0000836   Senator Bettencourt   1/19/2022                                                                                                                                                       for legislative recommendations, revealing
                                                (PDF)                                                                                attorney work product.pdf       Product; Legislative
                                                                                                                                                                                                    mental impressions.




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                                                                                                                                    Comparison of SB 7 engrossed
                                                                                                                                                                                                    Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                     bills that were included        Attorney Client; Work
DOC_0000837   Senator Bettencourt   1/19/2022                                                                                                                                                       for legislative recommendations, with attorney
                                                2016 XML File                                                                       Conference Committee Bill       Product; Legislative
                                                                                                                                                                                                    commentary, revealing mental impressions.
                                                                                                                                    attorney work product.xlsx




                                                Adobe Acrobat                                                                                                       Attorney Client; Work           Draft election legislation prepared by Senator
DOC_0000838   Senator Bettencourt   1/19/2022                                                                                       Draft SB 1 email.pdf
                                                (PDF)                                                                                                               Product; Legislative            Bettencourt's attorney regarding SB1.




                                                Adobe Acrobat                                                                       Draft SB 7 - Attorney           Attorney Client; Work           Draft election legislation prepared by Senator
DOC_0000839   Senator Bettencourt   1/19/2022
                                                (PDF)                                                                               Workproduct.pdf                 Product; Legislative            Bettencourt's attorney regarding SB7.




                                                                   Longoria                                                                                                                         Confidential corresponence between legislator's
                                                Adobe Acrobat      Untruths and                 Sonya Aston (Bettencourt           File name omitted because it     Attorney Client; Work           attorney and non-legislative third-party, part of
DOC_0000840   Senator Bettencourt   8/10/2021                                     Alan Vera
                                                (PDF)              Misleading                             GC)                     contains privileged information   Product; Legislative            a pre-existing relationship, for the purpose of
                                                                   Statements                                                                                                                       considering pending legislation.




                                                                                                                                                                                                    Draft election legislation prepared by Senator
                                                Adobe Acrobat                                                                       Election Bill Chart -           Attorney Client; Work
DOC_0000841   Senator Bettencourt   1/19/2022                                                                                                                                                       Bettencourt's attorney that reveals mental
                                                (PDF)                                                                               Legislative Privilege.pdf       Product; Legislative
                                                                                                                                                                                                    impressions regarding legislation or process.




                                                                                                                                                                                                    Commentary and analysis regarding proposed
                                                Adobe Acrobat                                                                       Election Bill Notes attorney    Attorney Client; Work           election legislation prepared for Senator
DOC_0000842   Senator Bettencourt   1/19/2022
                                                (PDF)                                                                               work product.pdf                Product; Legislative            Bettencourt by counsel, revealing mental
                                                                                                                                                                                                    impressions.




                                                                                                                                    EVBB and SVC alternate                                          Data gathered by Senator Bettencourt's counsel
                                                MS Office (2016)                                                                                                    Attorney Client; Legislative,
DOC_0000843   Senator Bettencourt   1/19/2022                                                                                       judge (1) attorney work                                         for legislative recommendations, with attorney
                                                Word                                                                                                                AWP
                                                                                                                                    product.docx                                                    commentary, revealing mental impressions.




                                                                                                                                                                                                    Confidential corresponence between legislator's
                                                Adobe Acrobat                                   Sonya Aston (Bettencourt                                            Attorney Client; Work           attorney and non-legislative third-party, part of
DOC_0000845   Senator Bettencourt   8/5/2021                                      Alan Vera                                         Huckabee article.pdf
                                                (PDF)                                                     GC)                                                       Product; Legislative            a pre-existing relationship, for the purpose of
                                                                                                                                                                                                    considering pending legislation.




                                                                                                                                                                                                    Notes concerning special-session legislation
                                                MS Office (2016)                                                                    Notes for Special Session       Attorney Client; Work
DOC_0000846   Senator Bettencourt   1/19/2022                                                                                                                                                       prepared for Senator Bettencourt by counsel that
                                                Word                                                                                Attorney Work Product.docx      Product; Legislative
                                                                                                                                                                                                    reveal mental impressions.




                                                                                                                                                                                                    Internal communications within Senator
                                                Adobe Acrobat                                   Sonya Aston (Bettencourt                                            Attorney Client; Work           Bettencourt's office that contains notes and
DOC_0000847   Senator Bettencourt   7/27/2021                                     Sonya Aston                                       One pager on SB 1.pdf
                                                (PDF)                                                     GC)                                                       Product; Legislative            summary of SB1, prepared in part by Sonya
                                                                                                                                                                                                    Aston (Bettencourt's general counsel).




                                                                                                                                                                                                    Attachment to confidential corresponence
                                                                                                                                                                                                    between legislator's attorney and non-legislative
                                                MS Office (2016)                                                                                                    Attorney Client; Work
DOC_0000848   Senator Bettencourt   1/19/2022                                                                                       R1 Drive through voting.docx                                    third-party, part of a pre-existing relationship,
                                                Word                                                                                                                Product; Legislative
                                                                                                                                                                                                    for the purpose of considering pending
                                                                                                                                                                                                    legislation.




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                                                                                                                                                                                                       Commentary and analysis regarding proposed
                                                MS Office (2016)                                                                                                               Attorney Client; Work   election legislation prepared for Senator
DOC_0000849   Senator Bettencourt   1/19/2022                                                                                                  R1 Opposing Rationale.docx
                                                Word                                                                                                                           Product; Legislative    Bettencourt by counsel, revealing mental
                                                                                                                                                                                                       impressions.




                                                                                                                                                                                                       Confidential corresponence between legislator's
                                                Adobe Acrobat                                                Sonya Aston (Bettencourt                                          Attorney Client; Work   attorney and non-legislative third-party, part of
DOC_0000850   Senator Bettencourt   8/20/2021                      The rest of Longoria      Alan Vera                                         Rest of IL comments email.pdf
                                                (PDF)                                                                  GC)                                                     Product; Legislative    a pre-existing relationship, for the purpose of
                                                                                                                                                                                                       considering pending legislation.




                                                                                                                                                                                                       Internal correspondence within Senator
                                                                      Isabel                                 Marc Salvato (Bettencourt
                                                Adobe Acrobat                               Sonya Aston                                                                        Attorney Client; Work   Bettencourt's office regarding committee
DOC_0000851   Senator Bettencourt   8/11/2021                         Longoria's                              COS); Brian Thornton             Retort to IL email.pdf
                                                (PDF)                                     (Bettencourt GC)                                                                     Product; Legislative    proceedings and election legislation, revealing
                                                                      Testimony                                (Bettencourt Staffer)
                                                                                                                                                                                                       mental impressions.




                                                                                                                                                                                                       Attachment to internal correspondence within
                                                                                                                                                                                                       Senator Bettencourt's office regarding committee
                                                                                                             Marc Salvato (Bettencourt
                                                MS Office (2016)                            Sonya Aston                                        Retorts to Isabel Longoria's    Attorney Client; Work   proceedings and election legislation, containing
DOC_0000852   Senator Bettencourt   8/11/2021                                                                 COS); Brian Thornton
                                                Word                                      (Bettencourt GC)                                     testimony (1).docx              Product; Legislative    legislatively privileged mental impressions that
                                                                                                               (Bettencourt Staffer)
                                                                                                                                                                                                       set forth planned responses to criticism received
                                                                                                                                                                                                       regarding legislation.




                                                Adobe Acrobat                               Sonya Aston      Sonya Aston (Bettencourt          SB 7 Comparison email           Attorney Client; Work   Internal corrrespondence within Senator
DOC_0000853   Senator Bettencourt   5/29/2021                        FW: SB 7 CCR
                                                (PDF)                                     (Bettencourt GC)             GC)                     legislative privilege.pdf       Product; Legislative    Bettencourt's office regarding SB7.




                                                                                                                                                                                                       Data gathered by Senator Bettencourt's counsel
                                                Adobe Acrobat                                                                                  SB 7 changes legislative        Attorney Client; Work
DOC_0000854   Senator Bettencourt   1/19/2022                                                                                                                                                          for legislative recommendations, with attorney
                                                (PDF)                                                                                          privilege.pdf                   Product; Legislative
                                                                                                                                                                                                       commentary, revealing mental impressions.




                                                                                                                                               SB 7 Comparison chart                                   Data gathered by Senator Bettencourt's counsel
                                                Adobe Acrobat                                                                                                                  Attorney Client; Work
DOC_0000855   Senator Bettencourt   1/19/2022                                                                                                  Attorney Work Product                                   for legislative recommendations, with attorney
                                                (PDF)                                                                                                                          Product; Legislative
                                                                                                                                               email.pdf                                               commentary, revealing mental impressions.




                                                                                                                                                                                                       Data gathered by Senator Bettencourt's counsel
                                                Adobe Acrobat                                                                                  SB 7 Comparison chart           Attorney Client; Work
DOC_0000856   Senator Bettencourt   1/19/2022                                                                                                                                                          for legislative recommendations, with attorney
                                                (PDF)                                                                                          Attorney Work Product.pdf       Product; Legislative
                                                                                                                                                                                                       commentary, revealing mental impressions.




                                                                                                                                                                                                       Internal communications within Senator
                                                                                                                                                                                                       Bettencourt's office regarding SB7, as well as
                                                Adobe Acrobat         FW: Updated           Sonya Aston      Sonya Aston (Bettencourt          SB 7 Comparison legislative     Attorney Client; Work
DOC_0000857   Senator Bettencourt   5/29/2021                                                                                                                                                          data gathered by Senator Bettencourt's counsel
                                                (PDF)                 SxS for SB7         (Bettencourt GC)             GC)                     privilege.pdf                   Product; Legislative
                                                                                                                                                                                                       for legislative recommendations, revealing
                                                                                                                                                                                                       mental impressions.




                                                                                                                                                                                                       Attachment to internal communications within
                                                                                                                                                                                                       Senator Bettencourt's office regarding SB7, as
                                                Adobe Acrobat                               Sonya Aston      Sonya Aston (Bettencourt          SB 7 draft legislative          Attorney Client; Work
DOC_0000858   Senator Bettencourt   5/29/2021                                                                                                                                                          well as data gathered by Senator Bettencourt's
                                                (PDF)                                     (Bettencourt GC)             GC)                     privilege.pdf                   Product; Legislative
                                                                                                                                                                                                       counsel for legislative recommendations,
                                                                                                                                                                                                       revealing mental impressions.




                                                                                                                                                                                                       Internal communications within Senator
                                                Adobe Acrobat         FW: Newer             Sonya Aston      Sonya Aston (Bettencourt          SB 7 draft with changes
DOC_0000859   Senator Bettencourt   5/25/2021                                                                                                                                  Legislative             Bettencourt's office regarding proposed draft of
                                                (PDF)                 version             (Bettencourt GC)             GC)                     legislative privilege.pdf
                                                                                                                                                                                                       SB7.




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                                                                                                                                               SB 7 Section 6 - Curbside                                Commentary and analysis on proposed SB7
                                                MS Office (2016)                                                                                                                Attorney Client; Work
DOC_0000860   Senator Bettencourt   1/19/2022                                                                                                  Voting Attorney Work                                     provision prepared for Senator Bettencourt by
                                                Word                                                                                                                            Product; Legislative
                                                                                                                                               Product.docx                                             counsel, revealing mental impressions.




                                                                                                                                                                                                        Commentary and analysis on proposed SB1663
                                                Adobe Acrobat                                                                                  SB 1663 rewrite Attorney         Attorney Client; Work
DOC_0000861   Senator Bettencourt   1/19/2022                                                                                                                                                           prepared for Senator Bettencourt by counsel,
                                                (PDF)                                                                                          Work Product.pdf                 Product; Legislative
                                                                                                                                                                                                        revealing mental impressions.




                                                                                                                                                                                                        Confidential corresponence between legislator's
                                                                     FW: Alan Vera
                                                Adobe Acrobat                                              Sonya Aston (Bettencourt                                             Attorney Client; Work   attorney and non-legislative third-party, part of
DOC_0000865   Senator Bettencourt   1/19/2022                        Complaints -        Alan Vera                                             SOS Complaints.pdf
                                                (PDF)                                                                GC)                                                        Product; Legislative    a pre-existing relationship, for the purpose of
                                                                     Referral Letters
                                                                                                                                                                                                        considering pending legislation.




                                                                                                                                                                                                        Proposed topics for legislation in special session,
                                                                                                                                               Suggestions for Special
                                                MS Office (2016)                                                                                                                Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000866   Senator Bettencourt   1/19/2022                                                                                                  Session Election Bill (1)
                                                Word                                                                                                                            Product; Legislative    with highlighting that reveals mental
                                                                                                                                               Attorney Work Product.docx
                                                                                                                                                                                                        impressions.




                                                                                                                                                                                                        Proposed topics for legislation in special session,
                                                                                                                                               Suggestions for Special
                                                MS Office (2016)                                                                                                                Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000867   Senator Bettencourt   1/19/2022                                                                                                  Session Election Bill (2)
                                                Word                                                                                                                            Product; Legislative    with highlighting that reveals mental
                                                                                                                                               attorney work product.docx
                                                                                                                                                                                                        impressions.




                                                                                                                                                                                                        Confidential corresponence between legislator's
                                                Adobe Acrobat      TLR/TPPF/HCRP                           Sonya Aston (Bettencourt           File name omitted because it      Attorney Client; Work   attorney and non-legislative third-party, part of
DOC_0000868   Senator Bettencourt   6/11/2021                                            Alan Vera
                                                (PDF)              BSC Collaboration                                 GC)                     contains privileged information    Product; Legislative    a pre-existing relationship, for the purpose of
                                                                                                                                                                                                        considering pending legislation.



                                                                                                                                                                                                        Email forwarding contents of confidential
                                                                                                                                                                                                        corresponence between legislator's attorney and
                                                                                                                                                                                                        non-legislative third-party, part of a pre-existing
                                                Adobe Acrobat                             Sonya Aston      Sonya Aston (Bettencourt           File name omitted because it      Attorney Client; Work
DOC_0000869   Senator Bettencourt   7/12/2021                                                                                                                                                           relationship, for the purpose of considering
                                                (PDF)                                   (Bettencourt GC)             GC)                     contains privileged information    Product; Legislative
                                                                                                                                                                                                        pending legislation. This document was kept in
                                                                                                                                                                                                        Senator Bettencourt's personal file, revealing his
                                                                                                                                                                                                        thoughts and mental impressions.




                                                                                                                                                                                                        Summary of election legislation and SB7
                                                MS Office (2016)                                                                                                                Attorney Client; Work
DOC_0000870   Senator Bettencourt   5/30/2021                                                                                                  Bettencourt Bills in SB 7.docx                           prepared for Senator Bettencourt by counsel that
                                                Word                                                                                                                            Product; Legislative
                                                                                                                                                                                                        reveals mental impressions.




                                                                                                                                                                                                        Notes and commentary on House proceedings
                                                MS Office (2016)                                                                               Notes from Alvarado              Attorney Client; Work   relating to election legislation prepared for
DOC_0000871   Senator Bettencourt   8/12/2021
                                                Word                                                                                           Filibuster.docx                  Product; Legislative    Senator Bettencourt by counsel, revealing
                                                                                                                                                                                                        mental impressions.




                                                                                                                                                                                                        Commentary and analysis regarding proposed
                                                MS Office (2016)                                                                                                                Attorney Client; Work   election legislation prepared for Senator
DOC_0000872   Senator Bettencourt   3/22/2021                                                                                                  Notes.docx
                                                Word                                                                                                                            Product; Legislative    Bettencourt by counsel, revealing mental
                                                                                                                                                                                                        impressions.




                                                                                                                                                                                                        Commentary and analysis regarding proposed
                                                MS Office (2016)                                                                                                                Attorney Client; Work   election legislation prepared for Senator
DOC_0000873   Senator Bettencourt   4/19/2021                                                                                                  Questions for SB 1589.docx
                                                Word                                                                                                                            Product; Legislative    Bettencourt by counsel, revealing mental
                                                                                                                                                                                                        impressions.




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                                                                                                                                                                       Commentary and analysis regarding proposed
                                                MS Office (2016)                                              Response to Senator Alvarado     Attorney Client; Work   election legislation prepared for Senator
DOC_0000874   Senator Bettencourt   9/3/2021
                                                Word                                                          v2.docx                          Product; Legislative    Bettencourt by counsel, revealing mental
                                                                                                                                                                       impressions.




                                                                                                                                                                       Commentary and analysis regarding proposed
                                                MS Office (2016)                                              Response to Senator Alvarado     Attorney Client; Work
DOC_0000875   Senator Bettencourt   9/4/2021                                                                                                                           election legislation prepared for Senator
                                                Word                                                          v3.docx                          Product; Legislative
                                                                                                                                                                       Bettencourt by counsel.




                                                                                                                                                                       Commentary and analysis regarding proposed
                                                MS Office (2016)                                              Response to Senator              Attorney Client; Work
DOC_0000876   Senator Bettencourt   9/3/2021                                                                                                                           election legislation prepared for Senator
                                                Word                                                          Alvarado.docx                    Product; Legislative
                                                                                                                                                                       Bettencourt by counsel.




                                                MS Office (2016)                                                                               Attorney Client; Work   Draft legislation regarding SB7 prepared for
DOC_0000877   Senator Bettencourt   5/25/2021                                                                 SB 7 1st version.docx
                                                Word                                                                                           Product; Legislative    Senator Bettencourt by legal counsel.




                                                                                                                                                                       Draft legislation regarding SB7 prepared for
                                                MS Office (2016)                                                                               Attorney Client; Work
DOC_0000878   Senator Bettencourt   5/25/2021                                                                 SB 7 1xt version accepted.docx                           Senator Bettencourt by counsel, with comments,
                                                Word                                                                                           Product; Legislative
                                                                                                                                                                       revealing mental impressions.




                                                                                                                                                                       Draft legislation regarding SB7 prepared for
                                                MS Office (2016)                                                                               Attorney Client; Work
DOC_0000879   Senator Bettencourt   5/25/2021                                                                 SB 7 2nd version.docx                                    Senator Bettencourt by counsel, with comments,
                                                Word                                                                                           Product; Legislative
                                                                                                                                                                       revealing mental impressions.




                                                                                                                                                                       Summary and commentary on SB7 drafts
                                                Microsoft Excel                                               SB 7 Conference                  Attorney Client; Work
DOC_0000880   Senator Bettencourt   5/19/2021                                                                                                                          prepared for Senator Bettencourt by counsel that
                                                2016 XML File                                                 Committe.xlsx                    Product; Legislative
                                                                                                                                                                       reveal mental impressions.




                                                                                                                                                                       Draft remarks and talking points on SB1589
                                                MS Office (2016)                                                                               Attorney Client; Work
DOC_0000881   Senator Bettencourt   4/19/2021                                                                 SB 1589 Talking Points.docx                              prepared for Senator Bettencourt by counsel that
                                                Word                                                                                           Product; Legislative
                                                                                                                                                                       reveal mental impressions.




                                                MS Office (2016)                                                                               Attorney Client; Work   Draft legislation regarding SB1589 prepared for
DOC_0000882   Senator Bettencourt   5/5/2021                                                                  SB01589E (1) split.docx
                                                Word                                                                                           Product; Legislative    Senator Bettencourt by legal counsel.




                                                                                                                                                                       Article concerning voter fraud included in
                                                Adobe Acrobat                                                File name omitted because it      Attorney Client; Work
DOC_0000883   Senator Bettencourt   1/19/2022                                                                                                                          Senator Bettencourt's personal file regarding
                                                (PDF)                                                       contains privileged information    Product; Legislative
                                                                                                                                                                       election legislation.




                                                                                                                                                                       Article concerning voter fraud included in
                                                Adobe Acrobat                                                File name omitted because it      Attorney Client; Work
DOC_0000884   Senator Bettencourt   1/19/2022                                                                                                                          Senator Bettencourt's personal file regarding
                                                (PDF)                                                       contains privileged information    Product; Legislative
                                                                                                                                                                       election legislation.




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                                                                                                                                                                      Article concerning voter fraud included in
                                                MS Office (2016)                                            Gregg County Vote                 Attorney Client; Work
DOC_0000885   Senator Bettencourt   1/19/2022                                                                                                                         Senator Bettencourt's personal file regarding
                                                Word                                                        Harvesting.docx                   Product; Legislative
                                                                                                                                                                      election legislation.




                                                                                                                                                                      Article concerning voter fraud included in
                                                Adobe Acrobat                                               SIGNED Declaration of Jeff        Attorney Client; Work
DOC_0000886   Senator Bettencourt   1/19/2022                                                                                                                         Senator Bettencourt's personal file regarding
                                                (PDF)                                                       MacGeorge.pdf                     Product; Legislative
                                                                                                                                                                      election legislation.




                                                                                                                                                                      Analysis concerning election legislation with
                                                MS Office (2016)                                            87R 828 One Pager - Posting       Attorney Client; Work   annotations prepared for Senator Bettencourt by
DOC_0000887   Senator Bettencourt   1/19/2022
                                                Word                                                        Web Results.docx                  Product; Legislative    Sonya Aston and other staff, revealing mental
                                                                                                                                                                      impressions.




                                                                                                                                                                      Analysis concerning election legislation with
                                                                                                            87R 5109 One Pager -
                                                MS Office (2016)                                                                              Attorney Client; Work   annotations prepared for Senator Bettencourt by
DOC_0000888   Senator Bettencourt   1/19/2022                                                               Residence of voter
                                                Word                                                                                          Product; Legislative    Sonya Aston and other staff, revealing mental
                                                                                                            confirmation.docx
                                                                                                                                                                      impressions.




                                                                                                                                                                      Analysis concerning election legislation with
                                                                                                            87R 6134 One Pager -
                                                MS Office (2016)                                                                              Attorney Client; Work   annotations prepared for Senator Bettencourt by
DOC_0000889   Senator Bettencourt   1/19/2022                                                               Verification of
                                                Word                                                                                          Product; Legislative    Sonya Aston and other staff, revealing mental
                                                                                                            Citizenship.docx
                                                                                                                                                                      impressions.




                                                                                                                                                                      Analysis concerning election legislation with
                                                MS Office (2016)                                            87R 6977 One Pager -              Attorney Client; Work   annotations prepared for Senator Bettencourt by
DOC_0000890   Senator Bettencourt   1/19/2022
                                                Word                                                        Signature Verification.docx       Product; Legislative    Sonya Aston and other staff, revealing mental
                                                                                                                                                                      impressions.




                                                                                                                                                                      Analysis concerning election legislation with
                                                MS Office (2016)                                            87R 8437 One Pager -              Attorney Client; Work   annotations prepared for Senator Bettencourt by
DOC_0000891   Senator Bettencourt   1/19/2022
                                                Word                                                        Enforcement.docx                  Product; Legislative    Sonya Aston and other staff, revealing mental
                                                                                                                                                                      impressions.




                                                                                                                                                                      Analysis concerning election legislation with
                                                MS Office (2016)                                            87R 10975 One Pager (1) - EV      Attorney Client; Work   annotations prepared for Senator Bettencourt by
DOC_0000892   Senator Bettencourt   1/19/2022
                                                Word                                                        Hours and Days.docx               Product; Legislative    Sonya Aston and other staff, revealing mental
                                                                                                                                                                      impressions.




                                                                                                            Allocation of polling locations
                                                MS Office (2016)                                                                              Attorney Client; Work   Draft election legislation prepared for Senator
DOC_0000893   Senator Bettencourt   1/19/2022                                                               equpment and poll
                                                Word                                                                                          Product; Legislative    Bettencourt by counsel.
                                                                                                            workers.docx




                                                                                                                                                                      Draft election legislation prepared for Senator
                                                MS Office (2016)                                            Ballot Board Review of            Attorney Client; Work
DOC_0000894   Senator Bettencourt   1/19/2022                                                                                                                         Bettencourt by counsel, with notes and
                                                Word                                                        Apps.docx                         Product; Legislative
                                                                                                                                                                      comments.




                                                                                                                                                                      Draft election legislation prepared for Senator
                                                MS Office (2016)                                                                              Attorney Client; Work
DOC_0000895   Senator Bettencourt   1/19/2022                                                               Early Voting Hours.docx                                   Bettencourt by counsel, with notes and
                                                Word                                                                                          Product; Legislative
                                                                                                                                                                      comments, revealing mental impressions.




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                                                                                                                                                                    Draft election legislation prepared for Senator
                                                MS Office (2016)                                            Early Voting Time               Attorney Client; Work
DOC_0000896   Senator Bettencourt   1/19/2022                                                                                                                       Bettencourt by counsel, with notes and
                                                Word                                                        Period.docx                     Product; Legislative
                                                                                                                                                                    comments, revealing mental impressions.




                                                                                                                                                                    Draft election legislation prepared for Senator
                                                MS Office (2016)                                            Election Law Enforcement        Attorney Client; Work
DOC_0000897   Senator Bettencourt   1/19/2022                                                                                                                       Bettencourt by counsel, with notes and
                                                Word                                                        Bill-Marshals and Misc.docx     Product; Legislative
                                                                                                                                                                    comments.




                                                                                                                                                                    Draft remarks and talking points on SB1589
                                                MS Office (2016)                                                                            Attorney Client; Work
DOC_0000898   Senator Bettencourt   1/19/2022                                                               Questions for SB 1589.docx                              prepared for Senator Bettencourt by counsel that
                                                Word                                                                                        Product; Legislative
                                                                                                                                                                    reveal mental impressions.




                                                                                                                                                                    Summary and analysis on SB1589 prepared for
                                                MS Office (2016)                                                                            Attorney Client; Work
DOC_0000899   Senator Bettencourt   1/19/2022                                                               SB 1589 bullet points.docx                              Senator Bettencourt by counsel that reveals
                                                Word                                                                                        Product; Legislative
                                                                                                                                                                    mental impressions.




                                                                                                                                                                    Draft legislation concerning SB1589 prepared
                                                MS Office (2016)                                            SB 1589 Proposed Committee      Attorney Client; Work
DOC_0000900   Senator Bettencourt   1/19/2022                                                                                                                       for Senator Bettencourt by counsel that reveals
                                                Word                                                        Substitute.docx                 Product; Legislative
                                                                                                                                                                    mental impressions.




                                                                                                                                                                    Draft legislation concerning SB1589 prepared
                                                Adobe Acrobat                                                                               Attorney Client; Work
DOC_0000901   Senator Bettencourt   1/19/2022                                                               sB 1589 engrossed.pdf                                   for Senator Bettencourt by counsel that reveals
                                                (PDF)                                                                                       Product; Legislative
                                                                                                                                                                    mental impressions.




                                                                                                                                                                    Draft summary and commentary on SB1589
                                                MS Office (2016)                                                                            Attorney Client; Work
DOC_0000902   Senator Bettencourt   1/19/2022                                                               SB 1589 One Pager.docx                                  prepared for Senator Bettencourt by counsel that
                                                Word                                                                                        Product; Legislative
                                                                                                                                                                    reveals mental impressions.




                                                                                                                                                                    Draft remarks and talking points on SB1589
                                                MS Office (2016)                                                                            Attorney Client; Work
DOC_0000903   Senator Bettencourt   1/19/2022                                                               SB 1589 Talking Points.docx                             prepared for Senator Bettencourt by counsel that
                                                Word                                                                                        Product; Legislative
                                                                                                                                                                    reveals mental impressions.




                                                                                                                                                                    Draft remarks and talking points on SB1110
                                                Adobe Acrobat                                                                               Attorney Client; Work
DOC_0000904   Senator Bettencourt   1/19/2022                                                               SB01110I.pdf                                            prepared for Senator Bettencourt by counsel that
                                                (PDF)                                                                                       Product; Legislative
                                                                                                                                                                    reveals mental impressions.




                                                                                                                                                                    Draft election legislation prepared for Senator
                                                MS Office (2016)                                                                            Attorney Client; Work
DOC_0000906   Senator Bettencourt   1/19/2022                                                               15.028.docx                                             Bettencourt by counsel that reveals mental
                                                Word                                                                                        Product; Legislative
                                                                                                                                                                    impressions.




                                                                                                                                                                    Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                             Attorney Client; Work
DOC_0000907   Senator Bettencourt   1/19/2022                                                               24 and late night voters.xlsx                           for legislative recommendations, with attorney
                                                2016 XML File                                                                               Product; Legislative
                                                                                                                                                                    commentary, revealing mental impressions.




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                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             24 hour and late night           Attorney Client; Work
DOC_0000908   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2016 XML File                                               chart.xlsx                       Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             24 hour voting turnout           Attorney Client; Work
DOC_0000909   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2016 XML File                                               chart.xlsx                       Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                            31.127 - Election Official
                                                MS Office (2016)                                                                             Attorney Client; Work   Draft election legislation provision prepared for
DOC_0000910   Senator Bettencourt   1/19/2022                                                               Violation of Election
                                                Word                                                                                         Product; Legislative    Senator Bettencourt by counsel.
                                                                                                            Code.docx




                                                                                                                                                                     Draft election legislation provision prepared for
                                                MS Office (2016)                                                                             Attorney Client; Work
DOC_0000912   Senator Bettencourt   1/19/2022                                                               Alvarado statutes.docx                                   Senator Bettencourt by counsel, with notes and
                                                Word                                                                                         Product; Legislative
                                                                                                                                                                     comments, revealing mental impressions.




                                                                                                                                                                     Draft election legislation provision prepared for
                                                MS Office (2016)                                                                             Attorney Client; Work
DOC_0000913   Senator Bettencourt   1/19/2022                                                               Amendment 6.docx                                         Senator Bettencourt by counsel, with notes and
                                                Word                                                                                         Product; Legislative
                                                                                                                                                                     comments, revealing mental impressions.




                                                                                                                                                                     Summary and analysis of proposed amendments
                                                Microsoft Excel                                                                              Attorney Client; Work   regarding pending election legislation prepared
DOC_0000914   Senator Bettencourt   1/19/2022                                                               Amendment chart.xlsx
                                                2016 XML File                                                                                Product; Legislative    for Senator Bettencourt by counsel, revealing
                                                                                                                                                                     mental impressions.




                                                                                                                                                                     Summary and analysis of proposed amendments
                                                                                                            Amendments to SB 1 re TDL
                                                MS Office (2016)                                                                             Attorney Client; Work   regarding pending election legislation prepared
DOC_0000915   Senator Bettencourt   1/19/2022                                                               and SSN on BBM app and
                                                Word                                                                                         Product; Legislative    for Senator Bettencourt by counsel, revealing
                                                                                                            Ballot.docx
                                                                                                                                                                     mental impressions.




                                                MS Office (2016)                                                                             Attorney Client; Work   Drafts of amendments to SB1 prepared for
DOC_0000916   Senator Bettencourt   1/19/2022                                                               Amendments to SB 1.docx
                                                Word                                                                                         Product; Legislative    Senator Bettencourt by counsel.




                                                                                                                                                                     Summary of election legislation in connection
                                                                                                                                                                     with SB7, prepared for Senator Bettencourt by
                                                MS Office (2016)                                                                             Attorney Client; Work
DOC_0000917   Senator Bettencourt   1/19/2022                                                               Bettencourt Bills in SB 7.docx                           counsel for use in preparing legislation and
                                                Word                                                                                         Product; Legislative
                                                                                                                                                                     communications regarding legislation, revealing
                                                                                                                                                                     mental impressions.




                                                                                                                                                                     Attorney legal research prepared for Senator
                                                MS Office (2016)                                            Case law re Strict               Attorney Client; Work
DOC_0000919   Senator Bettencourt   1/19/2022                                                                                                                        Bettencourt for use in preparing and reviewing
                                                Word                                                        Construction.docx                Product; Legislative
                                                                                                                                                                     draft election legislation.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                              Attorney Client; Work
DOC_0000920   Senator Bettencourt   1/19/2022                                                               Chart of Hotze lawsuits.xlsx                             for legislative recommendations, with attorney
                                                2016 XML File                                                                                Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




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                                                                                                                                                                      Commentary and analysis on SB7 prepared for
                                                Microsoft Excel                                             Comments on Consolidated          Attorney Client; Work
DOC_0000921   Senator Bettencourt   1/19/2022                                                                                                                         Senator Bettencourt by counsel, revealing
                                                2016 XML File                                               SB 7.xlsx                         Product; Legislative
                                                                                                                                                                      mental impressions.




                                                                                                            Comparison of SB 7 engrossed
                                                                                                                                                                      Commentary and analysis on SB7 prepared for
                                                Microsoft Excel                                             bills that were included          Attorney Client; Work
DOC_0000922   Senator Bettencourt   1/19/2022                                                                                                                         Senator Bettencourt by counsel, revealing
                                                2016 XML File                                               Conference Committee              Product; Legislative
                                                                                                                                                                      mental impressions.
                                                                                                            Bill.xlsx




                                                                                                                                                                      Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                               Attorney Client; Work
DOC_0000923   Senator Bettencourt   1/19/2022                                                               County Spreadsheet.xlsx                                   for legislative recommendations, with attorney
                                                2016 XML File                                                                                 Product; Legislative
                                                                                                                                                                      commentary, revealing mental impressions.




                                                MS Office (2016)                                                                              Attorney Client; Work   Commentary and analysis on SB7 prepared for
DOC_0000924   Senator Bettencourt   1/19/2022                                                               Election Bill Summary.docx
                                                Word                                                                                          Product; Legislative    Senator Bettencourt by counsel.




                                                MS Office (2016)                                            EV deput6y appointment                                    Draft election legislation provision prepared for
DOC_0000927   Senator Bettencourt   1/19/2022
                                                Word                                                        language.docx                                             Senator Bettencourt by counsel.




                                                                                                                                                                      Data gathered by Senator Bettencourt's counsel
                                                MS Office (2016)                                            Examples of Election              Attorney Client; Work
DOC_0000928   Senator Bettencourt   1/19/2022                                                                                                                         for legislative recommendations, with attorney
                                                Word                                                        Violations Occurring.docx         Product; Legislative
                                                                                                                                                                      commentary, revealing mental impressions.




                                                                                                            Floor Amendment - Allow                                   Draft floor amendment relating to election
                                                MS Office (2016)                                                                              Attorney Client; Work
DOC_0000929   Senator Bettencourt   1/19/2022                                                               SVC and EVBB to attempt to                                legislation prepared for Senator Bettencourt by
                                                Word                                                                                          Product; Legislative
                                                                                                            correct missing TDL-SSN.docx                              counsel.




                                                                                                                                                                      Draft talking points and communications
                                                MS Office (2016)                                            Floor Amendment AJ for            Attorney Client; Work   regarding proposed floor amendment relating to
DOC_0000930   Senator Bettencourt   1/19/2022
                                                Word                                                        EVBB Talking Points v2.docx       Product; Legislative    election legislation prepared for Senator
                                                                                                                                                                      Bettencourt by counsel.




                                                                                                            Floor Amendment for Ballot                                Draft floor amendment relating to election
                                                MS Office (2016)                                                                              Attorney Client; Work
DOC_0000931   Senator Bettencourt   1/19/2022                                                               by Mail Voter to Allow voter to                           legislation prepared for Senator Bettencourt by
                                                Word                                                                                          Product; Legislative
                                                                                                            add missing TDL or SSN.docx                               counsel.




                                                                                                                                                                      Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County - Primary           Attorney Client; Work
DOC_0000932   Senator Bettencourt   1/19/2022                                                                                                                         for legislative recommendations, with attorney
                                                2016 XML File                                               Election Allocation.xlsx          Product; Legislative
                                                                                                                                                                      commentary, revealing mental impressions.




                                                                                                                                                                      Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County 24 Hour Voting      Attorney Client; Work
DOC_0000933   Senator Bettencourt   1/19/2022                                                                                                                         for legislative recommendations, with attorney
                                                2016 XML File                                               Chart.xlsx                        Product; Legislative
                                                                                                                                                                      commentary, revealing mental impressions.




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                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County 2016 VR by         Attorney Client; Work
DOC_0000934   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2016 XML File                                               PCT.xlsx                         Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Summary of legal and legislative research
                                                MS Office (2016)                                            Harris County                    Attorney Client; Work   conducted by counsel for Senator Bettencourt for
DOC_0000935   Senator Bettencourt   1/19/2022
                                                Word                                                        Complaints.docx                  Product; Legislative    the purpose of considering election legislation,
                                                                                                                                                                     revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County EV 10-27-2021      Attorney Client; Work
DOC_0000936   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2016 XML File                                               late night voting.xlsx           Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                            Harris County EV 10-27-2021                              Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                                                              Attorney Client; Work
DOC_0000937   Senator Bettencourt   1/19/2022                                                               late night                                               for legislative recommendations, with attorney
                                                2000                                                                                         Product; Legislative
                                                                                                            voting_appended.xls                                      commentary, revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County EV 10-28-2021      Attorney Client; Work
DOC_0000938   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2016 XML File                                               late night voting.xlsx           Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                                                                            Harris County EV 10-29-          Attorney Client; Work
DOC_0000939   Senator Bettencourt   1/19/2022   Plain Text                                                                                                           for legislative recommendations, with attorney
                                                                                                            2021.csv                         Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County EV 10-29-          Attorney Client; Work
DOC_0000940   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2000                                                        2021_appended.xls                Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County EV 10-30-          Attorney Client; Work
DOC_0000941   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2016 XML File                                               2021.csv.xlsx                    Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Data gathered by Senator Bettencourt's counsel
                                                Microsoft Excel                                             Harris County EV 10-30-          Attorney Client; Work
DOC_0000942   Senator Bettencourt   1/19/2022                                                                                                                        for legislative recommendations, with attorney
                                                2000                                                        2021_appended.xls                Product; Legislative
                                                                                                                                                                     commentary, revealing mental impressions.




                                                                                                                                                                     Draft election legislation concerning SB7
                                                MS Office (2016)                                                                             Attorney Client; Work
DOC_0000943   Senator Bettencourt   1/19/2022                                                               House SB 7.docx                                          prepared for Senator Bettencourt by Sonya
                                                Word                                                                                         Product; Legislative
                                                                                                                                                                     Aston and other staff.




                                                Microsoft Excel                                             Late night voters 10-27 and 10   Attorney Client; Work   Data compiled by counsel for use in drafting
DOC_0000944   Senator Bettencourt   1/19/2022
                                                2016 XML File                                               28.xlsx                          Product; Legislative    legislation that reveals mental impressions.




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                                                                                                                                                                     Draft talking points relating to comments made
                                                MS Office (2016)                                            Response to Senator Alvarado     Attorney Client; Work   concerning election legislation, prepared for
DOC_0000945   Senator Bettencourt   1/19/2022
                                                Word                                                        v2.docx                          Product; Legislative    Senator Bettencourt by counsel that reveals
                                                                                                                                                                     mental impressions.




                                                                                                                                                                     Draft talking points relating to comments made
                                                MS Office (2016)                                            Response to Senator Alvarado     Attorney Client; Work   concerning election legislation, prepared for
DOC_0000946   Senator Bettencourt   1/19/2022
                                                Word                                                        v4.docx                          Product; Legislative    Senator Bettencourt by counsel that reveals
                                                                                                                                                                     mental impressions.




                                                                                                                                                                     Draft talking points relating to comments made
                                                                                                                                                                     concerning election legislation, prepared for
                                                MS Office (2016)                                            Response to Senator              Attorney Client; Work
DOC_0000947   Senator Bettencourt   1/19/2022                                                                                                                        Senator Bettencourt by counsel that reveals
                                                Word                                                        Alvarado.docx                    Product; Legislative
                                                                                                                                                                     mental impressions, legal advice, and attorney
                                                                                                                                                                     mental impressions.




                                                                                                                                                                     Draft talking points relating to comments made
                                                                                                                                                                     concerning election legislation, prepared for
                                                MS Office (2016)                                            Retorts to Isabel Longoria's     Attorney Client; Work
DOC_0000948   Senator Bettencourt   1/19/2022                                                                                                                        Senator Bettencourt by counsel that reveals
                                                Word                                                        testimony.docx                   Product; Legislative
                                                                                                                                                                     mental impressions, legal advice, and attorney
                                                                                                                                                                     mental impressions.




                                                                                                                                                                     Notes and comments concerning amendments to
                                                                                                                                                                     SB1, with highlights, prepared for Senator
                                                MS Office (2016)                                                                             Attorney Client; Work
DOC_0000949   Senator Bettencourt   1/19/2022                                                               SB 1 what was left out.docx                              Bettencourt by counsel, revealing mental
                                                Word                                                                                         Product; Legislative
                                                                                                                                                                     impressions, legal advice, and attorney mental
                                                                                                                                                                     impressions.




                                                                                                                                                                     Summary of SB1 provisions, with notes,
                                                Microsoft Excel                                             Special Session 2 SB 1           Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000950   Senator Bettencourt   1/19/2022
                                                2016 XML File                                               Final.xlsx                       Product; Legislative    revealing mental impressions, legal advice, and
                                                                                                                                                                     attorney mental impressions.




                                                                                                                                                                     Summary of SB1 provisions, with notes,
                                                Microsoft Excel                                             Special Session 2 SB 1 only as   Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000951   Senator Bettencourt   1/19/2022
                                                2016 XML File                                               left the senate.xlsx             Product; Legislative    revealing mental impressions, legal advice, and
                                                                                                                                                                     attorney mental impressions.




                                                                                                                                                                     Summary of SB1 provisions, with notes,
                                                Microsoft Excel                                             Special Session 2 SB 1 with      Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000952   Senator Bettencourt   1/19/2022
                                                2016 XML File                                               both houses v2.xlsx              Product; Legislative    revealing mental impressions, legal advice, and
                                                                                                                                                                     attorney mental impressions.




                                                                                                                                                                     Summary of SB1 provisions, with notes,
                                                Microsoft Excel                                             Special Session 2 SB 1 with      Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000953   Senator Bettencourt   1/19/2022
                                                2016 XML File                                               both houses.xlsx                 Product; Legislative    revealing mental impressions, legal advice, and
                                                                                                                                                                     attorney mental impressions.




                                                                                                                                                                     Summary of SB1 provisions, with notes,
                                                Microsoft Excel                                             Special Session2 SB 1 -          Attorney Client; Work   prepared for Senator Bettencourt by counsel,
DOC_0000954   Senator Bettencourt   1/19/2022
                                                2016 XML File                                               only.xlsx                        Product; Legislative    revealing mental impressions, legal advice, and
                                                                                                                                                                     attorney mental impressions.




                                                                                                                                                                     Talking points and notes regarding proposed
                                                                                                            Talking Points for
                                                                                                                                                                     SB1 amendment, prepared for Senator
                                                MS Office (2016)                                            Opportunity for Mail Ballot      Attorney Client; Work
DOC_0000955   Senator Bettencourt   1/19/2022                                                                                                                        Bettencourt by counsel, revealing mental
                                                Word                                                        Voter to add missing TDL or      Product; Legislative
                                                                                                                                                                     impressions, legal advice, and attorney mental
                                                                                                            SSN.docx
                                                                                                                                                                     impressions.




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                                                                                                                                                                                            Talking points and notes regarding proposed
                                                                                                                          Talking Points for SVC and                                        SB1 amendment, prepared for Senator
                                                MS Office (2016)                                                                                            Attorney Client; Work
DOC_0000956   Senator Bettencourt   1/19/2022                                                                             EVBB to cure missing TDL or                                       Bettencourt by counsel, revealing mental
                                                Word                                                                                                        Product; Legislative
                                                                                                                          SSN.docx                                                          impressions, legal advice, and attorney mental
                                                                                                                                                                                            impressions.




                                                                                                                                                                                            Talking points and notes regarding proposed
                                                                                                                                                                                            SB1 amendment, prepared for Senator
                                                MS Office (2016)                                                          Talking Points Re Strictly        Attorney Client; Work
DOC_0000957   Senator Bettencourt   1/19/2022                                                                                                                                               Bettencourt by counsel, revealing mental
                                                Word                                                                      Construe.docx                     Product; Legislative
                                                                                                                                                                                            impressions, legal advice, and attorney mental
                                                                                                                                                                                            impressions.




                                                                                                                                                                                            Article with notes and comments concerning
                                                                                                                                                                                            amendments to SB1, prepared for Senator
                                                MS Office (2016)                                                          WSJ Response to Senator           Attorney Client; Work
DOC_0000958   Senator Bettencourt   1/19/2022                                                                                                                                               Bettencourt by counsel, revealing mental
                                                Word                                                                      Alvarado.docx                     Product; Legislative
                                                                                                                                                                                            impressions, legal advice, and attorney mental
                                                                                                                                                                                            impressions.




                                                                                                                                                                                            Court opinion regarding election law, contained
                                                Adobe Acrobat                                                             SCOTX Opinion re ballot by                                        in Senator Bettcourt's personal file for use in
DOC_0000959   Senator Bettencourt   8/10/2021                                                                                                               Legislative
                                                (PDF)                                                                     mail applications 200729.pdf                                      considering election legislation, revealing mental
                                                                                                                                                                                            impressions.




                                                                                                                          2020-08-29 Political insider                                      Article contained in Senator Bettcourt's personal
                                                Adobe Acrobat
DOC_0000960   Senator Bettencourt   1/19/2022                                                                             explains voter fraud with mail-   Legislative                     file for use in considering election legislation,
                                                (PDF)
                                                                                                                          in ballots (nypost).pdf                                           revealing mental impressions.




                                                                                                                                                                                            Presentation contained in Senator Bettcourt's
                                                Adobe Acrobat                                                            File name omitted because it
DOC_0000961   Senator Bettencourt   1/19/2022                                                                                                               Legislative                     personal file for use in considering election
                                                (PDF)                                                                   contains privileged information
                                                                                                                                                                                            legislation, revealing mental impressions.




                                                                                                                                                                                            Article contained in Senator Bettcourt's personal
                                                Adobe Acrobat                                                             An Invitation in the Mail for
DOC_0000962   Senator Bettencourt   1/19/2022                                                                                                               Legislative                     file for use in considering election legislation,
                                                (PDF)                                                                     Election Fraud - WSJ.pdf
                                                                                                                                                                                            revealing mental impressions.




                                                                                                                                                                                            Draft of SB1 amendment prepared for Senator
                                                MS Office (2016)                                                          (1)Allocation of polling          Legislative, Attorney Client,
DOC_0000964   Senator Bettencourt   1/19/2022                                                                                                                                               Bettencourt by counsel, revealing legal advice,
                                                Word                                                                      locations equpment and .docx      AWP
                                                                                                                                                                                            and attorney mental impressions.




                                                                                                                                                                                            Draft of SB1 amendment prepared for Senator
                                                MS Office (2016)                                                          (1)Ballot Board Review of         Legislative, Attorney Client,   Bettencourt by counsel, with annotations,
DOC_0000965   Senator Bettencourt   1/19/2022
                                                Word                                                                      Apps.docx                         AWP                             revealing mental impressions, legal advice, and
                                                                                                                                                                                            attorney mental impressions.




                                                                                                                                                                                            Correspondence contained in Senator
                                                Adobe Acrobat                Senator Paul                                 (1)October 6 Letter from Sen.                                     Bettencourt's personal file for use in considering
DOC_0000967   Senator Bettencourt   1/19/2022                                               Lori Bohannon                                                   Legislative
                                                (PDF)                        Bettencourt                                  Bettencourt to Wich.pdf                                           election legislation, revealing mental
                                                                                                                                                                                            impressions.




                                                                                                                                                                                            Communication contained in Senator
                                                MS Office (2016)             Senator Paul                                 (1)October 6 Letter to Wichita                                    Bettencourt's personal file for use in considering
DOC_0000968   Senator Bettencourt   1/19/2022                                               Lori Bohannon                                                   Legislative
                                                Word                         Bettencourt                                  Co Clerk re SB 11.docx                                            election legislation, revealing mental
                                                                                                                                                                                            impressions.




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                                                                                                                                                                                      Draft amendment to SB1 provision prepared for
                                                MS Office (2016)                                                    Allocation of polling locations   Legislative, Attorney Client,
DOC_0000993   Senator Bettencourt   1/19/2022                                                                                                                                         Senator Bettencourt by counsel, revealing legal
                                                Word                                                                equpment and .docx                AWP
                                                                                                                                                                                      advice and attorney mental impressions.




                                                                                                                                                                                      Draft amendment to SB1 provision prepared for
                                                MS Office (2016)                                                    Ballot Board Review of            Legislative, Attorney Client,   Senator Bettencourt by counsel, with
DOC_0000994   Senator Bettencourt   1/19/2022
                                                Word                                                                Apps.docx                         AWP                             annotations, revealing legal advice and attorney
                                                                                                                                                                                      mental impressions.




                                                                                                                                                                                      Draft election legislation provision prepared for
                                                MS Office (2016)                                                   File name omitted because it       Legislative, Attorney Client,
DOC_0000996   Senator Bettencourt   1/19/2022                                                                                                                                         Senator Bettencourt by counsel, revealing legal
                                                Word                                                              contains privileged information     AWP
                                                                                                                                                                                      advice and attorney mental impressions.




                                                                                                                                                                                      Document relating to instances of voter fraud,
                                                Portable Network                                                                                                                      contained in Senator Bettencourt's personal file
DOC_0000998   Senator Bettencourt   1/19/2022                                                                       image005.png                      Legislative
                                                Graphics Format                                                                                                                       for use in considering election legislation,
                                                                                                                                                                                      revealing mental impressions.




                                                                                                                                                                                      Document relating to instances of voter fraud,
                                                Portable Network                                                                                                                      contained in Senator Bettencourt's personal file
DOC_0000999   Senator Bettencourt   1/19/2022                                                                       image006.png                      Legislative
                                                Graphics Format                                                                                                                       for use in considering election legislation,
                                                                                                                                                                                      revealing mental impressions.




                                                                                                                                                                                      Correspondence contained in Senator
                                                Adobe Acrobat                Senator Paul                           October 6 Letter from Sen.                                        Bettencourt's personal file for use in considering
DOC_0001000   Senator Bettencourt   10/6/2021                                                                                                         Legislative
                                                (PDF)                        Bettencourt                            Bettencourt to Wich.pdf                                           election legislation, revealing mental
                                                                                                                                                                                      impressions.




                                                                                                                                                                                      Correspondence contained in Senator
                                                MS Office (2016)             Senator Paul                           October 6 Letter to Wichita Co                                    Bettencourt's personal file for use in considering
DOC_0001001   Senator Bettencourt   10/6/2021                                                                                                         Legislative
                                                Word                         Bettencourt                            Clerk re SB 11.docx                                               election legislation, revealing mental
                                                                                                                                                                                      impressions.




                                                                                                                                                                                      Draft remarks and talking points regarding
                                                MS Office (2016)
DOC_0001002   Senator Bettencourt   1/19/2022                                                                       Questions for SB 1111.docx        Legislative                     SB1111, perpared for Senator Bettencourt by
                                                Word
                                                                                                                                                                                      counsel, revealing mental impressions.




                                                                                                                                                                                      Notes and commentary relating to SB208
                                                MS Office (2016)
DOC_0001005   Senator Bettencourt   1/19/2022                                                                       SB 208 One Pager.docx             Legislative                     prepared for Senator Bettencourt by legislative
                                                Word
                                                                                                                                                                                      staff that reveal mental impressions.




                                                                                                                                                                                      Notes and commentary relating to SB208
                                                MS Office (2016)                                                    SB 208 Summary of
DOC_0001007   Senator Bettencourt   1/19/2022                                                                                                         Legislative                     prepared for Senator Bettencourt by legislative
                                                Word                                                                Legislative Purpose.docx
                                                                                                                                                                                      staff that reveal mental impressions.




                                                                                                                                                                                      Draft remarks and talking points regarding
                                                MS Office (2016)                                                                                                                      SB1111, perpared for Senator Bettencourt by
DOC_0001009   Senator Bettencourt   1/19/2022                                                                       SB 1111 - Talking points.docx     Legislative
                                                Word                                                                                                                                  counsel that reveal mental impressions, legal
                                                                                                                                                                                      advice, and attorney mental impressions.




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ID Number         Custodian           Date       Application       Subject   Author   To               CC           Filename                         Claim                     Privilege Statement



                                                                                                                                                                   Draft remarks and talking points regarding
                                                MS Office (2016)                                            SB 1112 - Question and                                 SB1112, perpared for Senator Bettencourt by
DOC_0001010   Senator Bettencourt   1/19/2022                                                                                              Legislative
                                                Word                                                        Answer.docx                                            counsel that reveal mental impressions, legal
                                                                                                                                                                   advice, and attorney mental impressions.




                                                                                                                                                                   Draft remarks and talking points regarding
                                                MS Office (2016)                                            SB 1113 - VR penalty for not                           SB1113, perpared for Senator Bettencourt by
DOC_0001011   Senator Bettencourt   1/19/2022                                                                                              Legislative
                                                Word                                                        cleaning voter r.docx                                  counsel that reveal mental impressions, legal
                                                                                                                                                                   advice, and attorney mental impressions.




                                                                                                                                                                   Draft remarks and talking points regarding
                                                MS Office (2016)                                            SB 1114 Committee Layout                               SB1114, perpared for Senator Bettencourt by
DOC_0001012   Senator Bettencourt   1/19/2022                                                                                              Legislative
                                                Word                                                        Talking Points 3-22-.docx                              counsel that reveal mental impressions, legal
                                                                                                                                                                   advice, and attorney mental impressions.




                                                Adobe Acrobat                                               SB 1589 Committee              Attorney Client; Work   Draft legislation regarding SB1589 submitted to
DOC_0001013   Senator Bettencourt   1/19/2022
                                                (PDF)                                                       Substitute.pdf                 Product; Legislative    the Texas Legislative Council.




                                                                                                                                                                   Draft remarks and talking points regarding
                                                MS Office (2016)
DOC_0001014   Senator Bettencourt   1/19/2022                                                               SB 1589 Talking Points.docx    Legislative             SB1589, perpared for Senator Bettencourt by
                                                Word
                                                                                                                                                                   counsel that reveal mental impressions.




                                                                                                                                                                   Summary and commentary concerning SB1
                                                MS Office (2016)                                            Timeline for Challenging
DOC_0001022   Senator Bettencourt   1/19/2022                                                                                              Legislative             provisions prepared for Senator Bettencourt by
                                                Word                                                        Voter Registration.docx
                                                                                                                                                                   counsel, revealing mental impressions.




                                                                                                            Two Articles re SOS                                    Articles contained in Senator Bettcourt's
                                                MS Office (2016)
DOC_0001023   Senator Bettencourt   1/19/2022                                                               settlement with LULAC          Legislative             personal file for use in considering election
                                                Word
                                                                                                            ove.docx                                               legislation, revealing mental impressions.




                                                                                                                                                                   Draft talking points for the Senate Floor
                                                MS Office (2016)                                            SB 1 Floor Talking
DOC_0001025   Senator Bettencourt   1/19/2022                                                                                              Legislative             regarding SB1 prepared for Senator Bettencourt
                                                Word                                                        Points.docx
                                                                                                                                                                   by staff, revealing mental impressions.




                                                                                                                                                                   Draft introduction for proposed SB1 provision
                                                MS Office (2016)                                            SB 1 Poll Watcher Training
DOC_0001026   Senator Bettencourt   1/19/2022                                                                                              Legislative             prepared for Senator Bettencourt that reveals
                                                Word                                                        One Pager.docx
                                                                                                                                                                   mental impressions.




                                                                                                                                                                   Draft talking points concerning proposed SB1
                                                MS Office (2016)                                            SB 1 Poll Watcher Training
DOC_0001027   Senator Bettencourt   1/19/2022                                                                                              Legislative             provision prepared for Senator Bettencourt by
                                                Word                                                        Talking Points.docx
                                                                                                                                                                   counsel, revealing mental impressions.




                                                                                                                                                                   Summary of SB1 provisions prepared for Senator
                                                MS Office (2016)
DOC_0001028   Senator Bettencourt   1/19/2022                                                               SB 1.docx                      Legislative             Bettencourt by staff that reveals mental
                                                Word
                                                                                                                                                                   impressions.




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                                                                                                                                                                                                     Summary and talking points concerning SB61
                                                MS Office (2016)
DOC_0001029   Senator Bettencourt   1/19/2022                                                                                     SB 61 Analysis.docx                Legislative                     prepared for Senator Bettencourt by staff that
                                                Word
                                                                                                                                                                                                     reveal mental impressions.




                                                                                                                                                                                                     Summary of various election-law bills prepared
                                                MS Office (2016)                                                                  Sonya Elections Bill               Legislative, Attorney Client,
DOC_0001030   Senator Bettencourt   1/19/2022                                                                                                                                                        for Senator Bettencourt by counsel that reveal
                                                Word                                                                              Summary.docx                       AWP
                                                                                                                                                                                                     mental impressions.




                                                                                                                                  Three indicted on allegations                                      Article contained in Senator Bettcourt's personal
                                                Adobe Acrobat                                                                     of trying to illegally influence                                   file for use in considering election legislation,
DOC_0001031   Senator Bettencourt   1/19/2022                                                                                                                        Legislative
                                                (PDF)                                                                             Texas House races _ The                                            revealing mental impressions, revealing mental
                                                                                                                                  Texas Tribune.pdf                                                  impressions.




                                                                                                                                                                                                     Notes relating to court opinions regarding
                                                MS Office (2016)                                                                                                                                     election law, contained in Senator Bettcourt's
DOC_0001032   Senator Bettencourt   1/19/2022                                                                                     Voting Fraud Cases.docx            Legislative
                                                Word                                                                                                                                                 personal file for use in considering election
                                                                                                                                                                                                     legislation, revealing mental impressions.




                                                                                                                                                                                                     Draft introduction for proposed SB1 provision
                                                MS Office (2016)                                                                  87R 850 Background &
DOC_0001036   Senator Bettencourt   1/19/2022                                                                                                                        Legislative                     prepared for Senator Bettencourt that reveals
                                                Word                                                                              Purpose (Mail-in Ballots).docx
                                                                                                                                                                                                     mental impressions.




                                                                                                                                  2014 _ The American Voting
                                                                                                                                                                                                     Study relating to elections contained in Senator
                                                                                                                                  Experience_ Report and
                                                Adobe Acrobat                                                                                                                                        Bettcourt's personal file for use in considering
DOC_0001041   Senator Bettencourt   1/19/2022                                                                                     Recommendations of the             Legislative
                                                (PDF)                                                                                                                                                election legislation, revealing mental
                                                                                                                                  Presidential Commission on
                                                                                                                                                                                                     impressions.
                                                                                                                                  Election Administration.pdf




                                                                                                                                                                                                     Study relating to elections contained in Senator
                                                                                                                                  2017-04-21 North Carolina
                                                Adobe Acrobat                                                                                                                                        Bettcourt's personal file for use in considering
DOC_0001042   Senator Bettencourt   1/19/2022                                                                                     General Election 2016 Post         Legislative
                                                (PDF)                                                                                                                                                election legislation, revealing mental
                                                                                                                                  Election Audit Report.pdf
                                                                                                                                                                                                     impressions.




                                                                                                                                  2020-01-21 Illinois_ Butler,                                       Internal communications within Senator
                                                                             Don Barber (Sen.                                     House GOP Members Call for                                         Bettencourt's office, related to out-of-state
                                                Adobe Acrobat                                    Don Barber (Bettencourt
DOC_0001045   Senator Bettencourt   1/21/2020                                Bettencourt Leg.                                     Hearing Following Automatic        Legislative                     elections legislation, kept in file for use in
                                                (PDF)                                                  Leg. Dir.)
                                                                                   Dir.)                                          Voter Registration of Non-                                         considering election legislation, revealing mental
                                                                                                                                  Citizens.pdf                                                       impressions.




                                                                                                                                  2020-01-21 Illinois_ State                                         Internal communications within Senator
                                                                                Don Barber                                        Board of Elections admits non-                                     Bettencourt's office, related to out-of-state
                                                Adobe Acrobat                                    Don Barber (Bettencourt
DOC_0001046   Senator Bettencourt   1/21/2020                                (Bettencourt Leg.                                    U.S. citizens may have voted       Legislative                     elections practices, kept in file for use in
                                                (PDF)                                                  Leg. Dir.)
                                                                                   Dir.)                                          illegally in 2018 _                                                considering election legislation, revealing mental
                                                                                                                                  WCIA.com.pdf                                                       impressions.




                                                                                                                                  2020-02-20 Harris County
                                                                                                                                                                                                     Article contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                     Elections Plagued by
DOC_0001047   Senator Bettencourt   1/19/2022                                                                                                                        Legislative                     personal file for use in considering election
                                                (PDF)                                                                             Problems on First Day of
                                                                                                                                                                                                     legislation.
                                                                                                                                  Early Voting.pdf




                                                                                                                                  2020-04-20 Despite
                                                                                                                                  coronavirus, Texas plans for                                       Article contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001052   Senator Bettencourt   1/19/2022                                                                                     July elections with in-person      Legislative                     personal file for use in considering election
                                                (PDF)
                                                                                                                                  voting _ The Texas                                                 legislation, revealing mental impressions.
                                                                                                                                  Tribune.pdf




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                                                                                                             Ryan Fisher (OAG);
                                                                    Poetntial                                                                                                                                 Correspondence from legislator's staff to Office of
                                                                                        Don Barber       Benjamin Barkley (Benjamin          2020-08 Potential election
                                                Adobe Acrobat       election code                                                                                             Attorney Client; Legislative;   Attorney General, concerning an election
DOC_0001055   Senator Bettencourt   8/10/2020                                        (Bettencourt Leg.      Barkley (Bettencourt             code violations, please review
                                                (PDF)               violations,                                                                                               Investigative                   complaint, considered when drafting legislation,
                                                                                           Dir.)           Staffer); Marc Salvato (          (EMAILS).pdf
                                                                    please review                                                                                                                             revealing legislator's mental impressions.
                                                                                                              Bettencourt COS)




                                                                                                                                                                                                              Correspondence from constituents to legislatior's
                                                                    FW: Complaint                          Don Barber (Bettencourt                                                                            staff to provide solicited information regarding
                                                Microsoft Outlook                                                                            FW Complaint for Forwarding
DOC_0001056   Senator Bettencourt   8/8/2020                        for Forwarding    Alan Vera          Leg. Dir.); Benjamin Barkley                                         Legislative; Investigative      incidents of voting misconduct, kept in Senator
                                                Message Mail                                                                                 to OAG.msg
                                                                    to OAG                                   (Bettencourt Staffer)                                                                            Betten Court's files for use in considering
                                                                                                                                                                                                              legislation, revealing mental impressions.




                                                                                                                                                                                                              Attachment to correspondence from constituents,
                                                                                                              Don Barber (Sen.
                                                                                                                                                                                                              providing solicited information regarding
                                                MS Office (2016)                                           Bettencourt's Leg. Dir.);         Anna Eastman Video to
DOC_0001057   Senator Bettencourt   8/10/2020                                         Alan Vera                                                                               Legislative; Investigative      incidents of voting misconduct, kept in Senator
                                                Word                                                       Benjamin Barkley (Sen.            Voters.docx
                                                                                                                                                                                                              Betten Court's files for use in considering
                                                                                                            Bettencourt's Staffer)
                                                                                                                                                                                                              legislation, revealing mental impressions.




                                                                                                                                                                                                              Attachment to correspondence from constituents,
                                                                                                           Don Barber (Bettencourt                                                                            providing solicited information regarding
                                                Adobe Acrobat
DOC_0001058   Senator Bettencourt   8/10/2020                                         Alan Vera          Leg. Dir.); Benjamin Barkley        Eastman SOS Complaint.pdf        Legislative; Investigative      incidents of voting misconduct, kept in Senator
                                                (PDF)
                                                                                                             (Bettencourt Staffer)                                                                            Betten Court's files for use in considering
                                                                                                                                                                                                              legislation, revealing mental impressions.




                                                                                                                                                                                                              Attachment to correspondence from constituents,
                                                                                                           Don Barber (Bettencourt                                                                            providing solicited information regarding
                                                Adobe Acrobat
DOC_0001059   Senator Bettencourt   8/10/2020                                         Alan Vera          Leg. Dir.); Benjamin Barkley        Eastman voter packet.pdf         Legislative; Investigative      incidents of voting misconduct, kept in Senator
                                                (PDF)
                                                                                                             (Bettencourt Staffer)                                                                            Betten Court's files for use in considering
                                                                                                                                                                                                              legislation, revealing mental impressions.




                                                                                                                                                                                                              Legal document contained in Senator
                                                Adobe Acrobat                                                                                Mail-in Ballot Court Decision                                    Bettencourt's personal file for use in considering
DOC_0001060   Senator Bettencourt   8/10/2020                                                                                                                                 Legislative
                                                (PDF)                                                                                        Letter_06122020.pdf                                              election legislation, revealing mental
                                                                                                                                                                                                              impressions.




                                                                                                                                                                                                              Form contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                                                                 Attorney Client; Legislative;
DOC_0001061   Senator Bettencourt   8/10/2020                                                                                                Mazzapica BBM App.pdf                                            personal file for use in considering election
                                                (PDF)                                                                                                                         Investigative
                                                                                                                                                                                                              legislation, revealing mental impressions.




                                                                                                                                                                                                              Correspondence from constituents to legislatior's
                                                                                                           Don Barber (Bettencourt                                                                            staff to provide solicited information regarding
                                                Microsoft Outlook   FW: Complaint                                                            FW Complaint of Voter
DOC_0001062   Senator Bettencourt   8/8/2020                                          Alan Vera          Leg. Dir.); Benjamin Barkley                                         Legislative; Investigative      incidents of voting misconduct, kept in Senator
                                                Message Mail        of Voter Fraud                                                           Fraud.msg
                                                                                                             (Bettencourt Staffer)                                                                            Betten Court's files for use in considering
                                                                                                                                                                                                              legislation, revealing mental impressions.




                                                                                                                                                                                                              Attachment to correspondence from constituents,
                                                                                                           Don Barber (Bettencourt                                                                            providing solicited information, regarding an
                                                Adobe Acrobat
DOC_0001063   Senator Bettencourt   8/10/2020                                         Alan Vera          Leg. Dir.); Benjamin Barkley        Mazzapica BBM App.pdf            Legislative; Investigative      elections form, kept in Senator Betten Court's
                                                (PDF)
                                                                                                             (Bettencourt Staffer)                                                                            files for use in considering legislation, revealing
                                                                                                                                                                                                              mental impressions.



                                                                                                                                                                                                              Attachment to correspondence from constituents,
                                                                                                                                                                                                              providing solicited information, containing an
                                                                                                           Don Barber (Bettencourt
                                                Adobe Acrobat                                                                                                                                                 elections complaint related to election
DOC_0001064   Senator Bettencourt   8/10/2020                                         Alan Vera          Leg. Dir.); Benjamin Barkley        Mazzapica SOS Comlaint.pdf       Legislative; Investigative
                                                (PDF)                                                                                                                                                         misconduct, kept in Senator Betten Court's files
                                                                                                             (Bettencourt Staffer)
                                                                                                                                                                                                              for use in considering legislation, revealing
                                                                                                                                                                                                              mental impressions.



                                                                                                                                                                                                              Correspondence from constituent to legislator's
                                                                                                           Don Barber (Bettencourt                                                                            staff to provide solicited information regarding
                                                Microsoft Outlook   This Week's
DOC_0001066   Senator Bettencourt   8/8/2020                                          Alan Vera          Leg. Dir.); Benjamin Barkley        This Week's Suspects.msg         Legislative; Investigative      voting misconduct, kept in Senator Bettencourt's
                                                Message Mail        Suspects
                                                                                                             (Bettencourt Staffer)                                                                            files for use in considering legislation, revealing
                                                                                                                                                                                                              mental impressions.




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                                                                                                                                                                                                               Attachment to correspondence from constituents,
                                                                                                                                                                                                               providing solicited information, related to mail-
                                                Microsoft Excel
DOC_0001067   Senator Bettencourt   8/10/2020                                                                                                  Mail Ballots Received.xlsx         Legislative; Investigative   in ballots, kept in Senator Bettencourt's personal
                                                2016 XML File
                                                                                                                                                                                                               file for use in considering election legislation,
                                                                                                                                                                                                               revealing mental impressions.



                                                                                                                                               2020-09-01 Anonymous
                                                                                                                                               Democrat operative's account
                                                                                                                                               of how election fraud is                                        Article contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001069   Senator Bettencourt   1/19/2022                                                                                                  allegedly committed was            Legislative                  personal file for use in considering election
                                                (PDF)
                                                                                                                                               'revealing' and 'chilling'_ NY                                  legislation, revealing mental impressions.
                                                                                                                                               Post reporter
                                                                                                                                               (Foxnews.com).pdf

                                                                    AG Paxton Urges
                                                                     Texas Supreme                                                             2020-09-15 AG Paxton Urges
                                                                                                                                                                                                               Correspondence between Texas Attorney
                                                                      Court to Stop                                                            Texas Supreme Court to Stop
                                                                                                                                                                                                               General and legsilator's staff, contained in
                                                Adobe Acrobat        Harris County       Office of Attorney   Don Barber (Bettencourt          Harris County Clerk from
DOC_0001070   Senator Bettencourt   9/15/2020                                                                                                                                     Legislative                  Senator Bettencourt's personal file for use in
                                                (PDF)                  Clerk from             General               Leg. Dir.)                 Sending Millions of
                                                                                                                                                                                                               considering election legislation, revealing mental
                                                                   Sending Millions of                                                         Unsolicited Mail-In Ballot
                                                                                                                                                                                                               impressions.
                                                                   Unsolicited Mail-In                                                         Applications.pdf
                                                                   Ballot Applications

                                                                       AG Paxton
                                                                    Announces Joint                                                                                                                            Correspondence between Office of Attorney
                                                                                                                                               2020-09-24 Texas AG
                                                                     Prosecution of                                                                                                                            General and legislator's staff, contained in
                                                Adobe Acrobat                            Office of Attorney   Don Barber (Bettencourt          statement, AG filed joint
DOC_0001071   Senator Bettencourt   9/24/2020                        Gregg County                                                                                                 Legislative                  Senator Bettencourt's personal file for use in
                                                (PDF)                                         General               Leg. Dir.)                 prosecution in election fraud
                                                                   Organized Election                                                                                                                          considering election legislation, revealing mental
                                                                                                                                               of mail-in ballot scheme.pdf
                                                                    Fraud in Mail-In                                                                                                                           impressions.
                                                                   Balloting Scheme



                                                                                                                                               2020-10-08 Carrollton
                                                                                                                                                                                                               Article contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                                  mayoral candidate arrested
DOC_0001072   Senator Bettencourt   1/19/2022                                                                                                                                     Legislative                  personal file for use in considering election
                                                (PDF)                                                                                          after police find forged mail-in
                                                                                                                                                                                                               legislation, revealing mental impressions.
                                                                                                                                               ballots (WFAA).pdf




                                                                                                                                               2020-10-08 Harris County
                                                                                                                                               cannot send mail ballot                                         Article contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001073   Senator Bettencourt   1/19/2022                                                                                                  applications to all voters,        Legislative                  personal file for use in considering election
                                                (PDF)
                                                                                                                                               Texas Supreme Court rules                                       legislation, revealing mental impressions.
                                                                                                                                               (chron).pdf




                                                                                                                                               AG Paxton_Suit Original
                                                                                                                                                                                                               Legal document contained in Senator
                                                                                                                                               Petition -- Harris County
                                                Adobe Acrobat                                                                                                                                                  Bettencourt's personal file for use in considering
DOC_0001074   Senator Bettencourt   1/19/2022                                                                                                  Clerk to Prevent Mailing           Legislative
                                                (PDF)                                                                                                                                                          election legislation, revealing mental
                                                                                                                                               Unsolicited Mail-In Ballot
                                                                                                                                                                                                               impressions.
                                                                                                                                               Applications.pdf




                                                                                                                                               AG Paxton Urges Texas                                           Article contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001075   Senator Bettencourt   1/19/2022                                                                                                  Supreme Court_Stop Harris          Legislative                  personal file for use in considering election
                                                (PDF)
                                                                                                                                               Co unslicited mail in.pdf                                       legislation, revealing mental impressions.




                                                                                                                                                                                                               Legal document contained in Senator
                                                Adobe Acrobat                                                                                  Elections Guidance Letter -                                     Bettencourt's personal file for use in considering
DOC_0001080   Senator Bettencourt   1/19/2022                                                                                                                                     Legislative
                                                (PDF)                                                                                          Drive-Thru.pdf                                                  election legislation, revealing mental
                                                                                                                                                                                                               impressions.




                                                                                                                                               Floor Amendment for Ballot                                      Draft of SB1 floor amendment prepared by
                                                MS Office (2016)                                                                                                                  Attorney Client; Work
DOC_0001085   Senator Bettencourt   1/19/2022                                                                                                  by Mail Voter to Allow voter to                                 Senator Bettencourt's counsel that reveals
                                                Word                                                                                                                              Product; Legislative
                                                                                                                                               add missing TDL or SSN.docx                                     mental impressions.




                                                                                                                                               Gov. Abbott limits mail ballot
                                                                                                                                                                                                               Article contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                                  drop-off locations, forcing
DOC_0001086   Senator Bettencourt   1/19/2022                                                                                                                                     Legislative                  personal file for use in considering election
                                                (PDF)                                                                                          Harris County to close 11 sites
                                                                                                                                                                                                               legislation, revealing mental impressions.
                                                                                                                                               - HoustonChronicle.com.pdf




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                                                                                                                                                                                        Data contained in Senator Bettencourt's
                                                Microsoft Excel
DOC_0001092   Senator Bettencourt   1/19/2022                                                                                      Mail-In Ballots JA census.xlsx     Legislative       personal file for use in considering election
                                                2016 XML File
                                                                                                                                                                                        legislation, revealing mental impressions.




                                                                                                                                   Mandamus w Appendix
                                                                                                                                   FINAL (writ of injunction to
                                                                                                                                                                                        Legal document contained in Senator
                                                                                                                                   Harris Co Clerk, preserve
                                                Adobe Acrobat                                                                                                                           Bettencourt's personal file for use in considering
DOC_0001093   Senator Bettencourt   1/19/2022                                                                                      jurisdiction by ordering           Legislative
                                                (PDF)                                                                                                                                   election legislation, revealing mental
                                                                                                                                   Harris Co Clerk not send
                                                                                                                                                                                        impressions.
                                                                                                                                   unsolicited mail-in ballot
                                                                                                                                   apps).pdf



                                                                                                                                                                                        Communication contained in Senator
                                                                                Don Barber
                                                Adobe Acrobat                                     Benjamin Barkley                 staffers have been collecting                        Bettencourt's personal file for use in considering
DOC_0001123   Senator Bettencourt   2/28/2020                                (Bettencourt Leg.                                                                        Legislative
                                                (PDF)                                            (Bettencourt Staffer)             mail-in ballots.pdf                                  election legislation, revealing mental
                                                                                   Dir.)
                                                                                                                                                                                        impressions.




                                                                                                                                                                                        Article contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                      2020-02-28 Sanders zeroes-in
DOC_0001124   Senator Bettencourt   1/19/2022                                                                                                                         Legislative       personal file for use in considering election
                                                (PDF)                                                                              on Super Tuesday .pdf
                                                                                                                                                                                        legislation, revealing mental impressions.




                                                                                                                                   Texas Democrats make last                            Article contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001127   Senator Bettencourt   1/19/2022                                                                                      push to expand mail-in voting      Legislative       personal file for use in considering election
                                                (PDF)
                                                                                                                                   in pandemic (1).pdf                                  legislation, revealing mental impressions.




                                                                                                                                                                                        Report contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                     File name omitted because it
DOC_0001128   Senator Bettencourt   1/19/2022                                                                                                                         Legislative       personal file for use in considering election
                                                (PDF)                                                                            contains privileged information
                                                                                                                                                                                        legislation, revealing mental impressions.




                                                                                                                                   Third lawsuit filed to stop                          Article contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                      Texas Gov. Greg Abbott’s                             personal file for use in considering election
DOC_0001136   Senator Bettencourt   1/19/2022                                                                                                                         Legislative
                                                (PDF)                                                                              order to limit mail ballot drop-                     legislation, revealing mental impressions,
                                                                                                                                   off sites.pdf                                        revealing mental impressions.




                                                                                                                                                                                        Article contained in Senator Bettencourt's
                                                Adobe Acrobat                                                                      Democrats Look to Counter
DOC_0001138   Senator Bettencourt   6/9/2020                                                                                                                          Legislative       personal file for use in considering election
                                                (PDF)                                                                              GOP Vote-By-Mail Frau....pdf
                                                                                                                                                                                        legislation, revealing mental impressions.




                                                                                                                                   AG Paxton_Sues_Harris                                Article contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001139   Senator Bettencourt   8/31/2020                                                                                      County Clerk to Prevent            Legislative       personal file for use in considering election
                                                (PDF)
                                                                                                                                   H....pdf                                             legislation, revealing mental impressions.




                                                                                                                                                                                        Draft bill analysis prepared by legislator's office
                                                MS Office (2016)
DOC_0001144   Senator Bettencourt   1/19/2022                                                                                      87R 5109 One Pager.docx            Legislative       regarding SB5109 that reveals mental
                                                Word
                                                                                                                                                                                        impressions.




                                                                                                                                   Best Practices for Achieving
                                                                                                                                   Integrity in Voter Registration                      Report contained in Senator Bettencourt's
                                                Adobe Acrobat
DOC_0001151   Senator Bettencourt   1/19/2022                                                                                      _Report FINAL (PILF, Public        Legislative       personal file for use in considering election
                                                (PDF)
                                                                                                                                   Interest Legal                                       legislation, revealing mental impressions.
                                                                                                                                   Foundation).pdf




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                                                                                                                                                                        Report contained in Senator Bettencourt's
                                                 Adobe Acrobat                                                 File name omitted because it
DOC_0001154    Senator Bettencourt   1/19/2022                                                                                                  Legislative             personal file for use in considering election
                                                 (PDF)                                                        contains privileged information
                                                                                                                                                                        legislation revealing mental impressions.




                                                                                                                                                                        Handwritten notes from Senator Hughes's office,
                                                 Scanned Document
                                                                                                                                                                        along with materials reviewed regarding the
PDOC_0000015    Senator Hughes                   from Legislator's                                                                              Legislative
                                                                                                                                                                        materials, related to pending legislation,
                                                 Files
                                                                                                                                                                        revealing mental impressions.




                                                 Scanned Document                                                                                                       Handwritten notes from Senator Hughes's office
PDOC_0000045    Senator Hughes                   from Legislator's                                                                              Legislative             regarding pending election legislation that
                                                 Files                                                                                                                  reveals mental impressions.




                                                 Scanned Document                                                                                                       Handwritten notes from Senator Hughes's office
PDOC_0000067    Senator Hughes                   from Legislator's                                                                              Legislative             regarding pending election legislation that
                                                 Files                                                                                                                  reveal mental impressions.




                                                 Scanned Document                                                                                                       Notes from Senator Hughes's office regarding
PDOC_0000110    Senator Hughes                   from Legislator's                                                                              Legislative             pending election legislation that reveal mental
                                                 Files                                                                                                                  impressions.




                                                 Scanned Document                                                                                                       Handwritten and typed notes from a conference
PDOC_0000114    Senator Hughes                   from Legislator's                                                                              Legislative             committee report concerning Senate Bill 1 that
                                                 Files                                                                                                                  reveal mental impressions.




                                                 Scanned Document                                                                                                       Handwritten notes on a draft legislation
PDOC_0000198    Senator Hughes                   from Legislator's                                                                              Legislative             proposal concerning election legislation that
                                                 Files                                                                                                                  reveal mental impressions.




                                                                                                                                                                        Proposed amendment drafts regarding
                                                 Scanned Document
                                                                                                                                                Attorney Client; Work   committee substitute for SB1 developed between
PDOC_0000224    Senator Hughes                   from Legislator's
                                                                                                                                                Product; Legislative    legislators, their staff, and the Texas Legislative
                                                 Files
                                                                                                                                                                        Council.




                                                 Scanned Document                                                                                                       Senator Hughes's copy of draft election
PDOC_0002227    Senator Hughes                   from Legislator's                                                                              Legislative             legislation along with code sections being
                                                 Files                                                                                                                  referenced.




                                                 Scanned Document
                                                                                                                                                                        Senator Hughes's typed notes regarding SB1
PDOC_0002351    Senator Hughes                   from Legislator's                                                                              Legislative
                                                                                                                                                                        provisions, revealing mental impressions.
                                                 Files




                                                 Scanned Document                                                                                                       A draft of unspecified election bill, containing
PDOC_0002357    Senator Hughes                   from Legislator's                                                                              Legislative             comments, notes, and other annotations by
                                                 Files                                                                                                                  Senator Hughes.




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                                            Scanned Document                                                                          A draft of unspecified election bill, containing
PDOC_0002393   Senator Hughes               from Legislator's                                                       Legislative       comments, notes, and other annotations by
                                            Files                                                                                     Senator Hughes, revealing mental impressions.




                                            Scanned Document                                                                          Draft amendment to SB7, containing comments,
PDOC_0002426   Senator Hughes               from Legislator's                                                       Legislative       notes, and other annotations by Senator Hughes,
                                            Files                                                                                     revealing mental impressions.




                                            Scanned Document                                                                          Draft amendment to SB7, containing comments,
PDOC_0002431   Senator Hughes               from Legislator's                                                       Legislative       notes, and other annotations by Senator Hughes,
                                            Files                                                                                     revealing mental impressions.




                                            Scanned Document                                                                          Draft committee substitute to SB7, containing
PDOC_0002441   Senator Hughes               from Legislator's                                                       Legislative       comments, notes, and other annotations by
                                            Files                                                                                     Senator Hughes, revealing mental impressions.




                                            Scanned Document                                                                          Notes prepared for Senator Hughes to aid in
PDOC_0002464   Senator Hughes   5/17/2021   from Legislator's                                                       Legislative       drafting SB7 that contain handwritten notes and
                                            Files                                                                                     other markings, revealing mental impressions.




                                            Scanned Document                                                                          Draft amendment to SB7, containing comments,
PDOC_0002467   Senator Hughes               from Legislator's                                                       Legislative       notes, and other annotations by Senator Hughes,
                                            Files                                                                                     revealing mental impressions.




                                            Scanned Document                                                                          Senator Hughes's notes and comments
PDOC_0002520   Senator Hughes               from Legislator's                                                       Legislative       concerning proposed amendment to election
                                            Files                                                                                     legislation, revealing mental impressions.




                                                                                                                                      Notes prepared for Senator Hughes to aid in
                                            Scanned Document
                                                                                                                                      drafting election legislation that contain
PDOC_0002530   Senator Hughes               from Legislator's                                                       Legislative
                                                                                                                                      handwrittend notes and other markings,
                                            Files
                                                                                                                                      revealing mental impressions.




                                            Scanned Document                                                                          Notes that Sen. Hughes prepared for a meeting
PDOC_0002540   Senator Hughes               from Legislator's                                                       Legislative       with Representative Murr regarding pending
                                            Files                                                                                     legislation that reveal mental impressions.




                                                                                                                                      Notes prepared for Senator Hughes to aid in
                                            Scanned Document
                                                                                                                                      drafting election legislation that contain
PDOC_0002542   Senator Hughes               from Legislator's                                                       Legislative
                                                                                                                                      handwritten notes, revealing mental
                                            Files
                                                                                                                                      impressions.




                                                                                                                                      Notes and talking points prepared for Senator
                                            Scanned Document
                                                                                                                                      Hughes to aid discussing SB7 that contain
PDOC_0002546   Senator Hughes               from Legislator's                                                       Legislative
                                                                                                                                      handwritten edits, revealing mental
                                            Files
                                                                                                                                      impressions.




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                                       Scanned Document                                                                          Draft of SB7, containing comments, notes, and
PDOC_0002569   Senator Hughes          from Legislator's                                                       Legislative       other annotations by Senator Hughes, revealing
                                       Files                                                                                     mental impressions.




                                       Scanned Document                                                                          Draft of SB7, containing comments, notes, and
PDOC_0002609   Senator Hughes          from Legislator's                                                       Legislative       other annotations by Senator Hughes, revealing
                                       Files                                                                                     mental impressions.




                                       Scanned Document                                                                          Draft excerpts of SB7, containing comments,
PDOC_0002632   Senator Hughes          from Legislator's                                                       Legislative       notes, and other annotations by Senator Hughes,
                                       Files                                                                                     revealing mental impressions.




                                       Scanned Document                                                                          Legislator's typed and handwritten notes on
PDOC_0002643   Senator Hughes          from Legislator's                                                       Legislative       suggestions and ideas for election integrity bill
                                       Files                                                                                     that reveal mental impressions.




                                       Scanned Document                                                                          Draft excerpts of SB7, containing comments,
PDOC_0002660   Senator Hughes          from Legislator's                                                       Legislative       notes, and other annotations by Senator Hughes,
                                       Files                                                                                     revealing mental impressions.




                                       Scanned Document                                                                          Draft excerpts of SB7, containing comments,
PDOC_0002683   Senator Hughes          from Legislator's                                                       Legislative       notes, and other annotations by Senator Hughes,
                                       Files                                                                                     revealing mental impressions.




                                       Scanned Document                                                                          Draft of SB7, containing comments, notes, and
PDOC_0002708   Senator Hughes          from Legislator's                                                       Legislative       other annotations by Senator Hughes, revealing
                                       Files                                                                                     mental impressions.




                                                                                                                                 A chart comparing HB3 and SB1, developed by
                                       Scanned Document
                                                                                                                                 Senator Hughes and containing handwritten
PDOC_0002774   Senator Hughes          from Legislator's                                                       Legislative
                                                                                                                                 notes, comments, and other markings that reveal
                                       Files
                                                                                                                                 mental impressions.




                                       Scanned Document                                                                          Draft of SB7, containing comments, notes, and
PDOC_0002808   Senator Hughes          from Legislator's                                                       Legislative       other annotations on particular sections by
                                       Files                                                                                     Senator Hughes, revealing mental impressions.




                                       Scanned Document                                                                          Data contained in Senator Hughes's personal file
PDOC_0002888   Senator Hughes          from Legislator's                                                       Legislative       for use in considering election legislation that
                                       Files                                                                                     reveal mental impressions.




                                       Scanned Document
                                                                                                                                 Senator Hughes's notes on changes made to SB7
PDOC_0002890   Senator Hughes          from Legislator's                                                       Legislative
                                                                                                                                 and SB1 that reveal mental impressions.
                                       Files




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                                                                                                                                       Talking points regarding election legislation
                                       Scanned Document
                                                                                                                                       prepared for Senator Hughes in response to
PDOC_0002906   Senator Hughes          from Legislator's                                                       Legislative
                                                                                                                                       comments made in opposition to the legislation,
                                       Files
                                                                                                                                       revealing mental impressions.




                                       Scanned Document                                                                                Legislator's notes and talking points for floor
PDOC_0002907   Senator Hughes          from Legislator's                                                       Legislative             speech concerning election legislation that reveal
                                       Files                                                                                           mental impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document
                                                                                                                                       SB1 with the Texas Election Code and contains
PDOC_0002910   Senator Hughes          from Legislator's                                                       Legislative;
                                                                                                                                       Senator Hughes's notes, comments, and/or other
                                       Files
                                                                                                                                       markings that reveal mental impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document
                                                                                                                                       SB1 with the Texas Election Code and contains
PDOC_0002920   Senator Hughes          from Legislator's                                                       Legislative;
                                                                                                                                       Senator Hughes's notes, comments, and/or other
                                       Files
                                                                                                                                       markings that reveal mental impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document                                                                                Senate Bill 1 with the Texas Election Code and
PDOC_0002929   Senator Hughes          from Legislator's                                                       Legislative             contains Senator Hughes's notes, comments,
                                       Files                                                                                           and/or other markings that reveal mental
                                                                                                                                       impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document                                                                                Senate Bill 1 with the Texas Election Code and
PDOC_0002936   Senator Hughes          from Legislator's                                                       Legislative;            contains Senator Hughes's notes, comments,
                                       Files                                                                                           and/or other markings that reveal mental
                                                                                                                                       impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document                                                                                Senate Bill 1 with the Texas Election Code and
PDOC_0002948   Senator Hughes          from Legislator's                                                       Legislative             contains Senator Hughes's notes, comments,
                                       Files                                                                                           and/or other markings that reveal mental
                                                                                                                                       impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document
                                                                                                                                       Senate Bill 1 with the Texas Election Code and
PDOC_0002960   Senator Hughes          from Legislator's                                                       Legislative
                                                                                                                                       contains Senator Hughes's notes, comments,
                                       Files
                                                                                                                                       and/or other markings.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document                                                                                Senate Bill 1 with the Texas Election Code and
PDOC_0002980   Senator Hughes          from Legislator's                                                       Legislative             contains Senator Hughes's notes, comments,
                                       Files                                                                                           and/or other markings that reveal mental
                                                                                                                                       impressions.




                                                                                                                                       A document that cross references provisions of
                                       Scanned Document                                                                                Senate Bill 1 with the Texas Election Code and
PDOC_0002990   Senator Hughes          from Legislator's                                                       Legislative             contains Senator Hughes's notes, comments,
                                       Files                                                                                           and/or other markings that reveal mental
                                                                                                                                       impressions.




                                       Scanned Document                                                                                Document from the Texas Legislative Council
                                                                                                               Attorney Client; Work
PDOC_0002996   Senator Hughes          from Legislator's                                                                               that contains alternative drafts of Senate Bill 7,
                                                                                                               Product; Legislative
                                       Files                                                                                           along with drafting from Senator Hughes.




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                                             Scanned Document                                                                                                                   Draft of SB7, containing comments, notes, and
PDOC_0003034   Senator Hughes                from Legislator's                                                                                                Legislative;      other annotations on particular sections by
                                             Files                                                                                                                              Senator Hughes that reveal mental impressions.




                                             Scanned Document                                                                                                                   Draft of SB7, containing comments, notes, and
PDOC_0003119   Senator Hughes                from Legislator's                                                                                                Legislative       other annotations on particular sections by
                                             Files                                                                                                                              Senator Hughes that reveal mental impressions.




                                                                                                                                                                                Draft of SB7 committee report, containing
                                             Scanned Document
                                                                                                                                                                                comments, notes, and other annotations on
PDOC_0003199   Senator Hughes                from Legislator's                                                                                                Legislative
                                                                                                                                                                                particular sections by Senator Hughes that
                                             Files
                                                                                                                                                                                reveal mental impressions.




                                                                                              Senator Borris Miles;
                                                                                                                                                                                Draft of internal correspondence between
                                                                                             Senator Joan Huffman;
                                             MS Office Word                Senator Bryan                                      1. Letter to Senators re                          Senator Hughes and members of the Senate
DOC_0000276     Texas Senate    2/15/2018                                                    Senator Lois Kolkhorst;                                          Legislative
                                             2010                             Hughes                                          witnesses.docx                                    regarding an upcoming hearing of the Select
                                                                                           Senator Brandon Creighton;
                                                                                                                                                                                Committee on Election Security.
                                                                                             Senator Judith Zaffirini




                                                                                              Senator Borris Miles;                                                             Draft of internal correspondence between
                                                                                             Senator Joan Huffman;                                                              Senator Hughes and members of the Senate
                                             Adobe Acrobat                 Senator Bryan                                      1. Letter to Senators re
DOC_0000277     Texas Senate    2/15/2018                                                    Senator Lois Kolkhorst;                                          Legislative       regarding an upcoming hearing of the Select
                                             (PDF)                            Hughes                                          witnesses.pdf
                                                                                           Senator Brandon Creighton;                                                           Committee on Election Security that reveals
                                                                                             Senator Judith Zaffirini                                                           mental impressions.




                                                                                                                                                                                Legal documents contained in personal file of the
                                             Microsoft Excel                                                                                                                    Select Committee on Election Security, for use in
DOC_0000286     Texas Senate    5/7/2018                                                                                      Copy of Complaint Status.xlsx   Legislative
                                             2013                                                                                                                               considering election legislaion, revealing mental
                                                                                                                                                                                impressions.




                                                                                                                                                                                Report contained in the personal file of the
                                                                                                                              Copy of Residential Care
                                             Microsoft Excel                                                                                                                    Select Committee on Election Security, for use in
DOC_0000287     Texas Senate    11/26/2018                                                                                    Facility Chapter 107            Legislative
                                             2016 XML File                                                                                                                      considering election legislaion, revealing mental
                                                                                                                              Survey.xlsx
                                                                                                                                                                                impressions.




                                                                                                                                                                                Chart contained in personal file of the Select
                                             Microsoft Excel                                                                  Counties with New Voting                          Committee on Election Security, for use in
DOC_0000288     Texas Senate    12/7/2018                                                                                                                     Legislative
                                             2013                                                                             Systems since 2016.xlsx                           considering election legislaion, revealing mental
                                                                                                                                                                                impressions.




                                                                                                                                                                                Correspondence from Senator Hughes, on behalf
                                                                                             Jose Salvador; John Lee
                                                                                                                                                                                of Select Committee on Election Security, to
                                                                                            Rodriguez; Kathryn Nealy;
                                             Adobe Acrobat                 Senator Bryan                                                                                        third party not employed by legislature,
DOC_0000289     Texas Senate    5/2/2018                                                    Kara Sands; Toni Pippins-         County_Letters.pdf              Legislative
                                             (PDF)                            Hughes                                                                                            soliciting information for use in considering
                                                                                           Poole; Brenda Samples; Lupe
                                                                                                                                                                                election legislation, revealing mental
                                                                                                      Torres
                                                                                                                                                                                impressions.



                                                                                                                                                                                Correspondence rom Senator Hughes, on behalf
                                                                                                                                                                                of Select Committee on Election Security, to
                                             Adobe Acrobat                 Senator Bryan                                                                                        third party, not employed by legislature,
DOC_0000290     Texas Senate    5/3/2018                                                       Toni Pippins-Poole             Dallas_Co_Letter.pdf            Legislative
                                             (PDF)                            Hughes                                                                                            soliciting information for use in considering
                                                                                                                                                                                election legislation, revealing mental
                                                                                                                                                                                impressions.




                                                                                                                                                                                Data gathered by Senator Hughes on behalf of
                                             Microsoft Excel                                                                  Analysis - March 2016                             the Select Committee on Election Security for
DOC_0000316     Texas Senate    10/20/2016                                                                                                                    Legislative
                                             2013                                                                             Primary.xlsx                                      use in considering election legislation, reveaing
                                                                                                                                                                                mental impressions.




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                                                                                                                                                                                                                                Data gathered by Senator Hughes on behalf of
                                          Adobe Acrobat                                                                                                           DRAFT_SoS Vote History                                        the Select Committee on Election Security for
DOC_0000319   Texas Senate   9/13/2018                                                                                                                                                           Legislative
                                          (PDF)                                                                                                                   Discrepancies Packet.pdf                                      use in considering election legislation, reveaing
                                                                                                                                                                                                                                mental impressions.




                                                               FW:
                                                                                                                                                                                                                                Correspondence between Senator Hughes's staff
                                          Microsoft Outlook    INETMAIL:         Burwell Thompson      Drew Tedford (State Affairs                                FW INETMAIL Election
DOC_0000320   Texas Senate   1/3/2019                                                                                                                                                            Legislative                    and other legislator's staff concerning pending
                                          Message Mail         Election           (Hughes' Staffer)          Comm. Dir).                                          Security.msg
                                                                                                                                                                                                                                legislation.
                                                               Security



                                                                                                                                                                                                                                Correspondence between Drew Tedford, who is
                                                                                                                                                                                                                                Senator Hughes's general counsel, and Jonathan
                                                               FW: Legislative                                                                                                                                                  White, the division chief of the Attorney
                                          Microsoft Outlook                       Jonathan White       Drew Tedford (State Affairs                                FW Legislative
DOC_0000321   Texas Senate   11/14/2018                        Recommendatio                                                                                                                     Attorney Client; Legislative   General's election integrity division. The email
                                          Message Mail                                (OAG)                  Comm. Dir).                                          Recommendations.msg
                                                               ns                                                                                                                                                               consists of Mr. White's recommendations and
                                                                                                                                                                                                                                advice to Mr. Tedford concerning pending
                                                                                                                                                                                                                                legislation.


                                                                                                                                                                                                                                Correspondence between Drew Tedford, who is
                                                                                                                                                                                                                                Senator Hughes's general counsel, and Keith
                                          Microsoft Outlook                                            Drew Tedford (State Affairs                                                                                              Ingram, the director of the Secretary of State's
DOC_0000329   Texas Senate   9/13/2018                         FW: waivers       Keith Ingram (SOS)                                                               FW waivers.msg                 Legislative
                                          Message Mail                                                       Comm. Dir).                                                                                                        elections division. The email consists of Mr.
                                                                                                                                                                                                                                Ingram's recommendations and advice to Mr.
                                                                                                                                                                                                                                Tedford concerning pending legislation.




                                          MS Office (2016)                                                                                                                                                                      Draft talking points concerning election
DOC_0000347   Texas Senate   5/23/2018                                                                                                                            Gregg_Co_Press_Conf.docx       Legislative
                                          Word                                                                                                                                                                                  legislation prepared for Senator Hughes.




                                                                                                                                                                                                                                Draft agenda for hearing of the Select Committee
                                          MS Office (2016)
DOC_0000348   Texas Senate   2/25/2020                                                                                                                            Hearing Agenda 02 22 18.docx   Legislative                    on Election Security for use in considering
                                          Word
                                                                                                                                                                                                                                pending legislation.




                                                                                                                                                                                                                                Draft letter from Senator Hughes to Keith
                                          MS Office (2016)                                                                                                                                                                      Ingram for the purpose of seeking advice on
DOC_0000352   Texas Senate   5/1/2018                                                                                                                             Ingram_Letter.docx             Legislative
                                          Word                                                                                                                                                                                  pending election legislation, revealing mental
                                                                                                                                                                                                                                impressions.




                                                                                                                                                                                                                                Draft of unspecified election bill, containing
                                          Adobe Acrobat                                                                                                           LC 4726 Proposal 7 Alternate
DOC_0000357   Texas Senate   12/3/2018                                                                                                                                                           Legislative                    Senator Hughes's edits and markings, revealing
                                          (PDF)                                                                                                                   Judge of EVBB.pdf
                                                                                                                                                                                                                                mental impressions.




                                                                                                         Jose Salvador; John Lee                                                                                                Correspondence from Senator Hughes, on behalf
                                                                                                        Rodriguez; Kathryn Nealy;                                                                                               of Select Committee on Election Security, to
                                          Adobe Acrobat                            Senator Bryan
DOC_0000368   Texas Senate   5/2/2018                                                                   Kara Sands; Toni Pippins-                                 County_Letters.pdf             Legislative                    third party, soliciting information for use in
                                          (PDF)                                       Hughes
                                                                                                       Poole; Brenda Samples; Lupe                                                                                              considering election legislation, revealing mental
                                                                                                                  Torres                                                                                                        impressions.




                                                              Letter to Dallas                                                                                                                                                  Internal correspondence between two legislative
                                          Microsoft Outlook                       Sarah Hartsfield     Drew Tedford (State Affairs    Leigh Anne Lauderdale       Letter to Dallas County
DOC_0000369   Texas Senate   5/3/2018                         County election                                                                                                                    Legislative                    staffers, Sarah Hartsfield and Drew Tedford,
                                          Message Mail                           (Huffines' Staffer)         Comm. Dir).             (Sen. Huffine's Leg. Dir.)   election officials.msg
                                                                  officials                                                                                                                                                     regarding election legislation.




                                                                                                                                                                                                                                Correspondence between Drew Tedford, who is
                                                                                                                                                                                                                                Senator Hughes's general counsel, and Keith
                                          Microsoft Outlook                                            Drew Tedford (State Affairs
DOC_0000371   Texas Senate   5/2/2018                          list              Keith Ingram (SOS)                                                               list.msg                       Legislative                    Ingram, the director of the Secretary of State's
                                          Message Mail                                                       Comm. Dir).
                                                                                                                                                                                                                                elections division for the purpose of seeking
                                                                                                                                                                                                                                advice concerning pending election legislation.




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                                                                                                                                                                                     Attachment to correspondence between Drew
                                                                                                                                                                                     Tedford, who is Senator Hughes's general
                                         Microsoft Excel                                        Drew Tedford (State Affairs                                                          counsel, and Keith Ingram, the director of the
DOC_0000372   Texas Senate   5/2/2018                                      Keith Ingram (SOS)                                      Copy of Complaint Status.xlsx   Legislative
                                         2013                                                         Comm. Dir).                                                                    Secretary of State's elections division for the
                                                                                                                                                                                     purpose of seeking advice concerning pending
                                                                                                                                                                                     election legislation.



                                                                                                                                                                                     Draft correspondence from Senator Hughes, on
                                                                                                                                                                                     behalf of Select Committee on Election Security,
                                         MS Office (2016)                                                                          Mail-in_letter -Caroline's                        to third party not employed by Legislature,
DOC_0000375   Texas Senate   5/2/2018                                                                                                                              Legislative
                                         Word                                                                                      Edits.docx                                        soliciting information for use in considering
                                                                                                                                                                                     election legislation, revealing mental
                                                                                                                                                                                     impressions.



                                                                                                                                                                                     Correspondence between Senator Hughes, on
                                                                                                                                                                                     behalf of Select Committee on Election Security,
                                         Microsoft Outlook   Request for                        Drew Tedford (State Affairs                                                          and third party not employed by Legislature,
DOC_0000394   Texas Senate   5/17/2018                                       James Palomo                                          Request for information.msg     Legislative
                                         Message Mail        information                              Comm. Dir).                                                                    regarding information for use in considering
                                                                                                                                                                                     election legislation, revealing mental
                                                                                                                                                                                     impressions.



                                                                                                                                                                                     Attachment to correspondence between Senator
                                                                                                                                                                                     Hughes, on behalf of Select Committee on
                                                                                                                                   180306 DEM Primary
                                         Adobe Acrobat                                          Drew Tedford (State Affairs                                                          Election Security, and third party not employed
DOC_0000395   Texas Senate   5/17/2018                                       James Palomo                                          Election Final PctbyPct Ev      Legislative
                                         (PDF)                                                        Comm. Dir).                                                                    by Legislature, regarding information for use in
                                                                                                                                   Mail.pdf
                                                                                                                                                                                     considering election legislation, revealing mental
                                                                                                                                                                                     impressions.



                                                                                                                                                                                     Attachment to correspondence between Senator
                                                                                                                                                                                     Hughes, on behalf of Select Committee on
                                                                                                                                   180306 REP Primary Election
                                         Adobe Acrobat                                          Drew Tedford (State Affairs                                                          Election Security, and third party not employed
DOC_0000396   Texas Senate   5/17/2018                                       James Palomo                                          Final PctbyPct Ev               Legislative
                                         (PDF)                                                        Comm. Dir).                                                                    by Legislature, regarding information for use in
                                                                                                                                   Mail_EL52.pdf
                                                                                                                                                                                     considering election legislation, revealing mental
                                                                                                                                                                                     impressions.



                                                                                                                                                                                     Correspondence between Senator Hughes, on
                                                                                                                                                                                     behalf of Select Committee on Election Security,
                                         Adobe Acrobat                       Senator Bryan                                                                                           and third party not employed by Legislature,
DOC_0000397   Texas Senate   5/17/2018                                                              Toni Pippins-Poole             Dallas_Co_Letter.pdf            Legislative
                                         (PDF)                                  Hughes                                                                                               regarding information for use in considering
                                                                                                                                                                                     election legislation, revealing mental
                                                                                                                                                                                     impressions.




                                                                                                                                                                                     Draft conference committee report of SB7 that
                                         Adobe Acrobat
DOC_0000437   Texas Senate   6/25/2021                                                                                             87C1_SB7_Draft.pdf              Legislative       contains markings, notes, and comments by
                                         (PDF)
                                                                                                                                                                                     Senator Hughes, revealing mental impressions.




                                                                                                                                                                                     Draft conference committee report of SB7 that
                                         Adobe Acrobat
DOC_0000438   Texas Senate   6/25/2021                                                                                             87C1_SB7_Draft_Part1.pdf        Legislative       contains markings, notes, and comments by
                                         (PDF)
                                                                                                                                                                                     Senator Hughes, revealing mental impressions.




                                                                                                                                                                                     Draft conference committee report of SB7 that
                                         Adobe Acrobat
DOC_0000439   Texas Senate   6/25/2021                                                                                             87C1_SB7_Draft_Part2.pdf        Legislative       contains markings, notes, and comments by
                                         (PDF)
                                                                                                                                                                                     Senator Hughes, revealing mental impressions.




                                                                                                                                                                                     Draft conference committee report of SB7 that
                                         Adobe Acrobat
DOC_0000440   Texas Senate   6/25/2021                                                                                             87C1_SB7_Draft_Part3.pdf        Legislative       contains markings, notes, and comments by
                                         (PDF)
                                                                                                                                                                                     Senator Hughes, revealing mental impressions.




                                         MS Office (2016)                                                                          87C1_SB7_Draft_with_change                        Draft of SB7 with notes and edits by Senator
DOC_0000441   Texas Senate   6/29/2021                                                                                                                             Legislative
                                         Word                                                                                      s.docx                                            Hughes that reveal mental impressions




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                                                                                                                                                       Chart prepared by staff for Senator Hughes
                                          MS Office (2016)
DOC_0000442   Texas Senate   5/30/2021                                                                CCR Chart of Penalties.docx    Legislative       outlining draft of SB7 with notes revealing
                                          Word
                                                                                                                                                       mental impressions.




                                                                                                                                                       Notes and comments regarding possible
                                          MS Office (2016)
DOC_0000443   Texas Senate   5/28/2021                                                                changes.docx                   Legislative       amendments to SB7 that reveal mental
                                          Word
                                                                                                                                                       impressions.




                                                                                                                                                       Notes and comments concerning SB7 prepared
                                          MS Office (2016)
DOC_0000447   Texas Senate   5/29/2021                                                                Do Not Distribute_HS.docx      Legislative       for the purpose of considering election
                                          Word
                                                                                                                                                       legislation, revealing mental impressions.




                                                                                                                                                       Draft correspondence from Senator Hughes to
                                          MS Office (2016)                                            Elections SB1 Biz Community                      third parties soliciting input for the purpose of
DOC_0000448   Texas Senate   7/13/2021                                                                                               Legislative
                                          Word                                                        Letter.docx                                      considering election legislation, revealing mental
                                                                                                                                                       impressions.




                                                                                                                                                       Data gathered by Senator Hughes on behalf of
                                          Microsoft Excel                                             EV Poll Bill data by Ed
DOC_0000449   Texas Senate   3/19/2021                                                                                               Legislative       the Select Committee on Election Security for
                                          2016 XML File                                               Johnson_Harris Co 2020.xlsx
                                                                                                                                                       use in considering election legislation.




                                          MS Office (2016)                                                                                             Draft of possible amendment to SB7 prepared for
DOC_0000451   Texas Senate   6/28/2021                                                                HallSubFfix.docx               Legislative;
                                          Word                                                                                                         Senator Hughes by staff.




                                                                                                                                                       Draft notes and talking points concerning SB7
                                          MS Office (2016)
DOC_0000453   Texas Senate   4/1/2021                                                                 Q & A.docx                     Legislative       developed for Senator Hughes by staff that
                                          Word
                                                                                                                                                       reveal mental impressions.




                                                                                                                                                       Notes created for Senator Hughes by legislative
                                          MS Office (2016)                                            SB 1 Enrolled Version                            staffers concerning differences between Senate
DOC_0000454   Texas Senate   11/30/2021                                                                                              Legislative
                                          Word                                                        Removal of AG Reporting.docx                     and House versions of SB1, revealing mental
                                                                                                                                                       impressions.




                                                                                                                                                       A draft summary of SB7 that contains notes,
                                          MS Office (2016)                                            SB 7 One-Pager_explanatory
DOC_0000455   Texas Senate   5/29/2021                                                                                               Legislative       track changes, and edits by Senator Hughes and
                                          Word                                                        hs.docx
                                                                                                                                                       staff, revealing mental impressions.




                                                                                                                                                       Internal document created for Senator Hughes
                                          MS Office (2016)
DOC_0000456   Texas Senate   4/14/2021                                                                SB7 & Access to Polls.docx     Legislative       by staffers that outlines specific changes
                                          Word
                                                                                                                                                       proposed by SB7 and reveal mental impressions.




                                                                                                                                                       A draft press release prepared for Senator
                                          MS Office (2016)                                            SB7 Press Release HS                             Hughes by staff relating to SB7 that contains
DOC_0000457   Texas Senate   5/28/2021                                                                                               Legislative
                                          Word                                                        Changes.docx                                     notes, track changes, and edits, revealing mental
                                                                                                                                                       impressions.




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                                                                                                                                                              A draft press release prepared for Senator
                                         MS Office (2016)                                            SB7 Press Release HS                                     Hughes by staff relating to SB7 that contains
DOC_0000458   Texas Senate   5/28/2021                                                                                                Legislative
                                         Word                                                        Changes_v2.docx                                          notes, track changes, and edits, revealing mental
                                                                                                                                                              impressions.




                                                                                                                                                              Internal document created for Senator Hughes
                                         MS Office (2016)                                            Section by Section Description
DOC_0000459   Texas Senate   5/12/2021                                                                                                Legislative             by staffers that outlines SB1 provisions, with
                                         Word                                                        Engrossed.docx
                                                                                                                                                              talking points, revealing mental impressions.




                                                                                                                                                              Draft of script/comments written in preparation
                                         MS Office (2016)                                            Talking Points SB 7                                      of laying out SB7 on the Senate Floor, prepared
DOC_0000460   Texas Senate   5/17/2021                                                                                                Legislative
                                         Word                                                        Floor.docx                                               for Senator Hughes by staff, revealing mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft amendment to SB7 for the purposes of the
                                                                                                                                                              Conference Committee that contains note, track
                                         MS Office (2016)
DOC_0000462   Texas Senate   5/23/2021                                                               6 Base   7 v4.0.docx             Legislative             changes, comments, and other markings from
                                         Word
                                                                                                                                                              Senator Hughes and staff, revealing mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft amendment to SB7 for the purposes of the
                                                                                                                                                              Conference Committee that contains note, track
                                         MS Office (2016)
DOC_0000463   Texas Senate   5/25/2021                                                               6 Base   7 v4.0-3_2.docx         Legislative             changes, comments, and other markings from
                                         Word
                                                                                                                                                              Senator Hughes and staff, revealing mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft amendment to SB7 for the purposes of the
                                                                                                                                                              Conference Committee that contains note, track
                                         MS Office (2016)
DOC_0000464   Texas Senate   5/25/2021                                                               6 Base   7 v4.0-3_3.docx         Legislative             changes, comments, and other markings from
                                         Word
                                                                                                                                                              Senator Hughes and staff, revealing mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft amendment to Senate Bill 7 for the
                                         MS Office (2016)                                                                                                     purposes of the Conference Committee that
DOC_0000465   Texas Senate   5/25/2021                                                               6 Base   7 v4.0-3_4.docx         Legislative
                                         Word                                                                                                                 contains note, track changes, comments, and
                                                                                                                                                              other markings from Senator Hughes and staff.




                                         Adobe Acrobat                                                                                Attorney Client; Work   Draft of unspecified elections bill prepared by
DOC_0000466   Texas Senate   7/8/2021                                                                87C1_SB1.pdf
                                         (PDF)                                                                                        Product; Legislative    Texas Legislative Council for legislator's use.




                                         Adobe Acrobat                                                                                Attorney Client; Work   Draft of unspecified elections bill prepared by
DOC_0000467   Texas Senate   5/28/2021                                                               87R 29455.pdf
                                         (PDF)                                                                                        Product; Legislative    Texas Legislative Council for legislator's use.




                                                                                                                                                              Typed notes, prepared by general counsel for
                                         MS Office (2016)                                            Assisting People with            Attorney Client; Work   legsilator's use at SB7 Conference Committee,
DOC_0000468   Texas Senate   5/29/2021
                                         Word                                                        Disabilities Overview.docx       Product; Legislative    summarizing voter assistance law, which reveals
                                                                                                                                                              mental impressions.




                                                                                                                                                              Typed notes, prepared by general counsel for
                                         MS Office (2016)                                            Conference Committee SB          Attorney Client; Work   legislator's use at Conference Committee,
DOC_0000469   Texas Senate   5/12/2021
                                         Word                                                        7.docx                           Product; Legislative    regarding potential changes to SB7, revealing
                                                                                                                                                              legislator's mental impressions.




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                                                                                                                                                                                  Typed notes, prepared by general counsel for
                                         MS Office (2016)                                                                    Differences in SB7 and       Attorney Client; Work   legislator's use at Conference Committee,
DOC_0000470   Texas Senate   5/29/2021
                                         Word                                                                                CCR.docx                     Product; Legislative    regarding the House version of SB7, revealing
                                                                                                                                                                                  legislator's mental impressions.




                                                                                                                                                                                  Typed notes, prepared by general counsel for
                                                                                                                                                                                  legislator's use at Conference Committee,
                                         MS Office (2016)                                                                    Disability Definition        Attorney Client; Work
DOC_0000471   Texas Senate   5/29/2021                                                                                                                                            summarizing potential changes to SB7 related to
                                         Word                                                                                Overview.docx                Product; Legislative
                                                                                                                                                                                  disabilities, revealing legislator's mental
                                                                                                                                                                                  impressions.




                                         Adobe Acrobat                                                                                                    Attorney Client; Work   Draft of SB7 prepared by Texas Legislative
DOC_0000472   Texas Senate   5/29/2021                                                                                       FINAL 87R 30396.pdf
                                         (PDF)                                                                                                            Product; Legislative    Council for legislator's use.




                                                                                                                                                                                  Typed notes, prepared by Senator Hughes'
                                                                                                                                                                                  general counsel for legislator's use at Conference
                                         MS Office (2016)                                                                    Mail Ballot Voter ID quick   Attorney Client; Work
DOC_0000473   Texas Senate   5/29/2021                                                                                                                                            Committee, summarizing potential changes to
                                         Word                                                                                overview.docx                Product; Legislative
                                                                                                                                                                                  SB7 related to mal-in voting, revealing
                                                                                                                                                                                  legislator's mental impressions.




                                                                                                                                                                                  Typed notes, prepared by general counsel for
                                                                                                                                                                                  legislator's use at Conference Committee,
                                         MS Office (2016)                                                                    Penalties on Registrars      Attorney Client; Work
DOC_0000474   Texas Senate   5/29/2021                                                                                                                                            summarizing potential changes to SB7 related to
                                         Word                                                                                Difference Overview.docx     Product; Legislative
                                                                                                                                                                                  voter registrars, revealing legislator's mental
                                                                                                                                                                                  impressions.




                                                                                                                                                                                  Notes and talking points, prepared by general
                                         MS Office (2016)                                                                                                 Attorney Client; Work   counsel for legislator's use at SB7 Conference
DOC_0000475   Texas Senate   5/29/2021                                                                                       Q & A CCR.docx
                                         Word                                                                                                             Product; Legislative    Committee, including a draft Q&A that reveals
                                                                                                                                                                                  legislator's mental impressions.




                                                                                                                                                                                  Typed notes, prepared by general counsel for
                                         MS Office (2016)                                                                    SB 7 5.1 Draft               Attorney Client; Work   legislator's use at Conference Committee,
DOC_0000476   Texas Senate   5/27/2021
                                         Word                                                                                CHANGES.docx                 Product; Legislative    summarizing changes made SB7, revealing
                                                                                                                                                                                  legislator's mental impressions.




                                                                                                                                                                                  Comparison chart, prepared for by general
                                         MS Office (2016)                                                                    SB 7 House Engrossed         Attorney Client; Work   counsel legislator's use at Conference
DOC_0000477   Texas Senate   5/12/2021
                                         Word                                                                                TABLE.docx                   Product; Legislative    Committee, summarizing changes made to SB7,
                                                                                                                                                                                  revealing legislator's mental impressions.




                                                                      Hope Shelton; Office                                                                                        Inter-office communique between legislative
                                         MS Office (2016)                                                                    SB 7 One-Pager_explanatory
DOC_0000478   Texas Senate   5/28/2021                                 of Senator Byran      Texas Senate Offices                                         Legislative             offices, that provides a one-page summary of SB7
                                         Word                                                                                FINAL.docx
                                                                            Hughes                                                                                                and reveals legislators' mental impressions.




                                                                                                                                                                                  Draft of inter-office communique between
                                                                      Hope Shelton; Office
                                         MS Office (2016)                                                                    SB 7 One-Pager_explanatory                           legislative offices, that provides a one-page
DOC_0000479   Texas Senate   5/29/2021                                 of Senator Byran      Texas Senate Offices                                         Legislative
                                         Word                                                                                SENATE.docx                                          summary of CCR7 and reveals legislators'
                                                                            Hughes
                                                                                                                                                                                  mental impressions.




                                                                                                                                                                                  Draft of inter-office communique between
                                                                      Hope Shelton; Office
                                         MS Office (2016)                                                                    SB 7 One-                                            legislative offices, that provides a one-page
DOC_0000480   Texas Senate   5/28/2021                                 of Senator Byran      Texas Senate Offices                                         Legislative
                                         Word                                                                                Pager_explanatory.docx                               summary of SB7 and reveals legislators' mental
                                                                            Hughes
                                                                                                                                                                                  impressions.




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                                                                                                                                                            Typed section-by-section summary of SB7,
                                         MS Office (2016)                                                                           Attorney Client; Work   prepared by general counsel for legislator's use
DOC_0000481   Texas Senate   5/29/2021                                                               SB 7 Section by Section.docx
                                         Word                                                                                       Product; Legislative    at Conference Committee, revealing mental
                                                                                                                                                            impressions.




                                                                                                                                                            Notes and comparison table, prepared by general
                                                                                                                                                            counsel for legislator's use at Conference
                                         MS Office (2016)                                            SB 7 Senate Engrossed          Attorney Client; Work
DOC_0000482   Texas Senate   5/25/2021                                                                                                                      Committee, that summarize changes made to
                                         Word                                                        TABLE.docx                     Product; Legislative
                                                                                                                                                            SB7, as well as contains staff advice, revealing
                                                                                                                                                            mental impressions.




                                                                                                                                                            Notes and comparison table, prepared by staff
                                                                                                                                                            for legislator's use at Conference Committee,
                                         Adobe Acrobat
DOC_0000483   Texas Senate   4/15/2021                                                               SB 7 vs HB 6.pdf               Legislative             that summarizes the differences between SB7
                                         (PDF)
                                                                                                                                                            and HB6, revealing legislator's mental
                                                                                                                                                            impressions




                                                                                                                                                            Draft of CSSB7 that contains annotations,
                                         MS Office (2016)                                            SB7 (informal House
DOC_0000484   Texas Senate   5/12/2021                                                                                              Legislative             markings, and redlines, revealing legislator's
                                         Word                                                        engrossment) HS edits.docx
                                                                                                                                                            mental impressions.




                                                                                                                                                            Draft of CSSB7 that contains footnotes and
                                         MS Office (2016)                                            SB7 (informal House
DOC_0000485   Texas Senate   5/12/2021                                                                                              Legislative             redlines, revealing legislator's mental
                                         Word                                                        engrossment).docx
                                                                                                                                                            impressions.




                                                                                                                                                            Draft of CSSB7 that contains highlights,
                                         Adobe Acrobat
DOC_0000486   Texas Senate   5/27/2021                                                               SB7 5.1.pdf                    Legislative             markings, and redlines, revealing legislator's
                                         (PDF)
                                                                                                                                                            mental impressions.




                                         Adobe Acrobat                                                                                                      Draft of SB7 that reveals legislator's mental
DOC_0000487   Texas Senate   5/4/2021                                                                SB7 Engrossed.pdf              Legislative
                                         (PDF)                                                                                                              impressions.




                                                                                                                                                            Draft section-by-section analysis of SB7
                                         Adobe Acrobat                                                                              Attorney Client; Work
DOC_0000488   Texas Senate   5/29/2021                                                               SB7 SxS UPDATED.pdf                                    prepared by Texas Legislative Council for
                                         (PDF)                                                                                      Product; Legislative
                                                                                                                                                            legislator's use at Conference Committee.




                                         MS Office (2016)                                                                                                   Draft of SB1114 that reveals legislator's mental
DOC_0000489   Texas Senate   5/28/2021                                                               SB01114 amended.docx           Legislative
                                         Word                                                                                                               impressions.




                                                                                                                                                            Draft table of contents, prepared for legislator's
                                         MS Office (2016)                                            Table of Contents 6 Base   7                           use at Conference Committee, that relating to
DOC_0000490   Texas Senate   5/21/2021                                                                                              Legislative
                                         Word                                                        v3.0.docx                                              the reconciliation of SB7, and revealing mental
                                                                                                                                                            impressions.




                                                                                                                                                            Notes prepared by general counsel for
                                                                                                                                                            legislator's use at Conference Committee,
                                         MS Office (2016)                                                                           Attorney Client; Work
DOC_0000491   Texas Senate   5/27/2021                                                               Three Things.docx                                      regarding polling locations and voter roll
                                         Word                                                                                       Product; Legislative
                                                                                                                                                            maintenance, that reveals mental
                                                                                                                                                            impression M525s..




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                                         MS Office (2016)                                                                                                      Voting Hours on Weekend                               Draft of unspecified elections bill that reveals
DOC_0000492   Texas Senate   5/21/2021                                                                                                                                                       Legislative
                                         Word                                                                                                                  Draft Language.docx                                   legislator's mental impressions.




                                                             Drafting instruction
                                                               information for                                                       Mike Marshall (TLC);      Drafting instruction                                  Correspondence between Texas Legislative
                                         Microsoft Outlook    87R30396, Senate                         Drew Tedford (State Affairs Adam Moses (TLC); Tracy     information for 87R30396      Attorney Client; Work   Counsel and legislator's staff, pursuant to
DOC_0000493   Texas Senate   6/30/2021                                            Jeffrey Thorne (TLC)
                                         Message Mail             Bill No. 7                                 Comm. Dir).            Snelson (TLC); Jennifer    Senate Bill No 7 conference   Product; Legislative    Conference Committee Report, regarding draft
                                                                 conference                                                             Jackson (TLC)          committee report.msg                                  instructions for SB7.
                                                              committee report




                                                                                                                                                                                                                     Attachment to correspondence between Texas
                                                                                    Jessica Hart
                                         Adobe Acrobat                                                                                                                                       Attorney Client; Work   Legislative Council and legislator's staff that
DOC_0000494   Texas Senate   6/30/2021                                            (Elections Comm.     Texas Legislative Council                               ITEM 1.LDR.pdf
                                         (PDF)                                                                                                                                               Product; Legislative    contains a legislative draft request form
                                                                                       Staffer)
                                                                                                                                                                                                                     submitted by Senator Hughes's office.




                                                                                                                                                                                                                     Attachment to correspondence between Texas
                                                                                    Jessica Hart
                                         MS Office (2016)                                                                                                      ITEM.2.LDR.Attachment.Inst    Attorney Client; Work   Legislative Council and legislator's staff that
DOC_0000495   Texas Senate   6/30/2021                                            (Elections Comm.     Texas Legislative Council
                                         Word                                                                                                                  ructions.docx                 Product; Legislative    specifies legislator's drafting instructions for
                                                                                       Staffer)
                                                                                                                                                                                                                     SB7.




                                                                                                                                                                                                                     Email bewteen legislative staffers, attached to
                                         Microsoft Outlook      FW: SB 7                                                                                                                     Attorney Client; Work   correspondence between the Texas Legislative
DOC_0000496   Texas Senate   5/28/2021                                           Adam Moses (TLC)          Jennifer Jackson                                    ITEM.3.E-MAIL.msg
                                         Message Mail           Changes                                                                                                                      Product; Legislative    Council and legislator's staff, containing
                                                                                                                                                                                                                     proposed language for SB7.




                                                                                                                                     Adam Moses (TLC);
                                                                                                                                    Carey Eskridge (TLC);                                                            Email bewteen legislative staffers, attached to
                                                                                    Jessica Hart       Tracy Snelson (TLC); Hope
                                         Microsoft Outlook      RE: SB 7                                                             Drew Tedford (State                                     Attorney Client; Work   correspondence between the Texas Legislative
DOC_0000497   Texas Senate   5/28/2021                                            (Elections Comm.       Shelton (Hughes GC);                                  ITEM.4.E-MAIL.msg
                                         Message Mail           Changes                                                            Affairs Comm. Dir); Alix                                  Product; Legislative    Council and legislator's staff, containing
                                                                                       Staffer)       Elizabeth Alvarez (Attorney)
                                                                                                                                   Morris (Lt. Gov); Justin                                                          proposed language for SB7.
                                                                                                                                   Williamson (Cain COS)




                                                                                                                                                                                                                     Email bewteen legislative staffers, attached to
                                                                                    Jessica Hart       Tracy Snelson (TLC); Hope
                                         Microsoft Outlook      RE: SB 7                                                                                                                     Attorney Client; Work   correspondence between the Texas Legislative
DOC_0000498   Texas Senate   5/28/2021                                            (Elections Comm.       Shelton (Hughes GC);         Adam Moses (TLC)         ITEM.5.E-MAIL.msg
                                         Message Mail           Changes                                                                                                                      Product; Legislative    Council and legislator's staff, containing drafting
                                                                                       Staffer)       Elizabeth Alvarez (Attorney)
                                                                                                                                                                                                                     instructions and proposed language for SB7.




                                                                                                                                                                                                                     Email bewteen legislative staffers, attached to
                                         Microsoft Outlook      FW: SB 7                                 Tracy Snelson (TLC);                                                                Attorney Client; Work   correspondence between the Texas Legislative
DOC_0000499   Texas Senate   5/28/2021                                           Adam Moses (TLC)                                                              ITEM.6.E-MAIL.msg
                                         Message Mail           Changes                                 Jennifer Jackson (TLC)                                                               Product; Legislative    Council and legislator's staff, related to drafting
                                                                                                                                                                                                                     instructions for SB7.




                                                                                                                                                                                                                     Email bewteen legislative staffers, attached to
                                         Microsoft Outlook      FW: SB 7                                                                                                                     Attorney Client; Work   correspondence between the Texas Legislative
DOC_0000500   Texas Senate   5/28/2021                                           Adam Moses (TLC)         Tracy Snelson (TLC)                                  ITEM.7.E-MAIL.msg
                                         Message Mail           Changes                                                                                                                      Product; Legislative    Council and legislator's staff, containing drafting
                                                                                                                                                                                                                     instructions for SB7.



                                                                                                                                     Adam Moses(TLC) ;
                                                                                                                                    Carey Eskridge (TLC);
                                                                                                                                     Drew Tedford (State                                                             Email bewteen legislative staffers, attached to
                                                                                    Jessica Hart
                                         Microsoft Outlook      RE: SB 7                             Elizabeth Alvarez (Attorney); Affairs Comm. Dir) ; Alix                                 Attorney Client; Work   correspondence between the Texas Legislative
DOC_0000501   Texas Senate   5/28/2021                                            (Elections Comm.                                                             ITEM.8.E-MAIL.msg
                                         Message Mail           Changes                                  Tracy Snelson (TLC)        Morris (Lt.Gov); Hope                                    Product; Legislative    Council and legislator's staff, containing drafting
                                                                                       Staffer)
                                                                                                                                    Shelton (Hughes GC);                                                             instructions and proposed language for SB7.
                                                                                                                                   Justin Williamson (Cain
                                                                                                                                             COS)



                                                                                                                                                                                                                     Typed notes, prepared for Texas Legislative
                                         Adobe Acrobat                                                                                                         ITEM.9.MARKUP. [87R           Attorney Client; Work
DOC_0000502   Texas Senate   6/30/2021                                                                                                                                                                               Council, that provides drafting instructions
                                         (PDF)                                                                                                                 30396].pdf                    Product; Legislative
                                                                                                                                                                                                                     regarding SB7.




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                                                                                                                                                                                                                                Correspondence between legslator's staff and the
                                         Microsoft Outlook     FW: 6 Base    7                            Drew Tedford (State Affairs                               FW 6 Base    7 v4 0-3
DOC_0000503   Texas Senate   5/24/2021                                           Alix Morris (Lt. Gov.)                                                                                          Legislative                    Lt. Governor's office regarding draft language for
                                         Message Mail          v4.0-3.docx                                      Comm. Dir).                                         docx.msg
                                                                                                                                                                                                                                SB7.




                                                                                                                                                                                                                                Attachment to correspondence between
                                                                                                                                                                                                                                legslator's staff and the Lt. Governor's office that
                                         MS Office 12 (2007)
DOC_0000504   Texas Senate   5/24/2021                                                                                                                              6 Base   7 v4.0-3.docx       Legislative                    contains a draft of SB7 with comments,
                                         Word XML format
                                                                                                                                                                                                                                markings, and track changes, revealing
                                                                                                                                                                                                                                legislator's mental impressions.




                                                                                                                                                                                                                                Correspondence between legislative staff that
                                         Microsoft Outlook     FW: Changes to       Hope Shelton (        Drew Tedford (State Affairs                                                                                           contains advice from private attorney regarding
DOC_0000505   Texas Senate   5/28/2021                                                                                                                              FW Changes to CCR.msg        Attorney Client; Legislative
                                         Message Mail          CCR                   Hughes GC)                 Comm. Dir).                                                                                                     proposed changes to Conference Committee
                                                                                                                                                                                                                                report.




                                                                                    Jessica Hart                                                                                                                                Typed notes, prepared for Texas Legislative
                                         MS Office (2016)                                                                                                           ITEM.2.LDR.Attachment.Inst   Attorney Client; Work
DOC_0000506   Texas Senate   6/30/2021                                            (Elections Comm.                                                                                                                              Council, that provides drafting instructions
                                         Word                                                                                                                       ructions.docx                Product; Legislative
                                                                                       Staffer)                                                                                                                                 regarding SB7.




                                                                                                                                                                                                                                Correspondence between Texas Legislative
                                         Microsoft Outlook     FW: SB 7                                                                                                                          Attorney Client; Work
DOC_0000507   Texas Senate   5/28/2021                                            Adam Moses (TLC)          Jennifer Jackson (TLC)                                  ITEM.3.E-MAIL.msg                                           Council and legislator's staff regarding drafting
                                         Message Mail          Changes                                                                                                                           Product; Legislative
                                                                                                                                                                                                                                instructions for SB7.




                                                                                                                                         Adam Moses (TLC);
                                                                                                                                                                                                                                Correspondence between Texas Legislative
                                                                                                                                        Carey Eskridge (TLC);
                                                                                    Jessica Hart           Tracy Snelson (TLC); Hope                                                                                            Council, legislator's staff, and private attorney
                                         Microsoft Outlook     RE: SB 7                                                                  Drew Tedford (State                                     Attorney Client; Work
DOC_0000508   Texas Senate   5/28/2021                                            (Elections Comm.           Shelton (Hughes GC);                                   ITEM.4.E-MAIL.msg                                           that contans drafting instructions, along with
                                         Message Mail          Changes                                                                 Affairs Comm. Dir); Alix                                  Product; Legislative
                                                                                       Staffer)           Elizabeth Alvarez (Attorney)                                                                                          notes and comments, revealing mental
                                                                                                                                       Morris (Lt. Gov.) ; Justin
                                                                                                                                                                                                                                impressions.
                                                                                                                                       Williamson (Cain COS)



                                                                                                                                                                                                                                Correspondence between Texas Legislative
                                                                                                           Tracy Snelson (TLC); Hope
                                                                                    Jessica Hart                                                                                                                                Council, legislator's staff, and private attorney
                                         Microsoft Outlook     RE: SB 7                                      SheltonHope Shelton                                                                 Attorney Client; Work
DOC_0000509   Texas Senate   5/28/2021                                            (Elections Comm.                                         Adam Moses (TLC)         ITEM.5.E-MAIL.msg                                           that contans drafting instructions, along with
                                         Message Mail          Changes                                      (Hughes GC); Elizabeth                                                               Product; Legislative
                                                                                       Staffer)                                                                                                                                 notes and comments, revealing mental
                                                                                                               Alvarez (Attorney)
                                                                                                                                                                                                                                impressions.




                                                                                                                                                                                                                                Correspondence between Texas Legislative
                                                                                                                                                                                                                                Council, legislator's staff, and prviate attorney
                                         Microsoft Outlook     FW: SB 7                                      Tracy Snelson (TLC);                                                                Attorney Client; Work
DOC_0000510   Texas Senate   5/28/2021                                            Adam Moses (TLC)                                                                  ITEM.6.E-MAIL.msg                                           that contans drafting instructions, along with
                                         Message Mail          Changes                                      Jennifer Jackson (TLC)                                                               Product; Legislative
                                                                                                                                                                                                                                notes and comments, revealing mental
                                                                                                                                                                                                                                impressions.




                                                                                                                                                                                                                                Correspondence between Texas Legislative
                                         Microsoft Outlook     FW: SB 7                                                                                                                          Attorney Client; Work
DOC_0000511   Texas Senate   5/28/2021                                            Adam Moses (TLC)            Tracy Snelson (TLC)                                   ITEM.7.E-MAIL.msg                                           Council that contains advice from private
                                         Message Mail          Changes                                                                                                                           Product; Legislative
                                                                                                                                                                                                                                attorney regarding proposed changes to SB7.



                                                                                                                                          Adam Moses (TLC);
                                                                                                                                         Carey Eskridge (TLC);
                                                                                                                                          Drew Tedford (State
                                                                                    Jessica Hart                                                                                                                                Correspondence between legislator's staff, Texas
                                         Microsoft Outlook     RE: SB 7                                   Elizabeth Alvarez (Attorney); Affairs Comm. Dir); Alix                                 Attorney Client; Work
DOC_0000512   Texas Senate   5/28/2021                                            (Elections Comm.                                                                  ITEM.8.E-MAIL.msg                                           Legislative Council, and private attorney,
                                         Message Mail          Changes                                        Tracy Snelson (TLC)        Morris (Lt. Gov.); Hope                                 Product; Legislative
                                                                                       Staffer)                                                                                                                                 regarding proposed language for SB7.
                                                                                                                                         Shelton (Hughes GC);
                                                                                                                                        Justin Williamson (Cain
                                                                                                                                                  COS)



                                                                                                                                                                                                                                A draft of SB7, prepared by the Texas
                                         Adobe Acrobat                                                                                                              ITEM.9.MARKUP. [87R          Attorney Client; Work          Legislative Council, containing comments,
DOC_0000513   Texas Senate   6/30/2021
                                         (PDF)                                                                                                                      30396].pdf                   Product; Legislative           highlights, and markings, revealing legislator's
                                                                                                                                                                                                                                mental impressions.




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                                                                                                                              Jessica Hart (Elections
                                         Microsoft Outlook               Drew Tedford (State                                                                                                                      Correspondence between legislator's staff and
DOC_0000514   Texas Senate   5/27/2021                       Proposals                       Elizabeth Alvarez (Attorney)      Comm Staffer); Sloan       Proposals.msg            Attorney Client; Legislative
                                         Message Mail                    Affairs Comm. Dir)                                                                                                                       private attorney about proposed changes to SB7.
                                                                                                                               Byerly (Clardy COS)




                                                                                                                                                                                                                  Attachment to correspondence between
                                                                                                                                                                                                                  legislator's staff and prviate attorney, containing
                                         MS Office (2016)                Drew Tedford (State
DOC_0000515   Texas Senate   5/27/2021                                                       Elizabeth Alvarez (Attorney)                                 SB01114.docx             Attorney Client; Legislative   a draft SB1114 with highlights and other
                                         Word                            Affairs Comm. Dir)
                                                                                                                                                                                                                  markings that reveal legislator's mental
                                                                                                                                                                                                                  impressions.




                                                                                                                                                                                                                  Attachment to correspondence between
                                                                                                                                                                                                                  legislator's staff and private attorney, containing
                                         MS Office (2016)                Drew Tedford (State
DOC_0000516   Texas Senate   5/27/2021                                                         Elizabth Alvarez (Attorney)                                Three Things.docx        Attorney Client; Legislative   notes prepared for legislator's use at Conference
                                         Word                            Affairs Comm. Dir)
                                                                                                                                                                                                                  Committee, regarding polling locations and voter
                                                                                                                                                                                                                  roll maintenance, that reveal mental impression.


                                                                                                                                Adam Moses (TLC);
                                                                                                                               Carey Eskridge (TLC);
                                                                                                                                Drew Tedford (State
                                         Microsoft Outlook   Re: SB 7     Elizabeth Alvarez       Jessica Hart (Elections     Affairs Comm. Dir); Alix                                                            Correspondence between private attorney and
DOC_0000517   Texas Senate   5/28/2021                                                                                                                    Re SB 7 Changes 2.msg    Attorney Client; Legislative
                                         Message Mail        Changes          (Attorney)              Comm. Staffer)           Morris (Lt. Gov.); Hope                                                            legislator's staff about proposed changes to SB7.
                                                                                                                               Shelton (Hughes GC);
                                                                                                                              Justin Williamson (Cain
                                                                                                                                        COS)
                                                                                                                                Adam Moses (TLC);
                                                                                                                               Carey Eskridge (TLC);
                                                                                                                                Drew Tedford (State
                                         Microsoft Outlook   Re: SB 7     Elizabeth Alvarez       Jessica Hart (Elections     Affairs Comm. Dir); Alix                                                            Correspondence between private attorney and
DOC_0000518   Texas Senate   5/28/2021                                                                                                                    Re SB 7 Changes 3.msg    Attorney Client; Legislative
                                         Message Mail        Changes          (Attorney)              Comm. Staffer)           Morris (Lt. Gov.); Hope                                                            legislator's staff about proposed changes to SB7.
                                                                                                                               Shelton (Hughes GC);
                                                                                                                              Justin Williamson (Cain
                                                                                                                                        COS)

                                                                                                                                Adam Moses (TLC);
                                                                                                 Jessica Hart (Elections       Carey Eskridge (TLC);                                                              Correspondence between legislator's staff, Texas
                                         Microsoft Outlook   RE: SB 7       Hope Shelton        Comm. Staffer); Elizabeth       Drew Tedford (State                                Attorney Client; Work          Legislative Council, and private attorney,
DOC_0000519   Texas Senate   5/28/2021                                                                                                                    RE SB 7 Changes 5.msg
                                         Message Mail        Changes        (Hughes GC)         Alvarez (Attorney); Tracy     Affairs Comm. Dir); Alix                             Product; Legislative           containing drafting instructions and proposed
                                                                                                     Snelson (TLC)            Morris (Lt. Gov.); Justin                                                           changes to SB7.
                                                                                                                              Williamson (Cain COS)



                                                                                                                               Adam Moses (TLC);
                                                                                                                              Carey Eskridge (TLC);                                                               Correspondence between legislator's staff, Texas
                                                                            Jessica Hart        Hope Shelton (Hughes GC);
                                         Microsoft Outlook   RE: SB 7                                                          Drew Tedford (State                                 Attorney Client; Work          Legislative Council, and private attorney,
DOC_0000520   Texas Senate   5/28/2021                                    (Elections Comm.     Elizabeth Alvarez (Attorney);                              RE SB 7 Changes 6.msg
                                         Message Mail        Changes                                                         Affairs Comm. Dir); Alix                              Product; Legislative           containing drafting instructions and proposed
                                                                               Staffer)            Tracy Snelson (TLC)
                                                                                                                             Morris (Lt. Gov.); Justin                                                            changes to SB7.
                                                                                                                             Williamson (Cain COS)



                                                                                                                            Adam Moses (TLC);
                                                                                                Jessica Hart (Election     Carey Eskridge (TLC);                                                                  Correspondence between legislator's staff, Texas
                                         Microsoft Outlook   RE: SB 7                            Comm. Staffer); Hope       Drew Tedford (State                                    Attorney Client; Work          Legislative Council, and private attorney,
DOC_0000521   Texas Senate   5/28/2021                                   Tracy Snelson (TLC)                                                              RE SB 7 Changes 7.msg
                                         Message Mail        Changes                            Shelton (Hughes GC);      Affairs Comm. Dir); Alix                                 Product; Legislative           containing drafting instructions and proposed
                                                                                             Elizabeth Alvarez (Attorney) Morris (Lt. Gov.); Justin                                                               changes to SB7.
                                                                                                                          Williamson (Cain COS)



                                                                                                                              Adam Moses (TLC);
                                                                                                                             Carey Eskridge (TLC);                                                                Correspondence between legislator's staff, Texas
                                                                            Jessica Hart        Tracy Snelson (TLC); Hope
                                         Microsoft Outlook   RE: SB 7                                                         Drew Tedford (State                                  Attorney Client; Work          Legislative Council, and private attorney,
DOC_0000522   Texas Senate   5/28/2021                                    (Elections Comm.        Shelton (Hughes GC);                                    RE SB 7 Changes 9.msg
                                         Message Mail        Changes                                                        Affairs Comm. Dir); Alix                               Product; Legislative           containing drafting instructions and proposed
                                                                               Staffer)        Elizabeth Alvarez (Attorney)
                                                                                                                            Morris (Lt. Gov.); Justin                                                             changes to SB7.
                                                                                                                            Williamson (Cain COS)



                                                                                            Jessica Hart (Elections   Carey Eskridge (TLC);
                                                                                                                                                                                                                  Correspondence between legislator's staff, Texas
                                                                                             Comm. Staffer); Tracy     Drew Tedford (State
                                         Microsoft Outlook   RE: SB 7                                                                                                              Attorney Client; Work          Legislative Council, and private attorney,
DOC_0000523   Texas Senate   5/28/2021                                   Adam Moses (TLC) Snelson (TLC); Hope Shelton Affaris Comm Dir); Alix             RE SB 7 Changes 10.msg
                                         Message Mail        Changes                                                                                                               Product; Legislative           containing drafting instructions and proposed
                                                                                            (Hughes GC); Elizabeth    Morris (Lt. Gov.); Justin
                                                                                                                                                                                                                  changes to SB7.
                                                                                               Alvarez (Attorney)     Williamson (Cain COS)




                                                                                                                           Carey Eskridge (TLC);
                                                                                                Adam Moses (TLC); Tracy                                                                                           Correspondence between legislator's staff, Texas
                                                                            Jessica Hart                                    Drew Tedford (State
                                         Microsoft Outlook   RE: SB 7                          Snelson (TLC); Hope Shelton                                                         Attorney Client; Work          Legislative Council, and private attorney,
DOC_0000524   Texas Senate   5/28/2021                                    (Elections Comm.                                 Affaris Comm Dir); Alix        RE SB 7 Changes 11.msg
                                         Message Mail        Changes                             (Hughes GC); Elizabeth                                                            Product; Legislative           containing drafting instructions and proposed
                                                                               Staffer)                                    Morris (Lt. Gov.); Justin
                                                                                                    Alvarez (Attorney)                                                                                            changes to SB7.
                                                                                                                           Williamson (Cain COS)




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                                                                                                                                  Carey Eskridge (TLC);
                                                                                                      Adam Moses (TLC); Tracy                                                                                    Attachment to correspondence between
                                                                                   Jessica Hart                                    Drew Tedford (State
                                         Adobe Acrobat                                               Snelson (TLC); Hope Shelton                                                         Attorney Client; Work   legislator's staff, Texas Legislative Council, and
DOC_0000525   Texas Senate   5/28/2021                                           (Elections Comm.                                Affairs Comm. Dir); Alix       87R 30396.pdf
                                         (PDF)                                                         (Hughes GC); Elizabeth                                                            Product; Legislative    private attorney that contains a draft of SB7,
                                                                                      Staffer)                                   Morris (Lt. Gov.); Justin
                                                                                                          Alvarez (Attorney)                                                                                     prepared for legislator's use.
                                                                                                                                 Williamson (Cain COS)




                                                                                                                                     Alix Morris (Lt. Gov.);                                                     Correspondence between legislator's staff, Lt.
                                         Microsoft Outlook                       Elizabeth Alvarez     Jessica Hart (Elections        Drew Tedford (State                                Attorney Client; Work   Governor's office, and private attorney,
DOC_0000527   Texas Senate   5/28/2021                       Re: start of list                                                                                  Re start of list 1.msg
                                         Message Mail                                (Attorney)            Comm. Staffer)           Affairs Comm. Dir); Hope                             Product; Legislative    containing drafting instructions and proposed
                                                                                                                                      Shelton (Hughes GC)                                                        changes to SB7.




                                                                                                                                     Alix Morris (Lt. Gov.);                                                     Correspondence between legislator's staff, Lt.
                                                                                   Jessica Hart
                                         Microsoft Outlook                                                                            Drew Tedford (State                                Attorney Client; Work   Governor's office, and private attorney,
DOC_0000528   Texas Senate   5/28/2021                       RE: start of list   (Elections Comm.    Elizabeth Alvarez (Attorney)                               RE start of list 2.msg
                                         Message Mail                                                                               Affairs Comm. Dir); Hope                             Product; Legislative    containing drafting instructions and proposed
                                                                                      Staffer)
                                                                                                                                      Shelton (Hughes GC)                                                        changes to SB7.




                                                                                                                                      Alix Morris (Lt. Gov.);                                                    Correspondence between legislator's staff, Lt.
                                                                                   Jessica Hart
                                         Microsoft Outlook                                                                             Drew Tedford (State                               Attorney Client; Work   Governor's office, and private attorney,
DOC_0000529   Texas Senate   5/28/2021                       RE: start of list   (Elections Comm.    Elizabeth Alvarez (Attorney)                               RE start of list 3.msg
                                         Message Mail                                                                               Affairs Comm. Dir.); Hope                            Product; Legislative    containing drafting instructions and proposed
                                                                                      Staffer)
                                                                                                                                      Shelton (Hughes GC)                                                        changes to SB7.




                                                                                                                                                                                                                 Attachment to correspondence between
                                                                                   Jessica Hart                                                                                                                  legislator's staff, Lt. Governor's office, and
                                         MS Office (2016)                                                                                                                                Attorney Client; Work
DOC_0000530   Texas Senate   5/28/2021                                           (Elections Comm.                                                               changes.docx                                     private attorney, containing typed notes,
                                         Word                                                                                                                                            Product; Legislative
                                                                                      Staffer)                                                                                                                   prepared for Texas Legislative Council, that
                                                                                                                                                                                                                 provide drafting instructions regarding SB7.




                                                                                                                                     Alix Morris (Lt. Gov.);                                                     Correspondence between legislator's staff, Lt.
                                                                                   Jessica Hart
                                         Microsoft Outlook                                                                            Drew Tedford (State                                Attorney Client; Work   Govenror's office, and private attorney,
DOC_0000531   Texas Senate   5/28/2021                       RE: start of list   (Elections Comm.    Elizabeth Alvarez (Attorney)                               RE start of list 4.msg
                                         Message Mail                                                                               Affairs Comm. Dir); Hope                             Product; Legislative    containing drafting instructions and proposed
                                                                                      Staffer)
                                                                                                                                      Shelton (Hughes GC)                                                        changes to SB7.




                                                                                                                                                                                                                 Attachment to correspondence between
                                                                                   Jessica Hart                                                                                                                  legislator's staff, Lt. Governor's office, and
                                         MS Office (2016)                                                                                                                                Attorney Client; Work
DOC_0000532   Texas Senate   5/28/2021                                           (Elections Comm.                                                               changes.docx                                     private attorney, containing typed notes,
                                         Word                                                                                                                                            Product; Legislative
                                                                                      Staffer)                                                                                                                   prepared for Texas Legislative Council, that
                                                                                                                                                                                                                 provide drafting instructions regarding SB7.




                                                                                                                                     Alix Morris (Lt. Gov.);                                                     Correspondence between legislator's staff, Lt.
                                                                                   Jessica Hart
                                         Microsoft Outlook                                                                            Drew Tedford (State                                Attorney Client; Work   Governor's office, and private attorney,
DOC_0000533   Texas Senate   5/28/2021                       RE: start of list   (Elections Comm.    Elizabeth Alvarez (Attorney)                               RE start of list 5.msg
                                         Message Mail                                                                               Affairs Comm. Dir); Hope                             Product; Legislative    containing drafting instructions and proposed
                                                                                      Staffer)
                                                                                                                                      Shelton (Hughes GC)                                                        changes to SB7.




                                                                                                                                                                                                                 Attachment to correspondence between
                                                                                   Jessica Hart                                                                                                                  legislator's staff, Lt. Governor's office, and
                                         MS Office (2016)                                                                                                                                Attorney Client; Work
DOC_0000534   Texas Senate   5/28/2021                                           (Elections Comm.                                                               changes.docx                                     private attorney, containing typed notes,
                                         Word                                                                                                                                            Product; Legislative
                                                                                      Staffer)                                                                                                                   prepared for Texas Legislative Council, that
                                                                                                                                                                                                                 provide drafting instructions regarding SB7.




                                         Adobe Acrobat                                                                                                                                                           Draft of SB7 prepared by Texas Legislative
DOC_0000538   Texas Senate   5/28/2021                                                                                                                          87R 30396.pdf            Legislative
                                         (PDF)                                                                                                                                                                   Counsel for Conference Committee's use.




                                                                                                                                       Drew Tedford (State
                                                                                                                                        Affairs Comm. Dir);
                                                                                   Jessica Hart                                          Elizabeth Alvarez                                                       Correspondence between legislator's staff, Texas
                                         Microsoft Outlook                                            Adam Moses (TLC); Carey                                                            Attorney Client; Work
DOC_0000539   Texas Senate   5/28/2021                       SB 7 Changes        (Elections Comm.                                     (Attorney); Alix Morris   SB 7 Changes 1.msg                               Legislative Council, and private attorney,
                                         Message Mail                                                     Eskridge (TLC)                                                                 Product; Legislative
                                                                                      Staffer)                                       (Lt. Gov.); Hope Shelton                                                    regarding proposed changes to SB7.
                                                                                                                                       (Hughes GC); Justin
                                                                                                                                     Williamson (Cain COS)




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                                                                                                                                    Drew Tedford (State
                                                                                                                                    Affairs Comm. Dir.);                                                                    Attachment to correspondence between
                                                                                 Jessica Hart                                        Elizabeth Alvarez                                                                      legislator's staff, Texas Legislative Counsil, and
                                         MS Office (2016)                                           Adam Moses (TLC); Carey                                                                  Attorney Client; Work
DOC_0000540   Texas Senate   5/28/2021                                         (Elections Comm.                                    (Attorney); Alix Morris   changes.docx                                                   private attorney, containing typed notes,
                                         Word                                                           Eskridge (TLC)                                                                       Product; Legislative
                                                                                    Staffer)                                      (Lt. Gov.); Hope Shelton                                                                  prepared for Texas Legislative Council, that
                                                                                                                                    (Hughes GC); Justin                                                                     provide drafting instructions regarding SB7.
                                                                                                                                  Williamson (Caiin COS)
                                                                                                  Alexander Hammond; Marc
                                                                                                  Salvato (Bettencourt COS);
                                                                                                  Anna Barnett; Josh Reyna;
                                                                                                  Aaron Harris; Carrie Smith;     Alix Morris (Lt. Gov.);                                                                   Correspondence between legislators' staff
                                         Microsoft Outlook                    Drew Tedford (State
DOC_0000541   Texas Senate   5/29/2021                       SB 7 documents                          Tara Clements; Peter         Hope Shelton (Hughes       SB 7 documents.msg              Legislative                    regarding proposed changes to SB7 during
                                         Message Mail                         Affairs Comm. Dir)
                                                                                                  Einhorn; Margaret Wallace;              GC)                                                                               reconcilation process.
                                                                                                      Amy Lane; Stacey
                                                                                                   Chamberlin; Luis Moreno;
                                                                                                  M ll K S       C d T


                                                                                                                                                                                                                            Attachment to correpsondence between
                                         MS Office (2016)                                                                                                    SB 7 One-Pager_explanatory                                     legislators' staff that provides a one-page
DOC_0000542   Texas Senate   5/29/2021                                                                                                                                                       Legislative
                                         Word                                                                                                                SENATE.docx                                                    summary of SB7 and reveals legislators' mental
                                                                                                                                                                                                                            impressions.




                                                                                                                                                                                                                            Attachment to correspondence between
                                         Adobe Acrobat                                                                                                                                                                      legislators' staff that contains a draft of SB7,
DOC_0000543   Texas Senate   5/28/2021                                                                                                                       SB7_CCR.pdf                     Legislative
                                         (PDF)                                                                                                                                                                              prepared by Texas Legislative Counsel, for
                                                                                                                                                                                                                            Conference Committee's use.




                                                                                                                                                                                                                            Attachment to correspondence between
                                         Adobe Acrobat                                                                                                                                                                      legislators' staff that provides a section-by-
DOC_0000544   Texas Senate   5/29/2021                                                                                                                       SB7_SXS.pdf                     Legislative
                                         (PDF)                                                                                                                                                                              section analysis of SB7 for Conference
                                                                                                                                                                                                                            Committee's use.




                                                                                                      Jessica Hart (Elections
                                                                                                   Comm. Staffer); Sloan Byerly
                                         Microsoft Outlook   Version to        Elizabeth Alvarez                                                                                                                            Correspondence between private attorney and
DOC_0000546   Texas Senate   5/25/2021                                                              (Clardy COS); Alix Morris                                Version to Drafters.msg         Attorney Client; Legislative
                                         Message Mail        Drafters              (Attorney)                                                                                                                               legislator's staff about proposed changes to SB7.
                                                                                                     (Lt. Gov); Drew Tedford
                                                                                                    (State Affairs Comm. Dir).




                                                                                                      Jessica Hart (Elections
                                                                                                                                                                                                                            Attachment to correspondence between private
                                                                                                   Comm. Staffer); Sloan Byerly
                                         Adobe Acrobat                         Elizabeth Alvarez                                                                                             Attorney Client; Work          attorney and legislator's staff containing a draft
DOC_0000547   Texas Senate   5/25/2021                                                              (Clardy COS); Alix Morris                                SB7 5.1.pdf
                                         (PDF)                                     (Attorney)                                                                                                Product; Legislative           of SB7 with notes, markings, and track changes
                                                                                                     (Lt. Gov.); Drew Tedford
                                                                                                                                                                                                                            that reveal mental impressions.
                                                                                                    (State Affairs Comm. Dir).




                                         Adobe Acrobat                                                                                                                                       Attorney Client; Work          Draft of SB7 prepared by Texas Legislative
DOC_0000549   Texas Senate   3/9/2021                                                                                                                        87R 10764.pdf
                                         (PDF)                                                                                                                                               Product; Legislative           Council for legislator's use.




                                                                                                                                                                                                                            Correspondence between legislator's staff and
                                                                                                    Courtney Smith ( Hughes
                                         MS Office (2016)                        Hope Shelton                                                                                                                               Senate Research Center that provides a
DOC_0000550   Texas Senate   3/19/2021                                                              Staffer); Tammy Edgerly                                  Bill Background SB 7.docx       Legislative
                                         Word                                    (Hughes GC)                                                                                                                                Statement of Purpose for SB7 to be used in bill
                                                                                                               (SRC)
                                                                                                                                                                                                                            analysis.M560




                                                                                                                                                                                                                            Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                                                                                    Committee Substitute for SB 7
DOC_0000551   Texas Senate   3/23/2021                                                                                                                                                       Legislative                    regarding SB7 committee substitutes, revealing
                                         Word                                                                                                                Elections Integrity Bill.docx
                                                                                                                                                                                                                            legislator's mental impressions.




                                                                                                                                                                                                                            Draft of inter-office communique between
                                         Adobe Acrobat                                                                                                                                                                      legislative offices, that provides a bullet point
DOC_0000552   Texas Senate   3/22/2021                                                                                                                       CSSB 7 One-Pager .pdf           Legislative
                                         (PDF)                                                                                                                                                                              summary of SB7 and reveals legislators' mental
                                                                                                                                                                                                                            impressions.




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                                         Adobe Acrobat                                                                                                                    Attorney Client; Work   Draft of SB7 prepared by Texas Legislative
DOC_0000553   Texas Senate   3/25/2021                                                                                                    CSSB7.pdf
                                         (PDF)                                                                                                                            Product; Legislative    Council for legislator's use.




                                         MS Office (2016)                                                                                 Defining                                                Legislator's typed notes and mental impressions
DOC_0000554   Texas Senate   3/16/2021                                         Representative Cain                                                                        Legislative
                                         Word                                                                                             Observe_Watchers.docx                                   regarding proposed changes to SB7.




                                                                                                                                                                                                  Document in legislator's personal file relating to
                                         JPEG File                                                                                        Drive Thru & 24 hr Locations
DOC_0000555   Texas Senate   3/29/2021                                                                                                                                    Legislative             election procedures, revealing mental
                                         Interchange                                                                                      Google Maps.jpg
                                                                                                                                                                                                  impressions.




                                                                                                                                                                                                  Document in legislator's personal file relating to
                                         JPEG File                                                                                        Drive Thru Locations Google
DOC_0000556   Texas Senate   3/29/2021                                                                                                                                    Legislative             election procedures, revealing mental
                                         Interchange                                                                                      Maps.jpg
                                                                                                                                                                                                  impressions.




                                                                                                                                                                                                  Document in legislator's personal file relating to
                                         Portable Network                                                                                 Drive Thru Locations Google
DOC_0000557   Texas Senate   3/29/2021                                                                                                                                    Legislative             election procedures, revealing mental
                                         Graphics Format                                                                                  Maps.png
                                                                                                                                                                                                  impressions.




                                                                                                                                                                                                  Notes and bulleted talking points for legislator's
                                         MS Office (2016)                         Hope Shelton                                            Floor Amendment
DOC_0000558   Texas Senate   3/31/2021                                                                                                                                    Legislative             use regarding floor amendments to SB7,
                                         Word                                     (Hughes GC)                                             Details.docx
                                                                                                                                                                                                  revealing mental impressions.




                                                             FW: Help with                                                                                                                        Correspondence between legislator's staff about
                                         Microsoft Outlook                        Hope Shelton       Drew Tedford (State Affairs          FW Help with days hours part
DOC_0000559   Texas Senate   4/5/2021                        days/hours part                                                                                              Legislative             SB7 that referencs past communication and
                                         Message Mail                             (Hughes GC)              Comm. Dir).                    of SB 7 .msg
                                                             of SB 7                                                                                                                              assistance recevied from SOS.




                                                                                                                                                                                                  Document in legislator's personal file relating to
                                         Adobe Acrobat                                                                                   File name omitted because it
DOC_0000561   Texas Senate   3/29/2021                                                                                                                                    Legislative             potential election procedures and methods,
                                         (PDF)                                                                                          contains privileged information
                                                                                                                                                                                                  revealing mental impressions.




                                                                                                                                                                                                  Typed notes and mental impressions
                                         MS Office (2016)
DOC_0000563   Texas Senate   3/29/2021                                                                                                    Notes During Committee.docx     Legislative             summarizing legislative testimony taken on SB7
                                         Word
                                                                                                                                                                                                  and other legislation considered at committee.




                                         Adobe Acrobat                                                                                                                    Attorney Client; Work   Draft of SB7 prepared by Texas Legislative
DOC_0000564   Texas Senate   3/21/2021                                                                                                    Old CS Do not use.pdf
                                         (PDF)                                                                                                                            Product; Legislative    Council for legislator's use.




                                         MS Office (2016)                                                                                                                                         Draft language for SB7 that reveals legislator's
DOC_0000565   Texas Senate   3/17/2021                                                                                                    Polling Hours Language.docx     Legislative
                                         Word                                                                                                                                                     mental impressions.




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                                         MS Office (2016)                                            Polling Locations                                        Draft language for SB7 that reveals legislator's
DOC_0000566   Texas Senate   3/19/2021                                                                                                Legislative
                                         Word                                                        Language.docx                                            mental impressions.




                                         MS Office (2016)                                                                                                     Draft amendment to CSSB7 that reveals
DOC_0000567   Texas Senate   3/31/2021                                                               SB 7 Floor Amendment.docx        Legislative
                                         Word                                                                                                                 legislator's mental impressions.




                                         Adobe Acrobat                                                                                Attorney Client; Work   Draft of CSSB7 prepared by the Texas
DOC_0000568   Texas Senate   3/31/2021                                                               SB 7 Floor Amendment.pdf
                                         (PDF)                                                                                        Product; Legislative    Legislative Council for legislator's use.




                                                                                                                                                              Draft of inter-office communique between
                                         MS Office (2016)                                            SB 7 One-Pager As                                        legislative offices, that provides a bullet point
DOC_0000569   Texas Senate   4/7/2021                                                                                                 Legislative
                                         Word                                                        Passed.docx                                              summary of SB7 and reveals legislators' mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft of inter-office communique between
                                                                                                                                                              Senator Hughes's office and other legislative
                                         MS Office (2016)                                            SB 7 One-Pager CS
DOC_0000570   Texas Senate   3/23/2021                                                                                                Legislative             offices, that provides a bullet point summary of
                                         Word                                                        Details.docx
                                                                                                                                                              CSSB7 and reveals legislators' mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft of inter-office communique between
                                         MS Office (2016)                                            SB 7 One-Pager FOR                                       legislative offices, that provides a one-page
DOC_0000571   Texas Senate   4/7/2021                                                                                                 Legislative
                                         Word                                                        BUSINESSES.docx                                          summary of SB7 and reveals legislators' mental
                                                                                                                                                              impressions.




                                                                                                                                                              Draft of inter-office communique between
                                         MS Office (2016)                                                                                                     legislative offices, that provides a bullet point
DOC_0000572   Texas Senate   3/17/2021                                                               SB 7 One-Pager.docx              Legislative
                                         Word                                                                                                                 summary of SB7 and reveals legislators' mental
                                                                                                                                                              impressions.




                                         Adobe Acrobat                                                                                Attorney Client; Work   Draft of SB1234 prepared by Texas Legislative
DOC_0000573   Texas Senate   4/6/2021                                                                SB_1234_FA.pdf
                                         (PDF)                                                                                        Product; Legislative    Council for legislator's use.




                                                                                                                                                              Typed notes, prepared for legislator's use,
                                         MS Office (2016)
DOC_0000574   Texas Senate   3/31/2021                                                               SB7_Chart.docx                   Legislative             summarizing SB7's proposed changes to voter
                                         Word
                                                                                                                                                              assistance laws, revealing mental impressions.




                                                                                                                                                              Draft language for SB7 that contains
                                         MS Office (2016)                                            SECTION 3.05 Draft
DOC_0000575   Texas Senate   3/31/2021                                                                                                Legislative             annotations, markings, and track changes,
                                         Word                                                        Language.docx
                                                                                                                                                              revealing legislator's mental impressions.




                                         MS Office (2016)                                            Section by Section Description                           Legislator's typed section-by-section summary of
DOC_0000576   Texas Senate   3/25/2021                                                                                                Legislative
                                         Word                                                        CSSB 7.docx                                              CSSB7, revealing mental impressions.




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ID Number     Custodian        Date       Application       Subject   Author   To               CC           Filename                           Claim                     Privilege Statement




                                         MS Office (2016)                                            Section by Section Description                           Legislator's draft section-by-section summary of
DOC_0000577   Texas Senate   3/17/2021                                                                                                Legislative
                                         Word                                                        SB 7 LC Draft.docx                                       CSSB7, revealing mental impressions.




                                         MS Office (2016)                                            Talking Points SB 7                                      Draft script written in preparation of legislator's
DOC_0000578   Texas Senate   3/25/2021                                                                                                Legislative
                                         Word                                                        Committee.docx                                           committee layout of SB7.




                                                                                                     Top complaints based on                                  Notes and talking points, for legislator's use,
                                         MS Office (2016)
DOC_0000579   Texas Senate   3/29/2021                                                               accurate reading of the          Legislative             about common concerns raised over SB7 that
                                         Word
                                                                                                     bill.docx                                                reveals legislator's mental impressions.




                                                                                                                                                              Document from state court case involving voter
                                         Adobe Acrobat
DOC_0000582   Texas Senate   6/25/2021                                                               13-17-087-CVRptRecV1.pdf         Legislative             fraud considered by Legislator during drafting
                                         (PDF)
                                                                                                                                                              process.




                                                                                                                                                              Document from state court case involving voter
                                         Adobe Acrobat
DOC_0000583   Texas Senate   6/25/2021                                                               13-17-087-CVRptRecV2.pdf         Legislative             fraud considered by Legislator during drafting
                                         (PDF)
                                                                                                                                                              process.




                                                                                                                                                              Document from state court case involving voter
                                         Adobe Acrobat
DOC_0000584   Texas Senate   6/25/2021                                                               13-17-087-CVRptRecV3.pdf         Legislative             fraud considered by Legislator during drafting
                                         (PDF)
                                                                                                                                                              process.




                                                                                                                                                              Document from state court case involving voter
                                         Adobe Acrobat
DOC_0000585   Texas Senate   6/25/2021                                                               13-17-087-CVRptRecV4.pdf         Legislative             fraud considered by Legislator during drafting
                                         (PDF)
                                                                                                                                                              process.




                                         Adobe Acrobat                                               21.194.59 - Floor Amendment      Attorney Client; Work   Draft amendment to SB1 prepared by Texas
DOC_0000586   Texas Senate   7/13/2021
                                         (PDF)                                                       [87S1 1040].pdf                  Product; Legislative    Legislative Council for legislator's use.




                                         Adobe Acrobat                                                                                Attorney Client; Work   Draft of SB7 prepared by Texas Legislative
DOC_0000587   Texas Senate   7/2/2021                                                                87C1_Draft.pdf
                                         (PDF)                                                                                        Product; Legislative    Council for legislator's use.




                                         MS Office (2016)                                                                                                     Draft of SB7 that reveals legislator's mental
DOC_0000588   Texas Senate   7/2/2021                                                                87C1_Draft_Word.docx             Legislative
                                         Word                                                                                                                 impressions.




                                                                                                                                                              Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                                Attorney Client; Work
DOC_0000589   Texas Senate   7/9/2021                                                                87S1 0818.pdf                                            Legislative Council for legislator's use in
                                         (PDF)                                                                                        Product; Legislative
                                                                                                                                                              committee.




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ID Number     Custodian        Date       Application    Subject   Author   To               CC          Filename                        Claim                     Privilege Statement




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000590   Texas Senate   7/9/2021                                                             87S1 0820.pdf                                         Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000591   Texas Senate   7/9/2021                                                             87S1 0821.pdf                                         Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000592   Texas Senate   7/9/2021                                                             87S1 0822.pdf                                         Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000593   Texas Senate   7/9/2021                                                             87S1 0823.pdf                                         Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000594   Texas Senate   7/9/2021                                                             87S1 0824.pdf                                         Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000595   Texas Senate   7/9/2021                                                             87S1 0883.pdf                                         Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                                                                                                                                        Draft amendment to SB1 prepared by Texas
                                         Adobe Acrobat                                                                          Attorney Client; Work
DOC_0000596   Texas Senate   7/9/2021                                                             87S1 WatcherAcceptance.pdf                            Legislative Council for legislator's use in
                                         (PDF)                                                                                  Product; Legislative
                                                                                                                                                        committee.




                                         Adobe Acrobat                                                                          Attorney Client; Work   Draft floor amendment to CSSB1 prepared by
DOC_0000597   Texas Senate   8/11/2021                                                            87S2 SB1 FA1.pdf
                                         (PDF)                                                                                  Product; Legislative    Texas Legislative Council for legislator's use.




                                         Adobe Acrobat                                                                          Attorney Client; Work   Draft floor amendment to CSSB1 prepared by
DOC_0000598   Texas Senate   8/11/2021                                                            87S2 SB1 FA2.pdf
                                         (PDF)                                                                                  Product; Legislative    Texas Legislative Council for legislator's use.




                                                                                                  87S2 SB1
                                         Adobe Acrobat                                                                          Attorney Client; Work   Draft substitute to SB1 by Texas Legislative
DOC_0000599   Texas Senate   8/6/2021                                                             Possible_Rolled_In_Changes.
                                         (PDF)                                                                                  Product; Legislative    Council for legislator's use.
                                                                                                  pdf




                                         Adobe Acrobat                                                                          Attorney Client; Work   Draft of SB1 prepared by Texas Legislative
DOC_0000600   Texas Senate   8/5/2021                                                             87S2 SB1.pdf
                                         (PDF)                                                                                  Product; Legislative    Council for legislator's use.




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                                                                                                                                                         Draft of SB1 prepared by Texas Legislative
                                         Adobe Acrobat                                                                           Attorney Client; Work
DOC_0000601   Texas Senate   8/28/2021                                                               87S2_SB1_CCR.pdf                                    Council for legislator's use at Conference
                                         (PDF)                                                                                   Product; Legislative
                                                                                                                                                         Committee.




                                                                                                                                                         Legislator's typed notes and mental impressions
                                         MS Office (2016)                                                                                                regarding structure of Texas election system,
DOC_0000602   Texas Senate   7/26/2021                                                               ALEC notes.docx             Legislative
                                         Word                                                                                                            citizenship verification, and means of
                                                                                                                                                         enforcement.




                                                                                                                                                         Notes and talking points, for legislator's use,
                                         MS Office (2016)                                                                                                including a draft Q&A as well as a summary of
DOC_0000603   Texas Senate   8/5/2021                                                                Amendments_QA.docx          Legislative
                                         Word                                                                                                            negotiations with other legislators that reveal
                                                                                                                                                         mental impresssions.




                                         MS Office (2016)                                                                                                Legislator's typed notes and mental impressions
DOC_0000605   Texas Senate   7/12/2021                                                               Assistant_Oath_Memo.docx    Legislative
                                         Word                                                                                                            regarding law surrounding voter assistance




                                                                                                                                                         Legislator's typed notes and mental impressions
                                         MS Office (2016)
DOC_0000606   Texas Senate   10/7/2021                                                               AZ_Audit_Responses.docx     Legislative             regarding applications to vote by mail and
                                         Word
                                                                                                                                                         proposed reform.




                                                                                                                                                         Memorandum on voting assistance in the vote-by
                                         Adobe Acrobat                                               Ballot by Mail Assistance
DOC_0000607   Texas Senate   7/27/2021                                                                                           Legislative             mail context which reveals legislator's mental
                                         (PDF)                                                       (PDF).pdf
                                                                                                                                                         impressions.




                                         Adobe Acrobat                                                                                                   Draft floor amendment to CSSB1 that reveals
DOC_0000608   Texas Senate   7/13/2021                                                               Birdwell_Amendment.pdf      Legislative
                                         (PDF)                                                                                                           legislator's mental impressions.




                                         Adobe Acrobat                                               Birdwell_Amendment_DoNot                            Draft floor amendment to CSSB1 that reveals
DOC_0000609   Texas Senate   7/13/2021                                                                                           Legislative
                                         (PDF)                                                       Offer.pdf                                           legislator's mental impressions.




                                                                                                                                                         Notes and bulleted talking points for SB1
                                         MS Office (2016)                                            Birdwell_Amendment_Layout
DOC_0000610   Texas Senate   7/13/2021                                                                                           Legislative             amendment layout that reveal legislator's
                                         Word                                                        .docx
                                                                                                                                                         mental impressions.




                                         Adobe Acrobat                                                                                                   Draft amendment to CSSB1 that reveals
DOC_0000611   Texas Senate   7/13/2021                                                               Campbell_Amendment.pdf      Legislative
                                         (PDF)                                                                                                           legislator's mental impressions.




                                                                                                                                                         Notes and bulleted talking points for SB1
                                         MS Office (2016)                                            Campbell_Amendment_Talki
DOC_0000612   Texas Senate   7/13/2021                                                                                           Legislative             amendment layout that reveal legislator's
                                         Word                                                        ng_Points.docx
                                                                                                                                                         mental impressions.




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                                                                                                                                                                                                   Screen capture of statistics on drive-thru and 24
                                          Portable Network
DOC_0000613   Texas Senate   8/5/2021                                                                                               Capture.PNG                     Legislative                    hour voting for consideration by Legislator
                                          Graphics Format
                                                                                                                                                                                                   during drafting process.




                                                                                                                                                                                                   Document from state court case involving voter
                                          Adobe Acrobat
DOC_0000614   Texas Senate   7/26/2021                                                                                              Cavazos_Short.pdf               Legislative                    fraud for consideration by Legislator during
                                          (PDF)
                                                                                                                                                                                                   drafting process.




                                                                                                                                                                                                   Typed notes, prepared for legislator's use,
                                          MS Office (2016)                                                                                                                                         regrading a judicial decision issued in response
DOC_0000615   Texas Senate   12/17/2021                                                                                             CCA_AG_Ruling.docx              Legislative
                                          Word                                                                                                                                                     to election related misconduct that reveals
                                                                                                                                                                                                   mental impressions.




                                                                                                                                                                                                   Notes and bulleted talking points regarding
                                          MS Office (2016)                                                                          Citizenship_Amendment_Tal
DOC_0000616   Texas Senate   7/16/2021                                                                                                                              Legislative                    amendment to unspecified elections bill that
                                          Word                                                                                      king_Points.docx
                                                                                                                                                                                                   reveal legislator's mental impressions.




                                                                                                                                                                                                   Notes and talking points regarding amendment
                                          MS Office (2016)
DOC_0000617   Texas Senate   8/16/2021                                                                                              Citizenship_explanations.docx   Legislative                    to unspecified elections bill that reveal
                                          Word
                                                                                                                                                                                                   legislator's mental impressions.




                                          MS Office (2016)                                                                                                                                         Amendment to unspecified elections bill that
DOC_0000618   Texas Senate   7/13/2021                                                                                              Citizenship_Verification.docx   Legislative
                                          Word                                                                                                                                                     reveals legislator's mental impressions.




                                                                                                                                                                                                   Correspondence between Office of Attorney
                                                              City of Hidalgo                                                                                                                      General and legislative staff to provide solicited
                                          Microsoft Outlook                     Jonathan White   Drew Tedford (State Affairs        City of Hidalgo 2016            Attorney Client; Work
DOC_0000619   Texas Senate   6/25/2021                        2016 Assistance                                                                                                                      information regarding incidents of voting
                                          Message Mail                              (OAG)              Comm. Dir).                  Assistance Fraud.msg            Product; Legislative
                                                              Fraud                                                                                                                                misconduct, revealing legislator's mental
                                                                                                                                                                                                   impressions.




                                                                                                                                                                                                   Attachment to correspondence between Office
                                                                                                                                                                                                   and Attorney General to legislatve staff that
                                          Adobe Acrobat
DOC_0000620   Texas Senate   6/25/2021                                                                                              13-17-087-CVRptRecV1.pdf        Attorney Client, Legislative   contains a document from court case involving
                                          (PDF)
                                                                                                                                                                                                   vote fraud and reveals legislator's mental
                                                                                                                                                                                                   impressions.




                                                                                                                                                                                                   Attachment to correspondence between Office
                                                                                                                                                                                                   and Attorney General to legislatve staff that
                                          Adobe Acrobat
DOC_0000621   Texas Senate   6/25/2021                                                                                              13-17-087-CVRptRecV2.pdf        Attorney Client; Legislative   contains a transcript rom a state court case
                                          (PDF)
                                                                                                                                                                                                   involving vote fraud and reveals legislator's
                                                                                                                                                                                                   mental impressions




                                                                                                                                                                                                   Attachment to correspondence between Office
                                                                                                                                                                                                   and Attorney General to legislatve staff that
                                          Adobe Acrobat
DOC_0000622   Texas Senate   6/25/2021                                                                                              13-17-087-CVRptRecV3.pdf        Attorney Client; Legislative   contains a transcript rom a state court case
                                          (PDF)
                                                                                                                                                                                                   involving vote fraud and reveals legislator's
                                                                                                                                                                                                   mental impressions




                                                                                                                                                                                                   Attachment to correspondence between Office
                                                                                                                                                                                                   and Attorney General to legislatve staff that
                                          Adobe Acrobat
DOC_0000623   Texas Senate   6/25/2021                                                                                              13-17-087-CVRptRecV4.pdf        Attorney Client; Legislative   contains a transcript rom a state court case
                                          (PDF)
                                                                                                                                                                                                   involving vote fraud and reveals legislator's
                                                                                                                                                                                                   mental impressions




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                                                                                                                                                                   Attachment to correspondence between Office
                                                                                                                                                                   and Attorney General to legislatve staff that
                                         Adobe Acrobat                                               Angie Cavazos - Sworn
DOC_0000624   Texas Senate   6/25/2021                                                                                              Attorney Client; Legislative   contains a transcript rom a state court case
                                         (PDF)                                                       Testimony - Highlighted.pdf
                                                                                                                                                                   involving vote fraud and reveals legislator's
                                                                                                                                                                   mental impressions




                                                                                                                                                                   Attachment to correspondence between Office
                                                                                                                                                                   and Attorney General to legislatve staff that
                                         Adobe Acrobat                                               Marcela Gutierrez - Sworn
DOC_0000625   Texas Senate   6/25/2021                                                                                              Attorney Client; Legislative   contains a transcript rom a state court case
                                         (PDF)                                                       Testimony.pdf
                                                                                                                                                                   involving vote fraud and reveals legislator's
                                                                                                                                                                   mental impressions




                                         Adobe Acrobat                                               Committee Amendment 87S1                                      Draft committee amendment to SB1 that reveals
DOC_0000626   Texas Senate   7/11/2021                                                                                              Legislative
                                         (PDF)                                                       0931.pdf                                                      legislator's mental impressions.




                                                                                                                                                                   Notes and bulleted talking points for SB1
                                         MS Office (2016)                                            Committee Amendment
DOC_0000627   Texas Senate   7/10/2021                                                                                              Legislative                    amendment layout that reveal legislator's
                                         Word                                                        Explanations.docx
                                                                                                                                                                   mental impressions.




                                                                                                                                                                   Notes and talking points, for legislator's use,
                                         MS Office (2016)
DOC_0000628   Texas Senate   8/16/2021                                                               CrenshawQA.docx                Legislative                    including draft a Q&A on SB1, that reveal
                                         Word
                                                                                                                                                                   legislator's mental impressions.




                                                                                                                                                                   Notes and talking points, for legislator's use,
                                         MS Office (2016)
DOC_0000629   Texas Senate   8/2/2021                                                                CrenshawQs.docx                Legislative                    including draft a Q&A on SB1, that reveal
                                         Word
                                                                                                                                                                   legislator's mental impressions.




                                         Adobe Acrobat                                               Committee Amendment 87S1                                      Draft committee amendment to SB1 that reveals
DOC_0000632   Texas Senate   7/11/2021                                                                                              Legislative
                                         (PDF)                                                       0931.pdf                                                      legislator's mental impressions.




                                                                                                     Elections Bill Section Cross                                  Typed notes, prepared for legislator's use, that
                                         MS Office (2016)
DOC_0000633   Texas Senate   7/9/2021                                                                References Special             Legislative                    address cross-referenced statutes in SB1,
                                         Word
                                                                                                     Session.docx                                                  revealing mental impressions.




                                         Adobe Acrobat                                               Floor Amendment - SB 1         Attorney Client; Work          Floor amendemnt to CSSB1 prepared by Texas
DOC_0000634   Texas Senate   7/13/2021
                                         (PDF)                                                       [87S1 1061].pdf                Product; Legislative           Legislative Council for legislator's use.




                                         MS Office (2016)                                            Floor Amendment -SB 1 [87S1    Attorney Client; Work          Floor amendemnt to CSSB1 prepared by Texas
DOC_0000635   Texas Senate   7/13/2021
                                         Word                                                        1041].docx                     Product; Legislative           Legislative Council for legislator's use.




                                         Adobe Acrobat                                               Floor Amendment -SB 1 [87S1    Attorney Client; Work          Floor amendemnt to CSSB1 prepared by Texas
DOC_0000636   Texas Senate   7/13/2021
                                         (PDF)                                                       1041].pdf                      Product; Legislative           Legislative Council for legislator's use.




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                                                                                                                                                          Typed notes with highlights and markings,
                                          MS Office (2016)                                                                                                prepared for legislator's use, that address cross-
DOC_0000640   Texas Senate   7/13/2021                                                                ID Code Sections.docx       Legislative
                                          Word                                                                                                            referenced statutes in SB1, revealing mental
                                                                                                                                                          impressions.




                                                                                                                                                          Draft correspondence between legislator and
                                          MS Office (2016)                                                                                                constitutents that explained SB1, including the
DOC_0000641   Texas Senate   7/16/2021                                                                Letter_To_Businesses.docx   Legislative
                                          Word                                                                                                            imprrovements it advanced, revealing
                                                                                                                                                          legislator's mental impressions.




                                                                                                                                                          Document from state court case involving voter
                                          Adobe Acrobat                                               Marcela Gutierrez - Sworn
DOC_0000642   Texas Senate   6/25/2021                                                                                            Legislative             fraud considered by Legislator during drafting
                                          (PDF)                                                       Testimony.pdf
                                                                                                                                                          process.




                                                                                                      Most Recent - SB 155
                                          MS Office (2016)                                                                                                Notes and draft script for legislator's use during
DOC_0000643   Texas Senate   7/16/2021                                                                Committee Talking           Legislative
                                          Word                                                                                                            committee regardng SB155.
                                                                                                      Points.docx




                                                                                                                                                          Typed notes, prepared for legislator's use, that
                                          MS Office (2016)                                            New Elections Crimes or
DOC_0000644   Texas Senate   12/20/2021                                                                                           Legislative             summarizes the election crimes created by SB1,
                                          Word                                                        Punishments in SB 1.docx
                                                                                                                                                          revealing legislator's mental impressions.




                                                                                                                                                          Typed notes, prepared for legislator's use,
                                          MS Office (2016)                                            Not In SB 1 Senate                                  related to proposed changes to SB1, as
DOC_0000645   Texas Senate   8/31/2021                                                                                            Legislative
                                          Word                                                        Engrossed.docx                                      engrossed, revealing legislator's mental
                                                                                                                                                          impressions.




                                                                                                                                                          Typed notes, prepared for legislator's use,
                                          MS Office (2016)
DOC_0000646   Texas Senate   8/19/2021                                                                Notes for SB1 vs HB3.docx   Legislative             related to proposed changes to SB1 and HB3,
                                          Word
                                                                                                                                                          revealing legislator's mental impressions.




                                                                                                                                                          Draft correspondence between legislators' staff
                                          MS Office (2016)                                                                                                related to negotiations taking place in
DOC_0000647   Texas Senate   8/27/2021                                                                NotesForMurr.docx           Legislative
                                          Word                                                                                                            Conference Committee, revealing legislator's
                                                                                                                                                          mental impressions.




                                          Adobe Acrobat                                                                           Attorney Client; Work   Draft floor amendment to CSSB1 prepared by
DOC_0000648   Texas Senate   7/13/2021                                                                Paxton_Amendment.pdf
                                          (PDF)                                                                                   Product; Legislative    Texas Legislative Council for legislator's use.




                                                                                                                                                          Notes and bulleted talking points for SB1
                                          MS Office (2016)                                            Paxton_Amendment_Talking_                           amendment layout, including proposed bill
DOC_0000649   Texas Senate   7/13/2021                                                                                            Legislative
                                          Word                                                        Points.docx                                         language, that reveal legislator's mental
                                                                                                                                                          impressions.




                                          MS Office (2016)                                                                                                Draft committee amendment to SB1 that reveals
DOC_0000654   Texas Senate   8/16/2021                                                                S2_CA1.docx                 Legislative
                                          Word                                                                                                            legislator's mental impressions.




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                                                                                                                                                                            Notes and bulleted talking points for layout of
                                         MS Office (2016)                                                                  S2FloorAmendment2Layout.d
DOC_0000655   Texas Senate   8/11/2021                                                                                                                    Legislative       SB1 floor amendment that reveal legislator's
                                         Word                                                                              ocx
                                                                                                                                                                            mental impressions..




                                                                                                                                                                            Correspondence between legislator's staff and
                                                                                          Courtney Smith (State
                                         MS Office (2016)             Caitriana Corkill                                    SB 1 Final Background                            Senate Research Center that provides a
DOC_0000656   Texas Senate   7/8/2021                                                     Affairs Staffer); Tammy                                         Legislative
                                         Word                         (Hughes Staffer)                                     Request.docx                                     Statement of Purpose for SB1 to be used in bill
                                                                                               Edgerly (SRC)
                                                                                                                                                                            analysis.




                                                                                                                                                                            Correspondence between legislator's staff and
                                                                                          Courtney Smith (State
                                         MS Office (2016)             Caitriana Corkill                                    SB 1 Final Background                            Senate Research Center that provides a
DOC_0000657   Texas Senate   7/8/2021                                                     Affairs Staffer); Tammy                                         Legislative
                                         Word                         (Hughes Staffer)                                     Request_Revised.docx                             Statement of Purpose for SB1 to be used in bill
                                                                                               Edgerly (SRC)
                                                                                                                                                                            analysis.




                                                                                                                                                                            Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                                                  SB 1 Fiscal Impact to Local                      related to SB1's fiscal impact on select Texas
DOC_0000658   Texas Senate   7/14/2021                                                                                                                    Legislative
                                         Word                                                                              Governments.docx                                 Counties, revealing legislator's mental
                                                                                                                                                                            impressions.




                                                                                                                                                                            Draft inter-office communique between
                                         MS Office (2016)                                                                                                                   legislative offices, that provides a one-page
DOC_0000660   Texas Senate   8/5/2021                                                                                      SB 1 One-Pager.docx            Legislative
                                         Word                                                                                                                               summary of SB1 and reveals legislators' mental
                                                                                                                                                                            impressions.




                                                                                                                                                                            Draft inter-office communique between
                                         Adobe Acrobat                                                                                                                      legislative offices, that provides a one-page
DOC_0000661   Texas Senate   7/8/2021                                                                                      SB 1 One-Pager.pdf             Legislative
                                         (PDF)                                                                                                                              summary of SB1 and reveals legislators' mental
                                                                                                                                                                            impressions.




                                                                                                                                                                            Draft inter-office communique between Senator
                                         Adobe Acrobat                                                                                                                      Hughes' office and other legislative offices, that
DOC_0000662   Texas Senate   7/13/2021                                                                                     SB 1 One-Pager_New.pdf         Legislative
                                         (PDF)                                                                                                                              provides a one-page summary of SB1 and reveals
                                                                                                                                                                            legislators' mental impressions.




                                                                                                                           SB
                                         MS Office (2016)                                                                                                                   Legislator's typed section-by-section summary of
DOC_0000664   Texas Senate   7/9/2021                                                                                      1_CouncilDraft_SectionbySect   Legislative
                                         Word                                                                                                                               SB1, revealing mental impressions.
                                                                                                                           ion.docx




                                                                                                                           SB
                                         MS Office (2016)                                                                                                                   Legislator's typed section-by-section summary of
DOC_0000665   Texas Senate   8/5/2021                                                                                      7_CouncilDraft_SectionbySect   Legislative
                                         Word                                                                                                                               SB1, revealing mental impressions.
                                                                                                                           ion.docx




                                         MS Office (2016)                                                                                                                   Draft bill analysis prepared by legislator's office
DOC_0000666   Texas Senate   10/7/2021                                                                                     SB 47 Internal summary.docx    Legislative
                                         Word                                                                                                                               regarding SB47 that reveals mental impressions.




                                                                                                                                                                            Notes and talking points for legislator's use
                                         MS Office (2016)
DOC_0000667   Texas Senate   7/22/2021                                                                                     SB1 Easier to Vote.docx        Legislative       assessing multiple provisions of SB1 and
                                         Word
                                                                                                                                                                            revealing mental impressions..




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                                                                                                                                                     Draft inter-office communique between
                                         MS Office (2016)                                            SB1 Engrossed One-                              legislative offices, that provides a one-page
DOC_0000668   Texas Senate   7/16/2021                                                                                             Legislative
                                         Word                                                        Pager.docx                                      summary of SB1, as engrossed, and reveals
                                                                                                                                                     legislators' mental impressions.




                                                                                                                                                     Draft inter-office communique between
                                         Adobe Acrobat                                                                                               legislative offices, that provides a one-page
DOC_0000669   Texas Senate   7/16/2021                                                               SB1 Engrossed One-Pager.pdf   Legislative
                                         (PDF)                                                                                                       summary of SB1, as engrossed, and reveals
                                                                                                                                                     legislators' mental impressions.




                                         MS Office (2016)                                                                                            Draft script for legislator's use during SB1's
DOC_0000670   Texas Senate   8/16/2021                                                               SB1 Layout.docx               Legislative
                                         Word                                                                                                        layout that reveals mental impressions.




                                                                                                                                                     Draft inter-office communique between
                                         Adobe Acrobat                                                                                               legislative offices, that provides a one-page
DOC_0000671   Texas Senate   7/8/2021                                                                SB1 One-Pager.pdf             Legislative
                                         (PDF)                                                                                                       summary of SB1 and reveals legislators' mental
                                                                                                                                                     impressions.




                                         Adobe Acrobat                                               SB1_87C2_CommitteeAmend                         Draft committee amendment to SB1 that reveals
DOC_0000672   Texas Senate   8/8/2021                                                                                              Legislative
                                         (PDF)                                                       ment.pdf                                        legislator's mental impressions.




                                         Adobe Acrobat                                               SB1_87S2_CommitteeAmend                         Draft committee amendment to SB1 that reveals
DOC_0000673   Texas Senate   8/8/2021                                                                                              Legislative
                                         (PDF)                                                       ment.pdf                                        legislator's mental impressions.




                                         Adobe Acrobat                                                                                               Draft of SB1 that reveals legislator's mental
DOC_0000674   Texas Senate   7/14/2021                                                               SB1_Engrossed.pdf             Legislative
                                         (PDF)                                                                                                       impressions.




                                                                                                                                                     Notes and talking points, for legislator's use,
                                         MS Office (2016)
DOC_0000675   Texas Senate   7/12/2021                                                               SB1_Floor_QA.docx             Legislative       including draft a Q&A on SB1, that reveal
                                         Word
                                                                                                                                                     legislator's mental impressions.




                                                                                                                                                     Typed notes, prepared for legislator's use, that
                                         MS Office (2016)
DOC_0000676   Texas Senate   9/1/2021                                                                SB1_HighPoints.docx           Legislative       summarize SB1's highlights, revealing
                                         Word
                                                                                                                                                     legislator's mental impressions.




                                                                                                                                                     Typed notes, prepared for legislator's use, that
                                         Adobe Acrobat
DOC_0000677   Texas Senate   8/2/2021                                                                SB1_HighPoints.pdf            Legislative       summarize SB1's highlights, revealing
                                         (PDF)
                                                                                                                                                     legislator's mental impressions.




                                                                                                                                                     Typed notes, prepared for legislator's use, that
                                         MS Office (2016)                                                                                            summarize the changes made to elections
DOC_0000678   Texas Senate   8/16/2021                                                               SB1Amendments.docx            Legislative
                                         Word                                                                                                        omnibus before start of special session, revealing
                                                                                                                                                     legislator's mental impressions.




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                                                                                                      SB1-
                                          MS Office (2016)                                                                                                   Draft committee amendment to SB1 that reveals
DOC_0000679   Texas Senate   7/12/2021                                                                ElectionIDCertificatesAmend    Legislative
                                          Word                                                                                                               legislator's mental impressions.
                                                                                                      ment.docx




                                                                                                      SB1-
                                          MS Office (2016)                                                                                                   Draft committee amendment to SB1 that reveals
DOC_0000680   Texas Senate   7/12/2021                                                                ElectionWorkersSuedOfficialC   Legislative
                                          Word                                                                                                               legislator's mental impressions.
                                                                                                      apacity.docx




                                                                                                                                                             Notes and bulleted talking points for layout of
                                          MS Office (2016)                                                                                                   SB10, which proposed to unwind two provisions
DOC_0000681   Texas Senate   10/7/2021                                                                SB9 layout.docx                Legislative
                                          Word                                                                                                               in SB1, revealing legislator's mental
                                                                                                                                                             impressions.




                                                                                                                                                             Notes and bulleted talking points for layout of
                                          MS Office (2016)
DOC_0000682   Texas Senate   10/4/2021                                                                SB9Layout.docx                 Legislative             SB9, which proposed to unwind a provision in
                                          Word
                                                                                                                                                             SB1, revealing legislator's mental impressions.




                                          Adobe Acrobat                                               Sen. Hughes Informal [87S1     Attorney Client; Work   Draft floor amendment to CSSB1 proposed by
DOC_0000683   Texas Senate   7/13/2021
                                          (PDF)                                                       1042].pdf                      Product; Legislative    Texas Legislative Council for legislator's use.




                                          Adobe Acrobat                                               Sen. Hughes Informal [87S1     Attorney Client; Work   Draft floor amendment to CSSB1 proposed by
DOC_0000684   Texas Senate   7/13/2021
                                          (PDF)                                                       1044].pdf                      Product; Legislative    Texas Legislative Council for legislator's use.




                                          Microsoft Word                                                                                                     Unsigned draft of legislator's affidavit related to
DOC_0000685   Texas Senate   11/5/2021                                                                Senator Hughes Affidavit.doc   Legislative
                                          97/98                                                                                                              SB1 that reveals mental impressions.




                                          Adobe Acrobat                                                                                                      Unsigned draft of legislator's affidavit related to
DOC_0000686   Texas Senate   10/28/2021                                                               Senator Hughes Affidavit.pdf   Legislative
                                          (PDF)                                                                                                              SB1 that reveals mental impressions.




                                                                                                                                                             Notes and draft script for legislator's use
                                          MS Office (2016)
DOC_0000687   Texas Senate   7/31/2021                                                                TexasMonthlyAnswer.docx        Legislative             reagrding unspecified elections bill that reveals
                                          Word
                                                                                                                                                             legislator's mental impressions.




                                          Adobe Acrobat                                               Training Manual for PW Bill                            Draft of unspecified elections bill prepared by
DOC_0000689   Texas Senate   7/8/2021                                                                                                Legislative
                                          (PDF)                                                       language.pdf                                           Texas Legislative Counsel for legislator's use.




                                                                                                                                                             Typed notes, prepared for legislator's use,
                                          MS Office (2016)                                                                                                   regarding possible amendments to SB7, along
DOC_0000690   Texas Senate   7/6/2021                                                                 Amending SB7 List.docx         Legislative
                                          Word                                                                                                               with proposed language, revealing legislator's
                                                                                                                                                             mental impressions.




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                                                                                                                                                      Typed notes, prepared for legislator's use,
                                                                                                     Communications with Voting
                                         MS Office (2016)                                                                                             regarding possible amendments to SB7, along
DOC_0000691   Texas Senate   7/4/2021                                                                System Vendor                  Legislative
                                         Word                                                                                                         with proposed language, revealing legislator's
                                                                                                     Exceptions.docx
                                                                                                                                                      mental impressions.




                                                                                                                                                      Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                            Drafting guidelines for SB1                      regarding possible floor amendments to SB7,
DOC_0000692   Texas Senate   8/16/2021                                                                                              Legislative
                                         Word                                                        floor amendment V2.docx                          along with drafting instructions, revealing
                                                                                                                                                      legislator's mental impressions.




                                                                                                                                                      Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                            Drafting guidelines for SB1                      regarding possible floor amendments to SB7,
DOC_0000693   Texas Senate   8/10/2021                                                                                              Legislative
                                         Word                                                        floor amendment.docx                             along with drafting instructions, revealing
                                                                                                                                                      legislator's mental impressions.




                                                                                                                                                      Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                            Election Contest Provisions                      regarding possible amendments to SB7, along
DOC_0000694   Texas Senate   8/16/2021                                                                                              Legislative
                                         Word                                                        rewrite 08-03-21.docx                            with proposed language, revealing legislator's
                                                                                                                                                      mental impressions.




                                                                                                     Election Integrity, Senate                       Draft of SB7 that contains comments, markings,
                                         MS Office (2016)
DOC_0000695   Texas Senate   7/4/2021                                                                Draft_Word (TLR redlined HS    Legislative       and redlines, revealing legislator's mental
                                         Word
                                                                                                     comments), July 2021.docx                        impressions.




                                         MS Office (2016)                                            Federal Voting Rights and                        Legislator's typed notes and mental impressions
DOC_0000696   Texas Senate   7/12/2021                                                                                              Legislative
                                         Word                                                        Assistance.docx                                  regarding law surrounding voter assistance




                                         MS Office (2016)                                                                                             Legislator's typed section-by-section summary of
DOC_0000697   Texas Senate   7/8/2021                                                                HB 3 Section by Section.docx   Legislative
                                         Word                                                                                                         HB3, revealing mental impressions.




                                                                                                                                                      Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                                                                             regarding alleged criticisms of SB7, that also
DOC_0000698   Texas Senate   7/5/2021                                                                Responding to TAEA.docx        Legislative
                                         Word                                                                                                         contains highlights and annotations, revealing
                                                                                                                                                      legislator's mental impressions.




                                                                                                                                                      Notes and talking points, prepared for
                                         MS Office (2016)
DOC_0000699   Texas Senate   7/12/2021                                                               SB1 Easier to Vote.docx        Legislative       legislator's use, assessing multiple provisions of
                                         Word
                                                                                                                                                      SB1 and revealing mental impressions..




                                                                                                                                                      Draft memorandum, prepared for legislators'
                                         MS Office (2016)                                            Vote Harvesting Draft-                           use, that addresses vote harvesting, contains
DOC_0000701   Texas Senate   8/16/2021                                                                                              Legislative
                                         Word                                                        08.05.21.docx                                    proposed language, and reveals legislator's
                                                                                                                                                      mental impressions.




                                                                                                                                                      Notes and bulleted talking points for SB9
                                         MS Office (2016)                                            Author_Amendment_Layout.d
DOC_0000702   Texas Senate   4/13/2019                                                                                              Legislative       amendment layout that reveal legislator's
                                         Word                                                        ocx
                                                                                                                                                      mental impressions.




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ID Number     Custodian        Date       Application          Subject            Author                      To                      CC                   Filename                          Claim                     Privilege Statement




                                                                                                                                                                                                           Draft script written in preparation of legislator's
                                         MS Office (2016)                                                                                          CSSB 9 Committee
DOC_0000704   Texas Senate   3/16/2019                                                                                                                                             Legislative             layout of CSSB9 during committee hearing that
                                         Word                                                                                                      Layout.docx
                                                                                                                                                                                                           reveals mental impressions.




                                         Adobe Acrobat                                                                                                                             Attorney Client; Work   Draft of SB9 prepared by Texas Legislative
DOC_0000705   Texas Senate   3/16/2019                                                                                                             CSSB_9.pdf
                                         (PDF)                                                                                                                                     Product; Legislative    Council for legislator's use.




                                         Adobe Acrobat                                                                                                                             Attorney Client; Work   Draft of SB9 prepared by Texas Legislative
DOC_0000706   Texas Senate   3/26/2019                                                                                                             CSSB_9_v2.pdf
                                         (PDF)                                                                                                                                     Product; Legislative    Council for legislator's use.




                                                                                                                                                                                                           Correspondence between legislator's staff and
                                                                                                  Katherine Engelauf (State
                                         MS Office (2016)                                                                                          FinalBackgroundRequestSB9.                              Senate Research Center that provides a
DOC_0000707   Texas Senate   3/12/2019                                                           Affairs Staffer); Elle Carnley                                                    Legislative
                                         Word                                                                                                      docx                                                    Statement of Purpose for SB9 to be used in bill
                                                                                                             (SRC)
                                                                                                                                                                                                           analysis.




                                                                                                                                                                                                           Correspondence between legislator's staff and
                                                                                                  Katherine Engelauf (State
                                         MS Office (2016)                                                                                                                                                  Senate Research Center that provides a
DOC_0000708   Texas Senate   3/12/2019                                                           Affairs Staffer); Elle Carnley                    FinalBackgroundSB9.docx         Legislative
                                         Word                                                                                                                                                              Statement of Purpose for SB9 to be used in bill
                                                                                                             (SRC)
                                                                                                                                                                                                           analysis.




                                         Adobe Acrobat                                                                                                                             Attorney Client; Work   Draft of SB9 prepared by Texas Legislative
DOC_0000710   Texas Senate   4/15/2019                                                                                                             HallZeroTapeAm.pdf
                                         (PDF)                                                                                                                                     Product; Legislative    Council for legislator's use.




                                                                                                                                                                                                           Notes and talking points, prepared for
                                         MS Office (2016)
DOC_0000712   Texas Senate   4/13/2019                                                                                                             Interview_Notes.docx            Legislative             legislator's use at interview, regarding election
                                         Word
                                                                                                                                                                                                           fraud and voting legislation, SB9 in particular.




                                                                                                                                                                                                           Draft script written in preparation of legislator's
                                         MS Office (2016)
DOC_0000713   Texas Senate   3/24/2019                                                                                                             NEW CSSB 9 LAYOUT.docx          Legislative             layout of CSSB9 during committee hearing that
                                         Word
                                                                                                                                                                                                           reveals mental impressions.




                                                                                                                                                                                                           Typed notes, prepared for legislator's use,
                                         MS Office (2016)                                                                                                                                                  summarizing pending election legislation,
DOC_0000714   Texas Senate   3/13/2019                                                                                                             Other_Elec_1p.docx              Legislative
                                         Word                                                                                                                                                              including SB901, SB902, and SB903, that
                                                                                                                                                                                                           reveals legislator's mental impressions.




                                                                                                                                                                                                           Correspondence between Office of Attorney
                                                             Re: Disability                                                                                                                                General, the Lt. Governor's offfice, and
                                         Microsoft Outlook                     White, Jonathan                                                    File name omitted because it     Attorney Client; Work
DOC_0000715   Texas Senate   3/16/2019                       Rights Concerns                        Alix Morris (Lt. Gov.)        Drew Tedford                                                             legislative staff, providing legal advice on ADA
                                         Message Mail                              (OAG)                                                         contains privileged information   Product; Legislative
                                                             on SB 9                                                                                                                                       and HIPPA compliance, that reveal's legislator's
                                                                                                                                                                                                           mental impressions.




                                                                                                                                                                                                           Draft script written in preparation of legislator's
                                         MS Office (2016)
DOC_0000716   Texas Senate   4/9/2019                                                                                                              SB 9 Floor Layout.docx          Legislative             layout of SB9 on the Senate floor that reveals
                                         Word
                                                                                                                                                                                                           mental impressions.




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ID Number     Custodian        Date       Application       Subject          Author                       To                 CC          Filename                         Claim              Privilege Statement




                                         Adobe Acrobat                                                                                                                            Draft of SB9 that reveals legislator's mental
DOC_0000717   Texas Senate   7/30/2019                                                                                            SB00009E.pdf                  Legislative
                                         (PDF)                                                                                                                                    impressions.




                                                                                                                                                                                  Typed notes, prepared for legislator's use, that
                                         MS Office (2016)               Halee Sanderson
DOC_0000718   Texas Senate   4/2/2019                                                                                             SB9 1 pager.docx              Legislative       provides a one-page summary of SB9 and reveals
                                         Word                           (Hughes Staffer)
                                                                                                                                                                                  legislator's mental impressions.




                                                                                                                                                                                  Typed notes, prepared for legislator's use, that
                                         MS Office (2016)
DOC_0000719   Texas Senate   3/12/2019                                                                                            SB9_1P.docx                   Legislative       provides a one-page summary of SB9 and reveals
                                         Word
                                                                                                                                                                                  legislator's mental impressions. .




                                                                                                                                                                                  Typed notes, prepared for legislator's use, that
                                         MS Office (2016)
DOC_0000721   Texas Senate   4/16/2019                                                                                            SB9_Chart.docx                Legislative       idnetifies voter assistance laws in Texas,
                                         Word
                                                                                                                                                                                  revealing mental impressions.




                                         Adobe Acrobat                                                                                                                            Draft of SB901 that reveals legislator's mental
DOC_0000722   Texas Senate   7/30/2019                                                                                            SB00901E.pdf                  Legislative
                                         (PDF)                                                                                                                                    impressions.




                                         Adobe Acrobat                                                                                                                            Draft of SB903 that reveals legislator's mental
DOC_0000724   Texas Senate   7/30/2019                                                                                            SB00903E.pdf                  Legislative
                                         (PDF)                                                                                                                                    impressions.




                                                                                                                                                                                  Typed notes, prepared for legislator's use, that
                                         MS Office (2016)                                                                                                                         compiles relevant statutes for consideration
DOC_0000725   Texas Senate   4/13/2019                                                                                            Statutes_for_Reference.docx   Legislative
                                         Word                                                                                                                                     during the drafting process, revealing
                                                                                                                                                                                  legislator's mental impressions.




                                         Adobe Acrobat                                                                                                                            Texas Ethics Commission report considered by
DOC_0000726   Texas Senate   5/6/2019                                                                                             Torres_Miller.pdf             Legislative
                                         (PDF)                                                                                                                                    Legislator during SB9 drafting process.




                                                                                                                                                                                  Correspondence between legislator and staff
                                         JPEG File                       Senator Bryan
DOC_0000727   Texas Senate   1/12/2022                                                          Hope Shelton (Hughes GC)          IMG_4622.jpg                  Legislative       regarding proposed amendment to unspecified
                                         Interchange                        Hughes
                                                                                                                                                                                  elections bill.




                                                                                                                                                                                  Correspondence between legislator's staff
                                         Portable Network                Courtney Smith
DOC_0000728   Texas Senate   1/12/2022                                                                                            IMG_4623.PNG                  Legislative       regarding proposed amendment to unspecified
                                         Graphics Format              (State Affairs Staffer)
                                                                                                                                                                                  elections bill.




                                                                                                                                                                                  Attachment to correspondence between
                                         Portable Network                Courtney Smith
DOC_0000729   Texas Senate   1/12/2022                                                                                            IMG_4624.PNG                  Legislative       legislator's staff regarding proposed amendment
                                         Graphics Format              (State Affairs Staffer)
                                                                                                                                                                                  to unspecified elections bill.




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                                                                                                                                                                                 Attachment to correspondence between
                                         Portable Network                Courtney Smith
DOC_0000730   Texas Senate   1/12/2022                                                                                          IMG_4625.PNG      Legislative                    legislator's staff regarding proposed amendment
                                         Graphics Format              (State Affairs Staffer)
                                                                                                                                                                                 to unspecified elections bill.




                                                                                                                                                                                 Correspondence between legislator's staff
                                         JPEG File                       Courtney Smith
DOC_0000731   Texas Senate   1/12/2022                                                        Hope Shelton (Hughes GC)          IMG_4626.jpg      Legislative                    regarding proposed meeting with constituent
                                         Interchange                  (State Affairs Staffer)
                                                                                                                                                                                 group.




                                                                                                                                                                                 Correspondence between legislaor and Office of
                                                                                                                                                                                 the Attorney General staff related to solicited
                                         Portable Network               Jonathan White                                                            Attorney Client; Work
DOC_0000734   Texas Senate   1/12/2022                                                                                          IMG_4629.PNG                                     information about incidents of voting
                                         Graphics Format                    (OAG)                                                                 Product; Legislative
                                                                                                                                                                                 misconduct, revealing legislator's mental
                                                                                                                                                                                 impressions.




                                                                        Courtney Smith
                                                                                                                                                                                 Correspondence between legislator and
                                         Portable Network                (State Affairs
DOC_0000735   Texas Senate   1/12/2022                                                          Senator Byran Hughes            IMG_4630.PNG      Legislative                    legislative staff regarding information being
                                         Graphics Format                 Staffer); Hope
                                                                                                                                                                                 circulated in the district about SB7.
                                                                      Shelton (Hughes GC)




                                                                                                                                                                                 Correspondence between legislator and
                                         Portable Network                Courtney Smith
DOC_0000736   Texas Senate   1/12/2022                                                          Senator Byran Hughes            IMG_4631.PNG      Legislative                    legislative staff regarding proposed amendments
                                         Graphics Format              (State Affairs Staffer)
                                                                                                                                                                                 to SB7.




                                                                                                                                                                                 Correspondence between legislator and staff
                                         Portable Network                 Hope Shelton
DOC_0000737   Texas Senate   1/12/2022                                                          Senator Byran Hughes            IMG_4633.PNG      Legislative                    regarding pending legislation on voter
                                         Graphics Format                  (Hughes GC)
                                                                                                                                                                                 assistance.




                                         JPEG File                        Hope Shelton                                                                                           Correspondence among legislative staffers
DOC_0000738   Texas Senate   1/12/2022                                                                                          IMG_4634.jpg      Legislative
                                         Interchange                      (Hughes GC)                                                                                            regarding possible amendments to SB1.




                                                                                                                                                                                 Correspondence between legislator and staff
                                         JPEG File                       Senator Bryan
DOC_0000739   Texas Senate   1/12/2022                                                                                          IMG_4635.jpg      Legislative                    regarding pending legislation on voter
                                         Interchange                        Hughes
                                                                                                                                                                                 assistance.




                                                                                                                                                                                 Correspondence between legislaor and Office of
                                                                                                                                                                                 the Attorney General staff related to solicited
                                         JPEG File
DOC_0000740   Texas Senate   1/12/2022                                                          Jonathan White (OAG)            IMG_4636.jpg      Attorney Client; Legislative   information about incidents of voting
                                         Interchange
                                                                                                                                                                                 misconduct, revealing legislator's mental
                                                                                                                                                                                 impressions.




                                                                                                                                                                                 Correspondence between legislator and
                                         Portable Network                Senator Bryan
DOC_0000742   Texas Senate   1/12/2022                                                                                          IMG_4639.PNG      Legislative                    legislative staff regarding pending legislation on
                                         Graphics Format                    Hughes
                                                                                                                                                                                 voter assistance.




                                                                                                                                                                                 Correspondence between legislator and
                                         Portable Network                Senator Bryan
DOC_0000743   Texas Senate   1/12/2022                                                                                          IMG_4640.PNG      Legislative                    legislative staff regarding pending legislation on
                                         Graphics Format                    Hughes
                                                                                                                                                                                 voter assistance.




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                                                                                                                                                             Correspondence between legislative staffers on
                                         JPEG File
DOC_0000744   Texas Senate   1/12/2022                                                                                   IMG_4641.jpg      Legislative       whether legsilator would sponsor elections
                                         Interchange
                                                                                                                                                             legislation.




                                         Portable Network             Hope Shelton                                                                           Correspondence between legislator and staff
DOC_0000745   Texas Senate   1/12/2022                                                                                   IMG_4642.PNG      Legislative
                                         Graphics Format              (Hughes GC)                                                                            regarding pending voter ID legislation.




                                                                                                                                                             Correspondence between legislative staffers
                                         Portable Network             Hope Shelton
DOC_0000747   Texas Senate   1/12/2022                                                                                   IMG-4611.PNG      Legislative       regarding an internal memorandum on voting
                                         Graphics Format              (Hughes GC)
                                                                                                                                                             assistance laws in Texas.




                                                                                                                                                             Correspondence between legislator and staff
                                         JPEG File                    Senator Bryan
DOC_0000748   Texas Senate   1/12/2022                                                                                   IMG-4612.jpg      Legislative       regarding existing voter assistance laws in
                                         Interchange                     Hughes
                                                                                                                                                             Texas.




                                                                                                                                                             Correspondence between legislator and
                                         JPEG File                    Senator Bryan
DOC_0000750   Texas Senate   1/12/2022                                                                                   IMG-4614.jpg      Legislative       legislative staff regarding existing voter
                                         Interchange                     Hughes
                                                                                                                                                             assistance laws in Texas.




                                                                                                                                                             Correspondence between legislator and
                                         JPEG File                    Senator Bryan
DOC_0000751   Texas Senate   1/12/2022                                                                                   IMG-4615.jpg      Legislative       legislative staff related to vote-by-mail systems
                                         Interchange                     Hughes
                                                                                                                                                             adopted by other states.




                                                                                      Drew Tedford(State Affairs
                                                                                                                                                             Correspondence between legislator and
                                         JPEG File                    Senator Bryan   Comm. Dir); Jordan Berry;
DOC_0000755   Texas Senate   1/12/2022                                                                                   IMG-4619.jpg      Legislative       legislative staff regarding pending legislation on
                                         Interchange                     Hughes        Matt Murdoch (A. Paxton
                                                                                                                                                             voter assistance.
                                                                                              Staffer)




                                                                                      Drew Tedford(State Affairs
                                                                                                                                                             Correspondence between legislator and staff
                                         Portable Network             Senator Bryan   Comm. Dir); Jordan Berry;
DOC_0000756   Texas Senate   1/12/2022                                                                                   IMG-4620.PNG      Legislative       regarding pending legislation on voter
                                         Graphics Format                 Hughes       Matt Murdoch; (A. Paxton
                                                                                                                                                             assistance.
                                                                                              Staffer)




                                                                                      Drew Tedford (State Affairs
                                                                                                                                                             Correspondence between legislator and
                                         Portable Network             Senator Bryan   Comm. Dir); Jordan Berry;
DOC_0000757   Texas Senate   1/12/2022                                                                                   IMG-4621.PNG      Legislative       legislative staff regarding pending legislation on
                                         Graphics Format                 Hughes        Matt Murdoch (A. Paxton
                                                                                                                                                             voter assistance.
                                                                                               Staffer)




                                                                                                    Page 66 of 66                                                                                  App224
EXHIBIT K




            App225
Chris Dodge

From:                 Chris Dodge
Sent:                 Monday, May 2, 2022 9:05 AM
To:                   Aaron Barnes; Eric Hudson; Jeff White; Kathleen Hunker; Jack DiSorbo; Zachary Berg; Ari Herbert; Leif
                      Olson
Cc:                   acepedaderieux@aclu.org; aharris@aclutx.org; asavitzky@aclu.org; bdimmick@aclu.org;
                      berryp@brennan.law.nyu.edu; chostetler@freespeechforpeople.org; dana.paikowsky@usdoj.gov;
                      daniel.freeman@usdoj.gov; elijah.watkins@stoel.com; gspencer@naacpldf.org; Graham White;
                      gyeomans@naacpldf.org; hani@texascivilrightsproject.org; Haley Costello Essig;
                      jamunson@jenner.com; Jason.Kanterman@friedfrank.com; jennifer.yun@usdoj.gov;
                      Jlongoria@MALDEF.org; johnhardin@perkinscoie.com; jvattamala@aaldef.org; ldavis@drtx.org;
                      liz.ryan@weil.com; lostrom@drtx.org; lromano@disabilityrightstx.org; lzaragoza@naacpldf.org;
                      michael.keats@friedfrank.com; michael.stewart3@usdoj.gov; mimi@texascivilrightsproject.org; Mike
                      Jones; Marcos Mocine-McQueen; morales-doyles@brennan.law.nyu.edu; Noah Baron;
                      nperales@MALDEF.org; rebecca.martin@friedfrank.com; ryan@texascivilrightsproject.org;
                      sarah.stewart@reedsmith.com; skumar@aclutx.org; slakin@aclu.org; slorenzo-giguere@aaldef.org;
                      sosaki@aclu.org; sweren-beckere@brennan.law.nyu.edu; tbuser-clancy@aclutx.org;
                      umittal@jenner.com; Uzoma Nkwonta; wakschlag@thearc.org; zachary@texascivilrightsproject.org
Subject:              RE: LUPE v. Abbott - production in response to subpoenas


Aaron,

Thank you for speaking with me last Thursday. During the call we discussed several issues concerning the Legislators’
privilege log, as well the status of the State’s search for responsive documents to our RFPs.

Legislators’ Privilege Log

With respect to the privilege log, we first discussed the basis for the Legislators’ assertion of legislative privilege in this
case, as well as the scope of waiver under the legislative privilege. You stated that the Legislators’ view is not changed
from our earlier correspondence, including an email previously sent to the Department of Justice on March 17, which
you have now sent us. We appreciate you making clear that your position has not changed. As you agreed several times
during the call, it appears that the parties have fundamentally different views about the legal parameters governing the
legislative privilege that are not likely to be resolved through further conferring. We are therefore likely to raise this
issue with the Court shortly.

We next discussed the Legislators’ assertion of attorney‐client privilege over documents shared with other government
agencies, including the Office of Attorney General (“OAG”) and the Lieutenant Governor’s office. You explained that an
attorney‐client relationship exists when legislators reach out to OAG for legal guidance on legislation and that your
office does not claim a blanket assertion over communications between legislators and OAG. I asked if you were aware
of any such communications produced to date in this case and you indicated you would have to look. Having reviewed
the Legislators’ productions to date, we are likewise not aware of any. I also noted that the documents over which the
Legislators are claiming attorney‐client privilege typically appear to concern requests for factual information by
legislators, rather than solicitation of legal advice. You expressed a willingness to revisit certain attorney‐client privilege
assertions, but we mutually agreed that this would not likely be useful where disclosure of the document turned on a
parallel legislative privilege claim, given the parties’ disagreement on that issue.

We also briefly discussed the Legislators’ claim of work product protection and investigative privilege. On the former, I
explained our view that the Legislators cannot claim work product protection because: (1) They are not parties to the
litigation and, due to legislative immunity, cannot be parties to the litigation; and (2) that the materials at issue were not

                                                               1
                                                                                                            App226
created primarily for purposes of litigation, but rather for purposes of enacting legislation. You noted that the prospect
of litigation was foreseeable to the Legislators at the time these materials were being created, but again agreed to
revisit certain work product claims where there was no parallel legislative privilege claim.

Finally, as to investigative privilege, you acknowledged that these assertions were not based on that claim that the
Legislators themselves were undertaking investigative activity. Instead, you indicated these claims were based on the
underlying document being part of an OAG investigation or referral. As I explained, however, it appears that the majority
of your investigative privilege claims concern ‘[c]orrespondence from constituents to a legislator’s staff to provide
solicited information regarding incidents of voting misconduct.’ E.g., DOC_0001056. I explained our view that mere
correspondence between a constituent and a legislator about alleged voter misconduct does not constitute an
investigative file or activity. You again agreed to revisit some of these claims where there was no parallel assertion of
legislative privilege.

We appreciate your willingness to revisit certain attorney‐client privilege, work product, and investigative privilege
claims that do not entail a parallel claim of legislative privilege. However, having looked again at your log, it is apparent
that every entry includes a legislative privilege claim, including the attorney‐client privilege, work product, and
investigative privilege claims that we believe to be deficient. It appears that the parties therefore agree that it would not
be useful to revisit these claims at this time, as each document would still turn on resolving the parties’ disagreement
over legislative privilege. To be efficient, we intend to raise these issues with the Court in conjunction with our
legislative privilege argument. To the extent the Court does not fully resolve those issues, we remain willing to confer
after the parties resolve their dispute over legislative privilege.

State’s Production of Documents re LULAC Plaintiffs’ RFPs

You provided us an update on the status of the State’s search for documents in response to our proposed search terms.
You confirmed that the State had begun reviewing documents responsive to our search terms for Christina Adkins, Kristi
Hart, Keith Ingram, Jose Esparaza, and Ruth Hughs, and John Scott. You also indicated that the State would make an
initial production from these custodians next week and complete production shortly ahead of the close of fact discovery.
We look forward to receiving those productions.

With respect to the Election Internet custodian, you explained that our narrowed search strings continued to hit on a
large volume of documents. However, you were not able to tell me the hit count for those search strings, which limits
our ability to propose narrower alternatives. I asked if you could provide us with hit counts for each of the three search
strings we sent you on April 4 and you indicated that you would attempt to do so by early this week.

Thank you again for taking the time to speak and please do not hesitate to call me to discuss any of the issues above.

Best,

Chris


Christopher D. Dodge*
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                                                                                                          App227
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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Aaron Barnes <Aaron.Barnes@oag.texas.gov>
Sent: Wednesday, April 27, 2022 4:27 PM
To: Chris Dodge <cdodge@elias.law>; Eric Hudson <Eric.Hudson@oag.texas.gov>; Jeff White
<Jeff.White@oag.texas.gov>; Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo
<Jack.DiSorbo@oag.texas.gov>; Zachary Berg <Zachary.Berg@oag.texas.gov>; Ari Herbert <Ari.Herbert@oag.texas.gov>;
Leif Olson <Leif.Olson@oag.texas.gov>
Cc: acepedaderieux@aclu.org; aharris@aclutx.org; asavitzky@aclu.org; bdimmick@aclu.org;
berryp@brennan.law.nyu.edu; chostetler@freespeechforpeople.org; dana.paikowsky@usdoj.gov;
daniel.freeman@usdoj.gov; elijah.watkins@stoel.com; gspencer@naacpldf.org; Graham White <gwhite@elias.law>;
gyeomans@naacpldf.org; hani@texascivilrightsproject.org; Haley Costello Essig <hessig@elias.law>;
jamunson@jenner.com; Jason.Kanterman@friedfrank.com; jennifer.yun@usdoj.gov; Jlongoria@MALDEF.org;
johnhardin@perkinscoie.com; jvattamala@aaldef.org; ldavis@drtx.org; liz.ryan@weil.com; lostrom@drtx.org;
lromano@disabilityrightstx.org; lzaragoza@naacpldf.org; michael.keats@friedfrank.com; michael.stewart3@usdoj.gov;
mimi@texascivilrightsproject.org; Mike Jones <mjones@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>;
morales‐doyles@brennan.law.nyu.edu; Noah Baron <nbaron@elias.law>; nperales@MALDEF.org;
rebecca.martin@friedfrank.com; ryan@texascivilrightsproject.org; sarah.stewart@reedsmith.com; skumar@aclutx.org;
slakin@aclu.org; slorenzo‐giguere@aaldef.org; sosaki@aclu.org; sweren‐beckere@brennan.law.nyu.edu; tbuser‐
clancy@aclutx.org; umittal@jenner.com; Uzoma Nkwonta <unkwonta@elias.law>; wakschlag@thearc.org;
zachary@texascivilrightsproject.org
Subject: RE: LUPE v. Abbott ‐ production in response to subpoenas

Counsel,

Thank you for your message. With regard to the first topic of your email, we previously
addressed and clarified the “roughly 1,700” documents that you reference in an email that we
sent to Haley Costello Essig on February 24, which you will find attached. Elias attorneys
Uzoma Nkwonta, Kassi Yukevich, Graham White, Marcos Mocine-McQueen, Noah Baron, and
Mike Jones were also included on that email. As we explained then, the 1,700 documents were
those that we collected from the subpoena recipients, not the number of documents that were
identified as responsive to the requests. We hope this explanation eliminates the need to meet
and confer on the documents produced in response to the legislative subpoenas.

With regard to the privilege issues about which you wish to confer, we are available to meet
tomorrow, April 28, any time after 3:00pm central. Please let us know what specific time works
best for your team. Additionally, we would like to take this opportunity to also confer with you
about the email we received from Uzoma Nkwonta on April 4 regarding Private Plaintiffs’ search
terms (also attached). Please let us know if you will be prepared to address both issues when we
speak tomorrow afternoon. Thank you.

Best regards,

J. Aaron Barnes
Special Counsel
Special Litigation Unit
OFFICE OF THE ATTORNEY GENERAL
(512) 936-2021
aaron.barnes@oag.texas.gov
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                                                                                                                                 App228
This message may be confidential and/or privileged under Government Code sections 552.101,
552.103, 552.107, and 552.111 and should not be disclosed without the express authorization of
the Attorney General.

From: Chris Dodge <cdodge@elias.law>
Sent: Wednesday, April 27, 2022 2:29 PM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: elijah.watkins@stoel.com; nperales <nperales@MALDEF.org>; Graham White <gwhite@elias.law>;
gyeomans@naacpldf.org; Eliza Sweren‐Becker <sweren‐beckere@brennan.law.nyu.edu>; michael.stewart3@usdoj.gov;
dana.paikowsky@usdoj.gov; lromano@disabilityrightstx.org; liz.ryan@weil.com; Keats, Michael
<michael.keats@friedfrank.com>; chostetler@freespeechforpeople.org; wakschlag@thearc.org; slakin@aclu.org;
asavitzky@aclu.org; tbuser‐clancy@aclutx.org; Patrick Berry <berryp@brennan.law.nyu.edu>; Sean Morales‐Doyle
<morales‐doyles@brennan.law.nyu.edu>; hani@texascivilrightsproject.org; daniel.freeman@usdoj.gov; lzaragoza
<lzaragoza@naacpldf.org>; Zachary TX <zachary@texascivilrightsproject.org>; Uzoma Nkwonta <unkwonta@elias.law>;
Haley Costello Essig <hessig@elias.law>; G Spencer <gspencer@naacpldf.org>; Stewart, Sarah Cummings
<sarah.stewart@reedsmith.com>; Martin, Rebecca <rebecca.martin@friedfrank.com>; Jason Kanterman
<Jason.Kanterman@friedfrank.com>; bdimmick@aclu.org; jennifer.yun@usdoj.gov; Jlongoria@MALDEF.org;
acepedaderieux@aclu.org
Subject: RE: LUPE v. Abbott ‐ production in response to subpoenas

Counsel,

Please provide a time to confer on this issue by close of business tomorrow. Otherwise we will have no choice but to
raise the matter with the Court.

Best,

Chris

Christopher D. Dodge*
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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Chris Dodge
Sent: Monday, April 25, 2022 3:28 PM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: elijah.watkins@stoel.com; nperales <nperales@MALDEF.org>; Graham White <gwhite@elias.law>;
gyeomans@naacpldf.org; Eliza Sweren‐Becker <sweren‐beckere@brennan.law.nyu.edu>; michael.stewart3@usdoj.gov;
                                                                           4
                                                                                                                                 App229
dana.paikowsky@usdoj.gov; lromano@disabilityrightstx.org; liz.ryan@weil.com; Keats, Michael
<michael.keats@friedfrank.com>; chostetler@freespeechforpeople.org; wakschlag@thearc.org; slakin@aclu.org;
asavitzky@aclu.org; tbuser‐clancy@aclutx.org; Patrick Berry <berryp@brennan.law.nyu.edu>; Sean Morales‐Doyle
<morales‐doyles@brennan.law.nyu.edu>; hani@texascivilrightsproject.org; daniel.freeman@usdoj.gov; lzaragoza
<lzaragoza@naacpldf.org>; Zachary TX <zachary@texascivilrightsproject.org>; Uzoma Nkwonta <unkwonta@elias.law>;
Haley Costello Essig <hessig@elias.law>; G Spencer <gspencer@naacpldf.org>; Stewart, Sarah Cummings
<sarah.stewart@reedsmith.com>; Martin, Rebecca <rebecca.martin@friedfrank.com>; Jason Kanterman
<Jason.Kanterman@friedfrank.com>; bdimmick@aclu.org; jennifer.yun@usdoj.gov; Jlongoria@MALDEF.org;
acepedaderieux@aclu.org
Subject: RE: LUPE v. Abbott ‐ production in response to subpoenas

Counsel,

Please let me know as soon as possible when you are able to confer on the matter below.

Thanks,

Chris

Christopher D. Dodge*
Counsel
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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Chris Dodge
Sent: Wednesday, April 20, 2022 1:02 PM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: elijah.watkins@stoel.com; nperales <nperales@MALDEF.org>; Graham White <gwhite@elias.law>;
gyeomans@naacpldf.org; Eliza Sweren‐Becker <sweren‐beckere@brennan.law.nyu.edu>; michael.stewart3@usdoj.gov;
dana.paikowsky@usdoj.gov; lromano@disabilityrightstx.org; liz.ryan@weil.com; Keats, Michael
<michael.keats@friedfrank.com>; chostetler@freespeechforpeople.org; wakschlag@thearc.org; slakin@aclu.org;
asavitzky@aclu.org; tbuser‐clancy@aclutx.org; Patrick Berry <berryp@brennan.law.nyu.edu>; Sean Morales‐Doyle
<morales‐doyles@brennan.law.nyu.edu>; hani@texascivilrightsproject.org; daniel.freeman@usdoj.gov; lzaragoza
<lzaragoza@naacpldf.org>; Zachary TX <zachary@texascivilrightsproject.org>; Uzoma Nkwonta <unkwonta@elias.law>;
Haley Costello Essig <hessig@elias.law>; G Spencer <gspencer@naacpldf.org>; Stewart, Sarah Cummings
<sarah.stewart@reedsmith.com>; Martin, Rebecca <rebecca.martin@friedfrank.com>; Jason Kanterman
<Jason.Kanterman@friedfrank.com>; bdimmick@aclu.org; jennifer.yun@usdoj.gov; Jlongoria@MALDEF.org; Chris
Dodge <cdodge@elias.law>; acepedaderieux@aclu.org
Subject: LUPE v. Abbott ‐ production in response to subpoenas

Counsel,


                                                                           5
                                                                                                                                 App230
I write to you about the production of materials in response to our December 15 subpoenas to Senator Hughes, Senator
Bettencourt, Representative Cain and Representative Murr. On February 3, you informed us that there were “roughly
1,700” responsive documents to our subpoenas. But to date we have only received about 440 documents. Your March
14 privilege log reflects that you are withholding roughly an additional 730 documents based on various privilege claims.
That still leaves a gap of over 500 responsive documents that are not accounted for. Please let us know when the
Legislators intend to produce these materials to us.

Please also let us also know when you are available to meet and confer this week or early next week regarding the
Legislators’ privilege log. Having carefully reviewed the log, we believe that the majority of entries reflect overbroad or
inappropriate claims of privilege, as we explained in our earlier correspondence. E.g., Pls.’ January 7 conferral letter; Pls.’
February 22 deficiency letter. In the interest narrowing areas of dispute, however, we ask that you please be prepared
to confer over the following specific categories of asserted privilege:

         Legislative privilege over documents reflecting the Legislators’ reasons for enacting SB 1 (e.g., DOC_0000265);
         Legislative privilege over documents and communications shared with non‐legislators or non‐legislative staff
          (e.g., DOC_0000250);
         Attorney‐client privilege and/or work product protection over documents and communications shared with
          third‐parties (e.g., DOC_0000840); and
         Investigative privilege (e.g., DOC_0000824).

Feel free to reach out to me with any questions or concerns and I look forward to discussing these issues with you soon.

Best regards,

Chris

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Counsel
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cdodge@elias.law

*Admitted in MA and NY. Practicing under the supervision of DC bar members.

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and delete it from your system.




                                                                           6
                                                                                                                                 App231
EXHIBIT L




            App232
Chris Dodge

From:                 Stewart, Michael (CRT) <Michael.Stewart3@usdoj.gov>
Sent:                 Friday, March 25, 2022 4:48 PM
To:                   Eric Hudson; Jack DiSorbo; Leif Olson; Aaron Barnes; Jeff White; Kathleen Hunker; Patrick Sweeten;
                      Will Thompson
Cc:                   Dellheim, Richard (CRT); Freeman, Daniel (CRT); Yun, Jennifer (CRT); Paikowsky, Dana (CRT)
Subject:              RE: LUPE v. Abbott - Legislative Privilege Log
Attachments:          Leg Priv Designation Questions Mar 25 2022.pdf


Eric,

Thank you for your response, and we appreciate your willingness to confer on this issue. We have reviewed the case
citations you have provided, which (as you suggested) anticipated the issues of concern to us. After considering those
cases, we do not believe they are consistent with the weight of authority in the Fifth Circuit on the scope of legislative
privilege. In the interest of expediting these discussions, we provide additional detail on our rationale below, but we
would also be happy to meet and confer if it could resolve some of these issues. If, however, you intend to press the
claim of legislative privilege with respect to logged documents shared with third parties regardless of any such
discussions, please let us know so we can consider appropriate next steps.

Persuasive authority establishes that any legislative privilege is waived when a legislator communicates with a third
party, including members of the executive branch or a private individual. See Perez v. Perry, No. 5:11‐CV‐360, 2014 WL
106927, at *2 (W.D. Tex. Jan. 8, 2014) (three‐judge court) (“To the extent that any individual asserting the [legislative]
privilege has had communications or correspondence with any outside party or entity, such communications or
correspondence waives the privilege as to the content of those communications.”); Gilby v. Hughs, 471 F. Supp. 3d 763,
767 (W.D. Tex. 2020) (“To the extent that legislators or legislative staff communicated with any outsider (e.g. non‐
legislators, non‐legislative staff) any legislative privilege is waived as to the contents of those specific communications.”);
see also TitleMax of Texas, Inc. v. City of Dallas, No. 3:21‐CV‐1040‐S‐BN, 2022 WL 326566, at *6 (N.D. Tex. Feb. 3, 2022);
Jackson Mun. Airport Auth. v. Bryant, No. 3:16‐CV‐246, 2017 WL 6520967, at *7 (S.D. Miss. Dec. 19, 2017) (collecting
cases).

To the extent cases such as Thompson and Puente Arizona have concluded differently, their reasoning does not appear
to have gained traction in the Fifth Circuit. Rather, the Fifth Circuit has directed that any state legislative privilege “must
be strictly construed and accepted only to the very limited extent that permitting a refusal to testify or excluding
relevant evidence has a public good transcending the normally predominant principle of utilizing all rational means for
ascertaining the truth.” Jefferson Cmty. Health Care Centers, Inc. v. Jefferson Par. Gov’t, 849 F.3d 615, 624 (5th Cir.
2017) (quoting Perez, 2014 WL 106927 at *1). We also note that the out‐of‐circuit decision in Puente Arizona appears to
have at least in part elided the difference between legislative immunity and legislative privilege (relying on Almonte v.
City of Long Beach, 478 F.3d 100 (2d Cir. 2007), which construed the scope of legislative immunity from suit), as well as
the difference between the legislative privilege for members of Congress under the Speech and Debate Clause and the
common‐law qualified privilege for state legislators, see Bryant, 2017 WL 6520967 at *8 (describing this flaw in Puente
Arizona’s reasoning), and therefore is not likely to be persuasive.

The attached document identifies those documents we believe are or may be subject to this waiver. For some
documents identified below, we believe additional information may help resolve the question. Furthermore, while
based on a review of the privilege log we believe the waiver may apply to some of Senator Bettencourt’s documents as
well, we have omitted those from the attached list because we did not issue a subpoena to Senator Bettencourt.

Please also note that, while we have not included on the list all documents with the listed custodian “Texas Senate,” we
do not know which individual Senator is asserting the legislative privilege over those documents. These entries raise the

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additional concern that the legislative privilege is “a personal one and may be waived or asserted by each individual
legislator,” Perez, 2014 WL 106927, at *1. We do not understand the legislative body as a whole to have standing to
assert the privilege, nor to assert it on any particular senator’s behalf. If these documents all pertain to a particular
Senator who is claiming the privilege, please let us know, as this may help resolve questions as to these documents.

We also recognize that some of these documents are subject to claims of other privileges, such as Attorney‐Client
privilege. To that end, and in connection with the claim of legislative privilege, it would be helpful to know further
information about a subset of the listed documents; while we are happy to discuss these questions at a meet‐and‐confer
if more expedient, in the interest of allowing everyone to come prepared, we describe them below:

(a) Who is the third party (or third parties) described in DOC_0000250‐252?
(b) What is the “organization” (or organizations) described in PDOC_00003286, PDOC_00003326, PDOC_00003366,
    PDOC_00003406, PDOC_00003446, and PDOC_00004669?
(c) PDOC_00003887 and PDOC_00003889 describe an analysis “provided to Representative Murr’s office.” What is the
    source of this analysis?
(d) DOC_0000352 is described as a draft letter from Senator Hughes to Keith Ingram. Can you confirm this letter was
    not sent, or if it was, that the version sent to Mr. Ingram has been produced?
(e) DOC_0000347 is entitled “Gregg Co Press Conference.” To the extent this document relates to a press conference
    or speech delivered to constituents or as political rather than legislative activity, it would not be protectable under
    the legislative privilege. See Texas v. Holder, 2012 WL 13070060, at *2. Can you provide more information
    concerning the context in which these talking points were delivered?
         a. Similarly, DOC_0000641 is described as draft correspondence between a legislator and constituents, the file
             name of DOC_000068 indicates this is a draft response to Texas Monthly, and the file names of
             DOC_0000712‐713 indicate these are preparatory materials for a media interview. Could you identify the
             legislator claiming privilege over these documents, and clarify how these relate to legislative activity?
(f) DOC_0000375 is described as correspondence between Senator Hughes and a third party not employed by the
    legislature. Who is this third party?
(g) For DOC_0000582‐585 and DOC_0000605‐607, the legislator to whom these documents relate is unclear. Could you
    identify the legislator asserting privilege over these documents?
(h) The log indicates a claim of attorney‐client privilege over DOC_0000619, DOC_0000715, DOC_0000734, and
    DOC_0000740, and work product privilege over the first three of these documents, in addition to legislative
    privilege. The only attorney identified on the log in connection with these documents is Jonathan White. Are these
    claims of attorney‐client and work product privilege based on an assertion that Mr. White represented the
    legislators and staff who were party to these communications at the time they were made?

Please let us know when you are available to meet and confer if it would be helpful to do so.

Regards,
Mike

From: Eric Hudson <Eric.Hudson@oag.texas.gov>
Sent: Thursday, March 17, 2022 6:42 PM
To: Stewart, Michael (CRT) <Michael.Stewart3@usdoj.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>; Leif Olson
<Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>;
Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Patrick Sweeten <Patrick.Sweeten@oag.texas.gov>; Will
Thompson <Will.Thompson@oag.texas.gov>
Cc: Dellheim, Richard (CRT) <Richard.Dellheim@usdoj.gov>; Freeman, Daniel (CRT) <Daniel.Freeman@usdoj.gov>; Yun,
Jennifer (CRT) <Jennifer.Yun@usdoj.gov>; Paikowsky, Dana (CRT) <Dana.Paikowsky@usdoj.gov>
Subject: [EXTERNAL] RE: LUPE v. Abbott ‐ Deficient Legislator Production

Mike,

                                                              2
                                                                                                          App234
Thanks for your email. Can you point to some specific entries that you’d like to discuss so we can make
certain we’re on the same page?

In anticipation of your specific entries, I can say that we read legislative privilege to turn on the nature of
the communication and the relationship between the participants, not necessarily on whether someone
outside the legislative branch was included. For example, the legislative privilege can cover
communications containing information and advice for legislative purposes regardless of whether the
individual providing that information and advice is a member of the legislator’s staff, an executive-branch
official, or an informal advisor. Of course, we are not asserting that all communications between a
legislator and third parties are protected by legislative privilege. However, the inquiry depends on the
facts and circumstances relevant to particular communications. See, e.g., Thompson v. Merrill, No. 2:16-
cv-783, 2020 WL 2545317, at *3 (M.D. Ala. May 19, 2020) (agreeing “that the legislative privilege is not
waived simply because a legislator has communicated with third parties, if the communication was part
of the formulation of legislation”); Puente Arizona v. Arpaio, 314 F.R.D. 664, 670 (D. Ariz. 2016) (rejecting
plaintiffs’ argument “that the state legislative privilege is not applicable here because Pearce’s emails
were sent to and received from third-party attorneys, lobbyists, and constituents”); Texas v. Holder, No.
1:12-cv-128, 2012 WL 13070060, at *4 (D.D.C. June 5, 2012) (“[A] legislator’s request for information to a
State agency regarding pending legislation is subject to the legislative privilege and need not be
produced.”).

We understand that our view is in accord with the way other privileges work. Executive privilege, for
example, extends to certain “communications between White House officials and individuals outside the
Executive Branch, including with individuals in the Legislative Branch.” Assertion of Executive Privilege
Concerning the Dismissal and Replacement of U.S. Attorneys, 31 Op. O.L.C. 1, 5–6 (June 27, 2007),
https://www.justice.gov/olc/file/477046/download.

We’re happy to discuss in more detail after we receive your cites. To the extent you think we’ve
misunderstood or misapplied legislative privilege, please send us any citations or arguments explaining
that position. As always, we appreciate the opportunity to met and confer.

s/Eric Hudson

From: Stewart, Michael (CRT) <Michael.Stewart3@usdoj.gov>
Sent: Tuesday, March 15, 2022 4:30 PM
To: Eric Hudson <Eric.Hudson@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>; Leif Olson
<Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>;
Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Patrick Sweeten <Patrick.Sweeten@oag.texas.gov>; Will
Thompson <Will.Thompson@oag.texas.gov>
Cc: Dellheim, Richard (CRT) <Richard.Dellheim@usdoj.gov>; Freeman, Daniel (CRT) <Daniel.Freeman@usdoj.gov>; Yun,
Jennifer (CRT) <Jennifer.Yun@usdoj.gov>; Paikowsky, Dana (CRT) <Dana.Paikowsky@usdoj.gov>
Subject: RE: LUPE v. Abbott ‐ Deficient Legislator Production

Eric‐

Thank you for sending this privilege log. On initial review, it appears you are seeking to protect communications and
documents between legislators or their staff and several non‐legislative third parties, including (a) non‐legislative third
parties with a “preexisting relationship” with a legislator or legislative office; (b) individuals at the Office of the Attorney
General, including Jonathan White; and (c) individuals at the Secretary of State’s Office, including Keith Ingram. So that
we may evaluate your assertions of privilege, would you please send us citations or a brief description establishing the
bases for your assertion of privilege over these communications with non‐legislative third parties?

Regards,

                                                                3
                                                                                                             App235
Mike

From: Eric Hudson <Eric.Hudson@oag.texas.gov>
Sent: Monday, March 14, 2022 7:15 PM
To: Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>; Haley Costello Essig <hessig@elias.law>; Leif Olson
<Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>;
Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Patrick Sweeten <Patrick.Sweeten@oag.texas.gov>; Will
Thompson <Will.Thompson@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Freeman,
Daniel (CRT) <Daniel.Freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Stewart, Michael (CRT) <Michael.Stewart3@usdoj.gov>; Uzoma Nkwonta
<unkwonta@elias.law>; Kassi Yukevich <kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐
McQueen <mmcqueen@elias.law>; Noah Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: [EXTERNAL] RE: LUPE v. Abbott ‐ Deficient Legislator Production

Good evening, counsel.

Attached please find the privilege log related to each of the subpoenas issued to legislators by the Private Plaintiffs
and the Department of Justice.

Thanks.

s/Eric Hudson

From: Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Sent: Thursday, February 24, 2022 4:24 PM
To: Haley Costello Essig <hessig@elias.law>; Eric Hudson <Eric.Hudson@oag.texas.gov>; Leif Olson
<Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>;
Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Patrick Sweeten <Patrick.Sweeten@oag.texas.gov>; Will
Thompson <Will.Thompson@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Deficient Legislator Production

Haley,

Please allow me to respond on Eric’s behalf. We received your letter regarding your
understanding of the document production in response to the subpoenas to Representatives
Briscoe Cain and Andrew Murr, and Senators Paul Bettencourt and Bryan Hughes. We believe
we can address or clarify your concerns.
                                                            4
                                                                                                      App236
As your letter notes, we collected roughly 1,700 documents from the subpoena recipients. We
think there may be some inadvertent confusion regarding this number. In Eric’s email of
02/03/2022, he said: “We have identified responsive documents (roughly 1,700, as I understand
it), and we are currently conducting a review of those documents.” To clarify, the 1,700 number
refers to documents that we collected from the subpoena recipients, not the number of documents
identified as responsive to the requests. And so although in your letter you express concerns
regarding the proportion of documents produced to responsive documents identified, that
concerns appears to be based on a misunderstanding.

Regarding our production, as your letter notes, we produced 232 documents on February 11,
2022. And then yesterday, February 23, we produced an additional 210 documents, for a grand
total of 442 documents. This sum constitutes all of the responsive documents we have identified
to date that are not subject to privilege. We will continue search thoroughly for documents that
are responsive to the subpoena requests, and will be sure to timely supplement our productions if
necessary.

In addition to the 442 documents that we produced, there is a body of documents that we have
withheld based on the attorney-client privilege, attorney work product, the legislative privilege,
and other applicable privileges. We are diligently working on a privilege log so that you can
evaluate each privilege claim, and we will promptly deliver it. We continue to disagree with your
assertion, Letter p. 2, that it is “improper as a matter of law,” to withhold documents based on
the attorney-client privilege, the legislative privilege, attorney work product, and other
privileges. But after reviewing the privilege log, should you conclude that you believe a privilege
does not exist as applied to certain documents, we would welcome the opportunity to meet and
confer on the subject.

In addition, your letter, at p.2, refers to several specific concerns, such as that attachments may
have been omitted from individual documents included in the production. Just as with the
subject of applicable privileges, we would be happy to confer on any specific topics regarding the
two productions. I’m unable to discern any particular documents of interest from the face of your
letter, but please correct me if I have misunderstood.

We hope that our supplemental production and the explanations provided here are helpful to the
matters you identified in your letter. It is always our intention to work together and
accommodate one another in our pursuit of litigation these cases and coordinating these
hundreds of parties and non-parties. And we will continue to ensure we take the actions
necessary to fully comply with our obligations in connection with the responses to Plaintiff’s
subpoenas.

Sincerely, Jack DiSorbo

---

Jack DiSorbo
Assistant Attorney General, Special Litigation Unit
Office of the Attorney General
Work: (512) 936-1067
Cell: (713) 628-7407
                                                 5
                                                                                    App237
Jack.DiSorbo@oag.texas.gov


From: Haley Costello Essig <hessig@elias.law>
Sent: Tuesday, February 22, 2022 2:39 PM
To: Eric Hudson <Eric.Hudson@oag.texas.gov>; Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes
<Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: LUPE v. Abbott ‐ Deficient Legislator Production

Counsel:

Please see the attached letter regarding the deficient document production from Texas House of Representatives
Members Briscoe Cain and Andrew Murr, and Texas Senators Paul Bettencourt and Bryan Hughes.

Thank you.

Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
(she/her)

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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Eric Hudson <Eric.Hudson@oag.texas.gov>
Sent: Thursday, February 3, 2022 3:10 PM
To: Haley Costello Essig <hessig@elias.law>; Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes
<Aaron.Barnes@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Thanks for reaching out, Haley.

                                                                           6
                                                                                                                                 App238
As you’re aware, the responses were delivered to you on January 20, and a large portion of the team handling those
responses traveled to El Paso during the week of January 24, 2022, for preliminary injunction hearing that last four
days. Yesterday afternoon, today, and tomorrow have been impacted by a major snow storm that has hit the Austin
area.

We have identified responsive documents (roughly 1,700, as I understand it), and we are currently conducting a
review of those documents. We anticipate having those out early next week. We’ll also supplement our responses to
include any documents we’re withholding based upon privilege or other objection next week.

In addition to that matter, we have forwarded notices of 30(b)(6) topics to you and other plaintiffs’ counsel. Have
you all had a chance to review and do you have any objections to the topics that we can address today? If so, let’s
handle that as well so we can get those depositions on the books.

As always, please reach out with any immediate questions or concerns.

s/Eric Hudson

From: Haley Costello Essig <hessig@elias.law>
Sent: Thursday, February 3, 2022 1:59 PM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Counsel:

It has been one week since we sent you a request to meet and confer regarding the overdue production responsive to
the third‐party subpoenas issued to Senator Hughes, Senator Bettencourt, Representative Cain, and Representative
Murr, and we still have not received a statement of available or proposed times from you. To reiterate, we seek (1) a
date certain by which you will produce documents and (2) a statement of whether documents will be withheld pursuant
to the stated objections or reservations of purported privilege, specifically claims of legislative and deliberative process
privilege.

As the parties are convening this afternoon to discuss other matters related to a protective order and ESI agreement, we
propose that we address these matters immediately following such discussion in the same conference. We welcome
your response to these matters via email in advance of that conference in hopes that may narrow the points of
disagreement or obviate the need for discussion altogether. If we are unable to timely resolve these issues, we will have
no choice but to file a motion to compel production to avoid further delay.

Kind regards,

Haley K. Costello Essig
Elias Law Group LLP
                                                             7
                                                                                                         App239
202-968-4675
(she/her)

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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Haley Costello Essig
Sent: Friday, January 28, 2022 9:43 AM
To: Leif Olson <Leif.Olson@oag.texas.gov>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Thank you for your response, Leif. We do not believe that this matter requires all hands on deck, so we are glad to hear
that at least some of your team is not involved in the trial or PI hearing preparation. We hope and expect those
members can attend a meet and confer early next week. Our intent is to discuss the timing of the production and the
basis for any withholdings.

Your clients have not refused to produce documents. Instead, the responses state that production will be made on an
unspecified “rolling basis within a reasonable time.” We believe that this is insufficient and problematic, as your team
has not made any attempt to discuss the confines of that rolling basis, or what you deem to be reasonable, with us
either before or after unilaterally adopting such a basis. As you are aware, the production deadline for documents
pursuant to the subpoenas has come and gone, and while you have sent responses indicating that you intend to produce
documents, that was over a week ago, and we have yet to receive a single document. Time is of the essence. To the
extent we cannot agree on the timing, we will need to move to compel production with the Court.

Furthermore, the responses reserve privilege and other objections that have no legal basis, as previously explained in
our January 7, 2022, letter. The responses state that searches have already been run to collect documents. We would,
therefore, like to understand what objections, if any, you intend to rely upon to withhold documents. We previously
discussed this with Mr. Hudson at our meet and confer on January 10 following receipt of your January 1, 2022, letter
objections. Mr. Hudson informed us that, as of January 10, he was unable to state whether documents would be
withheld pursuant to these baseless objections. We expect that since December 15, when we sent you notice of the
subpoenas, or since December 20, when you formally agreed to accept service, you will have had sufficient opportunity
to determine whether you will rely upon objections to withhold production. If your objections do serve as a basis for
withholding documents, we will need to move to compel production.

We look forward to discussing these pressing matters with you or another member of your team early next week. Thank
you.

Kind regards,

Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
                                                                           8
                                                                                                                                 App240
(she/her)

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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.


From: Leif Olson <Leif.Olson@oag.texas.gov>
Sent: Thursday, January 27, 2022 6:16 PM
To: Haley Costello Essig <hessig@elias.law>; Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson
<Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
scummings@reedsmith.com; wakschlag@thearc.org; slakin@aclu.org; asavitzky@aclu.org; morales‐
doyles@brennan.law.nyu.edu; tbuser‐clancy@aclutx.org; Watkins, Elijah M. <elijah.watkins@stoel.com>; Daniel
Freeman <daniel.freeman@usdoj.gov>; Jasleen Singh <singhj@brennan.law.nyu.edu>; Patrick Berry
<berryp@brennan.law.nyu.edu>; Michael.Stewart3@usdoj.gov; Uzoma Nkwonta <unkwonta@elias.law>; Kassi Yukevich
<kyukevich@elias.law>; Graham White <gwhite@elias.law>; Marcos Mocine‐McQueen <mmcqueen@elias.law>; Noah
Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Haley,

Most of our team is in trial in El Paso right now and most of the team will be preparing for another PI hearing
next week. This includes most of the lawyers who were working on this production, so we may not be able to
find time for this until late, rather than early, next week. We will keep you posted.

Are there any particular concerns you can point to help us determine how much time we might need to set
aside?

From: Haley Costello Essig <hessig@elias.law>
Sent: Thursday, January 27, 2022 4:51 PM
To: Aaron Barnes <Aaron.Barnes@oag.texas.gov>; Eric Hudson <Eric.Hudson@oag.texas.gov>; Jeff White
<Jeff.White@oag.texas.gov>; Kathleen Hunker <Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo
<Jack.DiSorbo@oag.texas.gov>; Leif Olson <Leif.Olson@oag.texas.gov>
Cc: Olson, Wendy J. <wendy.olson@stoel.com>; Nina Perales <nperales@maldef.org>; ryan@texascivilrightsproject.org;
lromano@disabilityrightstx.org; liz.ryan@weil.com; Michael.Keats@friedfrank.com;
chostetler@freespeechforpeople.org; Rasich, Marc <marc.rasich@stoel.com>; jholmes@naacpldf.org;
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Baron <nbaron@elias.law>; Mike Jones <mjones@elias.law>
Subject: RE: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Counsel:

We would like to schedule a meet and confer for early next week to discuss the objections and responses from Senator
Hughes, Senator Bettencourt, Representative Cain, and Representative Mir that you sent below. Please let us know your
availability at your earliest convenience.


                                                                           9
                                                                                                                                 App241
Kind regards,

Haley K. Costello Essig
Elias Law Group LLP
202-968-4675
(she/her)

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From: Aaron Barnes <Aaron.Barnes@oag.texas.gov>
Sent: Thursday, January 20, 2022 5:27 PM
To: Graham White <gwhite@elias.law>; nperales@maldef.org; christopher.bell@friedfrank.com;
jason.kanterman@friedfrank.com; jlongoria@maldef.org; michael.keats@friedfrank.com;
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ryan@texascivilrightsproject.org; sosaki@aclu.org; skumar@aclutx.org; slakin@aclu.org; slorenzo‐giguere@aaldef.org;
tbuser‐clancy@aclutx.org; umittal@jenner.com; asavitzky@aclu.org; aharris@aclutx.org; daniel.freeman@usdoj.gov;
Michael.Stewart3@usdoj.gov; Yun, <Jennifer.Yun@usdoj.gov>; Dana.Paikowsky@usdoj.gov
Cc: Eric Hudson <Eric.Hudson@oag.texas.gov>; Jeff White <Jeff.White@oag.texas.gov>; Kathleen Hunker
<Kathleen.Hunker@oag.texas.gov>; Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>; Leif Olson <Leif.Olson@oag.texas.gov>
Subject: LUPE v. Abbott ‐ Objections and Responses to Subpoenas for Production

Counsel,

Attached please find the objections and responses to the subpoenas for production that were
issued to Senator Hughes, Senator Bettencourt, Representative Cain, and Representative Mir in
LUPE v. Abbott, 5:21-cv-00844-XR (W.D. Tex.).

Thank you.

Best regards,

J. Aaron Barnes
Special Counsel
Special Litigation Unit
OFFICE OF THE ATTORNEY GENERAL
(512) 936-2021
aaron.barnes@oag.texas.gov




                                                                           10
                                                                                                                                 App242
This message may be confidential and/or privileged under Government Code sections 552.101,
552.103, 552.107, and 552.111 and should not be disclosed without the express authorization of
the Attorney General.




                                               11
                                                                                  App243
                                                                     Table A - Improper Legislative Privilege Claims


     ID Number     Custodian           Date Application         Subject       Author               To      CC              Filename          Claim     Privilege Statement
                                                                                                                                                       Draft of HB3 that contains
                                                                                                                                                       notes, annotations, and
                  Representative               Microsoft Word                                                      SPECIALSESSION-HB3-
1   DOC_0000149                    7/14/2021                                                                                             Legislative   track changes, revealing
                      Ashby                    97/98                                                               MURR-Annotated.doc
                                                                                                                                                       legislator's mental
                                                                                                                                                       impressions.
                                                                                                                                                       Report on international
                                               Scanned                                                                                                 voting practices,
                  Representative               Document from                                                                                           containing hand-written
2 PDOC_0000629                                                                                                                           Legislative
                      Cain                     Legislator's                                                                                            notes that reveal
                                               Files                                                                                                   legislator's mental
                                                                                                                                                       impressions.
                                                                                                                                                       Bill analysis of CSSB1509
                                               Scanned                                                                                                 M34 on election integrity
                  Representative               Document from                                                                                           for mail-in ballots, with
3 PDOC_0000798                                                                                                                           Legislative
                      Cain                     Legislator's                                                                                            legislator's handwritten
                                               Files                                                                                                   notes revealing legislator's
                                                                                                                                                       mental impressions.
                                                                                                                                                       Legislator's typed notes
                                               Scanned                                                                                                 summarizing Secure
                  Representative               Document from                                                                                           Democracy's opinion on
4 PDOC_0000899                                                                                                                           Legislative
                      Cain                     Legislator's                                                                                            proposed election integrity
                                               Files                                                                                                   legislation, revealing
                                                                                                                                                       mental impressions.
                                                                                                                                                       Draft of unspecified
                                               Scanned
                                                                                                                                                       election bill that contains
                  Representative               Document from
5 PDOC_0000973                                                                                                                           Legislative   handwritten notes,
                      Cain                     Legislator's
                                                                                                                                                       revealing legislator's
                                               Files
                                                                                                                                                       mental impressions.
                                                                                                                                                       Drafts of proposed
                                               Scanned                                                                                                 committee amendments to
                  Representative               Document from                                                                                           CSSB7 with handwritten
6 PDOC_0001053                                                                                                                           Legislative
                      Cain                     Legislator's                                                                                            notations, revealing
                                               Files                                                                                                   legislator's mental
                                                                                                                                                       impressions.
                                                                                                                                                       Draft of unspecified
                                                                                                                                                       election legislation that
                                               Scanned
                                                                                                                                                       contains handwritten
                  Representative               Document from
7 PDOC_0001217                                                                                                                           Legislative   comments, notes, and
                      Cain                     Legislator's
                                                                                                                                                       markings, revealing
                                               Files
                                                                                                                                                       legislator's mental
                                                                                                                                                       impressions.
                                                                                                                                                       Draft of unspecified
                                                                                                                                                       elections legislation that
                                               Scanned
                                                                                                                                                       contains handwritten
                  Representative               Document from
8 PDOC_0001218                                                                                                                           Legislative   comments, notes, and
                      Cain                     Legislator's
                                                                                                                                                       markings, revealing
                                               Files
                                                                                                                                                       legislator's mental
                                                                                                                                                       impressions.
                                                                                                                                                       A draft of HB6 that
                                               Scanned                                                                                                 contains handwritten
                  Representative               Document from                                                                                           comments, notes, and
9 PDOC_0001251                                                                                                                           Legislative
                      Cain                     Legislator's                                                                                            markings, revealing
                                               Files                                                                                                   legislator's mental
                                                                                                                                                       impressions.




                                                                                          Page 1                                                              App244
                                                    Table A - Improper Legislative Privilege Claims


                                                                                                                                                Draft script written in
                                                                                                                                                preparation of legislator's
                                    Scanned
                                                                                                                                                layout of SB7, with
                   Representative   Document from
10 PDOC_0001463                                                                                                                   Legislative   handwritten annotations
                       Cain         Legislator's
                                                                                                                                                and notes, revealing
                                    Files
                                                                                                                                                mental impressions. (page
                                                                                                                                                2/2)
                                                                                                                                                Notes and bulleted talking
                                                                                                                                                points for legislator's use
                                    Scanned
                                                                                                                                                regarding unspecified
                   Representative   Document from
11 PDOC_0001464                                                                                                                   Legislative   elections bill that contains
                       Cain         Legislator's
                                                                                                                                                handwritten notes and
                                    Files
                                                                                                                                                markings, revealing
                                                                                                                                                mental impressions.
                                                                                                                                                Draft of unspecified
                                    Scanned
                                                                                                                                                election bill that contains
                   Representative   Document from
12 PDOC_0001487                                                                                                                   Legislative   handwritten notes and
                       Cain         Legislator's
                                                                                                                                                reveals legislator's mental
                                    Files
                                                                                                                                                impressions.
                                                                                                                                                Draft script written in
                                                                                                                                                preparation of legislator's
                   Representative   Adobe Acrobat                                                                                               layout of SB7 that
13   DOC_0000207                                                                                      SCRIPT for 5-30-2021.pdf    Legislative
                       Cain         (PDF)                                                                                                       includes notes and
                                                                                                                                                annotations, revealing
                                                                                                                                                mental impressions.
                                                                                                                                                Notes and bulleted talking
                                                                                                                                                points for legislator's use
                   Representative   Adobe Acrobat                                                                                               regarding HB6 that
14   DOC_0000209                                                                                  _Q&A for HB 6..pdf              Legislative
                       Cain         (PDF)                                                                                                       contain highlights and
                                                                                                                                                other markings, revealing
                                                                                                                                                mental impressions.
                                                                                                                                                Draft of unspecified
                                                                                                                                                elections bill that contains
                   Representative   Adobe Acrobat                                                  CSHB 6 with FLOOR                            notes, markings, and
15 DOC_0000218                                                                                                                    Legislative
                       Cain         (PDF)                                                         AMENDMENTS.docx..pdf                          redlines, revealing
                                                                                                                                                legislator's mental
                                                                                                                                                impressions.
                                                                                                                                                Draft of unspecified
                                                                                                                                                elections bill that contains
                   Representative   Adobe Acrobat                                                                                               notes, markings, and
16 DOC_0000219                                                                                        Redlined CSHB 6.docx..pdf   Legislative
                       Cain         (PDF)                                                                                                       redlines, revealing
                                                                                                                                                legislator's mental
                                                                                                                                                impressions.
                                                                                                                                                Draft of unspecified
                                                                                                                                                elections bill that contains
                   Representative   Adobe Acrobat                                                                                               notes, markings, and
17 DOC_0000220                                                                                    _HB6 CS_v3.1.docx.pdf           Legislative
                       Cain         (PDF)                                                                                                       redlines, revealing
                                                                                                                                                legislator's mental
                                                                                                                                                impressions.
                                                                                                                                                Draft committee
                                                                                                                                                substitute of HB6 that
                   Representative   Adobe Acrobat                                                 HB6 Unofficial Committee                      contains notes and
18 DOC_0000224                                                                                                                    Legislative
                       Cain         (PDF)                                                         Substitute.docx.pdf                           highlights, revealing
                                                                                                                                                legislator's mental
                                                                                                                                                impressions.




                                                                         Page 2                                                                        App245
                                                                   Table A - Improper Legislative Privilege Claims


                                                                                                                                                                  Draft of unspecified
                                                                                                                                                                  elections bill that contains
                   Representative                  Adobe Acrobat                                                                                                  notes, comments, and
19 DOC_0000225                                                                                                   Penalties and Crimes.docx.pdf     Legislative
                       Cain                        (PDF)                                                                                                          markings, revealing
                                                                                                                                                                  legislator's mental
                                                                                                                                                                  impressions.
                                                                                                                                                                  A draft of CSHB2478,
                                                                                                                                                                  prepared by the Texas
                                                                                                                                                   Attorney
                                                                                                                                                                  Legislative Council, that
                   Representative                  Adobe Acrobat                                                                                   Client; Work
20 DOC_0000226                                                                                                   CSHB2478 by Harris.docx.pdf                      contains highlights and
                       Cain                        (PDF)                                                                                           Product;
                                                                                                                                                                  markings, revealing
                                                                                                                                                   Legislative
                                                                                                                                                                  legislator's mental
                                                                                                                                                                  impressions.
                                                                                                                                                                  Draft of unspecified
                                                                                                                                                                  elections bill, kept in
                                                                                                                                                                  Representative Cain's
                   Representative                  Adobe Acrobat                                                 File name omitted because it                     personal file for
21 DOC_0000227                                                                                                                                     Legislative
                       Cain                        (PDF)                                                         contains privileged information                  consideration of election
                                                                                                                                                                  legislation, revealing
                                                                                                                                                                  legislator's mental
                                                                                                                                                                  impressions.
                                                                                                                                                                  Legislator's typed notes
                   Representative                  Adobe Acrobat                                                 Interim Hearing - Elections                      and mental impressions
22 DOC_0000235                      12/22/2021                                                                                                     Legislative
                       Cain                        (PDF)                                                         Committee.pdf                                    regarding proposed
                                                                                                                                                                  interim charges.
                                                                                                                                                                  Notes and bulleted talking
                                                                                                                                                                  points for legislator's use
                   Representative                  Adobe Acrobat                                                                                                  regarding HB6 that
23 DOC_0000238                                                                                                   _Q&A for HB 6.pdf                 Legislative
                       Cain                        (PDF)                                                                                                          contains highlights and
                                                                                                                                                                  other markings, revealing
                                                                                                                                                                  mental impressions.
                                                                                                                                                                  Legislator's typed notes
                                                                                                                                                                  and mental impressions
                   Representative                  Adobe Acrobat
24 DOC_0000247                                                                                                   Questions _ Retorts.pdf           Legislative    regarding the layout of
                       Cain                        (PDF)
                                                                                                                                                                  multiple billis, including
                                                                                                                                                                  HB6.
                                                                                                                                                                  Correspondence between
                                                                                           Justin                                                                 legislator and staff related
                   Representative                  Adobe Acrobat            Representative                       File name omitted because it
25 DOC_0000248                      3/11/2021                                              Williamson                                              Legislative    to SB7 that reveals
                       Cain                        (PDF)                    Briscoe Cain                         contains privileged information
                                                                                           (Cain COS)                                                             legislator's mental
                                                                                                                                                                  impressions.
                                                                                                                                                                  Draft of unspecified
                                                                                                                                                                  elections bill that
                                                                                                                                                                  containing notes and
                   Representative                  Adobe Acrobat                                                                                                  comments, revealing
26 DOC_0000259                      1/17/2022                                                                    Curbside Language.docx.pdf        Legislative
                       Cain                        (PDF)                                                                                                          legislator's mental
                                                                                                                                                                  impressions addressing an
                                                                                                                                                                  aspect of pending
                                                                                                                                                                  legislation.
                                                                                                                                                                  Draft substitute language
                                                                                                                                                                  for HB6, containing notes,
                   Representative                  Adobe Acrobat                                                 HB6 sub language for
27   DOC_0000269                        1/5/2022                                                                                                   Legislative    markings, and redlines
                       Cain                        (PDF)                                                         Parliamentarian.docx.pdf
                                                                                                                                                                  that reveal legislator's
                                                                                                                                                                  mental impressions.
                                                   Scanned                                                                                                        Legislator's typed notes
   PDOC_0000374 Representative                     Document from                                                                                                  concerning SB1 that
28                                                                                                                                                 Legislative
        6           Murr                           Legislator's                                                                                                   reveal mental impressions
                                                   Files                                                                                                          about legislation.



                                                                                          Page 3                                                                         App246
                                                   Table A - Improper Legislative Privilege Claims


                                   Scanned                                                                         Legislator's handwritten
     PDOC_0000395 Representative   Document from                                                                   notes concerning SB1 that
29                                                                                                   Legislative
          1           Murr         Legislator's                                                                    reveal mental impressions
                                   Files                                                                           concerning legislation.
                                   Scanned                                                                         Legislator's handwritten
     PDOC_0000395 Representative   Document from                                                                   notes concerning elections
30                                                                                                   Legislative
          8           Murr         Legislator's                                                                    legislation that reveals
                                   Files                                                                           mental impressions.
                                   Scanned                                                                         Representative Murr
     PDOC_0000396 Representative   Document from                                                                   handwritten notes and
31                                                                                                   Legislative
          1           Murr         Legislator's                                                                    annotations concerning
                                   Files                                                                           House Bill 3.
                                                                                                                   Legislator's typed notes
                                                                                                                   and handwritten
                                   Scanned                                                                         annotations from briefingl
     PDOC_0000465 Representative   Document from                                                                   book that assesses
32                                                                                                   Legislative
          1           Murr         Legislator's                                                                    recommended technical
                                   Files                                                                           amendments to HB3,
                                                                                                                   revealing mental
                                                                                                                   impressions.
                                                                                                                   Legislator's typed notes
                                                                                                                   and handwritten
                                   Scanned                                                                         annotations from briefing
   PDOC_0000465 Representative     Document from                                                                   book that assesses
33                                                                                                   Legislative
        8           Murr           Legislator's                                                                    recommended floor
                                   Files                                                                           amendments to HB3,
                                                                                                                   revealing mental
                                                                                                                   impressions
                                                                                                                   Report provided to
                                                                                                                   Representative Murr's
                                                                                                                   office by organization from
                                   Scanned                                                                         third-party organization,
     PDOC_0000466 Representative   Document from                                                                   contained in legislator's
34                                                                                                   Legislative
          9           Murr         Legislator's                                                                    briefing book for
                                   Files                                                                           consideration, with
                                                                                                                   handwritten annotations
                                                                                                                   and markings, revealing
                                                                                                                   mental impressions.
                                                                                                                   Representative Murr's
                                   Scanned                                                                         unofficial workup on HB3
     PDOC_0000469 Representative   Document from                                                                   that summarizes and
35                                                                                                   Legislative
          0           Murr         Legislator's                                                                    analyzes various
                                   Files                                                                           provisions and reveals
                                                                                                                   legsilator's mental
                                                                                                                   Draft of SB1 from
                                   Scanned
                                                                                                                   Legislator's briefing book,
     PDOC_0000525 Representative   Document from
36                                                                                                   Legislative   containing handwritten
          3           Murr         Legislator's
                                                                                                                   notes, that reveals mental
                                   Files
                                                                                                                   impressions.
                                                                                                                   Typed notes and draft
                                                                                                                   script from briefing book,
                                                                                                                   prepared for legislator's
                                   Scanned
                                                                                                                   use, containing
     PDOC_0000531 Representative   Document from
37                                                                                                   Legislative   handwritten annotations,
          6           Murr         Legislator's
                                                                                                                   as well as possible
                                   Files
                                                                                                                   amendments to SB1,
                                                                                                                   revealing mental
                                                                                                                   impressions.



                                                                          Page 4                                         App247
                                                                         Table A - Improper Legislative Privilege Claims


                                                                                                                                                                        Draft script from
                                                                                                                                                                        legislator's briefing book
                                                 Scanned
                                                                                                                                                                        prepared for SB1's layout
     PDOC_0000538 Representative                 Document from
38                                                                                                                                                        Legislative   that contains handwritten
          5           Murr                       Legislator's
                                                                                                                                                                        notes on various
                                                 Files
                                                                                                                                                                        provisions, revealing
                                                                                                                                                                        mental impressions.
                                                                                                                                                                        Notes and comparison
                                                                                                                                                                        table from legislator's
                                                                                                                                                                        briefing book that
                                                 Scanned
                                                                                                                                                                        analyzes, section-by-
   PDOC_0000540 Representative                   Document from
39                                                                                                                                                        Legislative   section, SB1 as introduced
        2           Murr                         Legislator's
                                                                                                                                                                        and committee substitute,
                                                 Files
                                                                                                                                                                        with highlights and
                                                                                                                                                                        markings, revealing
                                                                                                                                                                        mental impressions.
                                                                                                                                                                        Typed notes from
                                                                                                                                                                        legislator's briefing book
                                                 Scanned
                                                                                                                                                                        on potential amendments
     PDOC_0000548 Representative                 Document from
40                                                                                                                                                        Legislative   to SB1, along with draft
          2           Murr                       Legislator's
                                                                                                                                                                        bill language, revealing
                                                 Files
                                                                                                                                                                        legislator's mental
                                                                                                                                                                        impressions.
                                                                                                                                                                        Legislator's handwriten
                                                 Scanned                                                                                                                notes from briefing book
     PDOC_0000548 Representative                 Document from                                                                                                          that recaps committee
41                                   8/27/2021                                                                                                            Legislative
          8           Murr                       Legislator's                                                                                                           hearing and possible floor
                                                 Files                                                                                                                  remarks, revealing mental
                                                                                                                                                                        impressions.
                                                                                                                                                                        Document from
                                                 Scanned                                                                                                                Representative Murr's
     PDOC_0000552 Representative                 Document from                                                                                                          briefing book on election
42                                                                                                                                                        Legislative
          5           Murr                       Legislator's                                                                                                           legislation, including
                                                 Files                                                                                                                  notes and annotations,
                                                                                                                                                                        revealing mental
                                                                                                                                                                        Notes relating to court
                                                                                                                                                                        opinions regarding
                                                                                                                                                                        election law, contained in
                     Senator                     MS Office                                                                                                              Senator Bettcourt's
43 DOC_0001032                     1/19/2022                                                                           Voting Fraud Cases.docx            Legislative
                    Bettencourt                  (2016) Word                                                                                                            personal file for use in
                                                                                                                                                                        considering election
                                                                                                                                                                        legislation, revealing
                                                                                                                                                                        mental impressions.
                                                                      AG Paxton                                                                                         Correspondence between
                                                                   Announces Joint                                                                                      Office of Attorney General
                                                                    Prosecution of                                                                                      and legislator's staff,
                                                                                                                       2020-09-24 Texas AG
                                                                    Gregg County Office of      Don Barber                                                              contained in Senator
                     Senator                     Adobe Acrobat                                                         statement, AG filed joint
44 DOC_0001071                     9/24/2020                          Organized      Attorney   (Bettencourt                                              Legislative   Bettencourt's personal file
                    Bettencourt                  (PDF)                                                                 prosecution in election fraud of
                                                                   Election Fraud in General    Leg. Dir.)                                                              for use in considering
                                                                                                                       mail-in ballot scheme.pdf
                                                                   Mail-In Balloting                                                                                    election legislation,
                                                                        Scheme                                                                                          revealing mental
                                                                                                                                                                        impressions.
                                                                                                                                                                        Data contained in Senator
                                                                                                                                                                        Bettencourt's personal file
                     Senator                     Microsoft Excel                                                                                                        for use in considering
45 DOC_0001092                       1/19/2022                                                                         Mail-In Ballots JA census.xlsx     Legislative
                    Bettencourt                  2016 XML File                                                                                                          election legislation,
                                                                                                                                                                        revealing mental
                                                                                                                                                                        impressions.



                                                                                                Page 5                                                                        App248
                                                             Table A - Improper Legislative Privilege Claims


                                                                                                                                                           Report contained in
                                                                                                                                                           Senator Bettencourt's
                    Senator                  Adobe Acrobat                                                 File name omitted because it                    personal file for use in
46   DOC_0001154                 1/19/2022                                                                                                   Legislative
                   Bettencourt               (PDF)                                                         contains privileged information                 considering election
                                                                                                                                                           legislation revealing
                                                                                                                                                           mental impressions.
                                                                                                                                                           Handwritten notes from
                                                                                                                                                           Senator Hughes's office,
                                             Scanned                                                                                                       along with materials
                    Senator                  Document from                                                                                                 reviewed regarding the
47 PDOC_0000015                                                                                                                              Legislative
                    Hughes                   Legislator's                                                                                                  materials, related to
                                             Files                                                                                                         pending legislation,
                                                                                                                                                           revealing mental
                                                                                                                                                           impressions.
                                                                                                                                                           Handwritten notes from
                                             Scanned
                                                                                                                                                           Senator Hughes's office
                    Senator                  Document from
48 PDOC_0000045                                                                                                                              Legislative   regarding pending election
                    Hughes                   Legislator's
                                                                                                                                                           legislation that reveals
                                             Files
                                                                                                                                                           mental impressions.
                                                                                                                                                           Handwritten notes from
                                             Scanned
                                                                                                                                                           Senator Hughes's office
                    Senator                  Document from
49 PDOC_0000067                                                                                                                              Legislative   regarding pending election
                    Hughes                   Legislator's
                                                                                                                                                           legislation that reveal
                                             Files
                                                                                                                                                           mental impressions.
                                                                                                                                                           Notes from Senator
                                             Scanned
                                                                                                                                                           Hughes's office regarding
                    Senator                  Document from
50 PDOC_0000110                                                                                                                              Legislative   pending election
                    Hughes                   Legislator's
                                                                                                                                                           legislation that reveal
                                             Files
                                                                                                                                                           mental impressions.
                                                                                                                                                           Handwritten and typed
                                             Scanned                                                                                                       notes from a conference
                    Senator                  Document from                                                                                                 committee report
51 PDOC_0000114                                                                                                                              Legislative
                    Hughes                   Legislator's                                                                                                  concerning Senate Bill 1
                                             Files                                                                                                         that reveal mental
                                                                                                                                                           impressions.
                                                                                                                                                           Handwritten notes on a
                                             Scanned
                                                                                                                                                           draft legislation proposal
                    Senator                  Document from
52 PDOC_0000198                                                                                                                              Legislative   concerning election
                    Hughes                   Legislator's
                                                                                                                                                           legislation that reveal
                                             Files
                                                                                                                                                           mental impressions.
                                             Scanned                                                                                                       Senator Hughes's typed
                    Senator                  Document from                                                                                                 notes regarding SB1
53 PDOC_0002351                                                                                                                              Legislative
                    Hughes                   Legislator's                                                                                                  provisions, revealing
                                             Files                                                                                                         mental impressions.
                                                                                                                                                           A draft of unspecified
                                             Scanned
                                                                                                                                                           election bill, containing
                    Senator                  Document from
54 PDOC_0002357                                                                                                                              Legislative   comments, notes, and
                    Hughes                   Legislator's
                                                                                                                                                           other annotations by
                                             Files
                                                                                                                                                           Senator Hughes.
                                                                                                                                                           A draft of unspecified
                                             Scanned                                                                                                       election bill, containing
                    Senator                  Document from                                                                                                 comments, notes, and
55 PDOC_0002393                                                                                                                              Legislative
                    Hughes                   Legislator's                                                                                                  other annotations by
                                             Files                                                                                                         Senator Hughes, revealing
                                                                                                                                                           mental impressions.




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                                                        Table A - Improper Legislative Privilege Claims


                                                                                                                        Draft amendment to SB7,
                                        Scanned                                                                         containing comments,
                  Senator               Document from                                                                   notes, and other
56 PDOC_0002426                                                                                           Legislative
                  Hughes                Legislator's                                                                    annotations by Senator
                                        Files                                                                           Hughes, revealing mental
                                                                                                                        impressions.
                                                                                                                        Draft amendment to SB7,
                                        Scanned                                                                         containing comments,
                  Senator               Document from                                                                   notes, and other
57 PDOC_0002431                                                                                           Legislative
                  Hughes                Legislator's                                                                    annotations by Senator
                                        Files                                                                           Hughes, revealing mental
                                                                                                                        impressions.
                                                                                                                        Draft committee
                                                                                                                        substitute to SB7,
                                        Scanned
                                                                                                                        containing comments,
                  Senator               Document from
58 PDOC_0002441                                                                                           Legislative   notes, and other
                  Hughes                Legislator's
                                                                                                                        annotations by Senator
                                        Files
                                                                                                                        Hughes, revealing mental
                                                                                                                        impressions.
                                                                                                                        Notes prepared for
                                        Scanned                                                                         Senator Hughes to aid in
                  Senator               Document from                                                                   drafting SB7 that contain
59 PDOC_0002464             5/17/2021                                                                     Legislative
                  Hughes                Legislator's                                                                    handwritten notes and
                                        Files                                                                           other markings, revealing
                                                                                                                        mental impressions.
                                                                                                                        Draft amendment to SB7,
                                        Scanned                                                                         containing comments,
                  Senator               Document from                                                                   notes, and other
60 PDOC_0002467                                                                                           Legislative
                  Hughes                Legislator's                                                                    annotations by Senator
                                        Files                                                                           Hughes, revealing mental
                                                                                                                        impressions.
                                                                                                                        Senator Hughes's notes
                                        Scanned                                                                         and comments concerning
                  Senator               Document from                                                                   proposed amendment to
61 PDOC_0002520                                                                                           Legislative
                  Hughes                Legislator's                                                                    election legislation,
                                        Files                                                                           revealing mental
                                                                                                                        impressions.
                                                                                                                        Notes prepared for
                                                                                                                        Senator Hughes to aid in
                                        Scanned
                                                                                                                        drafting election
                  Senator               Document from
62 PDOC_0002530                                                                                           Legislative   legislation that contain
                  Hughes                Legislator's
                                                                                                                        handwrittend notes and
                                        Files
                                                                                                                        other markings, revealing
                                                                                                                        mental impressions.
                                                                                                                        Notes that Sen. Hughes
                                        Scanned                                                                         prepared for a meeting
                  Senator               Document from                                                                   with Representative Murr
63 PDOC_0002540                                                                                           Legislative
                  Hughes                Legislator's                                                                    regarding pending
                                        Files                                                                           legislation that reveal
                                                                                                                        mental impressions.
                                                                                                                        Notes prepared for
                                                                                                                        Senator Hughes to aid in
                                        Scanned
                                                                                                                        drafting election
                  Senator               Document from
64 PDOC_0002542                                                                                           Legislative   legislation that contain
                  Hughes                Legislator's
                                                                                                                        handwritten notes,
                                        Files
                                                                                                                        revealing mental
                                                                                                                        impressions.




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                                                                                                            Notes and talking points
                                                                                                            prepared for Senator
                            Scanned
                                                                                                            Hughes to aid discussing
                  Senator   Document from
65 PDOC_0002546                                                                               Legislative   SB7 that contain
                  Hughes    Legislator's
                                                                                                            handwritten edits,
                            Files
                                                                                                            revealing mental
                                                                                                            impressions.
                                                                                                            Draft of SB7, containing
                            Scanned
                                                                                                            comments, notes, and
                  Senator   Document from
66 PDOC_0002569                                                                               Legislative   other annotations by
                  Hughes    Legislator's
                                                                                                            Senator Hughes, revealing
                            Files
                                                                                                            mental impressions.
                                                                                                            Draft of SB7, containing
                            Scanned
                                                                                                            comments, notes, and
                  Senator   Document from
67 PDOC_0002609                                                                               Legislative   other annotations by
                  Hughes    Legislator's
                                                                                                            Senator Hughes, revealing
                            Files
                                                                                                            mental impressions.
                                                                                                            Draft excerpts of SB7,
                            Scanned                                                                         containing comments,
                  Senator   Document from                                                                   notes, and other
68 PDOC_0002632                                                                               Legislative
                  Hughes    Legislator's                                                                    annotations by Senator
                            Files                                                                           Hughes, revealing mental
                                                                                                            impressions.
                                                                                                            Legislator's typed and
                            Scanned
                                                                                                            handwritten notes on
                  Senator   Document from
69 PDOC_0002643                                                                               Legislative   suggestions and ideas for
                  Hughes    Legislator's
                                                                                                            election integrity bill that
                            Files
                                                                                                            reveal mental
                                                                                                            Draft excerpts of SB7,
                            Scanned                                                                         containing comments,
                  Senator   Document from                                                                   notes, and other
70 PDOC_0002660                                                                               Legislative
                  Hughes    Legislator's                                                                    annotations by Senator
                            Files                                                                           Hughes, revealing mental
                                                                                                            impressions.
                                                                                                            Draft excerpts of SB7,
                            Scanned                                                                         containing comments,
                  Senator   Document from                                                                   notes, and other
71 PDOC_0002683                                                                               Legislative
                  Hughes    Legislator's                                                                    annotations by Senator
                            Files                                                                           Hughes, revealing mental
                                                                                                            impressions.
                                                                                                            Draft of SB7, containing
                            Scanned
                                                                                                            comments, notes, and
                  Senator   Document from
72 PDOC_0002708                                                                               Legislative   other annotations by
                  Hughes    Legislator's
                                                                                                            Senator Hughes, revealing
                            Files
                                                                                                            mental impressions.
                                                                                                            A chart comparing HB3
                                                                                                            and SB1, developed by
                            Scanned
                                                                                                            Senator Hughes and
                  Senator   Document from
73 PDOC_0002774                                                                               Legislative   containing handwritten
                  Hughes    Legislator's
                                                                                                            notes, comments, and
                            Files
                                                                                                            other markings that
                                                                                                            reveal mental
                                                                                                            Draft of SB7, containing
                            Scanned                                                                         comments, notes, and
                  Senator   Document from                                                                   other annotations on
74 PDOC_0002808                                                                               Legislative
                  Hughes    Legislator's                                                                    particular sections by
                            Files                                                                           Senator Hughes, revealing
                                                                                                            mental impressions.



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                                                                                                             Data contained in Senator
                            Scanned
                                                                                                             Hughes's personal file for
                  Senator   Document from
75 PDOC_0002888                                                                               Legislative    use in considering election
                  Hughes    Legislator's
                                                                                                             legislation that reveal
                            Files
                                                                                                             mental impressions.
                            Scanned                                                                          Senator Hughes's notes on
                  Senator   Document from                                                                    changes made to SB7 and
76 PDOC_0002890                                                                               Legislative
                  Hughes    Legislator's                                                                     SB1 that reveal mental
                            Files                                                                            impressions.
                                                                                                             Legislator's notes and
                            Scanned
                                                                                                             talking points for floor
                  Senator   Document from
77 PDOC_0002907                                                                               Legislative    speech concerning election
                  Hughes    Legislator's
                                                                                                             legislation that reveal
                            Files
                                                                                                             mental impressions.
                                                                                                             A document that cross
                                                                                                             references provisions of
                            Scanned                                                                          SB1 with the Texas
                  Senator   Document from                                                                    Election Code and
78 PDOC_0002910                                                                               Legislative;
                  Hughes    Legislator's                                                                     contains Senator Hughes's
                            Files                                                                            notes, comments, and/or
                                                                                                             other markings that
                                                                                                             reveal mental
                                                                                                             A document that cross
                                                                                                             references provisions of
                            Scanned                                                                          SB1 with the Texas
                  Senator   Document from                                                                    Election Code and
79 PDOC_0002920                                                                               Legislative;
                  Hughes    Legislator's                                                                     contains Senator Hughes's
                            Files                                                                            notes, comments, and/or
                                                                                                             other markings that
                                                                                                             reveal mental
                                                                                                             A document that cross
                                                                                                             references provisions of
                            Scanned                                                                          Senate Bill 1 with the
                  Senator   Document from                                                                    Texas Election Code and
80 PDOC_0002929                                                                               Legislative
                  Hughes    Legislator's                                                                     contains Senator Hughes's
                            Files                                                                            notes, comments, and/or
                                                                                                             other markings that
                                                                                                             reveal mental
                                                                                                             A document that cross
                                                                                                             references provisions of
                            Scanned                                                                          Senate Bill 1 with the
                  Senator   Document from                                                                    Texas Election Code and
81 PDOC_0002936                                                                               Legislative;
                  Hughes    Legislator's                                                                     contains Senator Hughes's
                            Files                                                                            notes, comments, and/or
                                                                                                             other markings that
                                                                                                             reveal mental
                                                                                                             A document that cross
                                                                                                             references provisions of
                            Scanned                                                                          Senate Bill 1 with the
                  Senator   Document from                                                                    Texas Election Code and
82 PDOC_0002948                                                                               Legislative
                  Hughes    Legislator's                                                                     contains Senator Hughes's
                            Files                                                                            notes, comments, and/or
                                                                                                             other markings that
                                                                                                             reveal mental




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                                                                                                                                                     A document that cross
                                                                                                                                                     references provisions of
                                             Scanned
                                                                                                                                                     Senate Bill 1 with the
                     Senator                 Document from
83 PDOC_0002960                                                                                                                       Legislative    Texas Election Code and
                     Hughes                  Legislator's
                                                                                                                                                     contains Senator Hughes's
                                             Files
                                                                                                                                                     notes, comments, and/or
                                                                                                                                                     other markings.
                                                                                                                                                     A document that cross
                                                                                                                                                     references provisions of
                                             Scanned                                                                                                 Senate Bill 1 with the
                     Senator                 Document from                                                                                           Texas Election Code and
84 PDOC_0002980                                                                                                                       Legislative
                     Hughes                  Legislator's                                                                                            contains Senator Hughes's
                                             Files                                                                                                   notes, comments, and/or
                                                                                                                                                     other markings that
                                                                                                                                                     reveal mental
                                                                                                                                                     A document that cross
                                                                                                                                                     references provisions of
                                             Scanned                                                                                                 Senate Bill 1 with the
                     Senator                 Document from                                                                                           Texas Election Code and
85 PDOC_0002990                                                                                                                       Legislative
                     Hughes                  Legislator's                                                                                            contains Senator Hughes's
                                             Files                                                                                                   notes, comments, and/or
                                                                                                                                                     other markings that
                                                                                                                                                     reveal mental
                                                                                                                                                     Draft of SB7, containing
                                             Scanned                                                                                                 comments, notes, and
                     Senator                 Document from                                                                                           other annotations on
86 PDOC_0003034                                                                                                                       Legislative;
                     Hughes                  Legislator's                                                                                            particular sections by
                                             Files                                                                                                   Senator Hughes that
                                                                                                                                                     reveal mental
                                                                                                                                                     Draft of SB7, containing
                                             Scanned                                                                                                 comments, notes, and
                     Senator                 Document from                                                                                           other annotations on
87 PDOC_0003119                                                                                                                       Legislative
                     Hughes                  Legislator's                                                                                            particular sections by
                                             Files                                                                                                   Senator Hughes that
                                                                                                                                                     reveal mental
                                                                                                                                                     Draft of SB7 committee
                                                                                                                                                     report, containing
                                             Scanned
                                                                                                                                                     comments, notes, and
                     Senator                 Document from
88 PDOC_0003199                                                                                                                       Legislative    other annotations on
                     Hughes                  Legislator's
                                                                                                                                                     particular sections by
                                             Files
                                                                                                                                                     Senator Hughes that
                                                                                                                                                     reveal mental
                                                                                                                                                     Draft conference
                                                                                                                                                     committee report of SB7
                                             Adobe Acrobat                                                                                           that contains markings,
89 DOC_0000437    Texas Senate   6/25/2021                                                                 87C1_SB7_Draft.pdf         Legislative
                                             (PDF)                                                                                                   notes, and comments by
                                                                                                                                                     Senator Hughes, revealing
                                                                                                                                                     mental impressions.
                                                                                                                                                     Draft conference
                                                                                                                                                     committee report of SB7
                                             Adobe Acrobat                                                                                           that contains markings,
90 DOC_0000438    Texas Senate   6/25/2021                                                                 87C1_SB7_Draft_Part1.pdf   Legislative
                                             (PDF)                                                                                                   notes, and comments by
                                                                                                                                                     Senator Hughes, revealing
                                                                                                                                                     mental impressions.




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                                                                                                                                                        Draft conference
                                                                                                                                                        committee report of SB7
                                              Adobe Acrobat                                                                                             that contains markings,
91 DOC_0000439   Texas Senate     6/25/2021                                                                 87C1_SB7_Draft_Part2.pdf      Legislative
                                              (PDF)                                                                                                     notes, and comments by
                                                                                                                                                        Senator Hughes, revealing
                                                                                                                                                        mental impressions.
                                                                                                                                                        Draft conference
                                                                                                                                                        committee report of SB7
                                              Adobe Acrobat                                                                                             that contains markings,
92 DOC_0000440   Texas Senate     6/25/2021                                                                 87C1_SB7_Draft_Part3.pdf      Legislative
                                              (PDF)                                                                                                     notes, and comments by
                                                                                                                                                        Senator Hughes, revealing
                                                                                                                                                        mental impressions.
                                                                                                                                                        Draft of SB7 with notes
                                              MS Office                                                     87C1_SB7_Draft_with_change                  and edits by Senator
93 DOC_0000441   Texas Senate     6/29/2021                                                                                               Legislative
                                              (2016) Word                                                   s.docx                                      Hughes that reveal
                                                                                                                                                        mental impressions
                                                                                                                                                        Chart prepared by staff
                                                                                                                                                        for Senator Hughes
                                              MS Office
94 DOC_0000442   Texas Senate   5/30/2021                                                                   CCR Chart of Penalties.docx   Legislative   outlining draft of SB7
                                              (2016) Word
                                                                                                                                                        with notes revealing
                                                                                                                                                        mental impressions.
                                                                                                                                                        Notes and comments
                                              MS Office                                                                                                 regarding possible
95 DOC_0000443   Texas Senate   5/28/2021                                                                   changes.docx                  Legislative
                                              (2016) Word                                                                                               amendments to SB7 that
                                                                                                                                                        reveal mental
                                                                                                                                                        Notes and comments
                                                                                                                                                        concerning SB7 prepared
                                              MS Office                                                                                                 for the purpose of
96 DOC_0000447   Texas Senate   5/29/2021                                                                   Do Not Distribute_HS.docx     Legislative
                                              (2016) Word                                                                                               considering election
                                                                                                                                                        legislation, revealing
                                                                                                                                                        mental impressions.
                                                                                                                                                        A draft summary of SB7
                                                                                                                                                        that contains notes, track
                                              MS Office                                                     SB 7 One-Pager_explanatory                  changes, and edits by
97 DOC_0000455   Texas Senate   5/29/2021                                                                                                 Legislative
                                              (2016) Word                                                   hs.docx                                     Senator Hughes and staff,
                                                                                                                                                        revealing mental
                                                                                                                                                        impressions.
                                                                                                                                                        A draft press release
                                                                                                                                                        prepared for Senator
                                                                                                                                                        Hughes by staff relating to
                                              MS Office                                                     SB7 Press Release HS
98 DOC_0000457   Texas Senate   5/28/2021                                                                                                 Legislative   SB7 that contains notes,
                                              (2016) Word                                                   Changes.docx
                                                                                                                                                        track changes, and edits,
                                                                                                                                                        revealing mental
                                                                                                                                                        impressions.
                                                                                                                                                        A draft press release
                                                                                                                                                        prepared for Senator
                                                                                                                                                        Hughes by staff relating to
                                              MS Office                                                     SB7 Press Release HS
99 DOC_0000458   Texas Senate     5/28/2021                                                                                               Legislative   SB7 that contains notes,
                                              (2016) Word                                                   Changes_v2.docx
                                                                                                                                                        track changes, and edits,
                                                                                                                                                        revealing mental
                                                                                                                                                        impressions.




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                                                                                                                                                        Draft amendment to SB7
                                                                                                                                                        for the purposes of the
                                                                                                                                                        Conference Committee
                                                                                                                                                        that contains note, track
                                             MS Office
100 DOC_0000462   Texas Senate   5/23/2021                                                                         6 Base 7 v4.0.docx     Legislative   changes, comments, and
                                             (2016) Word
                                                                                                                                                        other markings from
                                                                                                                                                        Senator Hughes and staff,
                                                                                                                                                        revealing mental
                                                                                                                                                        impressions.
                                                                                                                                                        Draft amendment to SB7
                                                                                                                                                        for the purposes of the
                                                                                                                                                        Conference Committee
                                                                                                                                                        that contains note, track
                                             MS Office
101 DOC_0000463   Texas Senate   5/25/2021                                                                         6 Base 7 v4.0-3_2.docx Legislative   changes, comments, and
                                             (2016) Word
                                                                                                                                                        other markings from
                                                                                                                                                        Senator Hughes and staff,
                                                                                                                                                        revealing mental
                                                                                                                                                        impressions.
                                                                                                                                                        Draft amendment to SB7
                                                                                                                                                        for the purposes of the
                                                                                                                                                        Conference Committee
                                                                                                                                                        that contains note, track
                                             MS Office
102 DOC_0000464   Texas Senate   5/25/2021                                                                         6 Base 7 v4.0-3_3.docx Legislative   changes, comments, and
                                             (2016) Word
                                                                                                                                                        other markings from
                                                                                                                                                        Senator Hughes and staff,
                                                                                                                                                        revealing mental
                                                                                                                                                        impressions.
                                                                                                                                                        Draft amendment to
                                                                                                                                                        Senate Bill 7 for the
                                                                                                                                                        purposes of the
                                             MS Office                                                                                                  Conference Committee
103 DOC_0000465   Texas Senate   5/25/2021                                                                         6 Base 7 v4.0-3_4.docx Legislative
                                             (2016) Word                                                                                                that contains note, track
                                                                                                                                                        changes, comments, and
                                                                                                                                                        other markings from
                                                                                                                                                        Senator Hughes and staff.
                                                                                                                                                        Draft of CSSB7 that
                                                                                                                                                        contains annotations,
                                             MS Office                                                     SB7 (informal House
104 DOC_0000484   Texas Senate   5/12/2021                                                                                                Legislative   markings, and redlines,
                                             (2016) Word                                                   engrossment) HS edits.docx
                                                                                                                                                        revealing legislator's
                                                                                                                                                        mental impressions.
                                                                                                                                                        Draft of CSSB7 that
                                                                                                                                                        contains footnotes and
                                             MS Office                                                     SB7 (informal House
105 DOC_0000485   Texas Senate   5/12/2021                                                                                                Legislative   redlines, revealing
                                             (2016) Word                                                   engrossment).docx
                                                                                                                                                        legislator's mental
                                                                                                                                                        impressions.
                                                                                                                                                        Draft of CSSB7 that
                                                                                                                                                        contains highlights,
                                             Adobe Acrobat
106 DOC_0000486   Texas Senate   5/27/2021                                                                 SB7 5.1.pdf                    Legislative   markings, and redlines,
                                             (PDF)
                                                                                                                                                        revealing legislator's
                                                                                                                                                        mental impressions.




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                                                                                                                 Adam Moses
                                                                                                                (TLC); Carey
                                                                                                Tracy Snelson                                                                Email bewteen legislative
                                                                                                                   Eskridge
                                                                                                 (TLC); Hope                                                                 staffers, attached to
                                                                              Jessica Hart                       (TLC); Drew                                  Attorney
                                                Microsoft                                          Shelton                                                                   correspondence between
                                                               RE: SB 7       (Elections                        Tedford (State                                Client; Work
107 DOC_0000497   Texas Senate   5/28/2021      Outlook                                         (Hughes GC);                   ITEM.4.E-MAIL.msg                             the Texas Legislative
                                                               Changes        Comm.                             Affairs Comm.                                 Product;
                                                Message Mail                                      Elizabeth                                                                  Council and legislator's
                                                                              Staffer)                             Dir); Alix                                 Legislative
                                                                                                   Alvarez                                                                   staff, containing proposed
                                                                                                                  Morris (Lt.
                                                                                                  (Attorney)                                                                 language for SB7.
                                                                                                                 Gov); Justin
                                                                                                                  Williamson
                                                                                                                 Adam Moses                                                  Correspondence between
                                                                                                                (TLC); Carey                                                 Texas Legislative Council,
                                                                                                Tracy Snelson
                                                                                                                   Eskridge                                                  legislator's staff, and
                                                                                                 (TLC); Hope
                                                                              Jessica Hart                       (TLC); Drew                                  Attorney       private attorney that
                                                Microsoft                                          Shelton
                                                               RE: SB 7       (Elections                        Tedford (State                                Client; Work   contans drafting
108 DOC_0000508   Texas Senate   5/28/2021      Outlook                                         (Hughes GC);                   ITEM.4.E-MAIL.msg
                                                               Changes        Comm.                             Affairs Comm.                                 Product;       instructions, along with
                                                Message Mail                                      Elizabeth
                                                                              Staffer)                             Dir); Alix                                 Legislative    notes and comments,
                                                                                                   Alvarez
                                                                                                                  Morris (Lt.                                                revealing mental
                                                                                                  (Attorney)
                                                                                                                Gov.) ; Justin                                               impressions.
                                                                                                                  Williamson
                                                                                                                                                                             Legislator's typed notes
                                                MS Office                     Representative                                                                                 and mental impressions
109 DOC_0000554   Texas Senate     3/16/2021                                                                                 Defining Observe_Watchers.docx Legislative
                                                (2016) Word                       Cain                                                                                       regarding proposed
                                                                                                                                                                             changes to SB7.
                                                                                                                                                                             Document in legislator's
                                                                                                                                                                             personal file relating to
                                                JPEG File                                                                    Drive Thru & 24 hr Locations
110 DOC_0000555   Texas Senate     3/29/2021                                                                                                                  Legislative    election procedures,
                                                Interchange                                                                  Google Maps.jpg
                                                                                                                                                                             revealing mental
                                                                                                                                                                             impressions.
                                                                                                                                                                             Document in legislator's
                                                                                                                                                                             personal file relating to
                                                JPEG File                                                                    Drive Thru Locations Google
111 DOC_0000556   Texas Senate     3/29/2021                                                                                                                  Legislative    election procedures,
                                                Interchange                                                                  Maps.jpg
                                                                                                                                                                             revealing mental
                                                                                                                                                                             impressions.
                                                                                                                                                                             Document in legislator's
                                             Portable
                                                                                                                                                                             personal file relating to
                                             Network                                                                         Drive Thru Locations Google
112 DOC_0000557   Texas Senate     3/29/2021                                                                                                                  Legislative    election procedures,
                                             Graphics                                                                        Maps.png
                                                                                                                                                                             revealing mental
                                             Format
                                                                                                                                                                             impressions.
                                                                                                                                                                             Typed notes and mental
                                                                                                                                                                             impressions summarizing
                                                MS Office                                                                                                                    legislative testimony
113 DOC_0000563   Texas Senate     3/29/2021                                                                                 Notes During Committee.docx      Legislative
                                                (2016) Word                                                                                                                  taken on SB7 and other
                                                                                                                                                                             legislation considered at
                                                                                                                                                                             committee.
                                                                                                                                                                             Legislator's typed section-
                                                MS Office                                                                    Section by Section Description                  by-section summary of
114 DOC_0000576   Texas Senate     3/25/2021                                                                                                                  Legislative
                                                (2016) Word                                                                  CSSB 7.docx                                     CSSB7, revealing mental
                                                                                                                                                                             impressions.
                                                                                                                                                                             Notes and talking points,
                                                                                                                                                                             for legislator's use,
                                                                                                                                                                             including a draft Q&A as
                                                MS Office
115 DOC_0000603   Texas Senate       8/5/2021                                                                                Amendments_QA.docx               Legislative    well as a summary of
                                                (2016) Word
                                                                                                                                                                             negotiations with other
                                                                                                                                                                             legislators that reveal
                                                                                                                                                                             mental impresssions.




                                                                                               Page 13                                                                              App256
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                                                                                                                                                           Legislator's typed notes
                                                MS Office                                                                                                  and mental impressions
116 DOC_0000605   Texas Senate     7/12/2021                                                                  Assistant_Oath_Memo.docx       Legislative
                                                (2016) Word                                                                                                regarding law
                                                                                                                                                           surrounding voter
                                                                                                                                                           Legislator's typed notes
                                                                                                                                                           and mental impressions
                                                MS Office
117 DOC_0000606   Texas Senate     10/7/2021                                                                  AZ_Audit_Responses.docx        Legislative   regarding applications to
                                                (2016) Word
                                                                                                                                                           vote by mail and proposed
                                                                                                                                                           reform.
                                                                                                                                                           Memorandum on voting
                                                                                                                                                           assistance in the vote-by
                                                Adobe Acrobat                                                 Ballot by Mail Assistance
118 DOC_0000607   Texas Senate     7/27/2021                                                                                                 Legislative   mail context which reveals
                                                (PDF)                                                         (PDF).pdf
                                                                                                                                                           legislator's mental
                                                                                                                                                           impressions.
                                                                                                                                                           Notes and talking points,
                                                                                                                                                           for legislator's use,
                                                MS Office                                                                                                  including draft a Q&A on
119 DOC_0000628   Texas Senate     8/16/2021                                                                                CrenshawQA.docx Legislative
                                                (2016) Word                                                                                                SB1, that reveal
                                                                                                                                                           legislator's mental
                                                                                                                                                           impressions.
                                                                                                                                                           Notes and talking points,
                                                                                                                                                           for legislator's use,
                                                MS Office                                                                                                  including draft a Q&A on
120 DOC_0000629   Texas Senate       8/2/2021                                                                                CrenshawQs.docx Legislative
                                                (2016) Word                                                                                                SB1, that reveal
                                                                                                                                                           legislator's mental
                                                                                                                                                           impressions.
                                                                                                                                                           Typed notes with
                                                                                                                                                           highlights and markings,
                                                                                                                                                           prepared for legislator's
                                                MS Office
121 DOC_0000640   Texas Senate   7/13/2021                                                                    ID Code Sections.docx          Legislative   use, that address cross-
                                                (2016) Word
                                                                                                                                                           referenced statutes in
                                                                                                                                                           SB1, revealing mental
                                                                                                                                                           impressions.
                                                                                                                                                           Notes and bulleted talking
                                                                                                                                                           points for layout of SB1
                                                MS Office                                                     S2FloorAmendment2Layout.d
122 DOC_0000655   Texas Senate     8/11/2021                                                                                                 Legislative   floor amendment that
                                                (2016) Word                                                   ocx
                                                                                                                                                           reveal legislator's mental
                                                                                                                                                           impressions..
                                                                                                                                                           Legislator's typed section-
                                                                                                              SB
                                                MS Office                                                                                                  by-section summary of
123 DOC_0000664   Texas Senate       7/9/2021                                                                 1_CouncilDraft_SectionbySect   Legislative
                                                (2016) Word                                                                                                SB1, revealing mental
                                                                                                              ion.docx
                                                                                                                                                           impressions.
                                                                                                                                                           Legislator's typed section-
                                                                                                              SB
                                                MS Office                                                                                                  by-section summary of
124 DOC_0000665   Texas Senate       8/5/2021                                                                 7_CouncilDraft_SectionbySect   Legislative
                                                (2016) Word                                                                                                SB1, revealing mental
                                                                                                              ion.docx
                                                                                                                                                           impressions.
                                                                                                                                                           Notes and talking points,
                                                                                                                                                           for legislator's use,
                                                MS Office                                                                                                  including draft a Q&A on
125 DOC_0000675   Texas Senate     7/12/2021                                                                  SB1_Floor_QA.docx              Legislative
                                                (2016) Word                                                                                                SB1, that reveal
                                                                                                                                                           legislator's mental
                                                                                                                                                           impressions.
                                                                                                                                                           Draft of SB7 that contains
                                                                                                              Election Integrity, Senate                   comments, markings, and
                                                MS Office
126 DOC_0000695   Texas Senate       7/4/2021                                                                 Draft_Word (TLR redlined HS    Legislative   redlines, revealing
                                                (2016) Word
                                                                                                              comments), July 2021.docx                    legislator's mental
                                                                                                                                                           impressions.




                                                                                    Page 14                                                                      App257
                                                              Table A - Improper Legislative Privilege Claims


                                                                                                                                                         Legislator's typed notes
                                                MS Office                                                   Federal Voting Rights and                    and mental impressions
127 DOC_0000696   Texas Senate     7/12/2021                                                                                               Legislative
                                                (2016) Word                                                 Assistance.docx                              regarding law
                                                                                                                                                         surrounding voter
                                                                                                                                                         Legislator's typed section-
                                                MS Office                                                                                                by-section summary of
128 DOC_0000697   Texas Senate       7/8/2021                                                               HB 3 Section by Section.docx   Legislative
                                                (2016) Word                                                                                              HB3, revealing mental
                                                                                                                                                         impressions.
                                                                                                                                                         Notes and bulleted talking
                                                                                                                                                         points for SB9 amendment
                                                MS Office                                                   Author_Amendment_Layout.d
129 DOC_0000702   Texas Senate     4/13/2019                                                                                               Legislative   layout that reveal
                                                (2016) Word                                                 ocx
                                                                                                                                                         legislator's mental
                                                                                                                                                         impressions.
                                                                                                                                                         Correspondence between
                                                Portable
                                                                                                                                                         legislator and staff
                                                Network                Hope Shelton     Senator Byran
130 DOC_0000737   Texas Senate   1/12/2022                                                                  IMG_4633.PNG                   Legislative   regarding pending
                                                Graphics               (Hughes GC)         Hughes
                                                                                                                                                         legislation on voter
                                                Format
                                                                                                                                                         assistance.
                                                                                                                                                         Correspondence between
                                                                                                                                                         legislator and staff
                                                JPEG File              Senator Bryan
131 DOC_0000739   Texas Senate   1/12/2022                                                                  IMG_4635.jpg                   Legislative   regarding pending
                                                Interchange            Hughes
                                                                                                                                                         legislation on voter
                                                                                                                                                         assistance.
                                                                                                                                                         Correspondence between
                                                Portable
                                                                                                                                                         legislator and legislative
                                                Network                Senator Bryan
132 DOC_0000742   Texas Senate   1/12/2022                                                                  IMG_4639.PNG                   Legislative   staff regarding pending
                                                Graphics               Hughes
                                                                                                                                                         legislation on voter
                                                Format
                                                                                                                                                         assistance.
                                                                                                                                                         Correspondence between
                                                Portable
                                                                                                                                                         legislator and legislative
                                                Network                Senator Bryan
133 DOC_0000743   Texas Senate   1/12/2022                                                                  IMG_4640.PNG                   Legislative   staff regarding pending
                                                Graphics               Hughes
                                                                                                                                                         legislation on voter
                                                Format
                                                                                                                                                         assistance.
                                                                                                                                                         Correspondence between
                                                Portable
                                                                                                                                                         legislative staffers
                                                Network                Hope Shelton
134 DOC_0000747   Texas Senate   1/12/2022                                                                  IMG-4611.PNG                   Legislative   regarding an internal
                                                Graphics               (Hughes GC)
                                                                                                                                                         memorandum on voting
                                                Format
                                                                                                                                                         assistance laws in Texas.
                                                                                                                                                         Correspondence between
                                                JPEG File              Senator Bryan                                                                     legislator and staff
135 DOC_0000748   Texas Senate   1/12/2022                                                                  IMG-4612.jpg                   Legislative
                                                Interchange            Hughes                                                                            regarding existing voter
                                                                                                                                                         assistance laws in Texas.
                                                                                                                                                         Correspondence between
                                                                                                                                                         legislator and legislative
                                                JPEG File              Senator Bryan
136 DOC_0000750   Texas Senate   1/12/2022                                                                  IMG-4614.jpg                   Legislative   staff regarding existing
                                                Interchange            Hughes
                                                                                                                                                         voter assistance laws in
                                                                                                                                                         Texas.
                                                                                             Drew
                                                                                         Tedford(State                                                   Correspondence between
                                                                                        Affairs Comm.                                                    legislator and legislative
                                                JPEG File              Senator Bryan
137 DOC_0000755   Texas Senate   1/12/2022                                                Dir); Jordan      IMG-4619.jpg                   Legislative   staff regarding pending
                                                Interchange            Hughes
                                                                                          Berry; Matt                                                    legislation on voter
                                                                                         Murdoch (A.                                                     assistance.
                                                                                        Paxton Staffer)




                                                                                       Page 15                                                                  App258
                                                        Table A - Improper Legislative Privilege Claims


                                                                                       Drew
                                                                                   Tedford(State                                   Correspondence between
                                             Portable
                                                                                  Affairs Comm.                                    legislator and staff
                                             Network             Senator Bryan
138 DOC_0000756   Texas Senate   1/12/2022                                          Dir); Jordan      IMG-4620.PNG   Legislative   regarding pending
                                             Graphics            Hughes
                                                                                    Berry; Matt                                    legislation on voter
                                             Format
                                                                                   Murdoch; (A.                                    assistance.
                                                                                  Paxton Staffer)
                                                                                   Drew Tedford
                                                                                   (State Affairs                                  Correspondence between
                                             Portable
                                                                                    Comm. Dir);                                    legislator and legislative
                                             Network             Senator Bryan
139 DOC_0000757   Texas Senate   1/12/2022                                        Jordan Berry;       IMG-4621.PNG   Legislative   staff regarding pending
                                             Graphics            Hughes
                                                                                  Matt Murdoch                                     legislation on voter
                                             Format
                                                                                     (A. Paxton                                    assistance.
                                                                                      Staffer)




                                                                                 Page 16                                                  App259
                                                              Table B - Legislative Privilege Waived


     ID Number    Custodian        Date Application Subject    Author        To             CC          Filename        Claim      Privilege Statement

                                         Scanned
                                                                                                                                   Report on international voting
                                         Document
    PDOC_000062 Representative                                                                                                     practices, containing hand-written
1                                        from                                                                        Legislative
              9     Cain                                                                                                           notes that reveal legislator's mental
                                         Legislator's
                                                                                                                                   impressions.
                                         Files
                                                                                                                                   Analysis of unspecified elections bill,
                                                                                                                                   received by legislative staff in a
                                                                                                                                   February 9, 2021 email from a third
                                                                                                                                   party not employed by the Legislature.
                                                                                                       File name                   This document was kept in
                                                                                                       omitted                     Representative Cain's personal file for
                                         Adobe
                 Representative                                                                        because it                  consideration of election legislation,
2 DOC_0000250                   2/9/2022 Acrobat                                                                     Legislative
                     Cain                                                                              contains                    and it reflects thought processes and
                                         (PDF)
                                                                                                       privileged                  mental impressions about pending
                                                                                                       information                 legislation.




                                                                                                                                   Analysis of unspecified elections bill,
                                                                                                                                   received by legislative staff in a
                                                                                                                                   February 9, 2021 email from a third
                                                                                                                                   party not employed by the Legislature.
                                                                                                       File name                   This document was kept in
                                                                                                       omitted                     Representative Cain's personal file for
                                         Adobe
                 Representative                                                                        because it                  consideration of election legislation,
3 DOC_0000251                   2/9/2022 Acrobat                                                                     Legislative
                     Cain                                                                              contains                    and it reflects thought processes and
                                         (PDF)
                                                                                                       privileged                  mental impressions about pending
                                                                                                       information                 legislation.




                                                                                                                                   Analysis of unspecified elections bill,
                                                                                                                                   received by legislative staff in a
                                                                                                                                   February 9, 2021 email from a third
                                                                                                                                   party not employed by the Legislature.
                                                                                                       File name                   This document was kept in
                                                                                                       omitted                     Representative Cain's personal file for
                                         Adobe
                 Representative                                                                        because it                  consideration of election legislation,
4 DOC_0000252                   2/9/2021 Acrobat                                                                     Legislative
                     Cain                                                                              contains                    and it reflects thought processes and
                                         (PDF)
                                                                                                       privileged                  mental impressions about pending
                                                                                                       information                 legislation.




                                                                              Page 1                                                                       App260
                                                 Table B - Legislative Privilege Waived


                                                                                                        Report provided to Representative
                                                                                                        Murr's office by organization, and
                                  Scanned                                                               contained in the Representative Murr's
                                  Document                                                              personal file for consideration of
     PDOC_000032 Representative
5                                 from                                                    Legislative   election legislation that reveals mental
         86          Murr
                                  Legislator's                                                          impressions.
                                  Files


                                                                                                        Report provided to Representative
                                                                                                        Murr's office by organization, and
                                  Scanned
                                                                                                        contained in the Representative's
                                  Document
     PDOC_000033 Representative                                                                         personal file for consideration of
6                                 from                                                    Legislative
         26          Murr                                                                               election legislation that reveals mental
                                  Legislator's
                                                                                                        impressions.
                                  Files


                                                                                                        Report provided to Representative
                                                                                                        Murr's office by organization, and
                                  Scanned
                                                                                                        contained in the Representative's
                                  Document
     PDOC_000033 Representative                                                                         personal file for consideration of
7                                 from                                                    Legislative
         66          Murr                                                                               election legislation that reveals mental
                                  Legislator's
                                                                                                        impressions.
                                  Files


                                                                                                        Report provided to Representative
                                                                                                        Murr's office by organization, and
                                  Scanned
                                                                                                        contained in the Representative's
                                  Document
     PDOC_000034 Representative                                                                         personal file for consideration of
8                                 from                                                    Legislative
         06          Murr                                                                               election legislation that reveals mental
                                  Legislator's
                                                                                                        impressions.
                                  Files


                                                                                                        Report provided to Representative
                                                                                                        Murr's office by organization, and
                                  Scanned
                                                                                                        contained in the Representative's
                                  Document
     PDOC_000034 Representative                                                                         personal file for consideration of
9                                 from                                                    Legislative
         46          Murr                                                                               election legislation that reveals mental
                                  Legislator's
                                                                                                        impressions.
                                  Files


                                  Scanned                                                               Analysis provided to Representative
                                  Document                                                              Murr's office, and contained in the
     PDOC_000038 Representative
10                                from                                                    Legislative   Representative's personal file for
         87          Murr
                                  Legislator's                                                          consideration of SB1 that reveal mental
                                  Files                                                                 impressions.




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                                                                      Table B - Legislative Privilege Waived


                                           Scanned                                                                                         Analysis provided to Representative
                                           Document                                                                                        Murr's office, and contained in the
     PDOC_000038 Representative
11                                         from                                                                              Legislative   Representative's personal file for
         89          Murr
                                           Legislator's                                                                                    consideration of SB1 that reveal mental
                                           Files                                                                                           impressions.
                                           Scanned
                                           Document                                                                                        Legislator's handwritten notes
     PDOC_000039 Representative
12                                         from                                                                              Legislative   concerning HB3 that reveal mental
         40          Murr
                                           Legislator's                                                                                    impressions related to legislation.
                                           Files
                                                                                                               File name
                                                          FW: Bucy                                                                         Confidential corresponence between
                                                                                                               omitted
                                            Adobe         Amendme              Sonya Aston                                                 legislator's attorney and non-legislative
                    Senator                                               Alan                                 because it
13 DOC_0000822                    8/27/2022 Acrobat       nt to SB1            (Bettencourt                                  Legislative   third-party, part of a pre-existing
                   Bettencourt                                            Vera                                 contains
                                            (PDF)         in the               GC)                                                         relationship, for the purpose of
                                                                                                               privileged
                                                          House                                                                            considering pending legislation.
                                                                                                               information
                                                                                                                                           Attachment to confidential
                                                                                                               File name                   corresponence between legislator's
                                                                                                               omitted                     attorney and non-legislative third-
                                            Adobe
                    Senator                                                                                    because it    Legislative; party, part of a pre-existing
14 DOC_0000824                    1/19/2022 Acrobat
                   Bettencourt                                                                                 contains      Investigative relationship, for the purpose of
                                            (PDF)
                                                                                                               privileged                  considering pending legislation.
                                                                                                               information


                                                                                                                                         Confidential corresponence between
                                                                                                                            Attorney
                                            Adobe                               Sonya Aston                                              legislator's attorney and non-legislative
                    Senator                                                Bill                                Bill Sargent Client; Work
15 DOC_0000834                    2/10/2021 Acrobat                             (Bettencourt                                             third-party, part of a pre-existing
                   Bettencourt                                         Sargent                                 email.pdf    Product;
                                            (PDF)                               GC)                                                      relationship, for the purpose of
                                                                                                                            Legislative
                                                                                                                                         considering pending legislation.

                                                                                                                                          Attachment to confidential
                                                                                                                                          corresponence between legislator's
                                                                                                               Changes to Attorney        attorney and non-legislative third-
                                            Adobe
                    Senator                                                                                    SB 7          Client; Work party, part of a pre-existing
16 DOC_0000835                    1/19/2022 Acrobat
                   Bettencourt                                                                                 legislative   Product;     relationship, for the purpose of
                                            (PDF)
                                                                                                               privilege.pdf Legislative considering pending legislation.


                                                          Longoria
                                                                                                               File name
                                                          Untruths                                                                        Confidential corresponence between
                                                                                                               omitted       Attorney
                                            Adobe         and                  Sonya Aston                                                legislator's attorney and non-legislative
                    Senator                                         Alan                                       because it    Client; Work
17 DOC_0000840                    8/10/2021 Acrobat       Misleadin            (Bettencourt                                               third-party, part of a pre-existing
                   Bettencourt                                      Vera                                       contains      Product;
                                            (PDF)         g                    GC)                                                        relationship, for the purpose of
                                                                                                               privileged    Legislative
                                                          Statement                                                                       considering pending legislation.
                                                                                                               information
                                                          s




                                                                                       Page 3                                                                       App262
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                                                                                                                                   Confidential corresponence between
                                                                                                                      Attorney
                                         Adobe                            Sonya Aston                                              legislator's attorney and non-legislative
                  Senator                                        Alan                                   Huckabee      Client; Work
18 DOC_0000845                  8/5/2021 Acrobat                          (Bettencourt                                             third-party, part of a pre-existing
                 Bettencourt                                     Vera                                   article.pdf   Product;
                                         (PDF)                            GC)                                                      relationship, for the purpose of
                                                                                                                      Legislative
                                                                                                                                   considering pending legislation.


                                                                                                                                   Confidential corresponence between
                                                                                                                      Attorney
                                         Adobe                            Sonya Aston                   Rest of IL                 legislator's attorney and non-legislative
                  Senator                          The rest of    Alan                                                Client; Work
19 DOC_0000850                 8/20/2021 Acrobat                          (Bettencourt                  comments                   third-party, part of a pre-existing
                 Bettencourt                        Longoria      Vera                                                Product;
                                         (PDF)                            GC)                           email.pdf                  relationship, for the purpose of
                                                                                                                      Legislative
                                                                                                                                   considering pending legislation.


                                                   FW: Alan
                                                                                                                                 Confidential corresponence between
                                                   Vera                                                             Attorney
                                         Adobe                           Sonya Aston                    SOS                      legislator's attorney and non-legislative
                  Senator                          Complaint        Alan                                            Client; Work
20 DOC_0000865                 1/19/2022 Acrobat                         (Bettencourt                   Complaints.              third-party, part of a pre-existing
                 Bettencourt                       s-               Vera                                            Product;
                                         (PDF)                           GC)                            pdf                      relationship, for the purpose of
                                                   Referral                                                         Legislative
                                                                                                                                 considering pending legislation.
                                                   Letters

                                                                                                        File name
                                                   TLR/TPPF                                                                        Confidential corresponence between
                                                                                                        omitted       Attorney
                                         Adobe     /HCRP                 Sonya Aston                                               legislator's attorney and non-legislative
                  Senator                                           Alan                                because it    Client; Work
21 DOC_0000868                 6/11/2021 Acrobat   BSC                   (Bettencourt                                              third-party, part of a pre-existing
                 Bettencourt                                        Vera                                contains      Product;
                                         (PDF)     Collaborat            GC)                                                       relationship, for the purpose of
                                                                                                        privileged    Legislative
                                                   ion                                                                             considering pending legislation.
                                                                                                        information
                                                                                                                                   Email forwarding contents of
                                                                                                                                   confidential corresponence between
                                                                                                                                   legislator's attorney and non-legislative
                                                                                                        File name                  third-party, part of a pre-existing
                                                                 Sonya                                  omitted       Attorney     relationship, for the purpose of
                                         Adobe                            Sonya Aston
                  Senator                                        Aston                                  because it    Client; Work considering pending legislation. This
22 DOC_0000869                 7/12/2021 Acrobat                          (Bettencourt
                 Bettencourt                                     (Bettenc                               contains      Product;     document was kept in Senator
                                         (PDF)                            GC)
                                                                 ourt GC)                               privileged    Legislative Bettencourt's personal file, revealing
                                                                                                        information                his thoughts and mental impressions.



                                                                                                        File name
                                                                                                                                    Presentation contained in Senator
                                         Adobe                                                          omitted
                  Senator                                                                                                           Bettcourt's personal file for use in
23 DOC_0000961                 1/19/2022 Acrobat                                                        because it    Legislative
                 Bettencourt                                                                                                        considering election legislation,
                                         (PDF)                                                          contains
                                                                                                                                    revealing mental impressions.
                                                                                                        privileged




                                                                                 Page 4                                                                      App263
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                                                                                                          (1)October 6
                                                                  Senator                                                                 Correspondence contained in Senator
                                         Adobe                                                            Letter from
                  Senator                                         Paul                                                                    Bettencourt's personal file for use in
24 DOC_0000967                 1/19/2022 Acrobat                           Lori Bohannon                  Sen.         Legislative
                 Bettencourt                                      Bettenco                                                                considering election legislation,
                                         (PDF)                                                            Bettencourt
                                                                  urt                                                                     revealing mental impressions.
                                                                                                          to Wich.pdf

                                                                                                          (1)October 6
                                                                  Senator                                                                 Communication contained in Senator
                                                                                                          Letter to
                  Senator                MS Office                Paul                                                                    Bettencourt's personal file for use in
25 DOC_0000968                 1/19/2022                                   Lori Bohannon                  Wichita Co Legislative
                 Bettencourt             (2016) Word              Bettenco                                                                considering election legislation,
                                                                                                          Clerk re SB
                                                                  urt                                                                     revealing mental impressions.
                                                                                                          11.docx

                                                                                                          October 6
                                                                  Senator                                                                 Correspondence contained in Senator
                                         Adobe                                                            Letter from
                  Senator                                         Paul                                                                    Bettencourt's personal file for use in
26 DOC_0001000                 10/6/2021 Acrobat                                                          Sen.            Legislative
                 Bettencourt                                      Bettenco                                                                considering election legislation,
                                         (PDF)                                                            Bettencourt
                                                                  urt                                                                     revealing mental impressions.
                                                                                                          to Wich.pdf

                                                                                                          October 6
                                                                  Senator                                                                 Correspondence contained in Senator
                                                                                                          Letter to
                  Senator                MS Office                Paul                                                                    Bettencourt's personal file for use in
27 DOC_0001001                 10/6/2021                                                                  Wichita Co      Legislative
                 Bettencourt             (2016) Word              Bettenco                                                                considering election legislation,
                                                                                                          Clerk re SB
                                                                  urt                                                                     revealing mental impressions.
                                                                                                          11.docx
                                                                             Ryan Fisher
                                                                                (OAG);
                                                                                                          2020-08
                                                                              Benjamin
                                                       Poetntial     Don                                  Potential                       Correspondence from legislator's staff
                                                                               Barkley
                                                       election     Barber                                election code   Attorney        to Office of Attorney General,
                                         Adobe                                (Benjamin
                  Senator                              code        (Bettenc                               violations,     Client;         concerning an election complaint,
28 DOC_0001055                 8/10/2020 Acrobat                               Barkley
                 Bettencourt                           violations,   ourt                                 please          Legislative;    considered when drafting legislation,
                                         (PDF)                              (Bettencourt
                                                       please        Leg.                                 review          Investigative   revealing legislator's mental
                                                                            Staffer); Marc
                                                       review        Dir.)                                (EMAILS).p                      impressions.
                                                                               Salvato (
                                                                                                          df
                                                                             Bettencourt
                                                                                 COS)
                                                                                                                                        Correspondence from constituents to
                                                                                                                                        legislatior's staff to provide solicited
                                                                              Don Barber
                                                                                                                                        information regarding incidents of
                                                      FW:                    (Bettencourt                 FW
                                                                                                                                        voting misconduct, kept in Senator
                                         Microsoft    Complaint               Leg. Dir.);                 Complaint
                  Senator                                             Alan                                                Legislative; Betten Court's files for use in
29 DOC_0001056                  8/8/2020 Outlook      for                      Benjamin                   for
                 Bettencourt                                          Vera                                                Investigative considering legislation, revealing
                                         Message Mail Forwardin                 Barkley                   Forwarding
                                                                                                                                        mental impressions.
                                                      g to OAG               (Bettencourt                 to OAG.msg
                                                                                Staffer)




                                                                                   Page 5                                                                         App264
                                                                   Table B - Legislative Privilege Waived


                                                                                                                                        Attachment to correspondence from
                                                                            Don Barber                                                  constituents, providing solicited
                                                                            (Sen.                                                       information regarding incidents of
                                                                            Bettencourt's                   Anna                        voting misconduct, kept in Senator
                   Senator                MS Office                    Alan Leg. Dir.);                     Eastman       Legislative; Betten Court's files for use in
30 DOC_0001057                  8/10/2020
                  Bettencourt             (2016) Word                  Vera Benjamin                        Video to      Investigative considering legislation, revealing
                                                                            Barkley (Sen.                   Voters.docx                 mental impressions.
                                                                            Bettencourt's
                                                                            Staffer)

                                                                               Don Barber                                              Attachment to correspondence from
                                                                              (Bettencourt                                             constituents, providing solicited
                                                                                                            Eastman
                                          Adobe                                Leg. Dir.);                                             information regarding incidents of
                   Senator                                             Alan                                 SOS          Legislative;
31 DOC_0001058                  8/10/2020 Acrobat                               Benjamin                                               voting misconduct, kept in Senator
                  Bettencourt                                          Vera                                 Complaint.p Investigative
                                          (PDF)                                  Barkley                                               Betten Court's files for use in
                                                                                                            df
                                                                              (Bettencourt                                             considering legislation, revealing
                                                                                 Staffer)                                              mental impressions.
                                                                                                                                         Attachment to correspondence from
                                                                                                                                         constituents, providing solicited
                                                                               Don Barber
                                                                                                                                         information regarding incidents of
                                                                              (Bettencourt
                                                                                                                                         voting misconduct, kept in Senator
                                            Adobe                              Leg. Dir.);                    Eastman     Legislative;
     DOC_000105    Senator                                          Alan                                                                 Betten Court's files for use in
32                              8/10/2020   Acrobat                             Benjamin                      voter       Investigati
     9            Bettencourt                                       Vera                                                                 considering legislation, revealing
                                            (PDF)                                Barkley                      packet.pdf  ve
                                                                                                                                         mental impressions.
                                                                              (Bettencourt
                                                                                 Staffer)


                                                                               Don Barber                                              Correspondence from constituents to
                                                                              (Bettencourt                                             legislatior's staff to provide solicited
                                                       FW:                                                  FW
                                          Microsoft                            Leg. Dir.);                                             information regarding incidents of
                   Senator                             Complaint       Alan                                 Complaint of Legislative;
33 DOC_0001062                   8/8/2020 Outlook                               Benjamin                                               voting misconduct, kept in Senator
                  Bettencourt                          of Voter        Vera                                 Voter        Investigative
                                          Message Mail                           Barkley                                               Betten Court's files for use in
                                                       Fraud                                                Fraud.msg
                                                                              (Bettencourt                                             considering legislation, revealing
                                                                                 Staffer)                                              mental impressions.
                                                                                                                                       Attachment to correspondence from
                                                                                                                                       constituents, providing solicited
                                                                               Don Barber
                                                                                                                                       information, regarding an elections
                                                                              (Bettencourt
                                                                                                                                       form, kept in Senator Betten Court's
                                          Adobe                                Leg. Dir.);                  Mazzapica
                   Senator                                             Alan                                              Legislative; files for use in considering legislation,
34 DOC_0001063                  8/10/2020 Acrobat                               Benjamin                    BBM
                  Bettencourt                                          Vera                                              Investigative revealing mental impressions.
                                          (PDF)                                  Barkley                    App.pdf
                                                                              (Bettencourt
                                                                                 Staffer)




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                                                                                                                                     Attachment to correspondence from
                                                                                                                                     constituents, providing solicited
                                                                             Don Barber                                              information, containing an elections
                                                                            (Bettencourt                                             complaint related to election
                                         Adobe                               Leg. Dir.);                  Mazzapica                  misconduct, kept in Senator Betten
                  Senator                                            Alan                                              Legislative;
35 DOC_0001064                 8/10/2020 Acrobat                              Benjamin                    SOS                        Court's files for use in considering
                 Bettencourt                                         Vera                                              Investigative
                                         (PDF)                                 Barkley                    Comlaint.pdf               legislation, revealing mental
                                                                            (Bettencourt                                             impressions.
                                                                               Staffer)


                                                                                                                                    Correspondence from constituent to
                                                                             Don Barber                                             legislator's staff to provide solicited
                                                                            (Bettencourt                                            information regarding voting
                                         Microsoft    This                   Leg. Dir.);                  This Week's               misconduct, kept in Senator
                  Senator                                            Alan                                             Legislative;
36 DOC_0001066                  8/8/2020 Outlook      Week's                  Benjamin                    Suspects.ms               Bettencourt's files for use in
                 Bettencourt                                         Vera                                             Investigative
                                         Message Mail Suspects                 Barkley                    g                         considering legislation, revealing
                                                                            (Bettencourt                                            mental impressions.
                                                                               Staffer)

                                                                                                                                     Attachment to correspondence from
                                                                                                                                     constituents, providing solicited
                                                                                                                                     information, related to mail- in ballots,
                                                                                                                                     kept in Senator Bettencourt's personal
                                         Microsoft                                                        Mail Ballots
                  Senator                                                                                              Legislative; file for use in considering election
37 DOC_0001067                 8/10/2020 Excel 2016                                                       Received.xls
                 Bettencourt                                                                                           Investigative legislation, revealing mental
                                         XML File                                                              x
                                                                                                                                     impressions.




                                                      AG Paxton                                           2020-09-24                   Correspondence between Office of
                                                      Announces                                           Texas AG                     Attorney General and legislator's staff,
                                                         Joint                                            statement,                   contained in Senator Bettencourt's
                                         Adobe                   Office of Don Barber
                  Senator                             Prosecutio                                          AG filed                     personal file for use in considering
38 DOC_0001071                 9/24/2020 Acrobat                 Attorney (Bettencourt                                   Legislative
                 Bettencourt                          n of Gregg                                          joint                        election legislation, revealing mental
                                         (PDF)                   General Leg. Dir.)
                                                       County                                             prosecution                  impressions.
                                                      Organized                                           in election
                                                       Election                                           fraud of mail-
                                                                                                          File name
                                                                                                                                       Report contained in Senator
                                         Adobe                                                            omitted
                  Senator                                                                                                              Bettencourt's personal file for use in
39 DOC_0001128                 1/19/2022 Acrobat                                                          because it     Legislative
                 Bettencourt                                                                                                           considering election legislation,
                                         (PDF)                                                            contains
                                                                                                                                       revealing mental impressions.
                                                                                                          privileged
                                                                                                          Best
                                                                                                                                       Report contained in Senator
                                         Adobe                                                            Practices for
                  Senator                                                                                                              Bettencourt's personal file for use in
40 DOC_0001151                 1/19/2022 Acrobat                                                          Achieving      Legislative
                 Bettencourt                                                                                                           considering election legislation,
                                         (PDF)                                                            Integrity in
                                                                                                                                       revealing mental impressions.
                                                                                                          Voter




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                                                                                                           File name
                                                                                                                                       Report contained in Senator
                                           Adobe                                                           omitted
                    Senator                                                                                                            Bettencourt's personal file for use in
41   DOC_0001154                 1/19/2022 Acrobat                                                         because it    Legislative
                   Bettencourt                                                                                                         considering election legislation
                                           (PDF)                                                           contains
                                                                                                                                       revealing mental impressions.
                                                                                                           privileged

                                                                                                           Copy of                     Report contained in the personal file of
                                           Microsoft                                                       Residential                 the Select Committee on Election
                                 11/26/201
42   DOC_0000287 Texas Senate              Excel 2016                                                      Care Facility Legislative   Security, for use in considering election
                                     8
                                           XML File                                                        Chapter 107                 legislaion, revealing mental
                                                                                                           Survey.xlsx                 impressions.

                                                                            Jose Salvador;                                             Correspondence from Senator Hughes,
                                                                               John Lee                                                on behalf of Select Committee on
                                                                              Rodriguez;                                               Election Security, to third party not
                                                                            Kathryn Nealy;                                             employed by legislature, soliciting
                                          Adobe                     Senator
                                                                             Kara Sands;                   County_Lett                 information for use in considering
43   DOC_0000289 Texas Senate    5/2/2018 Acrobat                   Bryan                                              Legislative
                                                                             Toni Pippins-                 ers.pdf                     election legislation, revealing mental
                                          (PDF)                     Hughes
                                                                            Poole; Brenda                                              impressions.
                                                                            Samples; Lupe
                                                                                Torres

                                                                                                                                       Correspondence rom Senator Hughes,
                                                                                                                                       on behalf of Select Committee on
                                                                                                                                       Election Security, to third party, not
                                          Adobe                     Senator                                                            employed by legislature, soliciting
                                                                              Toni Pippins-                Dallas_Co_L
44   DOC_0000290 Texas Senate    5/3/2018 Acrobat                   Bryan                                              Legislative     information for use in considering
                                                                                 Poole                     etter.pdf
                                          (PDF)                     Hughes                                                             election legislation, revealing mental
                                                                                                                                       impressions.


                                                                                                                                       Correspondence between Drew Tedford,
                                                                                                                                       who is Senator Hughes's general
                                                                                                                                       counsel, and Jonathan White, the
                                                                                                                                       division chief of the Attorney General's
                                                        FW:                                                FW
                                           Microsoft                Jonatha Drew Tedford                               Attorney        election integrity division. The email
                                 11/14/201              Legislative                                        Legislative
45 DOC_0000321 Texas Senate                Outlook                  n White (State Affairs                             Client;         consists of Mr. White's
                                     8                  Recommen                                           Recommend
                                           Message Mail             (OAG)   Comm. Dir).                                Legislative     recommendations and advice to Mr.
                                                        datio ns                                           ations.msg
                                                                                                                                       Tedford concerning pending legislation.




                                                                                    Page 8                                                                      App267
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                                                                                                                                    Correspondence between Drew Tedford,
                                                                                                                                    who is Senator Hughes's general
                                                                                                                                    counsel, and Keith Ingram, the director
                                                                                                                                    of the Secretary of State's elections
                                        Microsoft                Keith Drew Tedford                                                 division. The email consists of Mr.
                                                     FW:                                                FW
46 DOC_0000329 Texas Senate   9/13/2018 Outlook                 Ingram (State Affairs                               Legislative     Ingram's recommendations and advice
                                                     waivers                                            waivers.msg
                                        Message Mail             (SOS) Comm. Dir).                                                  to Mr. Tedford concerning pending
                                                                                                                                    legislation.



                                                                        Jose Salvador;                                              Correspondence from Senator Hughes,
                                                                           John Lee                                                 on behalf of Select Committee on
                                                                          Rodriguez;                                                Election Security, to third party,
                                                                        Kathryn Nealy;                                              soliciting information for use in
                                       Adobe                    Senator
                                                                         Kara Sands;                    County_Lett                 considering election legislation,
47 DOC_0000368 Texas Senate   5/2/2018 Acrobat                  Bryan                                               Legislative
                                                                         Toni Pippins-                  ers.pdf                     revealing mental impressions.
                                       (PDF)                    Hughes
                                                                        Poole; Brenda
                                                                        Samples; Lupe
                                                                            Torres

                                                                                                                                    Correspondence between Drew Tedford,
                                                                                                                                    who is Senator Hughes's general
                                                                                                                                    counsel, and Keith Ingram, the director
                                       Microsoft                 Keith Drew Tedford                                                 of the Secretary of State's elections
48 DOC_0000371 Texas Senate   5/2/2018 Outlook      list        Ingram (State Affairs                   list.msg      Legislative   division for the purpose of seeking
                                       Message Mail              (SOS) Comm. Dir).                                                  advice concerning pending election
                                                                                                                                    legislation.


                                                                                                                                    Attachment to correspondence between
                                                                                                                                    Drew Tedford, who is Senator Hughes's
                                                                                                                                    general counsel, and Keith Ingram, the
                                                                                                                                    director of the Secretary of State's
                                                                 Keith Drew Tedford                     Copy of
                                          Microsoft                                                                                 elections division for the purpose of
49 DOC_0000372 Texas Senate    5/2/2018                         Ingram (State Affairs                   Complaint     Legislative
                                          Excel 2013                                                                                seeking advice concerning pending
                                                                 (SOS) Comm. Dir).                      Status.xlsx
                                                                                                                                    election legislation.




                                                                                                                                    Correspondence between Senator
                                                                                                                                    Hughes, on behalf of Select Committee
                                                                                                                                    on Election Security, and third party
                                                     Request                                                                        not employed by Legislature, regarding
                                        Microsoft                      Drew Tedford                     Request for
                                                     for        James                                                               information for use in considering
50 DOC_0000394 Texas Senate   5/17/2018 Outlook                        (State Affairs                   information. Legislative
                                                     informatio Palomo                                                              election legislation, revealing mental
                                        Message Mail                   Comm. Dir).                      msg
                                                     n                                                                              impressions.




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                                                                                                                                   Attachment to correspondence between
                                                                                                                                   Senator Hughes, on behalf of Select
                                                                                                                                   Committee on Election Security, and
                                                                                                         180306 DEM
                                                                                                                                   third party not employed by
                                                                                                         Primary
                                        Adobe                           Drew Tedford                                               Legislature, regarding information for
                                                                 James                                   Election
51 DOC_0000395 Texas Senate   5/17/2018 Acrobat                         (State Affairs                               Legislative   use in considering election legislation,
                                                                 Palomo                                  Final
                                        (PDF)                           Comm. Dir).                                                revealing mental impressions.
                                                                                                         PctbyPct Ev
                                                                                                         Mail.pdf



                                                                                                                                   Attachment to correspondence between
                                                                                                                                   Senator Hughes, on behalf of Select
                                                                                                         180306 REP                Committee on Election Security, and
                                                                                                         Primary                   third party not employed by
                                        Adobe                           Drew Tedford                     Election                  Legislature, regarding information for
                                                                 James
52 DOC_0000396 Texas Senate   5/17/2018 Acrobat                         (State Affairs                   Final       Legislative   use in considering election legislation,
                                                                 Palomo
                                        (PDF)                           Comm. Dir).                      PctbyPct Ev               revealing mental impressions.
                                                                                                         Mail_EL52.p
                                                                                                         df


                                                                                                                                   Correspondence between Senator
                                                                                                                                   Hughes, on behalf of Select Committee
                                                                                                                                   on Election Security, and third party
                                                                                                                                   not employed by Legislature, regarding
                                        Adobe                    Senator
                                                                            Toni Pippins-                Dallas_Co_L               information for use in considering
53 DOC_0000397 Texas Senate   5/17/2018 Acrobat                  Bryan                                               Legislative
                                                                               Poole                     etter.pdf                 election legislation, revealing mental
                                        (PDF)                    Hughes
                                                                                                                                   impressions.




                                                                                                         EV Poll Bill
                                                                                                                                   Data gathered by Senator Hughes on
                                        Microsoft                                                        data by Ed
                                                                                                                                   behalf of the Select Committee on
54 DOC_0000449 Texas Senate   3/19/2021 Excel 2016                                                       Johnson_Ha Legislative
                                                                                                                                   Election Security for use in considering
                                        XML File                                                         rris Co
                                                                                                                                   election legislation.
                                                                                                         2020.xlsx
                                                                                            Adam Moses
                                                                                           (TLC); Carey
                                                                            Tracy Snelson
                                                                 Jessica                  Eskridge (TLC);
                                                                             (TLC); Hope                                           Email bewteen legislative staffers,
                                                                 Hart                      Drew Tedford               Attorney
                                        Microsoft                              Shelton                                             attached to correspondence between the
                                                     RE: SB 7    (Electio                  (State Affairs ITEM.4.E-   Client; Work
55 DOC_0000497 Texas Senate   5/28/2021 Outlook                             (Hughes GC);                                           Texas Legislative Council and
                                                     Changes     ns                       Comm. Dir); Alix MAIL.msg   Product;
                                        Message Mail                          Elizabeth                                            legislator's staff, containing proposed
                                                                 Comm.                    Morris (Lt. Gov);           Legislative
                                                                               Alvarez                                             language for SB7.
                                                                 Staffer)                       Justin
                                                                              (Attorney)
                                                                                          Williamson (Cain
                                                                                                COS)




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                                                                                                   Adam
                                                                                              Moses(TLC) ;
                                                                                             Carey Eskridge
                                                                                              (TLC); Drew
                                                                 Jessica                                                                     Email bewteen legislative staffers,
                                                                            Elizabeth        Tedford (State
                                                                 Hart                                                         Attorney       attached to correspondence between the
                                        Microsoft                           Alvarez          Affairs Comm. ITEM.8.E-
                                                     RE: SB 7    (Electio                                                     Client; Work   Texas Legislative Council and
56 DOC_0000501 Texas Senate   5/28/2021 Outlook                             (Attorney);     Dir) ; Alix Morris MAIL.msg
                                                     Changes     ns                                                           Product;       legislator's staff, containing drafting
                                        Message Mail                        Tracy Snelson    (Lt.Gov); Hope
                                                                 Comm.                                                        Legislative    instructions and proposed language for
                                                                            (TLC)           Shelton (Hughes
                                                                 Staffer)                                                                    SB7.
                                                                                               GC); Justin
                                                                                            Williamson (Cain
                                                                                                   COS)

                                                     FW: 6         Alix
                                        Microsoft                        Drew Tedford                           FW 6 Base                    Correspondence between legslator's
                                                     Base         Morris
57 DOC_0000503 Texas Senate   5/24/2021 Outlook                 7        (State Affairs                         7 v4 0-3      Legislative    staff and the Lt. Governor's office
                                                     v4.0-         (Lt.
                                        Message Mail                     Comm. Dir).                            docx.msg                     regarding draft language for SB7.
                                                     3.docx       Gov.)
                                                                                                                                             Attachment to correspondence between
                                                                                                                                             legslator's staff and the Lt. Governor's
                                                                                                                                             office that contains a draft of SB7 with
                                        MS Office 12                                                                                         comments, markings, and track
                                                                                                                6 Base 7
58 DOC_0000504 Texas Senate   5/24/2021 (2007) Word                                                                           Legislative    changes, revealing legislator's mental
                                                                                                                v4.0-3.docx
                                        XML format                                                                                           impressions.




                                                                                             Adam Moses                                    Correspondence between Texas
                                                                                            (TLC); Carey                                   Legislative Council, legislator's staff,
                                                                             Tracy Snelson
                                                                 Jessica                   Eskridge (TLC);                                 and private attorney that contans
                                                                              (TLC); Hope
                                                                 Hart                       Drew Tedford                      Attorney     drafting instructions, along with notes
                                        Microsoft                               Shelton
                                                     RE: SB 7    (Electio                   (State Affairs      ITEM.4.E-     Client; Work and comments, revealing mental
59 DOC_0000508 Texas Senate   5/28/2021 Outlook                              (Hughes GC);
                                                     Changes     ns                        Comm. Dir); Alix     MAIL.msg      Product;     impressions.
                                        Message Mail                           Elizabeth
                                                                 Comm.                     Morris (Lt. Gov.)                  Legislative
                                                                                Alvarez
                                                                 Staffer)                       ; Justin
                                                                               (Attorney)
                                                                                           Williamson (Cain
                                                                                                  COS)
                                                                                             Adam Moses
                                                                                            (TLC); Carey
                                                                                           Eskridge (TLC);
                                                                 Jessica                    Drew Tedford
                                                                            Elizabeth
                                                                 Hart                       (State Affairs                    Attorney       Correspondence between legislator's
                                        Microsoft                           Alvarez
                                                     RE: SB 7    (Electio                  Comm. Dir); Alix     ITEM.8.E-     Client; Work   staff, Texas Legislative Council, and
60 DOC_0000512 Texas Senate   5/28/2021 Outlook                             (Attorney);
                                                     Changes     ns                        Morris (Lt. Gov.);   MAIL.msg      Product;       private attorney, regarding proposed
                                        Message Mail                        Tracy Snelson
                                                                 Comm.                      Hope Shelton                      Legislative    language for SB7.
                                                                            (TLC)
                                                                 Staffer)                   (Hughes GC);
                                                                                                 Justin
                                                                                           Williamson (Cain
                                                                                                  COS)




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                                                                                              Adam Moses
                                                                                             (TLC); Carey
                                                                                            Eskridge (TLC);
                                                                                             Drew Tedford
                                                                 Elizabet
                                                                                             (State Affairs
                                        Microsoft                h        Jessica Hart                           Re SB 7     Attorney Correspondence between private
                                                     Re: SB 7                               Comm. Dir); Alix
61 DOC_0000517 Texas Senate   5/28/2021 Outlook                  Alvarez (Elections                              Changes      Client;   attorney and legislator's staff about
                                                     Changes                                Morris (Lt. Gov.);
                                        Message Mail             (Attorne Comm. Staffer)                         2.msg      Legislative proposed changes to SB7.
                                                                                             Hope Shelton
                                                                 y)
                                                                                             (Hughes GC);
                                                                                                  Justin
                                                                                            Williamson (Cain
                                                                                                  COS)
                                                                                              Adam Moses
                                                                                             (TLC); Carey
                                                                                            Eskridge (TLC);
                                                                                             Drew Tedford
                                                                 Elizabet
                                                                                             (State Affairs
                                        Microsoft                h        Jessica Hart                           Re SB 7     Attorney Correspondence between private
                                                     Re: SB 7                               Comm. Dir); Alix
62 DOC_0000518 Texas Senate   5/28/2021 Outlook                  Alvarez (Elections                              Changes      Client;   attorney and legislator's staff about
                                                     Changes                                Morris (Lt. Gov.);
                                        Message Mail             (Attorne Comm. Staffer)                         3.msg      Legislative proposed changes to SB7.
                                                                                             Hope Shelton
                                                                 y)
                                                                                             (Hughes GC);
                                                                                                  Justin
                                                                                            Williamson (Cain
                                                                                                  COS)
                                                                                              Adam Moses
                                                                           Jessica Hart      (TLC); Carey
                                                                             (Elections     Eskridge (TLC);
                                                                                                                                        Correspondence between legislator's
                                                                 Hope    Comm. Staffer);     Drew Tedford                  Attorney
                                        Microsoft                                                                RE SB 7                staff, Texas Legislative Council, and
                                                     RE: SB 7    Shelton     Elizabeth       (State Affairs                Client; Work
63 DOC_0000519 Texas Senate   5/28/2021 Outlook                                                                  Changes                private attorney, containing drafting
                                                     Changes     (Hughes      Alvarez       Comm. Dir); Alix               Product;
                                        Message Mail                                                             5.msg                  instructions and proposed changes to
                                                                 GC)        (Attorney);     Morris (Lt. Gov.);             Legislative
                                                                                                                                        SB7.
                                                                          Tracy Snelson           Justin
                                                                               (TLC)        Williamson (Cain
                                                                                                  COS)
                                                                                              Adam Moses
                                                                                             (TLC); Carey
                                                                            Hope Shelton
                                                                 Jessica                    Eskridge (TLC);
                                                                            (Hughes GC);                                                Correspondence between legislator's
                                                                 Hart                        Drew Tedford                  Attorney
                                        Microsoft                             Elizabeth                          RE SB 7                staff, Texas Legislative Council, and
                                                     RE: SB 7    (Electio                    (State Affairs                Client; Work
64 DOC_0000520 Texas Senate   5/28/2021 Outlook                                Alvarez                           Changes                private attorney, containing drafting
                                                     Changes     ns                         Comm. Dir); Alix               Product;
                                        Message Mail                         (Attorney);                         6.msg                  instructions and proposed changes to
                                                                 Comm.                      Morris (Lt. Gov.);             Legislative
                                                                            Tracy Snelson                                               SB7.
                                                                 Staffer)                         Justin
                                                                                (TLC)
                                                                                            Williamson (Cain
                                                                                                  COS)




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                                                                                             Adam Moses
                                                                           Jessica Hart     (TLC); Carey
                                                                             (Election     Eskridge (TLC);
                                                                                                                                       Correspondence between legislator's
                                                                         Comm. Staffer);    Drew Tedford                  Attorney
                                        Microsoft                 Tracy                                        RE SB 7                 staff, Texas Legislative Council, and
                                                     RE: SB 7             Hope Shelton      (State Affairs                Client; Work
65 DOC_0000521 Texas Senate   5/28/2021 Outlook                  Snelson                                       Changes                 private attorney, containing drafting
                                                     Changes              (Hughes GC);   Comm. Dir); Alix                 Product;
                                        Message Mail              (TLC)                                        7.msg                   instructions and proposed changes to
                                                                            Elizabeth    Morris (Lt. Gov.);               Legislative
                                                                                                                                       SB7.
                                                                              Alvarez           Justin
                                                                            (Attorney)   Williamson (Cain
                                                                                                COS)
                                                                                             Adam Moses
                                                                                            (TLC); Carey
                                                                           Tracy Snelson
                                                                 Jessica                   Eskridge (TLC);
                                                                            (TLC); Hope                                                Correspondence between legislator's
                                                                 Hart                       Drew Tedford                  Attorney
                                        Microsoft                             Shelton                          RE SB 7                 staff, Texas Legislative Council, and
                                                     RE: SB 7    (Electio                   (State Affairs                Client; Work
66 DOC_0000522 Texas Senate   5/28/2021 Outlook                            (Hughes GC);                        Changes                 private attorney, containing drafting
                                                     Changes     ns                      Comm. Dir); Alix                 Product;
                                        Message Mail                         Elizabeth                         9.msg                   instructions and proposed changes to
                                                                 Comm.                   Morris (Lt. Gov.);               Legislative
                                                                              Alvarez                                                  SB7.
                                                                 Staffer)                       Justin
                                                                             (Attorney)
                                                                                         Williamson (Cain
                                                                                                COS)
                                                                            Jessica Hart   Carey Eskridge
                                                                             (Elections      (TLC); Drew
                                                                          Comm. Staffer); Tedford (State
                                                                           Tracy Snelson    Affaris Comm                               Correspondence between legislator's
                                                                                                                          Attorney
                                        Microsoft                 Adam      (TLC); Hope Dir); Alix Morris      RE SB 7                 staff, Texas Legislative Council, and
                                                     RE: SB 7                                                             Client; Work
67 DOC_0000523 Texas Senate   5/28/2021 Outlook                   Moses       Shelton     (Lt. Gov.); Justin   Changes                 private attorney, containing drafting
                                                     Changes                                                              Product;
                                        Message Mail               (TLC)   (Hughes GC); Williamson (Cain       10.msg                  instructions and proposed changes to
                                                                                                                          Legislative
                                                                             Elizabeth          COS)                                   SB7.
                                                                              Alvarez
                                                                             (Attorney)

                                                                                            Carey Eskridge
                                                                              Adam Moses
                                                                                             (TLC); Drew
                                                                 Jessica     (TLC); Tracy
                                                                                            Tedford (State                             Correspondence between legislator's
                                                                 Hart       Snelson (TLC);                                Attorney
                                        Microsoft                                            Affaris Comm RE SB 7                      staff, Texas Legislative Council, and
                                                     RE: SB 7    (Electio    Hope Shelton                                 Client; Work
68 DOC_0000524 Texas Senate   5/28/2021 Outlook                                            Dir); Alix Morris Changes                   private attorney, containing drafting
                                                     Changes     ns          (Hughes GC);                                 Product;
                                        Message Mail                                       (Lt. Gov.); Justin 11.msg                   instructions and proposed changes to
                                                                 Comm.         Elizabeth                                  Legislative
                                                                                           Williamson (Cain                            SB7.
                                                                 Staffer)       Alvarez
                                                                                                 COS)
                                                                               (Attorney)
                                                                                            Carey Eskridge
                                                                              Adam Moses
                                                                                             (TLC); Drew
                                                                 Jessica     (TLC); Tracy
                                                                                            Tedford (State                             Attachment to correspondence between
                                                                 Hart       Snelson (TLC);                                Attorney
                                        Adobe                                               Affairs Comm.                              legislator's staff, Texas Legislative
                                                                 (Electio    Hope Shelton                     87R         Client; Work
69 DOC_0000525 Texas Senate   5/28/2021 Acrobat                                            Dir); Alix Morris                           Council, and private attorney that
                                                                 ns          (Hughes GC);                     30396.pdf   Product;
                                        (PDF)                                              (Lt. Gov.); Justin                          contains a draft of SB7, prepared for
                                                                 Comm.         Elizabeth                                  Legislative
                                                                                           Williamson (Cain                            legislator's use.
                                                                 Staffer)       Alvarez
                                                                                                 COS)
                                                                               (Attorney)




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                                                                                          Alix Morris (Lt.
                                                                  Elizabet                  Gov.); Drew                                 Correspondence between legislator's
                                                                                                                           Attorney
                                        Microsoft                 h        Jessica Hart    Tedford (State                               staff, Lt. Governor's office, and private
                                                        Re: start                                            Re start of   Client; Work
70 DOC_0000527 Texas Senate   5/28/2021 Outlook                   Alvarez (Elections       Affairs Comm.                                attorney, containing drafting
                                                         of list                                             list 1.msg    Product;
                                        Message Mail              (Attorne Comm. Staffer)    Dir); Hope                                 instructions and proposed changes to
                                                                                                                           Legislative
                                                                  y)                      Shelton (Hughes                               SB7.
                                                                                                GC)
                                                                                          Alix Morris (Lt.
                                                                  Jessica
                                                                                            Gov.); Drew                                 Correspondence between legislator's
                                                                  Hart                                                     Attorney
                                        Microsoft                             Elizabeth    Tedford (State                               staff, Lt. Governor's office, and private
                                                        RE: start (Electio                                   RE start of   Client; Work
71 DOC_0000528 Texas Senate   5/28/2021 Outlook                                Alvarez     Affairs Comm.                                attorney, containing drafting
                                                         of list  ns                                         list 2.msg    Product;
                                        Message Mail                          (Attorney)     Dir); Hope                                 instructions and proposed changes to
                                                                  Comm.                                                    Legislative
                                                                                          Shelton (Hughes                               SB7.
                                                                  Staffer)
                                                                                                GC)
                                                                                          Alix Morris (Lt.
                                                                  Jessica
                                                                                            Gov.); Drew                                 Correspondence between legislator's
                                                                  Hart                                                     Attorney
                                        Microsoft                             Elizabeth    Tedford (State                               staff, Lt. Governor's office, and private
                                                        RE: start (Electio                                   RE start of   Client; Work
72 DOC_0000529 Texas Senate   5/28/2021 Outlook                                Alvarez     Affairs Comm.                                attorney, containing drafting
                                                         of list  ns                                         list 3.msg    Product;
                                        Message Mail                          (Attorney)    Dir.); Hope                                 instructions and proposed changes to
                                                                  Comm.                                                    Legislative
                                                                                          Shelton (Hughes                               SB7.
                                                                  Staffer)
                                                                                                GC)
                                                                                                                                       Attachment to correspondence between
                                                                                                                                       legislator's staff, Lt. Governor's office,
                                                                  Jessica
                                                                                                                                       and private attorney, containing typed
                                                                  Hart                                                    Attorney
                                                                                                                                       notes, prepared for Texas Legislative
                                          MS Office               (Electio                                                Client; Work
73 DOC_0000530 Texas Senate   5/28/2021                                                                      changes.docx              Council, that provide drafting
                                          (2016) Word             ns                                                      Product;
                                                                                                                                       instructions regarding SB7.
                                                                  Comm.                                                   Legislative
                                                                  Staffer)


                                                                                           Alix Morris (Lt.
                                                                  Jessica
                                                                                             Gov.); Drew                                Correspondence between legislator's
                                                                  Hart                                                     Attorney
                                        Microsoft                            Elizabeth      Tedford (State                              staff, Lt. Govenror's office, and private
                                                        RE: start (Electio                                  RE start of    Client; Work
74 DOC_0000531 Texas Senate   5/28/2021 Outlook                               Alvarez       Affairs Comm.                               attorney, containing drafting
                                                         of list  ns                                        list 4.msg     Product;
                                        Message Mail                         (Attorney)       Dir); Hope                                instructions and proposed changes to
                                                                  Comm.                                                    Legislative
                                                                                           Shelton (Hughes                              SB7.
                                                                  Staffer)
                                                                                                 GC)
                                                                                                                                       Attachment to correspondence between
                                                                                                                                       legislator's staff, Lt. Governor's office,
                                                                  Jessica
                                                                                                                                       and private attorney, containing typed
                                                                  Hart                                                    Attorney
                                                                                                                                       notes, prepared for Texas Legislative
                                          MS Office               (Electio                                                Client; Work
75 DOC_0000532 Texas Senate   5/28/2021                                                                      changes.docx              Council, that provide drafting
                                          (2016) Word             ns                                                      Product;
                                                                                                                                       instructions regarding SB7.
                                                                  Comm.                                                   Legislative
                                                                  Staffer)




                                                                                 Page 14                                                                          App273
                                                                 Table B - Legislative Privilege Waived


                                                                                           Alix Morris (Lt.
                                                                  Jessica
                                                                                             Gov.); Drew                                Correspondence between legislator's
                                                                  Hart                                                     Attorney
                                        Microsoft                            Elizabeth      Tedford (State                              staff, Lt. Governor's office, and private
                                                        RE: start (Electio                                  RE start of    Client; Work
76 DOC_0000533 Texas Senate   5/28/2021 Outlook                               Alvarez       Affairs Comm.                               attorney, containing drafting
                                                         of list  ns                                        list 5.msg     Product;
                                        Message Mail                         (Attorney)       Dir); Hope                                instructions and proposed changes to
                                                                  Comm.                                                    Legislative
                                                                                           Shelton (Hughes                              SB7.
                                                                  Staffer)
                                                                                                 GC)
                                                                                                                                       Attachment to correspondence between
                                                                                                                                       legislator's staff, Lt. Governor's office,
                                                                  Jessica
                                                                                                                                       and private attorney, containing typed
                                                                  Hart                                                    Attorney
                                                                                                                                       notes, prepared for Texas Legislative
                                          MS Office               (Electio                                                Client; Work
77 DOC_0000534 Texas Senate   5/28/2021                                                                      changes.docx              Council, that provide drafting
                                          (2016) Word             ns                                                      Product;
                                                                                                                                       instructions regarding SB7.
                                                                  Comm.                                                   Legislative
                                                                  Staffer)


                                        Adobe                                                                                             Draft of SB7 prepared by Texas
                                                                                                             87R
78 DOC_0000538 Texas Senate   5/28/2021 Acrobat                                                                            Legislative    Legislative Counsel for Conference
                                                                                                             30396.pdf
                                        (PDF)                                                                                             Committee's use.
                                                                                         Drew Tedford
                                                                                         (State Affairs
                                                                                          Comm. Dir);
                                                                Jessica                     Elizabeth
                                                                Hart                         Alvarez                       Attorney       Correspondence between legislator's
                                        Microsoft                        Adam Moses                          SB 7
                                                         SB 7   (Electio                (Attorney); Alix                   Client; Work   staff, Texas Legislative Council, and
79 DOC_0000539 Texas Senate   5/28/2021 Outlook                          (TLC); Carey                        Changes
                                                        Changes ns                      Morris (Lt. Gov.);                 Product;       private attorney, regarding proposed
                                        Message Mail                     Eskridge (TLC)                      1.msg
                                                                Comm.                    Hope Shelton                      Legislative    changes to SB7.
                                                                Staffer)                 (Hughes GC);
                                                                                              Justin
                                                                                        Williamson (Cain
                                                                                              COS)
                                                                                         Drew Tedford                                  Attachment to correspondence between
                                                                                         (State Affairs                                legislator's staff, Texas Legislative
                                                                                         Comm. Dir.);                                  Counsil, and private attorney,
                                                                Jessica                     Elizabeth                                  containing typed notes, prepared for
                                                                Hart                         Alvarez                      Attorney     Texas Legislative Council, that provide
                                                                         Adam Moses
                                          MS Office             (Electio                (Attorney); Alix                  Client; Work drafting instructions regarding SB7.
80 DOC_0000540 Texas Senate   5/28/2021                                  (TLC); Carey                        changes.docx
                                          (2016) Word           ns                      Morris (Lt. Gov.);                Product;
                                                                         Eskridge (TLC)
                                                                Comm.                    Hope Shelton                     Legislative
                                                                Staffer)                 (Hughes GC);
                                                                                              Justin
                                                                                          Williamson
                                                                                          (Caiin COS)




                                                                                 Page 15                                                                          App274
                                                               Table B - Legislative Privilege Waived


                                                                       Alexander
                                                                       Hammond;
                                                                       Marc
                                                                       Salvato
                                                                       (Bettencourt
                                                                       COS); Anna
                                                                       Barnett; Josh
                                                               Drew    Reyna; Aaron
                                                               Tedford Harris; Carrie      Alix Morris (Lt.
                                        Microsoft                                                           SB 7                       Correspondence between legislators'
                                                     SB 7      (State  Smith; Tara           Gov.); Hope
81 DOC_0000541 Texas Senate   5/29/2021 Outlook                                                             documents.m Legislative    staff regarding proposed changes to
                                                     documents Affairs Clements;           Shelton (Hughes
                                        Message Mail                                                        sg                         SB7 during reconcilation process.
                                                               Comm. Peter Einhorn;              GC)
                                                               Dir)    Margaret
                                                                       Wallace; Amy
                                                                       Lane; Stacey
                                                                       Chamberlin;
                                                                       Luis Moreno;
                                                                       M ll K S
                                                                       C d T

                                                                           Jessica Hart
                                                                            (Elections
                                                                         Comm. Staffer);
                                                                Elizabet Sloan Byerly
                                        Microsoft               h         (Clardy COS);                                 Attorney       Correspondence between private
                                                     Version to                                            Version to
82 DOC_0000546 Texas Senate   5/25/2021 Outlook                 Alvarez Alix Morris (Lt.                                Client;        attorney and legislator's staff about
                                                     Drafters                                              Drafters.msg
                                        Message Mail            (Attorne    Gov); Drew                                  Legislative    proposed changes to SB7.
                                                                y)       Tedford (State
                                                                         Affairs Comm.
                                                                               Dir).

                                                                           Jessica Hart
                                                                            (Elections
                                                                         Comm. Staffer);
                                                                Elizabet Sloan Byerly                                                 Attachment to correspondence between
                                                                                                                         Attorney
                                        Adobe                   h         (Clardy COS);                                               private attorney and legislator's staff
                                                                                                                         Client; Work
83 DOC_0000547 Texas Senate   5/25/2021 Acrobat                 Alvarez Alix Morris (Lt.                   SB7 5.1.pdf                containing a draft of SB7 with notes,
                                                                                                                         Product;
                                        (PDF)                   (Attorne   Gov.); Drew                                                markings, and track changes that
                                                                                                                         Legislative
                                                                y)       Tedford (State                                               reveal mental impressions.
                                                                         Affairs Comm.
                                                                               Dir).


                                                                                                                                       Legislator's typed notes and mental
                                        MS Office                                                          ALEC                        impressions regarding structure of
84 DOC_0000602 Texas Senate   7/26/2021                                                                                  Legislative
                                        (2016) Word                                                        notes.docx                  Texas election system, citizenship
                                                                                                                                       verification, and means of enforcement.




                                                                               Page 16                                                                          App275
                                                               Table B - Legislative Privilege Waived


                                                                                                                                    Correspondence between Office of
                                                                                                                                    Attorney General and legislative staff
                                                     City of
                                                                                                          City of      Attorney     to provide solicited information
                                        Microsoft    Hidalgo    Jonatha Drew Tedford
                                                                                                          Hidalgo 2016 Client; Work regarding incidents of voting
85 DOC_0000619 Texas Senate   6/25/2021 Outlook      2016       n White (State Affairs
                                                                                                          Assistance   Product;     misconduct, revealing legislator's
                                        Message Mail Assistance (OAG)   Comm. Dir).
                                                                                                          Fraud.msg Legislative mental impressions.
                                                     Fraud


                                                                                                                                      Attachment to correspondence between
                                                                                                                                      Office and Attorney General to
                                                                                                          Angie
                                                                                                                                      legislatve staff that contains a
                                                                                                          Cavazos -
                                        Adobe                                                                          Attorney       transcript rom a state court case
                                                                                                          Sworn
86 DOC_0000624 Texas Senate   6/25/2021 Acrobat                                                                        Client;        involving vote fraud and reveals
                                                                                                          Testimony -
                                        (PDF)                                                                          Legislative    legislator's mental impressions
                                                                                                          Highlighted.
                                                                                                          pdf


                                                                                                                                     Correspondence between Office of
                                                                                                          File name                  Attorney General, the Lt. Governor's
                                                     Re:
                                                                                                          omitted       Attorney     offfice, and legislative staff, providing
                                        Microsoft    Disability White,
                                                                        Alix Morris (Lt.                  because it    Client; Work legal advice on ADA and HIPPA
87 DOC_0000715 Texas Senate   3/16/2019 Outlook      Rights     Jonatha                    Drew Tedford
                                                                             Gov.)                        contains      Product;     compliance, that reveal's legislator's
                                        Message Mail Concerns n (OAG)
                                                                                                          privileged    Legislative mental impressions.
                                                     on SB 9
                                                                                                          information

                                                                                                                                  Correspondence between legislaor and
                                                                                                                                  Office of the Attorney General staff
                                        Portable                                                                     Attorney     related to solicited information about
                                                                Jonatha
                                        Network                                                           IMG_4629.P Client; Work incidents of voting misconduct,
88 DOC_0000734 Texas Senate   1/12/2022                         n White
                                        Graphics                                                          NG         Product;     revealing legislator's mental
                                                                (OAG)
                                        Format                                                                       Legislative impressions.


                                                                                                                                      Correspondence between legislaor and
                                                                                                                                      Office of the Attorney General staff
                                                                                                                                      related to solicited information about
                                                                                                                      Attorney
                                          JPEG File                        Jonathan                       IMG_4636.jp                 incidents of voting misconduct,
89 DOC_0000740 Texas Senate   1/12/2022                                                                               Client;
                                          Interchange                     White (OAG)                     g                           revealing legislator's mental
                                                                                                                      Legislative
                                                                                                                                      impressions.




                                                                                Page 17                                                                        App276
                                                                            Table C - Improper ACP and WP Claims


    ID Number   Custodian         Date Application Subject                  Author                   To         CC           Filename               Claim       Privilege Statement
                                                                                                                                                                Confidential corresponence
                                                                                                                                                Attorney        between legislator's attorney and
                 Senator                  Adobe                                              Sonya Aston                                        Client; Work    non-legislative third-party, part
1 DOC_0000834                 2/10/2021                                       Bill Sargent                           Bill Sargent email.pdf
                Bettencourt               Acrobat (PDF)                                      (Bettencourt GC)                                   Product;        of a pre-existing relationship, for
                                                                                                                                                Legislative     the purpose of considering
                                                                                                                                                                pending legislation.
                                                                                                                                                                Attachment to confidential
                                                                                                                                                                corresponence between
                                                                                                                                                 Attorney
                                                                                                                                                                legislator's attorney and non-
                 Senator                  Adobe                                                                      Changes to SB 7 legislative Client; Work
2 DOC_0000835                 1/19/2022                                                                                                                         legislative third-party, part of a
                Bettencourt               Acrobat (PDF)                                                              privilege.pdf               Product;
                                                                                                                                                                pre-existing relationship, for the
                                                                                                                                                 Legislative
                                                                                                                                                                purpose of considering pending
                                                                                                                                                                legislation.
                                                                                                                                                                Confidential corresponence
                                                        Longoria                                                                               Attorney         between legislator's attorney and
                                                                                                                     File name omitted because
                 Senator                  Adobe         Untruths and                         Sonya Aston                                       Client; Work     non-legislative third-party, part
3 DOC_0000840                 8/10/2021                                     Alan Vera                                it contains privileged
                Bettencourt               Acrobat (PDF) Misleading                           (Bettencourt GC)                                  Product;         of a pre-existing relationship, for
                                                                                                                     information
                                                        Statements                                                                             Legislative      the purpose of considering
                                                                                                                                                                pending legislation.
                                                                                                                                                                Confidential corresponence
                                                                                                                                                Attorney        between legislator's attorney and
                 Senator                  Adobe                                              Sonya Aston                                        Client; Work    non-legislative third-party, part
4 DOC_0000845                  8/5/2021                                     Alan Vera                                Huckabee article.pdf
                Bettencourt               Acrobat (PDF)                                      (Bettencourt GC)                                   Product;        of a pre-existing relationship, for
                                                                                                                                                Legislative     the purpose of considering
                                                                                                                                                                pending legislation.
                                                                                                                                                                Confidential corresponence
                                                                                                                                                Attorney        between legislator's attorney and
                 Senator                  Adobe             The rest of                      Sonya Aston             Rest of IL comments        Client; Work    non-legislative third-party, part
5 DOC_0000850                 8/20/2021                                       Alan Vera
                Bettencourt               Acrobat (PDF)      Longoria                        (Bettencourt GC)        email.pdf                  Product;        of a pre-existing relationship, for
                                                                                                                                                Legislative     the purpose of considering
                                                                                                                                                                pending legislation.
                                                                                                                                                                Confidential corresponence
                                                                                                                                                Attorney        between legislator's attorney and
                                                        FW: Alan Vera
                 Senator                  Adobe                                              Sonya Aston                                        Client; Work    non-legislative third-party, part
6 DOC_0000865                 1/19/2022                 Complaints -            Alan Vera                            SOS Complaints.pdf
                Bettencourt               Acrobat (PDF)                                      (Bettencourt GC)                                   Product;        of a pre-existing relationship, for
                                                        Referral Letters
                                                                                                                                                Legislative     the purpose of considering
                                                                                                                                                                pending legislation.
                                                                                                                                                                Confidential corresponence
                                                                                                                                               Attorney         between legislator's attorney and
                                                                                                                     File name omitted because
                 Senator                  Adobe         TLR/TPPF/HCRP                        Sonya Aston                                       Client; Work     non-legislative third-party, part
7 DOC_0000868                 6/11/2021                                         Alan Vera                            it contains privileged
                Bettencourt               Acrobat (PDF) BSC Collaboration                    (Bettencourt GC)                                  Product;         of a pre-existing relationship, for
                                                                                                                     information
                                                                                                                                               Legislative      the purpose of considering
                                                                                                                                                                pending legislation.
                                                                                                                                                                Email forwarding contents of
                                                                                                                                                                confidential corresponence
                                                                                                                                                                between legislator's attorney and
                                                                                                                                                                non-legislative third-party, part
                                                                                                                                               Attorney
                                                                            Sonya Aston                              File name omitted because                  of a pre-existing relationship, for
                 Senator                Adobe                                                Sonya Aston                                       Client; Work
8 DOC_0000869                 7/12/2021                                     (Bettencourt                             it contains privileged                     the purpose of considering
                Bettencourt             Acrobat (PDF)                                        (Bettencourt GC)                                  Product;
                                                                            GC)                                      information                                pending legislation. This
                                                                                                                                               Legislative
                                                                                                                                                                document was kept in Senator
                                                                                                                                                                Bettencourt's personal file,
                                                                                                                                                                revealing his thoughts and
                                                                                                                                                                mental impressions.




                                                                                                    Page 1                                                                     App277
                                                                         Table C - Improper ACP and WP Claims


                                                                                                                                                                         Correspondence between Drew
                                                                                                                                                                         Tedford, who is Senator Hughes's
                                                                                                                                                                         general counsel, and Jonathan
                                                                                                                                                                         White, the division chief of the
                                          Microsoft    FW: Legislative               Drew Tedford                                                         Attorney
                                11/14/201                                Jonathan                                                 FW Legislative                         Attorney General's election
9 DOC_0000321    Texas Senate             Outlook      Recommendatio                 (State Affairs                                                       Client;
                                    8                                    White (OAG)                                              Recommendations.msg                    integrity division. The email
                                          Message Mail ns                            Comm. Dir).                                                          Legislative
                                                                                                                                                                         consists of Mr. White's
                                                                                                                                                                         recommendations and advice to
                                                                                                                                                                         Mr. Tedford concerning pending
                                                                                                                                                                         legislation.
                                                                                                            Adam Moses(TLC) ;
                                                                                                              Carey Eskridge
                                                                                                                (TLC); Drew                                              Email bewteen legislative
                                                                                                               Tedford (State                                            staffers, attached to
                                                                         Jessica Hart                                                                     Attorney
                                          Microsoft                                     Elizabeth Alvarez   Affairs Comm. Dir)                                           correspondence between the
                                                       RE: SB 7          (Elections                                                                       Client; Work
10 DOC_0000501   Texas Senate   5/28/2021 Outlook                                       (Attorney); Tracy       ; Alix Morris     ITEM.8.E-MAIL.msg                      Texas Legislative Council and
                                                       Changes           Comm.                                                                            Product;
                                          Message Mail                                  Snelson (TLC)         (Lt.Gov); Hope                                             legislator's staff, containing
                                                                         Staffer)                                                                         Legislative
                                                                                                             Shelton (Hughes                                             drafting instructions and
                                                                                                                 GC); Justin                                             proposed language for SB7.
                                                                                                             Williamson (Cain
                                                                                                                    COS)
                                                                                                            Adam Moses (TLC);
                                                                                                              Carey Eskridge
                                                                                                                (TLC); Drew
                                                                                                               Tedford (State                                            Correspondence between
                                                                         Jessica Hart                                                                     Attorney
                                          Microsoft                                     Elizabeth Alvarez   Affairs Comm. Dir);                                          legislator's staff, Texas
                                                       RE: SB 7          (Elections                                                                       Client; Work
11 DOC_0000512   Texas Senate   5/28/2021 Outlook                                       (Attorney); Tracy     Alix Morris (Lt.    ITEM.8.E-MAIL.msg                      Legislative Council, and private
                                                       Changes           Comm.                                                                            Product;
                                          Message Mail                                  Snelson (TLC)            Gov.); Hope                                             attorney, regarding proposed
                                                                         Staffer)                                                                         Legislative
                                                                                                             Shelton (Hughes                                             language for SB7.
                                                                                                                 GC); Justin
                                                                                                             Williamson (Cain
                                                                                                                    COS)
                                                                                                            Adam Moses (TLC);
                                                                                                              Carey Eskridge
                                                                                                                (TLC); Drew
                                                                                                               Tedford (State
                                          Microsoft                      Elizabeth      Jessica Hart        Affairs Comm. Dir);                             Attorney     Correspondence between private
                                                       Re: SB 7
12 DOC_0000517   Texas Senate   5/28/2021 Outlook                        Alvarez        (Elections Comm.      Alix Morris (Lt.    Re SB 7 Changes 2.msg      Client;     attorney and legislator's staff
                                                       Changes
                                          Message Mail                   (Attorney)     Staffer)                 Gov.); Hope                               Legislative   about proposed changes to SB7.
                                                                                                             Shelton (Hughes
                                                                                                                 GC); Justin
                                                                                                             Williamson (Cain
                                                                                                                    COS)
                                                                                                            Adam Moses (TLC);
                                                                                                              Carey Eskridge
                                                                                                                (TLC); Drew
                                                                                                               Tedford (State
                                          Microsoft                      Elizabeth      Jessica Hart        Affairs Comm. Dir);                             Attorney     Correspondence between private
                                                       Re: SB 7
13 DOC_0000518   Texas Senate   5/28/2021 Outlook                        Alvarez        (Elections Comm.      Alix Morris (Lt.    Re SB 7 Changes 3.msg      Client;     attorney and legislator's staff
                                                       Changes
                                          Message Mail                   (Attorney)     Staffer)                 Gov.); Hope                               Legislative   about proposed changes to SB7.
                                                                                                             Shelton (Hughes
                                                                                                                 GC); Justin
                                                                                                             Williamson (Cain
                                                                                                                    COS)




                                                                                               Page 2                                                                                  App278
                                                                  Table C - Improper ACP and WP Claims


                                                                                                   Adam Moses (TLC);
                                                                                                     Carey Eskridge
                                                                                     Jessica Hart                                                                Correspondence between
                                                                                                       (TLC); Drew
                                                                                 (Elections Comm.                                                 Attorney       legislator's staff, Texas
                                          Microsoft                                                   Tedford (State
                                                       RE: SB 7   Hope Shelton Staffer); Elizabeth                                                Client; Work   Legislative Council, and private
14 DOC_0000519   Texas Senate   5/28/2021 Outlook                                                  Affairs Comm. Dir);   RE SB 7 Changes 5.msg
                                                       Changes    (Hughes GC) Alvarez (Attorney);                                                 Product;       attorney, containing drafting
                                          Message Mail                                               Alix Morris (Lt.
                                                                                   Tracy Snelson                                                  Legislative    instructions and proposed
                                                                                                       Gov.); Justin
                                                                                        (TLC)                                                                    changes to SB7.
                                                                                                    Williamson (Cain
                                                                                                           COS)
                                                                                                   Adam Moses (TLC);
                                                                                                     Carey Eskridge
                                                                                                                                                                 Correspondence between
                                                                                    Hope Shelton       (TLC); Drew
                                                                  Jessica Hart                                                                    Attorney       legislator's staff, Texas
                                          Microsoft                                 (Hughes GC);      Tedford (State
                                                       RE: SB 7   (Elections                                                                      Client; Work   Legislative Council, and private
15 DOC_0000520   Texas Senate   5/28/2021 Outlook                                Elizabeth Alvarez Affairs Comm. Dir);   RE SB 7 Changes 6.msg
                                                       Changes    Comm.                                                                           Product;       attorney, containing drafting
                                          Message Mail                           (Attorney); Tracy   Alix Morris (Lt.
                                                                  Staffer)                                                                        Legislative    instructions and proposed
                                                                                   Snelson (TLC)       Gov.); Justin
                                                                                                                                                                 changes to SB7.
                                                                                                    Williamson (Cain
                                                                                                           COS)
                                                                                                   Adam Moses (TLC);
                                                                                                     Carey Eskridge
                                                                                     Jessica Hart                                                                Correspondence between
                                                                                                       (TLC); Drew
                                                                                  (Election Comm.                                                 Attorney       legislator's staff, Texas
                                          Microsoft                                                   Tedford (State
                                                       RE: SB 7   Tracy Snelson    Staffer); Hope                                                 Client; Work   Legislative Council, and private
16 DOC_0000521   Texas Senate   5/28/2021 Outlook                                                  Affairs Comm. Dir);   RE SB 7 Changes 7.msg
                                                       Changes        (TLC)       Shelton (Hughes                                                 Product;       attorney, containing drafting
                                          Message Mail                                               Alix Morris (Lt.
                                                                                   GC); Elizabeth                                                 Legislative    instructions and proposed
                                                                                                       Gov.); Justin
                                                                                Alvarez (Attorney)                                                               changes to SB7.
                                                                                                    Williamson (Cain
                                                                                                           COS)
                                                                                                   Adam Moses (TLC);
                                                                                                     Carey Eskridge
                                                                                                                                                                 Correspondence between
                                                                                   Tracy Snelson       (TLC); Drew
                                                                  Jessica Hart                                                                    Attorney       legislator's staff, Texas
                                          Microsoft                                  (TLC); Hope      Tedford (State
                                                       RE: SB 7   (Elections                                                                      Client; Work   Legislative Council, and private
17 DOC_0000522   Texas Senate   5/28/2021 Outlook                                 Shelton (Hughes Affairs Comm. Dir);    RE SB 7 Changes 9.msg
                                                       Changes    Comm.                                                                           Product;       attorney, containing drafting
                                          Message Mail                             GC); Elizabeth    Alix Morris (Lt.
                                                                  Staffer)                                                                        Legislative    instructions and proposed
                                                                                Alvarez (Attorney)     Gov.); Justin
                                                                                                                                                                 changes to SB7.
                                                                                                    Williamson (Cain
                                                                                                           COS)
                                                                                     Jessica Hart    Carey Eskridge
                                                                                 (Elections Comm.      (TLC); Drew                                               Correspondence between
                                                                                   Staffer); Tracy    Tedford (State                              Attorney       legislator's staff, Texas
                                          Microsoft
                                                       RE: SB 7    Adam Moses      Snelson (TLC);  Affaris Comm Dir);                             Client; Work   Legislative Council, and private
18 DOC_0000523   Texas Senate   5/28/2021 Outlook                                                                        RE SB 7 Changes 10.msg
                                                       Changes        (TLC)         Hope Shelton     Alix Morris (Lt.                             Product;       attorney, containing drafting
                                          Message Mail
                                                                                    (Hughes GC);       Gov.); Justin                              Legislative    instructions and proposed
                                                                                 Elizabeth Alvarez Williamson (Cain                                              changes to SB7.
                                                                                      (Attorney)           COS)
                                                                                                     Carey Eskridge
                                                                                Adam Moses (TLC);      (TLC); Drew                                               Correspondence between
                                                                  Jessica Hart     Tracy Snelson      Tedford (State                              Attorney       legislator's staff, Texas
                                          Microsoft
                                                       RE: SB 7   (Elections         (TLC); Hope   Affaris Comm Dir);                             Client; Work   Legislative Council, and private
19 DOC_0000524   Texas Senate   5/28/2021 Outlook                                                                        RE SB 7 Changes 11.msg
                                                       Changes    Comm.           Shelton (Hughes    Alix Morris (Lt.                             Product;       attorney, containing drafting
                                          Message Mail
                                                                  Staffer)         GC); Elizabeth      Gov.); Justin                              Legislative    instructions and proposed
                                                                                Alvarez (Attorney) Williamson (Cain                                              changes to SB7.
                                                                                                           COS)




                                                                                       Page 3                                                                                  App279
                                                                              Table C - Improper ACP and WP Claims


                                                                                                                   Carey Eskridge
                                                                                             Adam Moses (TLC);       (TLC); Drew
                                                                                                                                                                               Attachment to correspondence
                                                                              Jessica Hart      Tracy Snelson       Tedford (State                              Attorney
                                                                                                                                                                               between legislator's staff, Texas
                                          Adobe                               (Elections         (TLC); Hope     Affairs Comm. Dir);                            Client; Work
20 DOC_0000525   Texas Senate   5/28/2021                                                                                              87R 30396.pdf                           Legislative Council, and private
                                          Acrobat (PDF)                       Comm.            Shelton (Hughes     Alix Morris (Lt.                             Product;
                                                                                                                                                                               attorney that contains a draft of
                                                                              Staffer)          GC); Elizabeth       Gov.); Justin                              Legislative
                                                                                                                                                                               SB7, prepared for legislator's use.
                                                                                              Alvarez (Attorney) Williamson (Cain
                                                                                                                         COS)
                                                                                                                   Alix Morris (Lt.
                                                                                                                                                                               Correspondence between
                                                                                                                      Gov.); Drew                               Attorney
                                          Microsoft                           Elizabeth      Jessica Hart                                                                      legislator's staff, Lt. Governor's
                                                                                                                    Tedford (State                              Client; Work
21 DOC_0000527   Texas Senate   5/28/2021 Outlook         Re: start of list   Alvarez        (Elections Comm.                          Re start of list 1.msg                  office, and private attorney,
                                                                                                                 Affairs Comm. Dir);                            Product;
                                          Message Mail                        (Attorney)     Staffer)                                                                          containing drafting instructions
                                                                                                                    Hope Shelton                                Legislative
                                                                                                                                                                               and proposed changes to SB7.
                                                                                                                     (Hughes GC)
                                                                                                                   Alix Morris (Lt.
                                                                                                                                                                               Correspondence between
                                                                              Jessica Hart                            Gov.); Drew                               Attorney
                                          Microsoft                                                                                                                            legislator's staff, Lt. Governor's
                                                                              (Elections      Elizabeth Alvarez     Tedford (State                              Client; Work
22 DOC_0000528   Texas Senate   5/28/2021 Outlook         RE: start of list                                                            RE start of list 2.msg                  office, and private attorney,
                                                                              Comm.               (Attorney)     Affairs Comm. Dir);                            Product;
                                          Message Mail                                                                                                                         containing drafting instructions
                                                                              Staffer)                              Hope Shelton                                Legislative
                                                                                                                                                                               and proposed changes to SB7.
                                                                                                                     (Hughes GC)
                                                                                                                   Alix Morris (Lt.
                                                                                                                                                                               Correspondence between
                                                                              Jessica Hart                            Gov.); Drew                               Attorney
                                          Microsoft                                                                                                                            legislator's staff, Lt. Governor's
                                                                              (Elections      Elizabeth Alvarez     Tedford (State                              Client; Work
23 DOC_0000529   Texas Senate   5/28/2021 Outlook         RE: start of list                                                            RE start of list 3.msg                  office, and private attorney,
                                                                              Comm.               (Attorney)       Affairs Comm.                                Product;
                                          Message Mail                                                                                                                         containing drafting instructions
                                                                              Staffer)                           Dir.); Hope Shelton                            Legislative
                                                                                                                                                                               and proposed changes to SB7.
                                                                                                                     (Hughes GC)
                                                                                                                                                                               Attachment to correspondence
                                                                                                                                                                               between legislator's staff, Lt.
                                                                              Jessica Hart                                                                      Attorney
                                                                                                                                                                               Governor's office, and private
                                            MS Office                         (Elections                                                                        Client; Work
24 DOC_0000530   Texas Senate   5/28/2021                                                                                              changes.docx                            attorney, containing typed notes,
                                            (2016) Word                       Comm.                                                                             Product;
                                                                                                                                                                               prepared for Texas Legislative
                                                                              Staffer)                                                                          Legislative
                                                                                                                                                                               Council, that provide drafting
                                                                                                                                                                               instructions regarding SB7.
                                                                                                                  Alix Morris (Lt.
                                                                                                                                                                               Correspondence between
                                                                              Jessica Hart                           Gov.); Drew                                Attorney
                                          Microsoft                                                                                                                            legislator's staff, Lt. Govenror's
                                                                              (Elections      Elizabeth Alvarez    Tedford (State                               Client; Work
25 DOC_0000531   Texas Senate   5/28/2021 Outlook         RE: start of list                                                         RE start of list 4.msg                     office, and private attorney,
                                                                              Comm.               (Attorney)    Affairs Comm. Dir);                             Product;
                                          Message Mail                                                                                                                         containing drafting instructions
                                                                              Staffer)                             Hope Shelton                                 Legislative
                                                                                                                                                                               and proposed changes to SB7.
                                                                                                                    (Hughes GC)
                                                                                                                                                                               Attachment to correspondence
                                                                                                                                                                               between legislator's staff, Lt.
                                                                              Jessica Hart                                                                      Attorney
                                                                                                                                                                               Governor's office, and private
                                            MS Office                         (Elections                                                                        Client; Work
26 DOC_0000532   Texas Senate   5/28/2021                                                                                              changes.docx                            attorney, containing typed notes,
                                            (2016) Word                       Comm.                                                                             Product;
                                                                                                                                                                               prepared for Texas Legislative
                                                                              Staffer)                                                                          Legislative
                                                                                                                                                                               Council, that provide drafting
                                                                                                                                                                               instructions regarding SB7.
                                                                                                                  Alix Morris (Lt.
                                                                                                                                                                               Correspondence between
                                                                              Jessica Hart                           Gov.); Drew                                Attorney
                                          Microsoft                                                                                                                            legislator's staff, Lt. Governor's
                                                                              (Elections      Elizabeth Alvarez    Tedford (State                               Client; Work
27 DOC_0000533   Texas Senate   5/28/2021 Outlook         RE: start of list                                                         RE start of list 5.msg                     office, and private attorney,
                                                                              Comm.               (Attorney)    Affairs Comm. Dir);                             Product;
                                          Message Mail                                                                                                                         containing drafting instructions
                                                                              Staffer)                             Hope Shelton                                 Legislative
                                                                                                                                                                               and proposed changes to SB7.
                                                                                                                    (Hughes GC)




                                                                                                     Page 4                                                                                   App280
                                                                               Table C - Improper ACP and WP Claims


                                                                                                                                                                                    Attachment to correspondence
                                                                                                                                                                                    between legislator's staff, Lt.
                                                                               Jessica Hart                                                                          Attorney
                                                                                                                                                                                    Governor's office, and private
                                              MS Office                        (Elections                                                                            Client; Work
28 DOC_0000534     Texas Senate   5/28/2021                                                                                            changes.docx                                 attorney, containing typed notes,
                                              (2016) Word                      Comm.                                                                                 Product;
                                                                                                                                                                                    prepared for Texas Legislative
                                                                               Staffer)                                                                              Legislative
                                                                                                                                                                                    Council, that provide drafting
                                                                                                                                                                                    instructions regarding SB7.
                                                                                                                      Drew Tedford
                                                                                                                      (State Affairs
                                                                                                                       Comm. Dir);
                                                                                                                                                                                    Correspondence between
                                                                               Jessica Hart                         Elizabeth Alvarez                                Attorney
                                            Microsoft                                           Adam Moses (TLC);                                                                   legislator's staff, Texas
                                                                               (Elections                            (Attorney); Alix                                Client; Work
29 DOC_0000539     Texas Senate   5/28/2021 Outlook           SB 7 Changes                      Carey Eskridge                         SB 7 Changes 1.msg                           Legislative Council, and private
                                                                               Comm.                                Morris (Lt. Gov.);                               Product;
                                            Message Mail                                        (TLC)                                                                               attorney, regarding proposed
                                                                               Staffer)                               Hope Shelton                                   Legislative
                                                                                                                                                                                    changes to SB7.
                                                                                                                      (Hughes GC);
                                                                                                                    Justin Williamson
                                                                                                                       (Cain COS)
                                                                                                                      Drew Tedford                                                  Attachment to correspondence
                                                                                                                      (State Affairs                                                between legislator's staff, Texas
                                                                                                                      Comm. Dir.);                                                  Legislative Counsil, and private
                                                                               Jessica Hart                         Elizabeth Alvarez                                Attorney       attorney, containing typed notes,
                                                                                                Adam Moses (TLC);
                                              MS Office                        (Elections                            (Attorney); Alix                                Client; Work   prepared for Texas Legislative
30 DOC_0000540     Texas Senate   5/28/2021                                                     Carey Eskridge                         changes.docx
                                              (2016) Word                      Comm.                                Morris (Lt. Gov.);                               Product;       Council, that provide drafting
                                                                                                (TLC)
                                                                               Staffer)                               Hope Shelton                                   Legislative    instructions regarding SB7.
                                                                                                                      (Hughes GC);
                                                                                                                    Justin Williamson
                                                                                                                       (Caiin COS)
                                                                                                    Jessica Hart
                                                                                                 (Elections Comm.
                                                                                                   Staffer); Sloan
                                            Microsoft                          Elizabeth                                                                             Attorney       Correspondence between private
                                                         Version to                                Byerly (Clardy
31 DOC_0000546     Texas Senate   5/25/2021 Outlook                            Alvarez                                                 Version to Drafters.msg       Client;        attorney and legislator's staff
                                                         Drafters                                COS); Alix Morris
                                            Message Mail                       (Attorney)                                                                            Legislative    about proposed changes to SB7.
                                                                                                  (Lt. Gov); Drew
                                                                                                   Tedford (State
                                                                                                Affairs Comm. Dir).
                                                                                                    Jessica Hart
                                                                                                 (Elections Comm.                                                                   Attachment to correspondence
                                                                                                   Staffer); Sloan                                                   Attorney       between private attorney and
                                                                               Elizabeth
                                              Adobe                                                Byerly (Clardy                                                    Client; Work   legislator's staff containing a
32 DOC_0000547     Texas Senate   5/25/2021                                    Alvarez                                                 SB7 5.1.pdf
                                              Acrobat (PDF)                                      COS); Alix Morris                                                   Product;       draft of SB7 with notes,
                                                                               (Attorney)
                                                                                                  (Lt. Gov.); Drew                                                   Legislative    markings, and track changes that
                                                                                                   Tedford (State                                                                   reveal mental impressions.
                                                                                                Affairs Comm. Dir).
                                                                                                                                                                                   Correspondence between Office of
                                                                                                                                                                                   Attorney General, the Lt.
                                                                                                                                                                 Attorney
                                            Microsoft    Re: Disability        White,                                                  File name omitted because                   Governor's offfice, and legislative
                                                                                                  Alix Morris (Lt.                                               Client; Work
33 DOC_0000715     Texas Senate   3/16/2019 Outlook      Rights Concerns       Jonathan                               Drew Tedford     it contains privileged                      staff, providing legal advice on
                                                                                                       Gov.)                                                     Product;
                                            Message Mail on SB 9               (OAG)                                                   information                                 ADA and HIPPA compliance, that
                                                                                                                                                                 Legislative
                                                                                                                                                                                   reveal's legislator's mental
                                                                                                                                                                                   impressions.
                                                                                                Ryan Fisher (OAG);                                                                   Correspondence from
                                                                                                 Benjamin Barkley                                                     Attorney       legislator's staff to Office of
                                                              Poetntial           Don Barber
                                               Adobe                                            (Benjamin Barkley                       2020-08 Potential election    Client;        Attorney General, concerning
                     Senator                                  election code      (Bettencourt
34   DOC_0001055                  8/10/2020    Acrobat                                             (Bettencourt                         code violations, please       Legislative;   an election complaint,
                    Bettencourt                               violations, please     Leg.
                                               (PDF)                                               Staffer); Marc                       review (EMAILS).pdf           Investigativ considered when drafting
                                                              review                 Dir.)
                                                                                                     Salvato (                                                        e              legislation, revealing legislator's
                                                                                                 Bettencourt COS)                                                                    mental impressions.




                                                                                                        Page 5                                                                                     App281
                                                                             Table C - Improper ACP and WP Claims


                                                                                                                                                                        Correspondence between
                                                                                                                                                          Attorney      legislaor and Office of the
                                             Portable
                                                                              Jonathan                                                                    Client;       Attorney General staff related
                   Texas                     Network
35   DOC_0000734                 1/12/2022                                    White                                                IMG_4629.PNG           Work          to solicited information about
                   Senate                    Graphics
                                                                              (OAG)                                                                       Product;      incidents of voting misconduct,
                                             Format
                                                                                                                                                          Legislative   revealing legislator's mental
                                                                                                                                                                        impressions.
                                                                                                                                                                        Correspondence between
                                                                                                                                                                        legislaor and Office of the
                                                                                                                                                          Attorney      Attorney General staff related
                   Texas                     JPEG File                                       Jonathan White
36   DOC_0000740                 1/12/2022                                                                                         IMG_4636.jpg           Client;       to solicited information about
                   Senate                    Interchange                                         (OAG)
                                                                                                                                                          Legislative   incidents of voting misconduct,
                                                                                                                                                                        revealing legislator's mental
                                                                                                                                                                        impressions.
                                                                                                                                                          Attorney      A draft of CSHB2478, prepared
                                             Adobe                                                                                                        Client;       by the Texas Legislative
                 Representativ                                                                                                     CSHB2478 by
37   DOC_0000226                             Acrobat                                                                                                      Work          Council, that contains
                    e Cain                                                                                                         Harris.docx.pdf
                                             (PDF)                                                                                                        Product;      highlights and markings,
                                                                                                                                                          Legislative   revealing legislator's mental
                                                                                                               Adam Moses (TLC);
                                                                                                                Carey Eskridge
                                                                                                                                                                        Email bewteen legislative
                                                                                              Tracy Snelson       (TLC); Drew                             Attorney
                                             Microsoft                       Jessica Hart                                                                               staffers, attached to
                                                                                               (TLC); Hope       Tedford (State                           Client;
                   Texas                     Outlook       RE: SB 7          (Elections                                                                                 correspondence between the
38   DOC_0000497                 5/28/2021                                                   Shelton (Hughes Affairs Comm. Dir);   ITEM.4.E-MAIL.msg      Work
                   Senate                    Message       Changes           Comm.                                                                                      Texas Legislative Council and
                                                                                              GC); Elizabeth    Alix Morris (Lt.                          Product;
                                             Mail                            Staffer)                                                                                   legislator's staff, containing
                                                                                            Alvarez (Attorney)    Gov); Justin                            Legislative
                                                                                                                                                                        proposed language for SB7.
                                                                                                                Williamson (Cain
                                                                                                                      COS)
                                                                                                               Adam Moses (TLC);                                        Correspondence between Texas
                                                                                                                Carey Eskridge                                          Legislative Council, legislator's
                                                                                              Tracy Snelson       (TLC); Drew                             Attorney      staff, and private attorney that
                                             Microsoft                       Jessica Hart
                                                                                               (TLC); Hope       Tedford (State                           Client;       contans drafting instructions,
                   Texas                     Outlook       RE: SB 7          (Elections
39   DOC_0000508                 5/28/2021                                                   Shelton (Hughes Affairs Comm. Dir);   ITEM.4.E-MAIL.msg      Work          along with notes and comments,
                   Senate                    Message       Changes           Comm.
                                                                                              GC); Elizabeth    Alix Morris (Lt.                          Product;      revealing mental impressions.
                                             Mail                            Staffer)
                                                                                            Alvarez (Attorney)   Gov.) ; Justin                           Legislative
                                                                                                                Williamson (Cain
                                                                                                                      COS)
                                                                                                                                                                        Correspondence between Office
                                                                                                                                                          Attorney      of Attorney General and
                                             Microsoft
                                                           City of Hidalgo    Jonathan      Drew Tedford                                                  Client;       legislative staff to provide
                   Texas                     Outlook                                                                               City of Hidalgo 2016
40   DOC_0000619                 6/25/2021                 2016 Assistance    White         (State Affairs                                                Work          solicited information regarding
                   Senate                    Message                                                                               Assistance Fraud.msg
                                                           Fraud              (OAG)         Comm. Dir).                                                   Product;      incidents of voting misconduct,
                                             Mail
                                                                                                                                                          Legislative   revealing legislator's mental
                                                                                                                                                                        impressions.
                                                                                                                                                                        Comparison chart, prepared for
                                                                                                                                                          Attorney
                                                                                                                                                                        by general counsel legislator's
                                                                                                                                                          Client;
                   Texas                     MS Office                                                                             SB 7 House Engrossed                 use at Conference Committee,
41   DOC_0000477                 5/12/2021                                                                                                                Work
                   Senate                    (2016) Word                                                                           TABLE.docx                           summarizing changes made to
                                                                                                                                                          Product;
                                                                                                                                                                        SB7, revealing legislator's
                                                                                                                                                          Legislative
                                                                                                                                                                        mental impressions.




                                                                                                    Page 6                                                                           App282
                                                        Table D - Improper Claims of Investigative Privilege


     ID Number    Custodian       Date      Applicati   Subject         Author            To           CC        Filename             Claim              Privilege
                                            on                                                                                                           Statement
                                                                                                                                                    Attachment to
                                                                                                                                                    confidential
                                                                                                                                                    corresponence between
                                                                                                            File name omitted                       legislator's attorney and
                                            Adobe
                   Senator                                                                                  because it contains     Legislative;    non-legislative third-
1   DOC_0000824                 1/19/2022   Acrobat
                  Bettencourt                                                                               privileged              Investigative   party, part of a pre-
                                            (PDF)
                                                                                                            information                             existing relationship, for
                                                                                                                                                    the purpose of
                                                                                                                                                    considering pending
                                                                                                                                                    legislation.
                                                                                      Ryan Fisher
                                                                                   (OAG); Benjamin
                                                                                        Barkley
                                                                                       (Benjamin
                                                                                        Barkley                                                     Correspondence from
                                                                                     (Bettencourt                                                   legislator's staff to Office
                                                                                     Staffer); Marc            2020-08                              of Attorney General,
                                                        Poetntial      Don Barber                                                   Attorney
                                            Adobe                                       Salvato (              Potential election                   concerning an election
                   Senator                              election code (Bettencourt                                                  Client;
2   DOC_0001055                 8/10/2020   Acrobat                                Bettencourt COS)            code violations,                     complaint, considered
                  Bettencourt                           violations,       Leg.                                                      Legislative;
                                            (PDF)                                                              please review                        when drafting
                                                        please review     Dir.)                                                     Investigative
                                                                                                               (EMAILS).pdf                         legislation, revealing
                                                                                                                                                    legislator's mental
                                                                                                                                                    impressions.




                                                                                                                                                    Correspondence from
                                                                                                                                                    constituents to
                                                                                                                                                    legislatior's staff to
                                                                                      Don Barber                                                    provide solicited
                                                        FW:
                                            Microsoft                              (Bettencourt Leg.                                                information regarding
                                                        Complaint                                              FW Complaint
                   Senator                  Outlook                                 Dir.); Benjamin                                 Legislative;    incidents of voting
3   DOC_0001056               8/8/2020                  for          Alan Vera                                 for Forwarding to
                  Bettencourt               Message                                     Barkley                                     Investigative   misconduct, kept in
                                                        Forwarding                                             OAG.msg
                                            Mail                                     (Bettencourt                                                   Senator Betten Court's
                                                        to OAG
                                                                                        Staffer)                                                    files for use in
                                                                                                                                                    considering legislation,
                                                                                                                                                    revealing mental
                                                                                                                                                    impressions.




                                                                                 Page 1                                                                       App283
                                                        Table D - Improper Claims of Investigative Privilege


                                                                                                                                                 Attachment to
                                                                                                                                                 correspondence from
                                                                                                                                                 constituents, providing
                                                                                                                                                 solicited information
                                                                                  Don Barber (Sen.                                               regarding incidents of
                                                                                  Bettencourt's Leg.                                             voting misconduct, kept
                                            MS Office                                                          Anna Eastman
                   Senator                                                        Dir.); Benjamin                                Legislative;    in Senator Betten
4   DOC_0001057                 8/10/2020   (2016)                  Alan Vera                                  Video to
                  Bettencourt                                                     Barkley (Sen.                                  Investigative   Court's files for use in
                                            Word                                                               Voters.docx
                                                                                  Bettencourt's                                                  considering legislation,
                                                                                  Staffer)                                                       revealing mental
                                                                                                                                                 impressions.



                                                                                                                                                 Attachment to
                                                                                                                                                 correspondence from
                                                                                                                                                 constituents, providing
                                                                                      Don Barber                                                 solicited information
                                                                                   (Bettencourt Leg.                                             regarding incidents of
                                            Adobe
                   Senator                                                          Dir.); Benjamin            Eastman SOS       Legislative;    voting misconduct, kept
5   DOC_0001058                 8/10/2020   Acrobat                 Alan Vera
                  Bettencourt                                                           Barkley                Complaint.pdf     Investigative   in Senator Betten
                                            (PDF)
                                                                                     (Bettencourt                                                Court's files for use in
                                                                                        Staffer)                                                 considering legislation,
                                                                                                                                                 revealing mental
                                                                                                                                                 impressions.

                                                                                                                                                 Attachment to
                                                                                                                                                 correspondence from
                                                                                                                                                 constituents, providing
                                                                                      Don Barber
                                                                                                                                                 solicited information
                                                                                   (Bettencourt Leg.
                                            Adobe                                                                                                regarding incidents of
                   Senator                                                          Dir.); Benjamin            Eastman voter     Legislative;
6   DOC_0001059                 8/10/2020   Acrobat                 Alan Vera                                                                    voting misconduct, kept
                  Bettencourt                                                           Barkley                packet.pdf        Investigative
                                            (PDF)                                                                                                in Senator Betten
                                                                                     (Bettencourt
                                                                                                                                                 Court's files for use in
                                                                                        Staffer)
                                                                                                                                                 considering legislation,
                                                                                                                                                 revealing mental
                                                                                                                                                 impressions.
                                                                                                                                                 Correspondence from
                                                                                                                                                 constituents to
                                                                                                                                                 legislatior's staff to
                                                                                      Don Barber                                                 provide solicited
                                            Microsoft                              (Bettencourt Leg.                                             information regarding
                                                        FW:
                   Senator                  Outlook                                 Dir.); Benjamin            FW Complaint of   Legislative;    incidents of voting
7   DOC_0001062               8/8/2020                  Complaint of Alan Vera
                  Bettencourt               Message                                     Barkley                Voter Fraud.msg   Investigative   misconduct, kept in
                                                        Voter Fraud
                                            Mail                                     (Bettencourt                                                Senator Betten Court's
                                                                                        Staffer)                                                 files for use in
                                                                                                                                                 considering legislation,
                                                                                                                                                 revealing mental
                                                                                                                                                 impressions.



                                                                                 Page 2                                                                   App284
                                                         Table D - Improper Claims of Investigative Privilege


                                                                                                                                                 Attachment to
                                                                                                                                                 correspondence from
                                                                                                                                                 constituents, providing
                                                                                        Don Barber                                               solicited information,
                                                                                     (Bettencourt Leg.                                           regarding an elections
                                             Adobe
                    Senator                                                           Dir.); Benjamin           Mazzapica BBM    Legislative;    form, kept in Senator
8    DOC_0001063                 8/10/2020   Acrobat                   Alan Vera
                   Bettencourt                                                            Barkley               App.pdf          Investigative   Betten Court's files for
                                             (PDF)
                                                                                       (Bettencourt                                              use in considering
                                                                                          Staffer)                                               legislation, revealing
                                                                                                                                                 mental impressions.


                                                                                                                                                 Attachment to
                                                                                                                                                 correspondence from
                                                                                                                                                 constituents, providing
                                                                                        Don Barber                                               solicited information,
                                                                                     (Bettencourt Leg.                                           containing an elections
                                             Adobe
                    Senator                                                           Dir.); Benjamin           Mazzapica SOS    Legislative;    complaint related to
9    DOC_0001064                 8/10/2020   Acrobat                   Alan Vera
                   Bettencourt                                                            Barkley               Comlaint.pdf     Investigative   election misconduct, kept
                                             (PDF)
                                                                                       (Bettencourt                                              in Senator Betten
                                                                                          Staffer)                                               Court's files for use in
                                                                                                                                                 considering legislation,
                                                                                                                                                 revealing mental
                                                                                                                                                 impressions.
                                                                                                                                                 Correspondence from
                                                                                                                                                 constituent to legislator's
                                                                                                                                                 staff to provide solicited
                                                                                        Don Barber                                               information regarding
                                             Microsoft                               (Bettencourt Leg.                                           voting misconduct, kept
                    Senator                  Outlook     This Week's                  Dir.); Benjamin           This Week's      Legislative;    in Senator Bettencourt's
10   DOC_0001066               8/8/2020                                Alan Vera
                   Bettencourt               Message     Suspects                         Barkley               Suspects.msg     Investigative   files for use in
                                             Mail                                      (Bettencourt                                              considering legislation,
                                                                                          Staffer)                                               revealing mental
                                                                                                                                                 impressions.


                                                                                                                                                 Attachment to
                                                                                                                                                 correspondence from
                                                                                                                                                 constituents, providing
                                                                                                                                                 solicited information,
                                             Microsoft
                                                                                                                 Mail Ballots                    related to mail- in
                    Senator                  Excel                                                                               Legislative;
11   DOC_0001067                 8/10/2020                                                                                                       ballots, kept in Senator
                   Bettencourt               2016 XML                                                            Received.xlsx   Investigative
                                                                                                                                                 Bettencourt's personal
                                             File
                                                                                                                                                 file for use in considering
                                                                                                                                                 election legislation,
                                                                                                                                                 revealing mental
                                                                                                                                                 impressions.




                                                                                   Page 3                                                                 App285
